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         EXHIBIT 1
 p icsID
             Case 1:20-cv-01081 Document 1-2 Filed 04/24/20 Page 2 of 248
                                           INTERNATIONAL CENTRE FOR SETTLEMENT OF INVESTMENT DISPUTES
                                                           1818 H STREET, NW I WASHINGTON, DC 20433 I USA
                                                      TELEPHONE +1 (202) 458 1534 I FACSIMILE +1 (202) 522 2615
                                                                                 WWW.WORLDBANK.ORGI/ICSID

                                                                                             January 21, 2020


By courier
(advance copy by email)

Watkins Holdings S.a r.l.                             Kingdom of Spain
and others                                            c/o Mr. Jose Manuel Gutierrez Delgado
c/o Mr. Antonio Vazquez-Guillen                       Mr. Pablo Elena Abad
Mr. David Ingle                                       Mr. Rafael Gil Nievas
Ms. Agustina Alvarez                                  Mr. Alberto Torr6 Moles
Mr. Pablo Torres                                      Ms. Elena Orioro Sainz
Ms. Marie Stoyanov                                    Mr. Mariano Rojo Perez
Mr. Alexandre Fichaux                                 Ms. Gloria Maria de la Guardia Limeres
Mr. Tomasz Hara                                       Mr. Juan Antonio Quesada Navarro
Mr. Valentin Bourgeois                                Ms. Ana Maria Rodriguez Esquivias
Allen & Overy LLP                                     Mr. Javier Comer6n Herrero
Serrano 73                                            Ms. Eugenia Cediel Bruno
28006 Madrid                                          Mr. Luis Vacas Chalfoun
Spain                                                 Mr. Francisco de la Torre Diaz
                                                      Ms. Socorro Garrido Moreno
                                                      Ms. Estibaliz Hernandez Marquinez
                                                      Abogacia General del Estado
                                                      Dpto. Arbitrajes Intemacionales
                                                      c/ Marques de la Ensenada, 14-16, 2° planta
                                                      28004, Madrid
                                                      Spain

                    Re: Watkins Holdings S.a r.l and others v. Kingdom of Spain
                                       (ICSID Case No. ARB/15/44)


Dear Mesdames and Sirs,

        Please find enclosed certified copies of the English and Spanish versions of the Tribunal's Award
dated January 21, 2020 and Prof. Dr. Helene Ruiz Fabri's Dissenting Opinion.

         Pursuant to Arbitration Rule 48, I have authenticated the original texts of the Award and Opinion
and deposited them in the Centre's archives. In accordance with Arbitration Rule 48, the Award is deemed
to have been rendered on the date of dispatch, which is indicated on the original text of the Award and on
all copies.

         In accordance with Section 23 of Procedural Order No. 1, the ICSID Secretariat shall not publish
any award or decision issued in the present case, without the consent of both parties. I would be grateful if
the parties could inform us whether they consent to the publication of the Award and the Dissenting Opinion
on the ICSID website by February 21, 2020.
            Case 1:20-cv-01081 Document 1-2 Filed 04/24/20 Page 3 of 248


                                                 Yours sincerely,



                                                                    /
                                                  Gonz
                                             Acting


Enclosure

cc (by courier with enclosure,
advance copy by email):
Members of the Tribunal




                                                                           2
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 INTERNATIONAL CENTRE FOR SETTLEMENT OF INVESTMENT DISPUTES


                       In the arbitration proceeding between


   WATKINS HOLDING S.À.R.L, WATKINS (NED) B.V., WATKINS SPAIN S.L.,
REDPIER S.L., NORTHSEA SPAIN S. L, PARQUE EÓLICO MARMELLAR S.L., AND
                     PARQUE EÓLICO LA BOGA S.L.
                                   (Claimants)



                                        v.


                          THE KINGDOM OF SPAIN
                                   (Respondent)


                           ICSID Case No. ARB/15/44




                                    AWARD




                              Members of the Tribunal
            Tan Sri Dato’ Cecil W.M. Abraham, President of the Tribunal
                     Dr. Michael C. Pryles AO PBM, Arbitrator
                       Prof. Dr. Hélène Ruiz Fabri, Arbitrator

                             Secretary to the Tribunal
                             Ms. Catherine Kettlewell


                 Date of Dispatch to the Parties: 21 January 2020
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                       REPRESENTATION OF THE PARTIES


Representing the Claimants:              Representing the Respondent:


Ms. Marie Stoyanov                       Mr. José Manuel Gutiérrez Delgado
Mr. Antonio Vázquez-Guillén              Mr. Pablo Elena Abad
Mr. Antonio Jiménez-Blanco               Mr. Antolín Fernández Antuña
Mr. David Ingle                          Mr. Roberto Fernández Castilla
Ms. Agustina Álvarez                     Ms. Patricia Froehlingsdorf Nicolás
Mr. Pablo Torres                         Ms. María del Socorro Garrido Moreno
Mr. Alexandre Fichaux                    Mr. Rafael Gil Nievas
Mr. Tomasz Hara                          Ms. Mónica Moraleda Saceda
Mr. Valentin Bourgeois                   Ms. Elena Oñoro Sainz
Ms. Carmen De La Hera                    Ms. Amaia Rivas Kortazar
                                         Mr. Mariano Rojo Pérez
Allen & Overy LLP                        Ms. Almudena Pérez Zurita Gutiérrez
Pedro de Valdivia 10                     Mr. Diego Santacruz Descartín
28006, Madrid                            Mr. Javier Torres Gella
Spain                                    Mr. Francisco de la Torre Diaz
                                         Mr. Alberto Torró Molés
                                         Mr. Luis Vacas Chalfoun

                                         Abogacía General del Estado
                                         Dirección del Servicio Jurídico del Estado
                                         Calle Ayala 5
                                         28001, Madrid
                                         Spain
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              TABLE OF SELECTED ABBREVIATIONS AND ACRONYMS

ABV                                Asset-Based Valuation

AEE                                Wind Power Business Association

APV                                Adjusted Present Value

Antaris Award                      Antaris Solar GmbH and Dr Michael Göde v.
                                   Czech Republic (PCA Case nº 2014-01), Final
                                   Award, May 8, 2018

Antin Award                        Antin Infrastructure Services Luxembourg S.à.r.l
                                   and Antin Energia Termosolar B.V. v. Kingdom of
                                   Spain, ICSID Case No. ARB/13/31, Award, June
                                   15, 2018

Arbitration Rules                  ICSID Rules of Procedure for Arbitration
                                   Proceedings

BCG                                Boston Consulting Group

Borawind                           Borawind Energy, S.L.

Bridgepoint                        Bridgepoint Advisers Limited

C-[#]                              Claimants’ Exhibit

CAPM                               Capital Asset Pricing Model

CJEU                               Court of Justice of the European Union

CL-[#]                             Claimants’ Legal Authority

Claimants or Watkins               Watkins Holdings S.à r.l.; Watkins (Ned) BV;
                                   Watkins Spain, S.L.; Redpier, S.L.; Northsea
                                   Spain S.L.; Parque Eólico Marmellar, S.L.; and
                                   Parque Eólico La Boga, S.L.

Claimants’ Memorial                Claimants’ Memorial on the Merits dated
                                   November 14, 2016

Claimants’ Rejoinder               Claimants’ Rejoinder on Jurisdiction dated March
                                   7, 2018



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Claimants’ Reply                  Claimants’ Reply on the Merits and Counter-
                                  Memorial on Jurisdiction dated September 28,
                                  2017

Claimants’ Post-Hearing           Claimants’ Post-Hearing Brief dated September 7,
                                  2018

Claimants’ Post-Hearing Reply     Claimants’ Post-Hearing Reply Brief dated
                                  October 31, 2018

Claimants’ Submission on Costs    Claimants’ Submission on Costs dated November
                                  30, 2018

CNE                               National Energy Commission

CNMC                              National Commission        on      Markets    and
                                  Competition

Commission                        European Commission

Commission’s Application          European Commission’s          Application   dated
                                  January 16, 2017

Commission’s Request              European      Commission’s      Request        for
                                  Reconsideration dated March 23, 2017

CPI                               Consumer Price Index

DCF                               Discounted Cash Flow

Disputed Measures                 Law 15/2012, RDL 2/2013, RDL 9/2013, Law
                                  24/2013, RD 413/2014 and the June 2014 Order

ECT                               Energy Charter Treaty dated December 17, 1994,
                                  which entered into force on April 16, 1998 with
                                  respect to Spain, Luxembourg and the
                                  Netherlands

EU                                European Union

FET                               Fair and Equitable Treatment

Fifth Claimant                    Northsea Spain S.L.

First Accuracy Report             Expert Report by Accuracy dated February 10,
                                  2017

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First Ayuso Statement                First Witness Statement of Mr. Juan Ramón
                                     Ayuso dated February 9, 2017

First Brattle Quantum Report         Expert Report on quantum by the Brattle Group
                                     dated November 14, 2016

First Brattle Regulatory Report      Expert Report on regulatory matters by the Brattle
                                     Group dated November 14, 2016

First Claimant                       Watkins Holdings S.à r.l.

First Moreno Statement               First Witness Statement of Mr. Felipe Moreno
                                     Zabala dated November 14, 2016

FIT                                  Feed-in-Tariff

Fourth Claimant                      Redpier, S.L.

ICSID or Centre                      International Centre for Settlement of Investment
                                     Disputes

ICSID Convention                     Convention on the Settlement of Investment
                                     Disputes between States and Nationals of Other
                                     States

ICSID Institution Rules              Rules of Procedure for the Institution of
                                     Conciliation and Arbitration Proceedings

IDAE                                 Institute for Diversification and Saving of
                                     Electricity

June 2014 Order                      Ministerial Order IET/1045/2014 dated June 16,
                                     2014

Law 15/2012                          Law 15/2012 on Tax Measures for Energy
                                     Sustainability dated December 27, 2012

Law 24/2013                          Law 24/2013 on the Electricity Sector dated
                                     December 26, 2013

Ministry                             Ministry of Industry, Tourism and Commerce

Parque Arroyal                       Parque Eólico Arroyal (49.5 MW)

Parque El Perul                      Parque Eólico El Perul (49.6 MW)


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Parque La Lastra                   Parque Eólico La Lastra (11.69 MW)

Parque Lodoso                      Parque Eólico Lodoso (49.5 MW)

Parque Lora 1                      Parque Eólico Lora 1 (49.6 MW)

Parque Lora 2                      Parque Eólico Lora 2 (49.6 MW)

Parque Marmellar                   Parque Eólico Marmellar (49.5 MW)

Parque Sargentes                   Parque Eólico Sargentes (24 MW)

Pre-Assignment Register            Pre-Assignment Register mechanism established
                                   in RDL 6/2009

Project Companies                  Marmellar SL and La Boga SL

R-[#]                              Respondent’s Exhibit

RAIPRE                             Registro Administrativo de Instalaciones de
                                   Producción en Régimen Especial

RD 2818/1998                       Royal Decree 2818/1998 dated December 23,
                                   1998

RD 436/2004                        Royal Decree 436/2004 dated March 12, 2004

RD 661/2007                        Royal Decree 661/2007 dated May 25, 2007

RD 1614/2010                       Royal Decree 1614/2010 dated December 7, 2010

RD 413/2014                        Royal Decree 413/2014 dated June 6, 2014

RDL 7/2006                         Royal Decree-Law 7/2006 dated June 23, 2006

RDL 6/2009                         Royal Decree-Law 6/2009 dated April 30, 2009

RDL 2/2013                         Royal Decree-Law 2/2013 dated February 1, 2013

RDL 9/2013                         Royal Decree-Law 9/2013 dated July 12, 2013

RE                                 Renewable Energy

REIOs                              Regional Economic Integration Organizations

REP                                Renewable Energy Plan

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Request for Arbitration            Request for Arbitration dated October 26, 2015,
                                   accompanied by Exhibits C-1 to C-33

Respondent’s Counter-Memorial      Respondent’s Counter-Memorial on the Merits
                                   and Memorial on Jurisdiction dated February 10,
                                   2017

Respondent’s Rejoinder             Respondent’s Rejoinder on the Merits and Reply
                                   on Jurisdiction dated January 9, 2018

Respondent’s Post-Hearing          Respondent’s    Post-Hearing      Brief    dated
                                   September 7, 2018

Respondent’s Post-Hearing Reply    Respondent’s Post-Hearing Reply Brief dated
                                   October 31, 2018

Respondent’s Submission on Costs   Respondent’s Submission on Costs dated January
                                   16, 2019

RL-[#]                             Respondent’s Legal Authority

RREEF Decision                     RREEF Infrastructure (G.P.) Limited and RREEF
                                   Pan-European Infrastructure Two Lux S.a.r.l v.
                                   Kingdom of Spain, ICSID Case No. ARB/13/30,
                                   Decision on Responsibility and Principle of
                                   Quantum, November 30, 2018

Second Accuracy Report             Expert Report by Accuracy dated January 9, 2018

Second Ayuso Statement             Second Witness Statement of Mr. Juan Ramón
                                   Ayuso dated January 9, 2018

Second Brattle Quantum Report      Second Expert Report on quantum matters by the
                                   Brattle Group dated September 28, 2017

Second Brattle Regulatory Report   Second Expert Report on regulatory by the Brattle
                                   Group dated September 28, 2017

Second Claimant                    Watkins (Ned) BV

Second Moreno Statement            Second Witness Statement of Mr. Felipe Moreno
                                   Zabala dated September 28, 2017

SES                                Spanish Electric System

Seventh Claimant                   Parque Eólico La Boga, S.L.

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Sixth Claimant                        Parque Eólico Marmellar, S.L.

Spain or Respondent                   Kingdom of Spain

TMR                                   Tarifa Media de Referencia

Third Claimant                        Watkins Spain, S.L.

Tribunal                              Arbitral Tribunal constituted on March 31, 2016

TVPEE                                 Impuesto sobre el valor de la producción de
                                      energía eléctrica

UNFCCC                                United Nations Framework Convention on
                                      Climate Change

Vattenfall Decision                   Vattenfall AB and others v. Federal Republic of
                                      Germany, ICSID Case No. ARB/12/12, Decision
                                      on the Achmea Issue, August 31, 2018

VCLT or Vienna Convention             Vienna Convention on the Law of Treaties

Wind Farms                            Wind farm sites located in the province of Castilla
                                      y León in Spain (Parque Arroyal, Parque El Perul,
                                      Parque La Lastra, Parque Lodoso, Parque Lora 1,
                                      Parque Lora 2, Parque Marmellar, Parque
                                      Sargentes)

1997 Electricity Law or Law 54/1997   Law 54/1997 on the Electricity Sector dated
                                      November 27, 1997

2001 Renewables Directive             European Parliament and Council Directive
                                      2001/77/CE on the promotion of electricity
                                      produced from renewable energy sources in the
                                      internal electricity market dated September 27,
                                      2001

2009 Renewables Directive             European Union 2009 Directive on the promotion
                                      of the use of energy from renewable sources and
                                      amending and subsequently repealing Directives
                                      2001/77/EC and 2003/30/EC dated April 23, 2009




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I.       INTRODUCTION

     A. The Parties

         The Claimants are Watkins Holdings S.à r.l. (the “First Claimant”), a private limited
         liability company incorporated under the laws of Luxembourg; Watkins (Ned) BV (the
         “Second Claimant”), a limited liability company incorporated under the laws of the
         Netherlands and a wholly-owned subsidiary of the First Claimant; Watkins Spain, S.L.
         (the “Third Claimant”), a private limited liability company incorporated under the
         laws of Spain; Redpier, S.L. (the “Fourth Claimant”), a private limited liability
         company incorporated under the laws of Luxembourg; Northsea Spain S.L. (the “Fifth
         Claimant”); Parque Eólico Marmellar, S.L. (the “Sixth Claimant”); and Parque Eólico
         La Boga, S.L. (the “Seventh Claimant”), all three are private limited liability
         companies incorporated under the laws of Spain. The seven companies are collectively
         referred to as “Watkins” or the “Claimants.” The Claimants are represented in these
         proceedings by Mses. Virginia Allan, Marie Stoyanov, and Agustina Alvarez, and
         Messrs. David Ingle, Pablo Torres and Antonio Vazquez-Guillen of Allen & Overy
         LLP.


         The Respondent is the Kingdom of Spain (“Spain” or the “Respondent,” and,
         collectively with the Claimants, the “Parties”). The Respondent is represented in these
         proceedings by Mses. Mónica Moraleda Saceda, Elena Oñoro Sainz, Amaia Rivas
         Kortazar, Patricia Froehlingsdorf Nicolás, Gloria de la Guardia Limeres, and Ana María
         Rodriguez Esquivias, and Messrs. Antolín Fernández Antuña, Diego Santacruz
         Descartín, Javier Torres Gella, Javier Castro López, Roberto Fernández Castilla, and
         Álvaro Navas López of the Ministry of Justice of the Government of Spain.


     B. Overview of the Dispute

         This case relates to a dispute arising from the Claimants’ investment in the Spanish wind
         generation sector and, in particular, the purchase of seven wind farm sites located in the
         province of Castilla y León in Spain (“Wind Farms”). The Claimants allege that the
         Respondent adopted measures radically modifying and dismantling the applicable legal
                                                 1
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      and economic regime for renewable energy (“RE”) projects on which the Claimants
      relied on when making their investment. According to the Claimants, in adopting such
      measures, Spain has breached its international obligations.


II.    PROCEDURAL HISTORY

  A. Initiation of the Arbitration Proceedings and Constitution of the Tribunal

      On October 26, 2015, Watkins filed with the International Centre for Settlement of
      Investment Disputes Centre (“ICSID” or the “Centre”) a request for arbitration against
      Spain (the “Request for Arbitration”) accompanied by Exhibits C-1 to C-33.


      The Request for Arbitration was made pursuant to the Energy Charter Treaty dated
      December 17, 1994, which entered into force on April 16, 1998 with respect to Spain,
      Luxembourg and the Netherlands (the “ECT”), and to the Convention on the Settlement
      of Investment Disputes between States and Nationals of Other States dated March 18,
      1965, which entered into force on October 14, 1966 (the “ICSID Convention”).


      On October 28, 2015, pursuant to Rule 5 of the Rules of Procedure for the Institution of
      Conciliation and Arbitration Proceedings (“ICSID Institution Rules”), the Centre
      acknowledged receipt of the Request for Arbitration, and, on October 29, 2015, it
      transmitted a copy of the Request for Arbitration to Spain as well as to the Embassy of
      Spain in Washington D.C.


      On November 4, 2015, the Secretary-General of ICSID registered the Request for
      Arbitration pursuant to Article 36(3) of the ICSID Convention and ICSID Institution
      Rules 6 and 7 and notified the Parties of the registration. The Secretary-General invited
      the Parties to proceed, as soon as possible, with the constitution of the Arbitral Tribunal
      pursuant to ICSID Institution Rule 7(d).


      In accordance with Article 37(2)(a) of the ICSID Convention, the Parties agreed that the
      Arbitral Tribunal would comprise of three arbitrators, one arbitrator appointed by the

                                               2
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    Claimants, one arbitrator appointed by the Respondent, and a third, presiding arbitrator,
    to be appointed by the Secretary-General of ICSID.


    Accordingly, the Claimants appointed Dr. Michael C. Pryles AO PBM, an Australian
    national, the Respondent appointed Prof. Dr. Hélène Ruiz Fabri, a French national and
    pursuant to the Parties’ agreement, the Secretary-General of ICSID appointed Tan Sri
    Dato’ Cecil W.M. Abraham, a Malaysian national, to serve as the President of the
    Arbitral Tribunal.


    On March 31, 2016, the Secretary-General informed the Parties that all three arbitrators
    had accepted their appointments. The Arbitral Tribunal (the “Tribunal”) was thus
    deemed to have been constituted and the proceeding to have begun as of that date
    pursuant to Rule 6 of the Rules on Procedure for Arbitration Proceedings (the
    “Arbitration Rules”). On the same date, Mr. Gonzalo Flores, ICSID Deputy Secretary-
    General, was designated to serve as the Secretary of the Tribunal with the assistance of
    Ms. Ana Conover, ICSID Legal Associate.


B. First Session and Procedural Order No. 1

    On May 23, 2016, the Tribunal held the first session by telephone conference. An audio
    recording of the session was made and was distributed to the Parties as well as to the
    Members of the Tribunal.


    During the first session, the Tribunal and the Parties considered (i) the draft agenda and
    the draft procedural order circulated by the Secretary of the Tribunal on April 6, 2016
    and (ii) the Parties’ agreements and positions on the draft agenda and the draft
    procedural order received on May 6, 2016. Among other items on the agenda, the
    Parties expressed their agreement that the Tribunal had been properly constituted in
    accordance with the relevant provisions of the ICSID Convention and the Arbitration
    Rules, and that they did not have any objections in this respect.




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    On May 26, 2016, the President of the Tribunal, on behalf of the Tribunal, issued
    Procedural Order No. 1 embodying the Parties’ agreements on procedural matters and
    the Tribunal’s decisions on the disputed issues. Procedural Order No. 1 provided, inter
    alia, that (i) the applicable Arbitration Rules would be those in force as of April 10,
    2006; (ii) the place of the proceeding would be Washington, DC; and (iii) the procedural
    languages would be English and Spanish. Procedural Order No. 1 also set out the
    procedural calendar for the present proceeding.


    On July 8, 2016, Mr. Gonzalo Flores, Acting Secretary-General, informed the Parties
    that Ms. Ana Conover, ICSID Legal Associate, was designated to serve as Secretary of
    the Tribunal in the present case.


C. Parties’ Written Pleadings and Procedural Requests

    On November 14, 2016, the Claimants filed their Memorial on the Merits (the
    “Claimants’ Memorial”) in accordance with the procedural calendar. The Claimants’
    Memorial was accompanied by Exhibits C-34 to C-173; Legal Authorities CL-1 to CL-
    93; a Witness Statement by Mr. Felipe Moreno Zabala (the “First Moreno
    Statement”); two Expert Reports by the Brattle Group, i.e. an Expert Report on
    regulatory matters (the “First Brattle Regulatory Report”) and an Expert Report on
    quantum (the “First Brattle Quantum Report”), supported, respectively, by Exhibits
    BRR-1 to BRR-156 and BQR-1 to BQR-45. On December 5, 2016, the Claimants
    submitted the corresponding translations into the other language of the proceeding.


    On February 10, 2017, as provided in the procedural calendar, the Respondent filed its
    Counter-Memorial on the Merits and Memorial on Jurisdiction (the “Respondent’s
    Counter-Memorial”) in Spanish. The Respondent’s Counter-Memorial was
    accompanied by Exhibits R-1 to R-278; Legal Authorities RL-4 to RL-71; a Witness
    Statement by Mr. Juan Ramón Ayuso (the “First Ayuso Statement”), along with
    Exhibits W-01001-W-01013, W-01021-W-01035, W-01037, W-01043-W-01044, W-
    01084-W-01085, W-01087, W01095, W-01101-W-01131, and W-01142; and an Expert
    Report by Accuracy (the “First Accuracy Report”), supported by Exhibits ACQ-2 to

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ACQ-55. On March 2, 2017, the Respondent submitted the corresponding translations
into the other language of the proceeding.


On April 28, 2017, following exchanges between the Parties, and in accordance with
Procedural Order No. 1, the Parties jointly filed their document production applications
in the form of Redfern Schedules.


On May 16, 2017, the Tribunal issued Procedural Order No. 4, ruling on the Parties’
document production applications. Procedural Order No. 4 established, inter alia, that
(i) “the Parties shall produce the documents ordered by the Tribunal by June 9, 2017;”
and that (ii) the Respondent shall “elaborate on its objections to produce the minutes of
the Council of Ministers on the grounds of privilege and secrecy by 23 May 2017,” and
“the Claimants may submit a responsive submission within seven days upon receiving
the Respondent’s observations.”


On May 25, 2017, the Respondent requested an extension until May 29, 2017 to
elaborate on its objections to produce the minutes of the Council of Ministers on the
grounds of privilege and secrecy. The Tribunal granted the time extension on May 26,
2017.


On May 29, 2017, the Respondent submitted its comments as ordered in Procedural
Order No. 4 and pursuant to the extension granted by the Tribunal, along with three
supporting documents.


On June 5, 2017, in accordance with the time-limit set forth in Procedural Order No. 4,
the Claimants filed their observations to the Respondent’s objection to produce the
minutes of the Council of Ministers.


On June 15, 2017, the Tribunal issued Procedural Order No. 5 denying the Claimants’
request to produce the minutes of the Council of Ministers’ meetings, noting, inter alia,
that “they are secret, that no documentation reflecting the discussions held within the


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Council of Ministers exists, and therefore the legal impediment in Article 9.2(b) of the
IBA Rules would apply.”


On August 25, 2017, Martina Polasek, the Acting Secretary-General, informed the
Parties that Ms. Catherine Kettlewell, ICSID Legal Counsel, was designated to serve as
Secretary of the Tribunal in the present case.


On September 19, 2017, the Parties informed the Tribunal that they had reached an
agreement to extend certain deadlines of the procedural calendar. On the same date, the
Tribunal confirmed the Parties’ agreement.


On September 28, 2017, the Claimants filed their Reply on the Merits and Counter-
Memorial on Jurisdiction (the “Claimants’ Reply”).         The Claimants’ Reply was
accompanied by Appendices 1 to 6, Exhibits C-174 to C-265; Legal Authorities CL-94
to CL-159; a Witness Statement by Mr. Felipe Moreno Zabala (the “Second Moreno
Statement”); and two Expert Reports by the Brattle Group, on regulations (the “Second
Brattle Regulatory Report”) and on quantum (the “Second Brattle Quantum
Report”), with their respective Exhibits BRR-157 to BRR-266 and BQR-46 to BQR-
52. On October 18, 2017, the Claimants submitted the corresponding translations into
the other language of the proceeding.


On January 9, 2018, the Respondent filed its Rejoinder on the Merits and Reply on
Jurisdiction (the “Respondent’s Rejoinder”).        The Respondent’s Rejoinder was
accompanied by Exhibits R-279 to R-380; Legal Authorities RL-72 to RL-95; a Witness
Statement by Mr. Juan Ramon Ayuso (the “Second Ayuso Statement”) along with
Exhibits W-01146, W-01152-W-01154, W-01157, W-01162-W-01163, W-01165, W-
01167, W-01170-W-01171, W-01174-W-01183, W-02005, W-R-0084, W-R-0224, W-
R-0237, W-R-0238, W-R-0260; and an Expert Report by Accuracy (the “Second
Accuracy Report”) along with Exhibits ACQ-56 to ACQ-82. On January 18, 2018, the
Respondent submitted the corresponding translations into the other language of the
proceeding.


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    On February 22, 2018, the Parties agreed to extend the deadline for the Claimants to
    submit the Rejoinder on Jurisdiction. On February 23, 2018, the Tribunal confirmed
    the Parties’ agreement to extend the deadline.


    On March 7, 2018, the Claimants filed their Rejoinder on Jurisdiction (the “Claimants’
    Rejoinder”) with two Appendices. On March 27, 2018, the Claimants submitted the
    corresponding translations into the other language of the proceeding.


    On May 7, 2018, the Parties exchanged their corresponding new document request
    pursuant to Procedural Order No. 6. On May 9, 2018, each Party submitted to the
    Tribunal the objections to the other Party’s request. On May 10, 2018, the Tribunal
    issued its decision in this regard.


D. The Non-Disputing Party Applications

    On January 16, 2017, the European Commission (the “Commission”) filed with the
    Centre, an application for leave to intervene as a non-disputing party (the
    “Commission’s Application”) pursuant to Arbitration Rule 37(2).


    On January 18, 2017, the Tribunal invited the Parties to comment on the Commission’s
    Application.


    On February 2, 2017, each Party filed their observations on the Commission’s
    Application. The Claimants’ observations were accompanied by Attachments 1 to 3,
    and the Respondent’s observations were accompanied by Legal Authorities RL-1 to RL-
    3.


    On March 21, 2017, the Tribunal issued Procedural Order No. 2 embodying the
    Tribunal’s analysis of and decision on the Commission’s Application. Noting that
    “[t]he Respondent in its [...] Counter-Memorial on the Merits and Memorial on
    Jurisdiction [...] has raised two jurisdictional objections,” the Tribunal concluded that
    the “Respondent would be able to argue the issue of jurisdiction.” However, observing

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that the “Commission may have a particular knowledge or insight which may be of
assistance to the Tribunal in its consideration of the jurisdictional issue,” the Tribunal
decided that “it is appropriate for the Commission to intervene.”


Accordingly, the Tribunal authorised the Commission to intervene as a non-disputing
party and “to file a written submission of not more than 30 pages by 3 April 2017.” The
Tribunal specified, inter alia, that such submission “shall set out all matters that the
Commission wishes to bring to the Tribunal’s attention regarding jurisdiction;” that
“[t]he Commission shall not attend or observe the hearings;” and, “as a condition for
being given leave to file a non-disputing party submissions,” the Commission was
required to “provide the Tribunal with a written undertaking [...] to pay the additional
costs of legal representation which may be reasonably incurred by the parties in
responding to the Commission’s Submissions.” Finally, the Tribunal invited the Parties
to “submit their observations on the Submission of the Commission to the Tribunal by
18 April 2017.”


On March 23, 2017, the Commission submitted a request for the Tribunal to reconsider
Procedural Order No. 2 “in so far as it require[d] the Commission to provide an
undertaking on costs, and to remove the procedural direction set out in paragraph 53(e)
thereof” (the “Commission’s Request”).


On March 27, 2017, the Centre communicated the Commission’s Request to the Parties.
On the same date, the Tribunal invited the Parties to provide their observations.
Furthermore, the Tribunal informed the Parties that the filing dates related to the
Commission’s written submission as set forth in Procedural Order No. 2 were
suspended, and that it would notify the Commission and the Parties of the new filing
dates upon issuance of its decision on the Commission’s Request.


On April 7, 2017, the Claimants filed their observations on the Commission’s Request.




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   On April 10, 2017, the Respondent filed its observations on the Commission’s Request
   and on the same date, ICSID transmitted the Parties’ observations to the Tribunal.


   On April 27, 2017, the Tribunal issued Procedural Order No. 3 rejecting the
   Commission’s Request to alter Procedural Order No. 2 and inviting the Commission, as
   a condition for being given leave to file a non-disputing party submission, to provide
   the cost undertaking as described in Procedural Order No. 2. Further, the Tribunal
   updated the schedule pertaining to the filing of the Commission’s written submission,
   indicating that (i) “the Commission may file its written submission by 26 May 2017;”
   and that (ii) “the Parties shall present their observations on the Commission’s written
   submission in their respective briefs.”


   On May 2, 2017, the Commission informed the Tribunal that it would not provide the
   undertaking on costs.


E. Oral Procedure

   On April 24, 2018, the Tribunal held a pre-hearing organisational meeting with the
   Parties by telephone conference.


   On April 24, 2018 the Tribunal issued Procedural Order No. 6, amended on April 26,
   2018, embodying the Parties’ agreements on the procedural matters related to the
   Hearing and the Tribunal’s decisions on the matters in which there was disagreement
   between the Parties.


   The Hearing was held from May 21, 2018 to May 24, 2018 in Paris, France. The list of
   participants was as follows:


   Tribunal:

   Tan Sri Dato’ Cecil W.M. Abraham              President of the Tribunal
   Dr. Michael Pryles                            Arbitrator
   Prof. Dr. Hélène Ruiz Fabri                   Arbitrator

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ICSID Secretariat:

Ms. Catherine Kettlewell                   Secretary of the Tribunal

For the Claimants:

Ms. Marie Stoyanov                         Allen & Overy LLP
Mr. Antonio Vazquez-Guillén                Allen & Overy LLP
Mr. Antonio Jiménez-Blanco                 Allen & Overy LLP
Mr. David Ingle                            Allen & Overy LLP
Mr. Alexandre Fichaux                      Allen & Overy LLP
Mr. Tomasz Hara                            Allen & Overy LLP
Mr. Pablo Torres                           Allen & Overy LLP
Mr. Valentin Bourgeois                     Allen & Overy LLP
Ms. Carmen de la Hera                      Allen & Overy LLP
Mr. Carlos Lapuerta                        The Brattle Group
Mr. Richard Caldwell                       The Brattle Group
Mr. José Antonio García                    The Brattle Group
Ms. Annika Opitz                           The Brattle Group
Ms. Henna Trewn                            The Brattle Group
Mr. Juan Arteche                           Bridgepoint
Mr. Felipe Moreno                          Self-employed

For the Respondent:

Mr. Diego Santacruz Descartín              State Attorney’s Office Ministry of Justice
Ms. Mónica Moraleda Saceda                 State Attorney’s Office Ministry of Justice
Ms. Elena Oñoro Sainz                      State Attorney’s Office Ministry of Justice
Mr. Antolín Fernández Antuña               State Attorney’s Office Ministry of Justice
Mr. Joaquín Garrigos Millán                State Attorney’s Office Ministry of Justice
Ms. Almudena Pérez-Zurita Gutiérrez        State Attorney’s Office Ministry of Justice
Ms. Carmen María Roa Tortosa               IDAE
Mr. Juan Ramón Ayuso Ortiz                 IDAE
Mr. Eduard Saura                           Accuracy
Mr. Nicolas Barsalou                       Accuracy
Ms. Laura Cózar                            Accuracy
Mr. Alberto Fernández                      Accuracy
Mr. Carlos Canga                           Accuracy
Ms. Aurea Alvarez                          Accuracy

Court Reporters:

Mr. Trevor McGowan                         The Court Reporter Ltd.
Mr. Paul Pelissier                         DR-Esteno
Ms. Luciana Sosa                           DR-Esteno



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     Interpreters:

     Mr. Juan María Burdiel Pérez
     Mr. Jesus Getan Bornn
     Ms. Amalia Thaler-de Klemm

     The following persons were examined during the Hearing:

     On behalf of Claimants:

     Fact Witness
     Mr. Felipe Moreno Zavala

     Expert Witnesses
     Mr. José Antonio García
     Mr. Carlos Lapuerta
     Mr. Richard Caldwell

     On behalf of Respondent:

     Fact Witness
     Mr. Juan Ramón Ayuso

     Expert Witnesses
     Mr. Eduard Saura
     Mr. Nicolas Barsalou

F.   Post-Hearing Developments

     On May 29, 2018, the Tribunal instructed the Parties to submit the corrections to the
     hearing transcripts by Tuesday, June 12, 2018 or any other date as the Parties agreed
     upon.


     On the same date, the Parties informed the Tribunal that both Parties agreed to submit
     the corrections by June 29, 2018. On July 10, 2018, not having received the corrections,
     the Tribunal invited the Parties to inform the status of the corrections, which were then
     submitted by the Parties on July 11, 2018.




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On August 13, 2018, the Claimants requested the introduction into the record of the
award in the Antin Infrastructure Services Luxembourg S.à.r.l and Antin Energia
Termosolar B.V. v. Kingdom of Spain (ICSID Case No. ARB/13/31) (“Antin award”).
The Tribunal admitted the Antin award into the record as Exhibit CL-176 and invited
the parties to comment on the Antin award in their Post-Hearing submissions due on
September 7, 2018.


On September 6, 2018, the Parties informed the Tribunal that they had agreed to modify
section 11.4 of Procedural Order No. 1 and only submit their Post-Hearing briefs and
Reply Post-Hearing briefs in English. The Parties clarified that English and Spanish
would continue to be the procedural languages of the arbitration. On the same date, the
Tribunal confirmed the Parties’ agreement.


On September 7, 2018, the Parties simultaneously submitted their Post-Hearing briefs.


On October 18, 2018, the Claimants requested the introduction into the record of the
following: (i) the “Decision on the Achmea Issue” dated 31 August 2018 rendered in
Vattenfall AB and others v. Federal Republic of Germany (ICSID Case No. ARB/12/12)
(the “Vattenfall Decision”); and (ii) the Final Award dated 8 May 2018 rendered in
Antaris Solar GmbH and Dr Michael Göde v. Czech Republic (PCA Case nº 2014-01)
(the “Antaris award”). This request from the Claimants was based on Section 16.3 of
Procedural Order No. 1. On October 22, 2018, the Tribunal granted the Claimants’
request to introduce both documents into the record and invited both Parties to comment
on these decisions in their respective Reply Post-Hearing briefs due on October 31,
2018.


On October 30, 2018, the Respondent informed the Tribunal of a technical problem
affecting its ability to file its Submission on Costs. On November 2, 2018, the Tribunal
extended the deadline to file each Parties’ Submission on Costs until November 30,
2018.



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                On October 31, 2018, the Parties informed the Tribunal of their agreement to limit to 40
                pages their Reply Post-Hearing Brief and Submission on Costs, which the Tribunal
                confirmed.


                On October 31, 2018, the Parties simultaneously submitted their Reply Post-Hearing
                briefs. The Claimants’ Reply Post-Hearing brief was submitted together with CL-177
                and CL-178. 1


                On November 30, 2018, the Respondent requested a further extension because the
                technology issue had not been resolved. On the same date, the Claimants filed their
                corresponding Submission on Costs.


                On December 3, 2018, the Tribunal granted the Respondent an extension to file its
                Submission on Costs until January 2, 2019. On December 28, 2018, the Respondent
                requested a further extension to file its Submission on Costs. The Tribunal granted the
                further extension. On January 16, 2019, the Respondent submitted its Submission on
                Costs. On January 18, 2019, the Secretary of the Tribunal then circulated to the Parties
                the respective Submissions on Costs.


                On 8 April 2019 the Respondent requested authorization to add a new legal authority,
                RREEF Infrastructure (G.P.) Limited and RREEF Pan-European Infrastructure Two
                Lux S.a.r.l v. Kingdom of Spain, to the record. The Claimants did not object to the
                addition of the legal authority but sought directions to file further submissions.


                The Tribunal on 19 April 2019 gave the following set of directions:


                      (a)      The Tribunal grants the Respondent’s request to introduce into the record
                               the RREEF Infrastructure (G.P.) Limited and RREEF Pan-European
                               Infrastructure Two Lux S.a.r.l v. Kingdom of Spain (ICSID Case No.



1   These two legal authorities were admitted by the Tribunal on October 22, 2018.


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                               ARB/13/30) Decision on Responsibility and Principle of Quantum dated
                               30 November 2018 (“RREEF Decision”);
                     (b)       The Tribunal also grants leave to introduce the Partial Dissenting Opinion
                               of Prof. Robert Volterra to the RREEF Decision requested by the
                               Claimants;
                     (c)       The Tribunal invited the Parties to comment on the RREEF Decision and
                               the Partial Dissenting Opinion of Prof. Robert Volterra;
                     (d)       The Respondent was to file its comments by 3 May 2019 and the
                               Claimants were to file their comments by 17 May 2019.


               The Respondent filed its Comments on the RREEF Decision by 3 May 2019.


               The Claimants filed their Comments on the RREEF Decision and Partial Dissent on 17
               May 2019.


               On 11 October 2019, the Claimants requested leave to the Tribunal to introduce “new
               awards which concerned the Kingdom of Spain.” 2 The Tribunal invited the Respondent
               to comment on the Claimants’ request. On 21 October 2019, the Respondent filed its
               response.


               On 22 October 2019, the Tribunal decided that the new awards rendered were not
               necessary for the Tribunal’s decision for this case and, therefore, denied the Claimants’
               request.


               On 4 December 2019, the Respondent requested leave to the Tribunal to introduce two
               new awards to the record of this case. The Tribunal invited the Claimants to comment
               on the Respondent´s request. On 11 December 2019, the Claimants filed their response.


               On 17 December 2019, the Tribunal decided that the new awards indicated by the
               Respondent were not necessary for the Tribunal to deliver its decision and, therefore,

2   Claimants’ Letter dated 11 October 2019, citing Hearing Transcript, Day 4, 179:8-10.

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               denied the Respondent’s request.


               On 18 December 2019, the Tribunal declared the proceedings as closed.


       III.    RELIEF SOUGHT BY THE PARTIES

         A. The Claimants

               The Claimants requested that the Tribunal grants the following relief:


                     (a) DECLARING that Spain has breached Article 10(1) of the ECT; and

                     (b) ORDERING that Spain:

                         (i)      provide full restitution to the Claimants by re-establishing the
                                  situation which existed prior to Spain's breaches of the ECT,
                                  together with compensation for all losses suffered before
                                  restitution; or
                         (ii)     pay the Claimants compensation for all losses suffered as a result
                                  of Spain's breaches of the ECT; and

                                  in any event:

                         (iii)    pay the Claimants pre-award interest at a rate of 1.16%
                                  compounded monthly; and
                         (iv)     pay post-award interest, compounded monthly at a rate to be
                                  determined by the Tribunal on the amounts awarded until full
                                  payment thereof; and
                         (v)      pay the Claimants the costs of this arbitration on a full-indemnity
                                  basis, including all expenses that the Claimants have incurred or
                                  will incur in respect of the fees and expenses of the arbitrators,
                                  ICSID, legal counsel, experts and consultants; and
                         (vi)     any such other and further relief that the Tribunal shall deem just
                                  and proper. 3

               The Claimants reserved their rights to request in the course of the proceedings any
               additional, alternative or different relief as may be appropriate, including conservatory,
               injunctive or other interim relief.


3   Claimants’ Memorial, ¶ 540; Claimants’ Reply ¶ 792.


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               In the Claimants’ Reply, the Claimants also asked the Tribunal to dismiss all of Spain’s
               jurisdictional objections. 4


         B. The Respondent

               The Respondent requested that the Tribunal grants the following relief:


                     (a) Declare its lack of jurisdiction over the claims of the Claimants or, if
                     applicable, the inadmissibility of said claims.
                     (b) Subsidiarily, in the event that the Arbitral Tribunal decides that it has
                     jurisdiction to hear this dispute, to dismiss all the claims of the Claimants
                     regarding the Merits, as the Kingdom of Spain has not breached the ECT in
                     any way, pursuant to section III herein, with regard to the Merits.
                     (c) Subsidiarily, to dismiss all the Claimant’s claims for damages as the
                     Claimant has no right to compensation, in accordance with section V herein;
                     and
                     (d) Order the Claimant to pay all costs and expenses derived from this
                     arbitration, including ICSID administrative expenses, arbitrators’ fees, and
                     the fees of the legal representatives of the Kingdom of Spain, their experts
                     and advisors, as well as any other cost or expense that has been incurred, all
                     of this including a reasonable rate of interest from the date on which these
                     costs are incurred until the date of their actual payment. 5

               The Respondent reserved its right to supplement or modify the above request for relief
               at any time during the proceeding. 6


       IV.     FACTUAL BACKGROUND

               In this Section, the Tribunal addresses the events relevant to the dispute in a
               chronological manner. The Tribunal wishes to state that this summary of the factual
               background is not an exhaustive summary. The Tribunal has considered the entirety of
               the Parties’ submissions of fact in their written and oral submissions, whether or not
               they are expressly discussed in this section.



4   Claimants’ Reply ¶ 792.
5   Respondent’s Counter-Memorial, ¶ 1112.
6   Respondent’s Counter-Memorial, ¶ 1113.


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         A. Respondent’s Renewable Energy Regulatory Framework

               Spain’s development of RE dates back to the United Nations Framework Convention
               on Climate Change (“UNFCCC”), which was adopted on 9 May 1992 and entered into
               force on 21 March 1994. 7 The UNFCCC established a framework for inter-
               governmental efforts to tackle climate change.


               Spain’s commitments under the UNFCCC were expanded through the Kyoto Protocol,
               negotiated in 1997 by the parties to the UNFCCC, which fixed upon its signatories
               (including members states of the European Union) binding greenhouse gas emissions
               targets. As such, the European Union set greenhouse gas emission targets for its member
               states to align with the objectives of the Kyoto Protocol. The Kyoto Protocol was signed
               by Spain on 29 April 1998 and ratified on 31 May 2002. It entered into force on 16
               February 2005. 8


                Initial Framework

                (a) Basic Feature

               Spain’s Energy Policy (also referred as the Spanish Electrical System) is found in a
               number of laws and regulations, which are as follows: 9


                    (1)       The Spanish Constitution of 1978, which is the supreme legislation of the
                              Spanish Legal System.
                    (2)       Statute Law, which is of two kinds, namely: (a) organic law and (b) ordinary
                              laws.
                    (3)       Royal Decree Law, which, as regulation, has the force of law. The
                              Constitution authorises the Spanish Government to approve Royal Decree
                              Law in situations of   extraordinary need or urgency. The approval of


7   Exhibit C-36.
8   Exhibit C-37.
9   Respondent’s Counter-Memorial, ¶ 213.


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                              Royal Decree Law is subject to strict conditions, controls, and limits and
                              requires subsequent Parliamentary validation.
                     (4)      Royal Decree, which is a regulatory standard that emanates from the
                              Government. It complements or implements laws and is hierarchically
                              inferior to them.
                     (5)      Ministerial Orders, which are a regulatory standard emanating from one or
                              several ministerial departments.

                (b) Regulators

               Regulators of Spain’s Energy Policy include, first, the Ministry of Industry, Energy and
               Tourism, which has the primary responsibility for regulation of energy matters. Second,
               the Secretary of State for Energy exercises specific responsibilities for energy policies.
               Third, the Institute for Diversification and Saving of Electricity (“IDAE”) provides
               advice to policymakers on technical and economic issues and drafting of legislations
               and acts as a liaison between the Government and Industry.


               Another relevant agency is the National Energy Commission (“CNE”), 10 which
               oversees competition in market settlement of regulated costs of the electricity system
               and monitors the technical compliance of both conventional and renewable power
               facilities. The CNE is now known as the National Commission on Markets and
               Competition (“CNMC”). 11

                (c) The 1997 Electricity Law (Law 54/1997)

               On 27 November 1997, Spain adopted Law 54/1997 on the Electricity Sector (“1997
               Electricity Law” or “Law 54/1997”), which partially opened up the electricity sector
               to competition and put an end to the previous State-controlled system. 12 Law 54/1997
               set up the framework for various public authorities to exercise competence in Spain’s
               electricity sector. In particular, and as mentioned above, within the central Government

10   Respondent’s Counter-Memorial, ¶ 229.
11   Respondent’s Counter-Memorial, ¶¶ 229-231.
12   Law 54/1997 of 27 November 1997, Exhibit C-39.


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               the relevant public authorities would include the CNE and the Ministry of Industry,
               Tourism and Commerce. 13


               Among the objectives of the Law 54/1997 was the “promotion of renewable energy”
               and for RE sources to “cover at least 12% of Spain’s total energy demand by the year
               2010 […].”14


               For the purposes of encouraging the production of energy from renewable sources, Law
               54/1997 distinguished between an “Ordinary Regime” applicable to conventional
               sources of energy—such as coal-fired power plants—and a “Special Regime”
               applicable to energy production facilities of less than 50MW, which generated
               electricity from “non-consumable renewable energy sources.” 15 Under the Special
               Regime, electricity generators benefitted from a supplementary premium over and
               above the market price.


               Spain explains that the creation of a double regime stemmed from the “need to
               encourage production using energy sources which can only obtain a price in the
               competitive market that is insufficient to cover its costs of construction and operation,
               with reasonable return on the investment. Therefore, they require subsidies to be
               profitable.” 16 For the Claimants, “reasonable return” is an “undefined legal concept.” 17


               The basis of remuneration under the Special Regime was a feed-in-tariff (“FIT”)
               calculated in Euro/c per kWh of electricity produced. The amount of premium was set
               out in Article 30.4 of Law 54/1997, which reads as follows:



13 Law 3/2013 of 4 June 2013 (published on 5 June 2013) (“Law 3/2013”), Exhibit C-69; Royal Decree 657/2013 of 30 August

2013 (published on 31 August 2013) (“RD 657/2013”), Exhibit C-70;, Order ECC/1796/2013 of 4 October 2013 (published on 5
October 2013) (“Order ECC/1796/2013”), Exhibit C-71; and CNMC, “Spanish Energy Regulator’s National Report to the
European Commission 2014”, 31 July 2014, p. 27, Exhibit C-72.
14   Law 54/1997 of 27 November 1997, Preamble; Sixteenth Transitory Provision, Exhibit C-39.
15   Law 54/1997 of 27 November 1997, Article 27(1), Exhibit C-39.
16   Respondent’s Counter-Memorial, ¶ 284.
17   Claimants’ Memorial, ¶ 87.


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                        In order to determine the premiums, account shall be taken of the level of
                        delivery voltage of the energy to the grid, effective contribution to
                        improvement of the environment, saving in primary energy and energy
                        efficiency, production of economically justifiable useful heat and the
                        investment costs which have been incurred, in order to achieve reasonable
                        rates of return by reference to the cost of money in the capital market. 18

                (d) 1998-2006 Regulations

                   i.      Royal Decree 2818/1998

               On 23 December 1998, Spain adopted Royal Decree 2818/1998 (“RD 2818/1998”) on
               electricity production installations supplied by renewable energy, waste or
               cogeneration. 19 RD 2818/1998 was the first regulatory development of Article 30.4 of
               Law 54/1997. The objective of RD 2818/1998 was to establish “a system of temporary
               incentives for those facilities that require them in order to place them in a competitive
               position in a free market.” 20


               RD 2818/1998 enabled RE generators qualifying under the Special Regime to sell
               electricity either under a regulated tariff or a premium paid on top of the wholesale
               market price. The premiums and regulated tariffs were reviewed by the Spanish
               Government annually, depending on the variation of the average price of electricity. 21


               RD 2818/1998 also established the Administrative Registry for Production Facilities
               under the Special Regime (“Registro Administrativo de Instalaciones de Producción en
               Régimen Especial” or “RAIPRE”) to facilitate the Government’s management and
               control of the retribution under the legislation. 22




18   Law 54/1997 of 27 November 1997, Article 30.4, Exhibit C-39.
19   RD 2818/1998 of 23 December 1998, Exhibit C-73.
20   RD 2818/1998 of 23 December 1998, Preamble, Exhibit C-73.
21   RD 2818/1998 of 23 December 1998, Article 28, Exhibit C-73.
22   RD 2818/1998 of 23 December 1998, Article 9, Exhibit C-73.


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                   ii.    The 2001 Renewables Directive

                On 27 September 2001, following the adoption of the Kyoto Protocol in 1997, the
                European Parliament and Council passed Directive 2001/77/CE “on the promotion of
                electricity produced from renewable energy sources in the internal electricity market”
                (the “2001 Renewables Directive”). 23 The 2001 Renewables Directive established
                obligations for the EU Member States to take appropriate measures to increase future
                electricity consumption derived from RE sources. 24 This Directive also recognised the
                “need for public support in favour of renewable energy sources is recognised in the
                Community guidelines for State aid for environmental protection.” 25 It further required
                EU Member States to establish “national indicative targets for the consumption of
                electricity produced from renewable sources” consistent with the overall target of 12%
                of electricity consumption from renewable sources by 2010. 26


                In addition, the 2001 Renewables Directive required EU Members States to implement
                a RE plan to comply with the Directive by 2003 and ensure that the charging of
                transmission and distribution fees did not discriminate against electricity from RE
                sources, among others. 27 Spain’s specific target was to draw 29.4% of its electricity
                from RE sources by 2010. 28

                  iii.    Royal Decree 436/2004

                Spain enacted Royal Decree 436/2004 (“RD 436/2004”) on 12 March 2004, 29 and which
                repealed RD 2818/1998. This decree, published on 27 March 2004, updated and
                systemised the legal and economic regime under the Special Regime by establishing
                that qualifying installations could sell electricity (i) at a regulated fixed tariff; or (ii) at


23   2001 Renewables Directive of 27 September 2001, Exhibit C-38.
24   2001 Renewables Directive of 27 September 2001, Recital (5), Exhibit C-38.
25   2001 Renewables Directive of 27 September 2001, Recitals (12), Exhibit C-38.
26   2001 Renewables Directive of 27 September 2001, Recitals (5) and (7), Exhibit C-38.
27   2001 Renewables Directive of 27 September 2001, Articles 3(3) and 9, Exhibit C-38.
28   2001 Renewables Directive of 27 September 2001, Annex, Exhibit C-38.
29   RD 436/2004 of 12 March 2004, Exhibit C-41.


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               market prices and receive a premium FIT payment over and above the market price per
               kWh produced. 30 Both options were calculated by reference to a percentage of the
               average electricity tariff fixed by the Government on an annual basis, the “tarifa media
               de referencia” (“TMR”). 31 Both values were subject to market fluctuations because the
               regulated tariff and FIT were linked to the average cost of electricity.


               Further, Article 40 established that:


                     1. During 2006, […] the tariffs, premiums, incentives and supplements
                     defined in this Royal Decree shall undergo revision. […]. Every four years,
                     starting from 2006, a new revision shall take place.
                     2. The tariffs, premiums, incentives and supplements resulting from any of
                     the revisions provided for in this section shall come into force on January
                     1st of the second year subsequent to the year that the revision has been
                     carried out.
                     3. The tariffs, premiums, incentives and supplements resulting from any of
                     the revisions provided for in this section shall apply solely to the plants that
                     commence operating subsequent to the date of the entry into force referred
                     to in the paragraph above and shall not have a backdated effect on any
                     previous tariffs and premiums. […].32


                  iv.     The 2005-2010 Renewable Energy Plan

               Spain’s Council of Ministers approved the 2005-2010 Renewable Energy Plan on 26
               August 2005, which revised the earlier 2000-2010 Renewable Energy Plan adopted in
               1999. 33 The objective of the revised Renewable Energy Plan, prepared by IDAE, was
               to maintain Spain’s commitment to cover at least 12% of the total energy demand with
               renewable sources by 2010, and incorporate two other objectives: 29.4% of electricity
               generation from renewables and 5.75% from biofuels in transport. 34




30   RD 436/2004 of 12 March 2004, Article 22(1), Exhibit C-41.
31   RD 436/2004 of 12 March 2004, Articles 23 and 24, Exhibit C-41.
32   RD 436/2004 of 12 March 2004, Article 40, Exhibit C-41.
33   2005-2010 Renewable Energy Plan, August 2005, Exhibit C-75.
34   2005-2010 Renewable Energy Plan, August 2005, p.7, Exhibit C-75.


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                The 2005-2010 Renewable Energy Plan established that the RD 436/2004 FIT regime
                allowed wind producers to receive internal return rates above 7%, with own resources
                and after tax. 35 It also recommended increasing the installed capacity limit on tariffs,
                incentives and premiums for wind sources from 13,000 MW to 20,000 MW. 36

                   v.      Royal Decree-Law 7/2006

                Royal Decree Law 7/2006 (“RDL 7/2006”) was enacted on 23 June 2006. 37 It amended
                Law 54/1997 and gave RE installations priority of access to transmission and
                distribution network. 38 This would allow generators to sell their electricity output in
                preference to any other non-renewable producer.


                RDL 7/2006 also provided that future variations of the TMR would not apply to the RD
                436/2004 FIT, which meant that the RD 436/2004 remuneration options would be
                calculated in accordance with the TMR applicable in 2006. 39


                 Regulatory Developments in 2007-2010

                 (a) Royal Decree 661/2007

                On 25 May 2007, Spain passed Royal Decree 661/2007 (“RD 661/2007”) regulating the
                activity of electricity production under the Special Regime. 40 RD 661/2007 replaced RD
                436/2004. The objectives of the new policy are set out in the Preamble:


                        [A]lthough the growth experienced by the special electricity generation
                        regime as a whole has been noteworthy, the targets set for certain
                        technologies are still far from being achieved. From the point of view of
                        compensation, the business of the production of electrical energy under the
                        special regime is characterised by the possibility that the compensation

35   2005-2010 Renewable Energy Plan, August 2005, p. 49, Exhibit C-75.
36   2005-2010 Renewable Energy Plan, August 2005, p. 57, Exhibit C-75.
37   RDL 7/2006 of 23 June 2006, Exhibit C-42.
38   RDL 7/2006 of 23 June 2006, Article 1, ¶ 12, amending Article 30(2)(b) of Law 54/1997, Exhibit C-42.
39   RDL 7/2006 of 23 June 2006, Second Transitory Provision, Exhibit C-42.
40   RD 661/2007 of 25 May 2007, Exhibit C-44.


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                     system can be supplemented by the receipt of a premium under the terms
                     and conditions established in the regulations, in order to determine which
                     such factors as the voltage level of the energy delivered into the grid, the
                     contribution to the improvement in the environment, primary energy saving,
                     energy efficiency, and the investment costs incurred, may all be taken into
                     account. 41

               RD 661/2007 notably increased the installed capacity target for wind power generation
               from 13,000 MW to 20,155 MW. 42 Article 22 established that when the 85% target of
               the installed capacity was reached for any technology, there would be a time limit of at
               least 12 months within which wind installations would be required to register with the
               RAIPRE to benefit from RD 661/2007’s economic regime. 43 By registering with
               RAIPRE, the installation qualified under the Special Regime and could thus benefit
               from the support schemes established under RD 661/2007. 44


               With regard to the electricity output, RD 661/2007 provided qualifying RE generators
               the right to choose between two forms of remuneration:

                     a) Sell the electricity to the system through the transport or distribution grid,
                     receiving for it a regulated tariff, which shall be the same for all scheduling
                     periods expressed in Euro cents per kilowatt/hour.
                     b) Sell the electricity in the electrical energy production market. In this case
                     the sale price of the electricity shall be the price obtained in the organised
                     market or the price freely negotiated by the proprietor or the representative
                     of the facility, supplemented where appropriate by a premium, in Eurocents
                     per kilowatt/hour. 45

               A “regulated tariff” is defined by Article 25 as a “fixed sum which shall be the same for
               all scheduling periods and shall be determined as a function of the Category, Group, of




41   RD 661/2007 of 25 May 2007, Preamble, Exhibit C-44.
42   RD 661/2007 of 25 May 2007, Article 38(2), Exhibit C-44.
43   RD 661/2007 of 25 May 2007, Article 22(1), Exhibit C-44.
44   RD 661/2007 of 25 May 2007, Article 17, Exhibit C-44.
45   RD 661/2007 of 25 May 2007, Article 24(1), Exhibit C-44.


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               Sub-Group to which the facility belongs, and the installed power, and where applicable
               the length of time since the date of commissioning […]”46


               Article 2 of RD 661/2007 defined categories of facilities based on the primary energy
               used, the type of technology and the energy yield. Wind facilities were included under
               Category b.2 and the regulated tariff was set out in Table 3 of Article 36 as follows: 47




               Further, and contrary to what was established under RD 436/2004, tariffs for wind
               energy producers were de-linked from the TMR and indexed to the consumer price
               index (“CPI”). Article 44(3) indeed provided that:

                     [t]he values of the tariffs, premiums, supplements, and lower and upper
                     limits to the hourly price of the market as defined in this Royal Decree, for
                     Category b) […] shall be updated on an annual basis using as a reference
                     the increase in the CPI less the value set out in the Additional Provision One
                     of the present Royal Decree. 48

               Particularly, Article 44(3) defined tariffs, premiums, supplements and lower and upper
               limits as follows:


                     In 2010, in view of the results of the follow-up reports on the extent to which
                     the Renewable Energy Plan for 2005-2010 and the Energy Savings and
                     Efficiency Plan for Spain (E4) have been achieved, as well as the new
                     objectives included in the next Renewable Energy Plan for 2011-2020,
                     tariffs, premiums, additional payments, and lower and upper thresholds set

46   RD 661/2007 of 25 May 2007, Article 25, Exhibit C-44.
47   RD 661/2007 of 25 May 2007, Article 36, Exhibit C-44.
48   RD 661/2007 of 25 May 2007, Article 44(1), Exhibit C-44.


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                     out in this royal decree will be reviewed, taking into account the costs
                     associated with each of these technologies, the degree of participation of the
                     special regime in meeting demand and its impact on the technical and
                     economic management of the system, guaranteeing reasonable returns with
                     reference to the cost of money on capital markets. Every four years
                     thereafter a new adjustment will be carried out using the above criteria.

                     The adjustment to the regulated tariff and the lower and upper threshold
                     referred to in this section will not affect the facilities for which the start-up
                     document was issued before January 1 of the second year in which the
                     adjustment was implemented. 49

               Finally, RD 661/2007 also provided priority of access and dispatch to qualifying
               installations and a bonus compensation for “reactive energy.” 50

                (b) The 2009 Renewables Directive

               On 23 April 2009, the EU approved the 2009 Directive “on the promotion and use of
               energy from renewable sources and amending and subsequently repealing Directives
               2001/77/EC and 2003/30/EC” (the “2009 Renewables Directive”). 51 The 2009
               Renewables Directive’s objective was to obtain 20% of its total energy consumption
               requirements with RE sources by 2020. 52 Spain’s RD 661/2007 anticipated the measures
               set out in the 2009 Renewables Directive.

                (c) Royal Decree-Law 6/2009

               Shortly after the adoption of the 2009 Renewables Directive, on 30 April 2009, Royal
               Decree-Law 6/2009 (“RDL 6/2009”) was enacted by Spain. 53 RDL 6/2009 recognised
               the existence of a “growing tariff deficit” in Spain and defined it as “the difference
               between revenue from the regulated tariffs that are set by the Administration and that
               consumers pay for their regulated supply and from the access tariffs that are set in the



49   RD 661/2007 of 25 May 2007, Article 44(3), Exhibit C-44.
50   RD 661/2007 of 25 May 2007, Annex XI and Article 29(1), Exhibit C-44.
51   2009 Renewables Directive, Exhibit C-64.
52   2009 Renewables Directive, Annex I, Exhibit C-64.
53   RDL 6/2009 of 30 April 2009, Exhibit C-100.


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                liberalised market and the real costs associated with these tariffs.” 54 RDL 6/2009
                further noted that the deficit was having a “profound effect on the system” and placing
                at risk “not only the financial situation of the companies that make up the Electricity
                Industry, but also the very sustainability of the system.” 55


                Because of the “unsustainable” imbalance, which “undermines the security and the
                capacity to fund the investments needed for the supply of electricity at the levels of
                quality and security that Spanish society requires,” RDL 6/2009 recognised the “need
                to adopt an urgent measure that serves to guarantee the necessary legal security of those
                who have made investments.” 56


                To tackle the tariff deficit, RDL 6/2009 set yearly limits from 2009 to 2012 on the
                amount the tariff deficit could grow. 57 RDL 6/2009 also established that from 1 January
                2013, access tariffs should be sufficient to meet the entire cost of regulated activities
                without ex ante deficit. 58 It thus required an increased regulated portion of the prices of
                the end user electricity so as to comply with the tariff deficit yearly limits. 59


                Article 4 of RDL 6/2009 also introduced a pre-assignment register mechanism (“Pre-
                Assignment Register”) and stated that enrolment in the Pre-Assignment Register was
                a necessary condition to benefit from the economic regime established in RD
                661/2007. 60 The Pre-Assignment Register was a prior step to the RAIPRE registration
                and qualifying under the RD 661/2007 economic regime. Further, pursuant to RDL
                6/2009, RE projects had to meet certain criteria in order to be registered. Once registered
                with the Pre-Assignment Register, facilities had a limit of 36 months to be registered



54   RDL 6/2009 of 30 April 2009, Preamble, Exhibit C-100.
55   RDL 6/2009 of 30 April 2009, Preamble, Exhibit C-100.
56   RDL 6/2009 of 30 April 2009, Preamble, Exhibit C-100.
57   RDL 6/2009 of 30 April 2009, Article 1, Exhibit C-100.
58   RDL 6/2009 of 30 April 2009, Article 1, Exhibit C-100.
59   RDL 6/2009 of 30 April 2009, Article 1, Exhibit C-100.
60   RDL 6/2009 of 30 April 2009, Article 4, Exhibit C-100.


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               with RAIPRE and enter into commercial operation to be able to benefit from the RD
               661/2007 economic regime.


               The Council of Ministers adopted on 24 November 2009 a resolution establishing a
               timetable classifying installations in four different phases with a view to establishing
               the progressive entry into operation of those facilities and allow a more controlled
               commissioning of wind plants. 61

                (d) The Purported 2 July 2010 Agreement

               On 2 July 2010, the Spanish Government issued a press release in which it stated that
               the Ministry of Industry, Tourism and Commerce had reached an “agreement” with the
               wind power sector, including the Wind Power Business Association (“AEE”), to revise
               their rate structures. 62 The Claimants and the Respondent are in disagreement as to the
               nature of the 2 July 2010 “agreement”.


               In the 2 July 2010 press release, the Government declared that there would be a fixed
               limit to the numbers of hours during which wind facilities could benefit from the FIT
               and that it would apply a reduction to the Premium of 35% until 1 January 2013. 63

                (e) Royal Decree 1614/2010

               On 7 December 2010, Spain adopted Royal Decree 1614/2010 on “regulating and
               modifying certain aspects relating to the production of electricity based on
               thermoelectric and wind technologies” (“RD 1614/2010”). 64 RD 1614/2010, which


61Resolution of the Secretary of State for Energy of 19 November 2009, publishing the Agreement of the Council of Ministers,
ordering the projects and installations presented to the Pre-Assignment Register for electricity generation installations set forth in
RDL 6/2009 (published on 24 November 2009), Section III, Exhibit C-101; see also, RDL 6/2009 of 30 April 2009, Preamble,
Exhibit C-100.
62Government of Spain, Ministry of Industry, Tourism and Commerce, Press Release: “The Ministry of Industry, Tourism and
Trade Reaches an Agreement with the Solar Thermal and Wind Power Sectors to Revise their Remuneration Frameworks”, 2 July
2010, Exhibit C-45.
63 Government of Spain, Ministry of Industry, Tourism and Commerce, Press Release: “The Ministry of Industry, Tourism and

Trade Reaches an Agreement with the Solar Thermal and Wind Power Sectors to Revise their Remuneration Frameworks”, 2 July
2010, p. 2, Exhibit C-45.
64   RD 1614/2010 of 7 December 2010, Exhibit C-46.


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               applied to qualifying wind installations, introduced, inter alia, a limit on operating hours
               per year benefitting from the FIT pursuant to RD 661/2007. 65 RD 1614/2010 also
               established the reduction by 35% until 1 January 2013. 66 Thereafter, the full premium
               regime under RD 661/2007 would apply to all qualifying wind installations. 67


               Furthermore, Article 5 of RD 1614/2010 provided as follows:

                     [f]or wind technology facilities adhered to Royal Decree 661/2007, of 25
                     May, the revisions of the tariffs, premiums and upper and lower limits
                     referred to in article 44.3 of the aforementioned Royal Decree, shall not
                     affect facilities registered definitively in the Administrative Registry of
                     production facilities entitled to the special regime that is maintained by the
                     Directorate-General for Energy and Mining Policy as of 7 May 2009, nor to
                     those that would have been registered in the Remuneration Pre-assignment
                     Registry under the fourth transitional provision of Royal Decree-Law
                     6/2009, of 30 April, and that were to meet the obligation envisaged in article
                     4.8 thereof. 68

               In other words, reviews under Article 44(3) of RD 661/2007 would depend on whether
               the installations were definitely registered with the RAIPRE as of 7 May 2009 or
               whether they satisfied the requirements for registration in the Pre-Assignment Register.


                The Disputed Measures

               The following section describes a series of measures adopted by Spain beginning 2012,
               which are at issue in the present arbitration.

                (a) Law 15/2012

               On 27 December 2012, Spain adopted Law 15/2012 on “Tax Measures for Energy
               Sustainability,” which entered into effect on 1 January 2013 (“Law 15/2012”). 69


65   RD 1614/2010 of 7 December 2010, Article 2, Exhibit C-46.
66   RD 1614/2010 of 7 December 2010, Article 5.2, Exhibit C-46.
67   RD 1614/2010 of 7 December 2010, Article 2.4, Exhibit C-46.
68   RD 1614/2010 of 7 December 2010, Article 5.3, Exhibit C-46.
69   Law 15/2012 of 27 December 2012, Exhibit C-48.


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               Pursuant to its Preamble, Law 15/2012 meant to “harmonise” Spain’s tax system
               through “a more efficient and respectful use of the environment and sustainable
               development [and] bring it into line with the basic principles that govern the tax, energy
               and of course the environmental policy of the European Union.” 70


               Among other tax measures, Law 15/2012 introduced a 7% levy on “the total amount
               that corresponds to the tax payer for the production of electricity and its incorporation
               into the electricity system, measured at power station bus bars, for each facility, in the
               tax period.” 71 This levy, known as the “Impuesto sobre el valor de la producción de
               energía eléctrica” (“TVPEE”) applied to all electricity production facilities, whether
               they were registered under the Ordinary Regime or Special Regime.


               According to the Respondent, the impact of the TVPEE on RE producers “has been
               neutralized” because the “the specific remuneration received by renewable producers
               enables them to recover certain costs that, unlike conventional technologies, cannot be
               recovered in the market, and, also, to obtain a reasonable return. Among those costs is
               precisely the TVPEE.” 72 For Claimants, the 7% levy is a “disguised tariff cut for RE
               installations and an additional limitation to the RD 661/2007 economic regime.” 73

                (b) Royal Decree-Law 2/2013

               On 1 February 2013, Spain adopted Royal Decree-Law 2/2013 “concerning urgent
               measures within the electricity system and the financial sector” (“RDL 2/2013”). 74


               RDL 2/2013 introduced several measures, two of which are impugned by the Claimants.
               First, RDL 2/2013 reduced to zero the amount of the premium that both existing and
               future installations expected to receive as a supplement to the market price for electricity


70   Law 15/2012 of 27 December 2012, Preamble, Exhibit C-48.
71   Law 15/2012 of 27 December 2012, Article 6, Exhibit C-48.
72   Respondent’s Counter-Memorial, ¶ 662.
73   Claimants’ Memorial, ¶ 227.
74   RDL 2/2013 of 1 February 2013, Exhibit C-49.


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                under Article 36 of RD 661/2007. 75 Thus, facilities under the Special Regime were
                forced to receive the fixed tariff.


                Second, RDL 2/2013 introduced a change to the inflation index applicable to the FIT.
                RDL 2/2013 provided that tariffs applicable to the electricity sector would no longer be
                updated by reference to the CPI but rather, to the “CPI at constant tax rates, excluding
                unprocessed foods and energy products” as of 1 January 2013. 76 According to the
                Claimants, the impact of this measure on the Claimants’ investments was “limited.” 77


                On 19 February 2015, the Spanish Constitutional Court dismissed a challenge against
                RDL 2/2013, upholding its constitutionality. 78 On 26 March 2015, the Supreme Court
                upheld the legality of the RDL 2/2013. 79

                 (c) Royal Decree-Law 9/2013

                On 12 July 2013, the Government enacted Royal Decree-Law 9/2013 adopting urgent
                measures “to guarantee the financial stability of the electricity system” (“RDL
                9/2013”), which entered into force on 14 July 2013. 80 Pursuant to its Preamble, the
                objective of RDL 9/2013 was to introduce:


                     a series of measures which are urgent, balanced, proportional and reaching,
                     aimed at guaranteeing the financial stability of the electricity system as an
                     unavoidable prerequisite for the economic sustainability thereof and to
                     ensure a secure supply, and which are addressed to all electricity sector
                     activities. 81




75   RDL 2/2013 of 1 February 2013, Article 2, Exhibit C-49.
76   RDL 2/2013 of 1 February 2013, Article 1, Exhibit C-49.
77   Claimants’ Memorial, ¶ 241.
78Judgment of the Constitutional Court 28/2015, of 19 February 2015, in Constitutional Question number 6412-2013, Exhibit R-
0151.
79   Judgment of the Supreme Court, of 26 March 2015, Exhibit R-0153.
80   RDL 9/2013 of 12 July 2013, Exhibit C-51.
81   RDL 9/2013 of 12 July 2013, Preamble, Exhibit C-51.


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                RDL 9/2013 made substantial modifications to the 1997 Electricity Law, by repealing
                RD 661/2007 and establishing a new remuneration regime for RE facilities, which
                applied to both existing and new installations. For the Claimants, the regime under RDL
                9/2013 (“New Regime”) represented a “complete overhaul of the Special Regime.” 82
                According to the Claimants, the New Regime “resulted in a 41% reduction in the
                Claimants’ cash flows.” 83


                In particular, the New Regime amended Article 30(4) of RD 661/2007 as follows:


                     4. Additionally, subject to the terms that the Council of Ministers might
                     adopt pursuant to Royal Decrees, in relation to the remuneration for the
                     generation of electricity calculated according to market price, installations
                     may receive a specific remuneration [the Special Payment] composed of an
                     amount per unit of installed capacity. Such amount shall cover, as
                     appropriate, the investment costs of a standard installation that cannot be
                     recovered through the sale of energy, as well as an amount for the operation
                     of the installation to cover, as the case may be, the difference between
                     exploitation costs and the revenues obtained from the participation of such
                     a standard installation in the market.

                     For the calculation of that specific remuneration, the following elements
                     shall be considered, based on the installation’s regulatory useful life and by
                     reference to the activities carried out by an efficient and well administered
                     business:

                     a) The standard revenues for the sale of generated energy valued at market
                     price of production;

                     b) The standard exploitation costs; and

                     c) The standard value of the initial investment.

                     To that effect, the costs or investments determined by laws or administrative
                     regulations that do not apply to the Spanish territory shall not be considered
                     in any case. In the same manner, only those costs and investments related
                     to the activity of electric energy generation can be taken into account.




82   Claimants’ Memorial, Section 7.2.
83   Claimants’ Memorial, ¶ 262.


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                      As a result of the individual characteristics of the electricity system in the
                      Spanish islands or the extra-peninsular territories, a standard installation for
                      each of those electricity systems may be defined.

                      This remuneration regime shall not exceed the minimum required level to
                      cover the costs that are necessary for installations to compete on an equal
                      footing with the rest of the technologies in the market in order to allow those
                      installations to obtain a reasonable return, by reference to the standard
                      installation, as the case may be. Notwithstanding the above, exceptionally,
                      the remuneration regime might also include an incentive to investments and
                      timely execution of an installation, if this was going to result in a significant
                      cost reduction for the Spanish islands or the extra-peninsular territories’
                      electricity systems.

                      Such reasonable return will be based on, before taxes, the average returns
                      in the secondary market of the State's ten-year bonds plus the adequate
                      differential.

                      The parameters of the remuneration regime can be revised every six years. 84

                By repealing RD 661/2007, RDL 9/2013 repealed the remunerative scheme for RE
                producers based on the Regulated Tariff or a premium in addition to electricity market
                prices. 85 Under the New Regime, RE producers were to receive a “Special Payment”
                taking into account the following elements: (i) the “standard revenues for the sale of
                generated energy valued at market price of production;” (ii) the “standard exploitation
                costs;” and (iii) the “standard value of the initial investment.” 86


                RDL 9/2013 also provided that the parameters of the remuneration regime could be
                revised every six years. 87 Further, the “reasonable rate of return” for facilities
                benefitting from the FIT as of the effective date of RDL 9/2013 was to be “referenced,
                before tax, to the average yield during the ten years prior to the this Royal Decree-Law
                coming into effect from ten-year Government Bonds in the secondary market, increased
                by 300 base points.” 88


84   RDL 9/2013 of 12 July 2013, Article 1(Two), Exhibit C-51.
85   RDL 9/2013 of 12 July 2013, Sole Repeal Provision; Article 1, Exhibit C-51.
86   RDL 9/2013 of 12 July 2013, Article 1, Exhibit C-51.
87   RDL 9/2013 of 12 July 2013, Article 1, Exhibit C-51.
88   RDL 9/2013 of 12 July 2013, First Additional Provision, Exhibit C-51.


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                On 17 December 2015 and 18 February 2016, Spain’s Constitutional Court dismissed
                challenges against certain provisions of RDL 9/2013. 89

                (d) Law 24/2013

               On 26 December 2013, Spain adopted Law 24/2013 on the Electricity Sector, which
               replaced Law 54/1997 (“Law 24/2013”). 90 In its Preamble, Law 24/2013 says that Law
               54/1997 “has proven to be insufficient in terms of guaranteeing the financial balance of
               the system, amongst other reasons because the system for paying or rewarding
               regulated activities is lacking in the necessary flexibility for its adaptation to cope with
               the significant changes pertaining to the electric system or in economy trends.” 91


               Law 24/2013 incorporated and extended the economic regime established in RDL
               9/2013. Notably, Law 24/2013 formally eliminated the distinction between the Ordinary
               Regime and Special Regime. 92


               Further, Article 14(4) of Law 24/2013 provided that, in the New Regime, “remuneration
               parameters” for RE projects would remain valid for regulatory periods of six years, and
               could be “revised prior to the start of the regulatory period.” 93 Pursuant to Article 14(7),
               the remuneration mechanism would be calculated to provide reasonable profits for the
               installations and would rely on (i) the standard revenue from the energy produced
               (revised every three years for the rest of the regulatory period); (ii) the standard
               operating costs; and (iii) the standard value of the initial investment. 94 It further
               established that the “reasonable return” was to be calculated throughout the “regulatory
               life of the plant.” 95

89 Judgment of the Constitutional Court of 17 December 2015, delivered in constitutional challenge 5347/2013, Exhibit R-0154;

Judgment of the Constitutional Court of 18 February 2016, delivered in constitutional challenge 5852/2013, Exhibit R-0156;
Judgment of the Constitutional Court of 18 February 2016, delivered in constitutional challenge 6031/2013, Exhibit R -0157.
90   Law 24/2013 of 26 December 2013, Exhibit C-52.
91   Law 24/2013 of 26 December 2013, Preamble, Exhibit C-52.
92   Law 24/2013 of 26 December 2013, Fifth Final Provision, Exhibit C-52.
93   Law 24/2013 of 26 December 2013, Article 14(4), Exhibit C-52.
94   Law 24/2013 of 26 December 2013, Article 14(7), Exhibit C-52.
95   Law 24/2013 of 26 December 2013, Third Final Provision (3), Exhibit C-52.


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                Law 24/2013 did not however fully define the economic regime under the New Regime.
                As described below, additional implementing measures were required to define the
                applicable economic regime for RE installations.

                 (e) Royal Decree 413/2014 and Ministerial Order MO IET/1045/2014

                On 6 June 2014, Spain adopted Royal Decree 413/2014 “regulating the production of
                electricity from renewable energy sources, cogeneration and waste” (“RD
                413/2014”). 96 This regulation was adopted to implement the new regime set forth by
                Law 23/2014.


                Among other measures, RD 413/2014 established the formulas for calculating the two
                components of the Special Payment under the new regime: (i) a remuneration per MW
                of installed capacity; and (ii) a remuneration per MWh of electricity produced to cover
                the operating costs that cannot be met by market prices. 97 RD 413/2014 also subjected
                the Special Payment to certain thresholds of operating hours. 98


                RD 413/2014 also provided that the “remuneration parameters” could be revised at the
                end of each “regulatory period” of six years but also at the end of each “semi
                (regulatory)” period of three years. 99


                On 16 June 2014, the Ministry of Industry and Tourism issued Ministerial Order
                IET/1045/2014 to further implement the New Regime and define the applicable
                economic regime for RE producers (“June 2014 Order”). 100 The June 2014 Order
                approved the remuneration parameters of standard installations for the production of




96   RD 413/2014 of 6 June 2014, Exhibit C-54.
97   RD 413/2014 of 6 June 2014, Article 11(6), Exhibit C-54.
98   RD 413/2014 of 6 June 2014, Article11(6), Exhibit C-54.
99   RD 413/2014 of 6 June 2014, Article 15, Exhibit C-54.
100   Order IET/1045/2014 of 16 June 2014, Exhibit C-53.


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                electricity from RE sources, co-generation and waste. Notably, the June 2014 Order
                fixed the reasonable return for existing installations at 7.398% pre-tax. 101

       B. Claimants’ Investment in Wind Farms

                According to the Claimants, in 2011, Watkins Spain, Redpier and Northsea “acquired
                the entire share capital” of the Marmellar SL and La Boga SL. 102 Marmellar SL holds
                the wind farm known as Parque Eólico Marmellar (49.5 MW) (“Parque Marmellar”)
                and La Boga SL holds the following seven wind farms:

                      1.       Parque Eólico Lodoso (49.5 MW) (“Parque Lodoso”);
                      2.       Parque Eólico El Perul (49.6 MW) (“Parque El Perul”);
                      3.       Parque Eólico La Lastra (11.69 MW) (“Parque La Lastra”);
                      4.       Parque Eólico Lora 1 (49.6 MW) (“Parque Lora 1”);
                      5.       Parque Eólico Lora 2 (49.6 MW) (“Parque Lora 2”);
                      6.       Parque Eólico Sargentes (24 MW) (“Parque Sargentes”); and
                      7.       Parque Eólico Arroyal (49.5 MW) (“Parque Arroyal” and, together, the
                               “Wind Farms”). 103

                The Wind Farms are located in the province of Burgos, in the autonomous region of
                Castilla y León and have a total installed production capacity of 332.99 MW. Marmellar
                SL and La Boga SL are jointly referred to as the “Project Companies.” 104


                The Claimants are affiliates of Bridgepoint Advisers Limited (“Bridgepoint”), a private
                equity firm that invests in different sectors in Europe. 105 According to the Claimants,
                Bridgepoint’s strategy is to “acquire controlling stakes in companies with a strong
                market position and potential for growth in the long term through: (i) operational


101   Order IET/1045/2014 of 16 June 2014, Annex III (1.3), Exhibit C-53.
102
  Claimants’ Memorial, ¶ 14; see also, Share purchase agreement between Bridgepoint Europe IV Bidco 3 Limited, Bridgepoint
Europe IV Bidco 6 Limited and Bridgepoint Europe IV Bidco 8 Limited and EYRA, Urbaenergía and Iverduero dated 12 August
2011, Exhibit C-35.
103   Claimants’ Memorial, ¶ 14.
104   Claimants’ Memorial, ¶ 14.
105   Claimants’ Memorial, ¶ 11.


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                improvement; (ii) refocusing of strategies; and (iii) the acquisition of additional
                companies which can be consolidated with the initial investment.” 106


                According to the Claimants, in May 2011, the Claimants were “approached by the
                corporate finance departments of Société Générale and Mediobanca regarding the
                opportunity to invest in a portfolio of wind farms being divested by the Spanish
                construction conglomerate Actividades de Construcción y Servicios (ACS)” and were
                provided with an information memorandum, which contained general information on
                investing in the wind facilities in Spain.107 The Wind Farms, which were registered with
                RAIPRE, would be held by a newly-incorporated company, Borawind Energy, S.L.
                (“Borawind”). 108


                The Claimants commissioned a series of due diligence reports, including a report by the
                Boston Consulting Group (“BCG”) to analyse the “sustainability of the regulatory
                report.” 109 The Claimants also received a final technical due diligence report from
                Garrigues on 22 July 2011, a final tax due diligence report from KPMG on 27 July 2011
                and an executive report on the legal due diligence from Allen & Overy on 2 August
                2011. 110


                On 12 August 2011, the sale and purchase agreement between the Wind Farms vendor
                and various entities controlled by Bridgepoint was signed. 111 Further, on 8 May 2012,



106   Claimants’ Memorial, ¶ 11.
107   Claimants’ Memorial, ¶ 195.
108 Claimants’ Memorial, ¶ 199; see also, Certificate of Registration in the RAIPRE for Parque Marmellar dated 24 April 2007,

Exhibit C-105; Certificate of Registration in the RAIPRE for Parque Lodoso dated 17 August 2007, Exhibit C-106; Certificate of
Registration in the RAIPRE for Parque El Perul dated 20 June 2006, Exhibit C-107; Certificate of Registration in the RAIPRE for
Parque La Lastra dated 19 September 2006, Exhibit C-108; Certificate of Registration in the RAIPRE for Parque Lora 1 dated 28
December 2007, Exhibit C-109; Certificate of Registration in the RAIPRE for Lora 2 dated 28 December 2007, Exhibit C-110;
Certificate of Registration in the RAIPRE for Parque Sargentes dated 27 November 2009, Exhibit C-111; and Resolution
registering in the RAIPRE for Parque Arroyal dated 9 December 2010, Exhibit C-112.
109   Claimants’ Memorial, ¶ 202.
110Claimants’ Memorial, ¶¶ 202, 208-210; Technical Due Diligence Report on La Boga prepared by Garrigues Medio Ambiente
dated 22 July 2011, Exhibit C-117; Tax Due Diligence Report on Project Greco prepared by KPMG dated 27 July 2011, Exhibit
C-118; Legal Due Diligence Executive Report for Project Greco prepared by Allen & Overy dated 2 August 2011, Exhibit C-119.
111   Claimants’ Memorial, ¶ 213.


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                “upon fulfilment of the conditions precedent applicable to the Wind Farms, the entire
                share capital of the Project Companies were transferred to Watkins Spain, Redpier and
                Northsea.” 112 On the same day, according to the Claimants, “the intragroup loans in
                place between the Project Companies and the sellers were transferred to Watkins
                Holdings, Redpier Holdings S.à r.l. and Northsea Holdings S.à r.l.” 113


                The Claimants paid EUR 91 million for the Wind Farms, including equity and
                intragroup loans. 114 The construction of the Wind Farms was financed through “(i)
                project finance agreements; (ii) shareholders’ undertaking agreements; (iii) intragroup
                loan agreements and profit participative Sloan agreements; and (iv) comfort letters.”115


       V.      JURISDICTION

                The Respondent raises two general objections to the Tribunal’s jurisdiction.

                     •         First, Spain asserts that the Tribunal lacks ratione personae jurisdiction
                               because the law of the European Union (“EU”) precludes the applicability
                               of the ECT to disputes involving investments in an EU state by EU investors
                               (the intra-EU Objection);
                     •         Second, Spain contends that the 7% TVPEE, created by Law 15/2012 of 27
                               December 2012 on fiscal measures for energy sustainability, is a tax
                               measure which falls outside the scope of protection of the ECT (the TVPEE
                               Objection).




112   Claimants’ Memorial, ¶ 213.
113   Claimants’ Memorial, ¶ 213.
114   Claimants’ Memorial, ¶ 214.
115
  Claimants’ Memorial, ¶ 215; see also, Schedule III of the Share Sale and Purchase Agreement dated 12 August 2011, Exhibit
C-124.


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       A. The Intra-EU Objection

                     The Respondent’s Position

                Spain submits that the Tribunal does not have jurisdiction ratione personae because the
                ECT does not apply to disputes involving investments made within the EU by investors
                from other EU countries (intra-EU investors). Spain advances several arguments in
                support of its position laid out below.

                     (a) Existence of an “Investor” from “another Contracting Party”

                Spain recalls that Article 26(1) of the ECT requires that the dispute submitted to
                arbitration occur between “a Contracting Party and an investor of another Contracting
                Party.” 116 Noting that the Claimants, on the one hand, are nationals of Luxembourg, the
                Netherlands, 117 i.e. EU Member States, and the Respondent, on the other hand, is also a
                national of the EU––itself a party to the ECT––, Spain concludes that this “inevitably
                implies the exclusion of [Article 26(1) of the ECT] from any case where an investor of
                an EU State has a dispute with an EU State, in relation to an investment in said State.”118

                     (b) Relationship between EU law and the ECT

                The Respondent alleges that the Claimants’ investment is made within the internal
                market in electricity of the EU which confers protection on EU-investors which is
                “preferential to the protection conferred by the ECT and any BIT.” Since both Spain
                and the Claimants were already EU Member States when the ECT was concluded, “they
                had transferred their sovereignty to the [EU]” 119 with respect to the energy market,




116   Respondent’s Counter-Memorial, ¶ 50; Respondent’s Rejoinder, ¶ 95.
117Respondent further notes that the Spanish companies, Watkins Spain S.L., Redpier S.L., Northsea Spain S.L., Parque Eólico
Marmellar S.L., and Parque Eólico La Boga S.L. are organised under the laws of the Kingdom of Spain but controlled by Watkins
(Ned) BV, therefore, considered nationals of another Contracting Party for purposes of Article 25(2)(b) of the ICSID Convention
and Article 26(7) of the ECT. See Respondent’s Counter-Memorial, ¶ 51.
118   Respondent’s Counter-Memorial, ¶ 50.
119   Respondent’s Counter-Memorial, ¶ 83.


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                Spain explains, and were thus no longer able “to contract obligations between
                themselves” 120 related to this area.


                The Respondent further alleges that EU law forbids the existence of any dispute
                settlement mechanism other than those established by EU treaties. If the Tribunal was
                to decide on this matter, it would be “interfering with the competence of the judicial
                system of the EU.” 121


                In this context, the jurisdictional system of the EU, Spain maintains, has “the monopoly”
                on “the latest interpretation of EU Law,” 122 and the EU prevents the settlement of intra-
                EU disputes by “any dispute settlement mechanism other than that established by its
                Treaties, which may interfere with the bases of the Internal Market.” 123


                Citing Costa v. ENEL, the Respondent argues that the foregoing stems from “the
                essential principle on which the objection to the jurisdiction of the Arbitral Tribunal is
                raised,” that is to say, “the principle of primacy of EU law.” 124


                Further, according to Spain, that “the intra-EU investor protection system prevails over
                any in any other international treaty” does not arise solely from the specific attributes
                of the EU, but it also has “its literal recognition in the ECT itself.”125 The Respondent
                finds support for its position in an “effective interpretation” 126 of the ECT’s wording,
                context and purpose, referring, in particular, to the ECT’s provisions pertaining to
                Regional Economic Integration Organizations (the “REIOs”).




120   Respondent’s Counter-Memorial, ¶ 53.
121   Respondent’s Counter-Memorial, ¶ 56.
122   Respondent’s Counter-Memorial, ¶ 63.
123   Respondent’s Counter-Memorial, ¶ 55.
124
  Respondent‘s Rejoinder, ¶¶ 99-100; citing Ruling by the CJEU of 15 July 1964 in Case 6/64 on Flaiminio Costa v. ENEL,
Exhibit RL-0084.
125   Respondent’s Counter-Memorial, ¶ 67.
126   Respondent’s Rejoinder, ¶ 148.


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                The Respondent relies, inter alia, on several provisions of the ECT to support this
                argument. For example, Article 1(2) of the ECT, which defines the Contracting Party
                as “a state or [REIO] which has consented to be bound by this Treaty and for which the
                Treaty is in force.” 127 Another article invoked by Spain is Article 1(3) of the ECT,
                which defines a REIO as “an organization constituted by states to which they have
                transferred competence over certain matters a number of which are governed by this
                Treaty, including the authority to take decisions binding on them in respect of those
                matters.” 128 According to Spain, this provision demonstrates that the ECT expressly
                recognises that the EU may exercise sole competence with respect to certain matters,
                “because its Member States no longer have competence to do so.” 129 In this regard,
                Spain notes that the EU is the only REIO that is part of the ECT. Spain continues its
                allegation on the interpretation of the ECT by referring to Article 25 of the ECT, which
                provides that the ECT’s most-favuored-nation treatment obligations do not extend to
                preferential treatment accorded to members of an Economic Integration Agreement
                eliminating or prohibiting discriminatory measures among its members. In Spain’s
                view, Article 25 of the ECT recognises the principle of primacy of EU law in intra-EU
                relations and acknowledges that “the process of economic integration in the EU is more
                advanced than that of the ECT and ultimately more favorable to the investor.” 130 Article
                36(7) of the ECT accords to a REIO a number of votes equivalent to the number of its
                member States when voting on matters as to which the REIO has competence. In this
                context, Spain submits that the decision “as to who is the competent Contracting Party
                in each matter is not the responsibility of the Arbitral Tribunal, but of the CJEU.” 131


                Moreover, Spain invokes Article 26(6) of the ECT in support of its argument that the
                law applicable to the present dispute is “this Treaty and applicable rules and principles




127   Respondent’s Rejoinder, ¶ 139; Respondent’s Counter-Memorial, ¶ 69.
128   Respondent’s Rejoinder, ¶ 140; Respondent’s Counter-Memorial, ¶ 69.
129   Respondent’s Rejoinder, ¶ 141; Respondent’s Counter-Memorial, ¶ 70.
130   Respondent’s Rejoinder, ¶ 147.
131   Respondent’s Rejoinder, ¶ 144.


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                of international law,” which, Spain maintains, includes EU law. 132 In this context, Spain
                quotes Electrabel v. Hungary:


                      […] the Tribunal concludes that Article 307 EC precludes inconsistent
                      preexisting treaty rights of EU Member States and their own nationals
                      against other EU Member States; and it follows, if the ECT and EU law
                      remained incompatible notwithstanding all efforts at harmonization, that
                      EU law would prevail over the ECT’s substantive protections and that the
                      ECT could not apply inconsistently with EU law to such a national's claim
                      against an EU Member State. 133

                Spain also refers to Article 344 of the Treaty on the Functioning of the European Union
                (the “TFEU”), which provides that “Member States undertake not to submit a dispute
                concerning the interpretation or application of the Treaties to any method of settlement
                other than those provided for therein.” 134


                In Spain’s view, this provision prevents Spain from submitting any matters related to
                the harmonised internal electricity market to arbitration. 135 Admitting this possibility,
                Spain contends, would mean that the Tribunal would have to rule upon the rights of EU
                investors in the internal market. 136 In this respect, Spain points out that the Court of
                Justice of the European Union (the “CJEU”) had already opined that such situation
                would be incompatible with EU law because the CJEU has exclusive jurisdiction over
                the interpretation of EU law. 137


                Likewise, Spain considers that its position is in line with that of the Commission, which
                “has reiterated that arbitration is not applicable as a mechanism of dispute resolution
                ever since the first intra-community disputes arose relating to BITs.” 138 In the same

132   Respondent’s Counter-Memorial, ¶ 75; Respondent’s Rejoinder, ¶ 147.
133 Respondent’s Counter-Memorial, ¶ 76, citing Electrabel S.A. v. Republic of Hungary, ICSID Case No. ARB/07/19, Decision

on Jurisdiction, Applicable Law and Liability, of 30 November 2012, ¶ 4.189, Exhibit RL-0002.
134   Respondent’s Counter-Memorial, ¶ 77.
135   Respondent’s Counter-Memorial, ¶ 77.
136   Respondent’s Counter-Memorial, ¶ 78.
137   Respondent’s Counter-Memorial, ¶¶ 79-82.
138   Respondent’s Rejoinder, ¶ 131.


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               vein, Spain invokes supportive writings which state, inter alia, that “there seem to be
               good reasons for the Commission to push for ensuring that EU law is the only regime
               governing investment flows within the European market and that the [CJEU] is the only
               ultimate instance for interpreting and applying these rules.” 139


               In further support of its position, the Respondent alludes to the purpose of the ECT,
               which, according to its interpretation, was not intended to “cover an area, that of intra-
               EU investments, which had been totally covered––and in a far superior manner––for
               years by EU Law.” 140 Rather, the ECT’s objective “lies in the wish of the Council of the
               then EC to speed up the economic recovery of Eastern Europe after the fall of the Berlin
               Wall through cooperation in the energy sector.” 141


               Finally, Spain concludes its intra-EU Objection by referring to the Commission’s
               decision in Micula v. Romania, implying that the Commission might regard any
               monetary award by the Tribunal in favour of the Claimants as impermissible State aid,
               incompatible with EU law. 142


                In support of this argument, Spain provided further evidence in its Rejoinder indicating
                that the Commission’s Decision in the State aid procedure SA.40348 (20151NN) from
                November 2017 which declared the incompatibility of the measures in dispute with EU
                Law. 143




139
  Respondent’s Counter-Memorial, ¶ 91, citing, Investment protection and EU Law: the intra- and extra- EU dimension of the
Energy Charter Treaty, Jan Kleinheisterkamp, Journal of International Economic Law 15(1), Oxford University Press, 2012, pp.
101, 103 and 108, Exhibit RL-0064. See also, Respondent’s Counter-Memorial, ¶ 91.
140   Respondent’s Counter-Memorial, ¶ 86.
141   Respondent’s Counter-Memorial, ¶ 88.
142   Respondent’s Counter-Memorial, ¶¶ 96-99.
143
  Respondent’s Rejoinder, ¶ 98. Decision of the European Commission of November 2017, S.A. 40348 (2015/NN), Exhibit RL-
0081. See also, Respondent’s Post-Hearing, ¶ 89.


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                      (c) Disconnection clause

                Quoting the Opinion 1/03 of the Commission, 144 the Respondent notes that it is
                irrelevant that the ECT does not contain an express disconnection clause when such a
                clause is related to covered areas where there has been total harmonization. 145


                In its Post-Hearing submissions, the Respondent raised the disconnection clause to
                address Claimants’ argument that “the conflict between EU law and Article 26 of the
                ECT should be solved by applying Article 16 of the ECT.” 146 Spain’s contention is that
                Article 26(6) requires the Tribunal to apply EU law in this dispute which in turn makes
                this article the “disconnection clause” 147 Respondent further clarified that it intends for
                the ECT to be applied “with all its consequences, which include the lack of jurisdiction
                of the Arbitral Tribunal to hear intra-EU disputes concerning a key institution in
                European law: State Aid.” 148

                      (d) Relevance of previous awards

                Spain denies the adequacy of the Claimants’ assertion that all international investment
                tribunals dealing with the intra-EU objection have rejected it. In Spain’s view, these
                cases must be distinguished either because (i) they involve bilateral investment treaties
                and not the ECT, which is signed by the EU; or (ii) they concern obligations assumed
                by States that were not yet members of the EU when they signed the ECT; or (iii) they
                do not consider the principle of primacy of EU law. 149




144   Opinion 1/03 of the plenary of the Court of Justice of the European Union of 7 February 2006, Exhibit R-0362.
145   Respondent’s Rejoinder, ¶¶ 157-158.
146   Respondent’s Post Hearing Brief, ¶ 110, citing, Hearing Transcript, Day 2, 55:10-18 (Ms. Stoyanov).
147   Respondent’s Post-Hearing, ¶ 111, see also Respondent’s Post-Hearing Reply, ¶ 8.
148   Respondent’s Post-Hearing, ¶ 112, see also, Respondent’s Post-Hearing Reply, ¶ 9.
149   Respondent’s Rejoinder, ¶ 113.


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                First, in Spain’s view, the tribunal in Eureko v. Slovakia, invoked by the Claimants,
                expressly recognised the “inability to extrapolate its findings to treaties such as the
                ECT.” 150


                Second, Spain also differentiated the Electrabel v. Hungary case where the respondent
                State signed the ECT when it had not yet joined the EU. According to Spain, Hungary,
                unlike Spain, Luxembourg and the Netherlands, was thus able to enter into obligations
                under Part III of the ECT. 151


                Third, PV Investors v. Spain, Charanne v. Spain, RREEF v. Spain, Isolux v. Spain and
                Eiser v. Spain must all be distinguished, Spain maintains, on the basis that they fail to
                examine an “essential element of [Spain’s] objection,” the principle of primacy of EU
                law. 152 In this regard, Spain underlines that it is precisely requesting an express
                pronouncement from the Tribunal about the “validity and application” of the principle
                of primacy of EU law. 153


                In its Counter-Memorial and Rejoinder, Spain noted that it “maintain[ed] this
                jurisdictional objection” until the CJEU resolves two cases pending before it and
                pertaining to the compatibility between intra-EU BITs and EU law, Achmea and Micula
                v. Romania. Spain considers that the Tribunal shall also bear in mind several
                Commission’s decisions on the aid systems of Spain and the Czech Republic regarding
                renewable energy, in which the Commission held that arbitration was incompatible with
                EU law. 154




150
  Respondent’s Rejoinder, ¶ 114, citing Eureko B.V. v. Republic of Poland, Partial Award, 19 August 2005, ¶ 218, Exhibit RL-
0043.
151   Respondent’s Rejoinder, ¶ 116.
152   Respondent’s Rejoinder, ¶ 130.
153   Respondent’s Rejoinder, ¶ 130.
154   Respondent’s Rejoinder, ¶¶ 97-98, 131.


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                In its Post-Hearing submission, Spain further developed its arguments on the Achmea
                based on the decision of 6 March 2018. 155 Spain argues that the three prerequisites of
                the Achmea case are also present in this case. The first refers to “whether the disputes
                which the [ ] Tribunal is called on to resolve are liable to relate to the interpretation or
                application of EU law.” 156 Spain argues that the “dispute concerns […] fundamental
                freedoms of EU [and]… State Aid” and that the first prerequisite is “met in the case at
                hand.” 157


                Regarding the second prerequisite, on the principle of autonomy, Spain says that the
                Tribunal is not a court because it “lacks permanence, state nature, and mandatory
                competence,” which results in that it does not belong to the EU judicial system and
                “cannot make a reference for a preliminary ruling to the CJEU.” 158


                Finally, the third prerequisite, a decision of this Tribunal would only allow for review
                by an ad hoc Committee which is contrary to EU law which requires that arbitral awards
                be subject to review by a court of a Member State. 159


                      The Claimants’ Position

                      (a) Existence of an “Investor” from “another Contracting Party”

                According to the Claimants, “both the EU and its Member States are Contracting Parties
                to the ECT and may be subject to claims brought by Investors from other Contracting
                Parties,” including the different Member States of the EU. 160




155   Respondent’s Post-Hearing, ¶¶ 95-96.
156   Respondent’s Post-Hearing, ¶ 97.
157   Respondent’s Post-Hearing, ¶ 97.
158   Respondent’s Post-Hearing, ¶ 97.
159   Respondent’s Post-Hearing, ¶ 97.
160   Claimantsʼ Rejoinder, ¶ 45.


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                      (b) Relationship between EU law and the ECT

                For the Claimants, nothing in Article 26 of the ECT could be construed as to prohibit
                intra-EU disputes. 161 The plain meaning of Article 26 provides for the constant intent of
                the Contracting Parties to the ECT to provide their “unconditional consent to
                arbitration.” 162


                The Claimants further dispute that the ECT provisions pertaining to REIOs cited by
                Spain demonstrate that the ECT excludes intra-EU claims. 163 The text of these Articles,
                the Claimants maintain, “is clear and can in no way be construed to deprive EU
                Investors of the right to bring a claim against EU Member States under Article 26 of the
                ECT.” 164


                Moreover, the Claimants deny Spain’s contention that Article 344 of the TFEU
                precludes the submission of intra-EU disputes to arbitration pursuant to Article 26 of
                the ECT. In the Claimants’ view, “a plain reading of Article 344 of the TFEU shows
                that it applies only to disputes involving two or more EU Member States” and it “does
                not refer to investor-State arbitration.” This was confirmed, according to the Claimants,
                by the tribunals in, inter alia, Eiser, Electrabel and Charanne. 165


                The Claimants also specify that, contrary to Spain’s stance, the subjective intentions of
                the EU and its Member States are irrelevant to an interpretation of Article 26 of the
                ECT. 166 Yet, the Claimants observe, even if it were permissible to interpret Article 26
                of the ECT in such fashion, “there is nothing within the provisions of EU law that could
                be understood to override the rights granted in Article 26 of the ECT.” Referring to
                Electrabel, Eastern Sugar, Charanne and RREEF, the Claimants contend that “the ECT


161   Claimantsʼ Rejoinder, ¶ 50.
162   Claimantsʼ Rejoinder, ¶ 50.
163   Claimantsʼ Reply, ¶¶ 510-513.
164   Claimantsʼ Reply, ¶ 510.
165   Claimantsʼ Reply, ¶¶ 514-515.
166   Claimantsʼ Reply, ¶¶ 517-520.


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                grants investors rights that are additional to any other rights provided by the internal
                market and that there is no inconsistency between EU law and the ECT.” 167


                In this respect, the Claimants add that “[e]ven if the ECT and EU treaties were found to
                cover the same subject matter, Article 16 of the ECT provides that the provision more
                favourable to the investor shall apply.” Accordingly, “if there were a provision of the
                EU treaties prohibiting Investor-State arbitration (which there is not), Article 26 would
                prevail.” 168 In their Rejoinder, the Claimants highlight that EU law does not offer
                investors the recourse to international arbitration, whereas the ECT does; and that “the
                right of qualifying Investors such as the Claimants to bring their claims under the ECT
                is “favourable” precisely because it de-politicises the dispute by removing it from the
                purview of Spain's national courts.” 169

                      (c) Disconnection clause

                According to the Claimants, “ECT, the EU and its Member States did not negotiate a
                [disconnection] clause for their inter se relationships” 170 and reading an implicit intra-
                EU disconnection clause into the ECT is irreconcilable with the ordinary meaning of
                the ECT.


                While noting that “the Respondent does not maintain the existence of an explicit or
                implicit disconnection clause,” and that it “is a point on which the Parties now agree,” 171
                the Claimants contend that Spain continues to rely on the Commission’s opinion that
                the ECT contains an implicit disconnection clause without, however, explaining in what
                context it relies on it.




167   Claimantsʼ Reply, ¶¶ 521 and 525.
168   Claimantsʼ Reply, ¶ 526.
169   Claimantsʼ Rejoinder, ¶ 44.
170   Claimantsʼ Reply, ¶ 535.
171   Claimantsʼ Rejoinder, ¶ 51.


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                In its Post-Hearing submission, the Claimants noted on the basis of a recent decision
                that the “absence of a disconnection clause in the ECT is telling,”172

                      (d) Relevance of previous awards

                The Claimants argue that there have been, to date, no fewer than fifteen tribunals that
                have considered and rejected the intra-EU argument. 173 The Claimants note that in six
                of these cases, the respondent State was Spain. 174 Spain’s attempts to distinguish these
                awards are, in the Claimants’ view, unavailing.


                Further, the Claimants reject the Respondent’s unsupported contention that there are
                two categories of Contracting Parties under the ECT, i.e. the “old” and “new” EU
                Member States. 175 The Claimants assert that this contention is unhelpful to Spain
                because it would mean that Article 26 would only be applicable to intra-EU disputes
                “so long as either the home State of the claimant-investor or the respondent-host State
                was not an EU Member State at the time the ECT was signed.” 176 For the Claimants,
                this interpretation is not supported in the text, object or purpose of the ECT. 177


                As regards the Achmea and Micula v. Romania cases invoked by the Respondent
                regarding the compatibility between BITs and EU law, the Claimants note the following:


                      •         As for Achmea, the Claimants note that the CJEU has ruled on the matter in
                                its recent judgment of 6 March 2018, and held that the submission to
                                arbitration set forth in Article 8 of the BIT between the Netherlands and
                                Slovakia is incompatible with EU law. According to the Claimants, the case
                                must however be distinguished because “(i) the CJEU only addresses a BIT

172 Claimants’ Reply Post-Hearing, ¶ 93, citing Vattenfall AB and others v. Federal Republic of Germany (ICSID Case No.

ARB/12/12), Decision on the Achmea Issue, 31 August 2018, ¶ 202, Exhibit CL-177.
173   Claimantsʼ Rejoinder, ¶ 14.
174   Claimantsʼ Rejoinder, ¶ 13.
175   Claimantsʼ Reply, ¶¶ 495-496.
176   Claimantsʼ Rejoinder, ¶ 16.
177   Claimants’ Rejoinder, ¶ 16.


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                                and not the ECT, a circumstance which the CJEU itself goes out of its way
                                to highlight; and (ii) the CJEU’s decision is not binding on this Tribunal
                                which, as confirmed by numerous arbitral precedents, is not called upon to
                                apply EU law.” 178 The Claimants further explain that there are several
                                differences between the Netherlands-Slovakia BIT and the ECT. The
                                Claimants analyse that in this case, “[Article 26(6)] provides that disputes
                                shall be solely resolved on the basis of (i) the ECT and (ii) applicable rules
                                of international law.” 179 This Tribunal would then not be called to apply
                                EU law. 180 The Claimants further argue that, different from the Achmea
                                case, this case is “been brought before ICSID,” 181 the question before the
                                CJEU “has no relevance in this ECT arbitration” 182 as Spain, The
                                Netherlands and Luxembourg had already acceded the EU when the ECT
                                was ratified, and “the Tribunal derives its jurisdiction from the ECT and it
                                is not bound by the decisions of European Institutions.” 183


                      •         As for Micula v. Romania, the Claimants observe that Spain fails to mention
                                that no Intra-EU Objection was raised by Romania in the Micula v. Romania
                                jurisdictional proceedings, that the objection was only raised by the
                                Commission, intervening as a non-disputing party, during the annulment
                                proceedings, and that the ad hoc committee dismissed the Commission’s
                                submission, holding that the tribunal had not lacked jurisdiction to hear the
                                Claimants’ claims. The Claimants also note that Spain refers to an
                                application to the CJEU to annul the Commission’s decision of 30 March
                                2015 on the non-enforceability of the arbitral award in Micula v. Romania,
                                payment of which has been deemed by the Commission to constitute illegal



178   Claimantsʼ Rejoinder, ¶ 17.
179   Claimantsʼ Rejoinder, ¶ 62.
180   Claimantsʼ Rejoinder, ¶ 62.
181   Claimantsʼ Rejoinder, ¶ 67.
182   Claimantsʼ Rejoinder, ¶ 68.
183   Claimantsʼ Rejoinder, ¶ 69.


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                                State aid. For the Claimants, the application relates to whether the
                                enforcement within the EU of an arbitral award pursuant to Article 54 of the
                                ICSID Convention could be considered incompatible with EU law; it does
                                not concern jurisdiction-related matters.


                Further, for the Claimants, Spain’s references to the Commission’s decisions on support
                schemes are irrelevant since, as held in Charanne, “the question of whether a certain
                support scheme could constitute incompatible State aid under EU law could only
                possibly affect the merits of the relevant dispute, not jurisdiction, and then only at the
                enforcement stage of the proceedings.” 184


                      Tribunal’s Analysis

                The Respondent submitted the following regarding the Tribunal’s lack of jurisdiction
                concerning an intra-EU claim:


                           1)       The Tribunal lacks jurisdiction ratione personae as the Claimants are
                                    not investors “of another Contracting Party” under Article 26(a) of the
                                    ECT.


                           2)       The Tribunal lacks jurisdiction because of the relationship between EU
                                    law and the ECT.


                           3)       The Tribunal lacks jurisdiction because of the existence of an implicit
                                    disconnection clause within the ECT.


                           4)       The Tribunal lacks jurisdiction because of the impact of the Achmea
                                    judgment of the CJEU.




184   Claimantsʼ Rejoinder, ¶ 20.


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                  (a) Existence of an “Investor” from “another Contracting Party”

            According to the Respondent, the Tribunal lacks jurisdiction ratione personae as the
            Claimants do not comply with the definition of a protected investor provided for in the
            ECT. The general idea is that the élément d’extranéité required in this provision is
            missing as far as an intra-EU dispute is concerned.


            The dispute settlement clause, Article 26 ECT, specifies that “Disputes between a
            Contracting Party and an Investor of another Contracting Party relating to an
            Investment of the latter in the Area of the former, which concern an alleged breach of
            an obligation of the former under Part III shall, if possible, be settled amicably”. Absent
            any amicable settlement, parties will have recourse to investment arbitration. The
            Respondent objects that the conditions set up in Article 26(1) ECT are not satisfied.


            Like other tribunals have already considered in relation to this objection,185 the present
            Tribunal considers that the starting point to answer such an objection should be an
            interpretation of Article 26 ECT in the light of customary rules of treaty interpretation
            under public international law, as codified in Articles 31-32 of the Vienna Convention
            on the Law of Treaties (“VCLT” or “Vienna Convention”).


            First, the Tribunal has to verify whether the EU membership of the State of nationality
            of the investor and of the host State of the investment implies that the condition of
            diversity of territory (Area in the terms of the ECT) is not respected.


            Article 1.10 ECT defines the concept of “area” as “the territory under its sovereignty,
            it being understood that territory includes land, internal waters and the territorial sea”.
            Moreover, in relation to regional international organizations of economic integration,
            such as the EU it clarifies that: “with respect to a Regional Economic Integration
            Organization which is a Contracting Party, Area means the Areas of the member states


185 Eiser Infrastructure Limited and Energía Solar Luxembourg S.à r.l. v. The Kingdom of Spain, ICSID Case No. ARB/13/36,

Award., 4 May 2017, ¶ 179, Exhibit CL-154; Isolux Infrastructure Netherlands, BV v. Kingdom of Spain, SCC Case No.
V2013/153, Award, 12 July 2016, ¶ 635, Exhibit RL-0072.


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            of such Organization, under the provisions contained in the agreement establishing
            that Organization”.


            It follows from an interpretation of Article 26 ECT in light of Article 1.10 ECT and in
            conformity with customary rules of treaty interpretation, that the dispute here opposes
            Investors of several Contracting Parties (Luxembourg and the Netherlands) to another
            Contracting Party (Spain) on the territory of whom the investment was made.


            Another possible way of approaching the objection consists in focusing on the notion of
            “another Contracting Party” stressed in Article 26 ECT. The Claimants have the
            nationality of an EU Member State and the Respondent is itself an EU Member State.
            This kind of intra-EU dispute would not enter within the jurisdiction of the Tribunal
            under Article 26 ECT.


            Even taking this approach in interpreting Article 26 ECT, the Tribunal cannot agree
            with the reasoning developed by the Respondent, be it by taking the perspective of
            public international law or of EU law. The European Court of Justice has clarified in the
            Micheletti case that “under international law, it is for each Member State, having due
            regard to Community law, to lay down the conditions for the acquisition and loss of
            nationality.” 186 The European citizenship is based on superimposition on the nationality
            of a Member State and this concept could not be used to take out any élément
            d’extranéité within the present dispute.


            The reasoning would be totally different if one were to accept the existence of an
            implicit disconnection clause argument that the Tribunal will analyse separately infra.




186
  Case C-369/90 - Micheletti and Others v. Delegación del Gobierno en Cantabria, Judgment of the Court of 7 July 1992,
ECLI:EU:C:1992:295, ¶ 10.


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                  (b) The primacy/prevalence of EU law argument

            The crux of the Respondent’s arguments relates to an idea of primacy or prevalence of
            EU law over the ECT, be it because the investment is made within the internal market,
            or because EU law forbids the use of any dispute settlement mechanism not established
            by EU treaties or because of the monopoly of the CJEU concerning the interpretation of
            EU law.


            The Tribunal doubts that, even from an EU law perspective, EU treaties prohibit the
            existence of any dispute settlement mechanism not established by EU treaties or that the
            monopoly of interpretation of EU law by the CJEU would have the implications that the
            Respondent tries to achieve. However, it considers that these considerations are not
            relevant for the assessment of the jurisdiction of a treaty-based investment tribunal.


            This is all the more the case given that this Tribunal is an ICSID tribunal. As clarified
            in the Electrabel award:

                  [T]his Tribunal is placed in a public international law context and not a
                  national or regional context. Moreover, this ICSID arbitration does not have
                  its seat or legal place of arbitration in Hungary or elsewhere in the European
                  Union. Such an arbitral seat could trigger the application of the lex loci
                  arbitri and give rise to the jurisdiction of the local courts in regard to the
                  arbitral process, including challenges to the award. This ICSID arbitration
                  is a dispute resolution mechanism governed exclusively by international
                  law. 187

            As international law is the sole body of law governing its jurisdiction, this Tribunal
            derives its jurisdictional power exclusively from the ECT, 188 which is a valid and
            enforceable treaty.




187 Electrabel S.A. v. The Republic of Hungary, ICSID Case No. ARB/07/19, Decision on Jurisdiction, Applicable Law and

Liability, 30 November 2012, ¶ 4.112, Exhibit CL-86.
188
  Novenergia II - Energy & Environment (SCA) (Grand Duchy of Luxembourg), SICAR v. The Kingdom of Spain, SCC Case No.
2015/063, Award, 15 February 2018, ¶ 463, Exhibit CL-160.


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            Moreover, as clearly stated in the Charanne award, “this case does not entail any
            assessment with regards to the validity of community acts or decisions adopted by
            European Union organs. Additionally, it does not concern in any way allegations by the
            European Union that EU law has been violated, nor claims against such organization.
            In this arbitration there is not an argument according to which the content of the disputed
            provisions […] is contrary to EU law.” 189


            For this reason, the Tribunal considers that it does not have to solve any question of
            hierarchy between EU law and international law for jurisdictional purposes. What is
            more, the CJEU in Achmea confirmed that investment tribunals are not tribunals within
            the meaning of Article 267 TFEU and therefore do not operate stricto sensu within the
            EU judicial system. This dualist reasoning reinforces the idea that ICSID tribunals are
            located in a legal space solely governed by international law that is the only source of
            jurisdiction.


            The arguments of the Respondent concerning the primacy or prevalence of EU law over
            the ECT are therefore rejected.

                 (c) Disconnection clause

            The Tribunal is also not convinced by the Respondent’s argument concerning the
            existence of an implicit disconnection clause in Article 26 ECT. According to the
            meaning of a “disconnection clause”, some parties to a multilateral treaty modify the
            effect of this agreement in their inter se relations by applying different specific rules,
            agreed among them.


            The adoption of disconnection clauses in favour of EU law is developed in some
            European treaty practice. This practice has attracted strong criticism. The use of explicit
            disconnection clauses was contested first in the context of the ILC Study Group on
            Fragmentation, according to whom this practice raises serious problems of equal

189
  Private translation of the Charanne award, mentioned in Novenergia II - Energy & Environment (SCA) (Grand Duchy of
Luxembourg), SICAR v. The Kingdom of Spain, SCC Case No. 2015/063, Award, 15 February 2018, ¶ 462, Exhibit CL-160.


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             application of treaty norms between parties. 190 The Council of Europe similarly shed
             doubts on this practice: the Parliamentary Assembly “oppose[d] such a clause, which
             has the potential to give rise to new divisions in Europe between the parties which are
             members of the European Union and those which are not.” 191


             In this context, the Tribunal cannot but be reluctant to accept the idea of an implicit or
             tacit disconnection clause.


             As clearly put in the RREEF case, the idea of an implicit disconnection clause would
             challenge the very fundamental international law principle of pacta sunt servanda: “if
             one or more parties to a treaty wish to exclude the application of that treaty in certain
             respect or circumstances, they must either make a reservation (excluded in the present
             case by Article 46 of the ECT) or include an unequivocal disconnection clause in the
             treaty itself. The attempt to construe an implicit clause into Article 26 of the ECT is
             untenable, given that that article already contains express exceptions.” 192


             In awards or decisions such as Charanne and RREEF it was argued that, in any case,
             such a clause would be moot as there is no conflict between the ECT and the TFEU. 193
             The present Tribunal recalls that the decision of the CJEU in the Achmea case clearly
             took the opposite stance and declared the existence of a constitutional conflict between
             EU procedural law principles and a BIT mixed arbitration mechanism. That is why this
             line of argumentation should be taken with caution.


             From the perspective of the international law of treaties, an implicit inter se modification
             of this type cannot be considered as existing. What is more, even from the perspective

190 UN General Assembly, Official Records. Sixtieth Session: Report of the International Law Commission (ILC). Fifty-seventh

session (2 May-3 June and 11 July-5 August 2005). Supplement No. 10 (A/60/10), ¶ 293.
191
  CoE, Parliamentary Assembly, Draft Convention on the protection of children against sexual exploitation and sexual abuse,
Report of the Committee on Legal Affairs and Human Rights, 18 April 2007, Doc. 11256, ¶ 38.
192
  RREEF Infrastructure (G.P.) Limited and RREEF Pan-European Infrastructure Two Lux S.à r.l. v. Kingdom of Spain, ICSID
Case No. ARB/13/30, Decision on Jurisdiction, 6 June 2016, ¶ 85, Exhibit CL-152.
193Charanne BV and Construction Investment S.A.R.L. v. Kingdom of Spain, Arbitration SCC V 062/2012, Award, 21 January
2016, ¶ 438, Exhibit RL-0049; RREEF Infrastructure (G.P.) Limited and RREEF Pan-European Infrastructure Two Lux S.à r.l.
v. Kingdom of Spain, ICSID Case No. ARB/13/30, Decision on Jurisdiction, 6 June 2016, ¶¶ 83, 87, Exhibit CL-152.


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               of EU constitutional law, the existence of an implicit disconnection clause is
               systemically debatable. Article 3(5) of the TEU recalls that the European Union is
               subject “to the strict observance and the development of international law”. In its
               Western Sahara Campaign case, the CJEU interpreted Article 3(5) of the TEU as a
               treaty provision that requires a consistent and harmonious interpretation of European
               treaty practice with international law. 194 That is why both international law and EU law
               counter the argument of an implicit disconnection clause.

                    (d) Relevance of previous awards

               An important debate exists in international investment arbitration concerning the
               relevance of previous awards. A paragraph of the Burlington award epitomises the
               divergences on this point:


                    The Tribunal considers that it is not bound by previous decisions. At the
                    same time, it is of the opinion that it must pay due consideration to earlier
                    decisions of international tribunals. The majority believes that, subject to
                    compelling contrary grounds, it has a duty to adopt solutions established in
                    a series of consistent cases. It also believes that, subject to the specifics of
                    a given treaty and of the circumstances of the actual case, it has a duty to
                    seek to contribute to the harmonious development of investment law, and
                    thereby to meet the legitimate expectations of the community of States and
                    investors towards the certainty of the rule of law. Arbitrator Stern does not
                    analyze the arbitrator’s role in the same manner, as she considers it her duty
                    to decide each case on its own merits, independently of any apparent
                    jurisprudential trend. 195

               The Tribunal does not believe that, to answer to the jurisdictional issues raised, it is
               necessary to adopt any general position on the relevance of precedents in international
               investment law or to decide which arbitral awards having decided on the relations
               between EU law and the ECT should be followed or not. The primary function of an
               arbitral tribunal is to solve the dispute between the parties applying the chosen law to
               the facts. While so doing, the Tribunal can of course take inspiration from previous


194   C-266/16, Western Sahara Campaign UK, ECLI:EU:C:2018:118, ¶¶ 52-85.
195
  Burlington Resources Inc. v. Republic of Ecuador, ICSID Case No. ARB/08/5, Decision on Jurisdiction, 2 June 2010, ¶ 100,
Exhibit RL-0036.


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                awards, in as far as their legal reasoning helps the instant tribunal to clarify the content
                of the law.


                The most disputed question in this regard is how to take into account the Achmea
                decision of the CJEU and the arbitral awards having taken a stance in this regard.


                The CJEU rendered its Achmea decision on March 6, 2018, holding that investor-state
                dispute settlement in intra-EU BITs is incompatible with EU law. In this Achmea case,
                the CJEU dealt with an intra-EU BIT and decided that the ISDS provision contained in
                Article 8 of the Netherlands-Slovakia BIT (1991) is incompatible with Articles 267196
                and 344 197 TFEU because, by empowering the arbitral tribunals to apply EU law while
                simultaneously removing disputes from the jurisdiction of the courts of EU Member
                States, it undermines the autonomy of the EU’s legal order. 198


                Arbitral tribunals having to deal with intra-EU investment cases have consistently
                rejected the idea that the Achmea judgment of the CJEU could have a bearing on their
                own jurisdiction. This Arbitral Tribunal sees that the reasoning has, up to now, followed
                three different paths. According to a first reasoning, some tribunals have reached a
                different conclusion from the CJEU on the relationship between EU law and
                international investment law: they defend the absence of incompatibility between the
                two regimes. A second reasoning has rejected the Achmea stance as being not pertinent
                because of the difference of legal nature of the treaty used as a basis for jurisdiction. A
                third reasoning has strongly advocated the parallelism of treaties and refused to identify
                any conflict between the investment treaty and the European treaties.




196Article 267 TFEU allows courts and tribunals of EU Member States to refer questions on the interpretation of EU law and
validity of EU secondary legislation to the CJEU, see Exhibit RL-0001.
197Article 344 TFEU precludes Member States from submitting disputes concerning the interpretation or application of EU law to
any method of settlement other than those provided in the EU Treaties, see Exhibit RL-0001.
198   Judgment of the European Court of Justice in Case C-284/16 dated 6 March 2018, Exhibit CL-162.


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                  (i) First line of argumentation: Achmea’s solution is ill-grounded

            A first kind of reasoning consists in taking the position opposite to the CJEU’s one
            concerning the relationship between EU law and international investment law generally,
            and the ECT more specifically. Some tribunals clearly try to demonstrate that there is
            no such incompatibility between the two sets of rules.


            The Electrabel award adopted this solution before the Achmea judgment, stating that
            the genesis of the ECT generates a presumption of absence of contradiction between EU
            law and the ECT. Following such reasoning, the Isolux tribunal considered that EU law
            does not prohibit the submission of a dispute to investment arbitration. 199


            In Blusun, the tribunal considered that the ECT had given rise to valid inter se
            obligations of EU Member States 200. First, the tribunal considered that even if, as a
            matter of EU law, the EU had exclusive competence over matters of international
            investment, Member States to the EU signed the ECT without qualification or
            reservation. The inter se obligations in the ECT do not have to be considered invalid or
            inapplicable because of such an allocation of competence to the EU. 201 Second, the
            tribunal rejected the submission that subsequent EU treaties implicitly repealed the
            earlier ECT under the lex posterior rule in Article 30 of the VCLT, whereby “successive
            treaties relating to the same subject-matter will prevail over the earlier to the extent
            that the treaties are not compatible,” finding no incompatibility with respect to
            substantive protections or dispute resolution. 202




199 Isolux Infrastructure Netherlands, BV v. Kingdom of Spain, SCC Case No. V2013/153, Award, 12 July 2016, ¶¶ 645-655,

Exhibit RL-0072.
200
  Blusun S.A., Jean-Pierre Lecorcier and Michael Stein v. Italian Republic, ICSID Case No. ARB/14/3, Award, 27 December
2016, ¶¶ 280 et seq, Exhibit RL-0082.
201
  Blusun S.A., Jean-Pierre Lecorcier and Michael Stein v. Italian Republic, ICSID Case No. ARB/14/3, Award, 27 December
2016, ¶ 283, Exhibit RL-0082.
202
  Blusun S.A., Jean-Pierre Lecorcier and Michael Stein v. Italian Republic, ICSID Case No. ARB/14/3, Award, 27 December
2016, ¶¶ 285-291, Exhibit RL-0082.


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                The PL tribunal considered, for instance, that contrary to what the CJEU considered
                Article 344 of the TFEU is not applicable as the dispute before the tribunal is not
                between two EU member States even if it ultimately arises out of a treaty between
                them. 203


                     (ii) Second line of argumentation: Achmea is not pertinent in a multilateral treaty-
                            based context

                In the Masdar award, 204 the tribunal stressed the fact that the Achmea decision was of
                “limited application” 205 since it focused on the incompatibility of a bilateral investment
                treaty in the intra-EU context. The basic distinguishing criterion is the difference
                between the bilateral context of the Achmea case and the multilateral context of an ECT-
                based arbitration.


                The Masdar tribunal relied on the opinion of Advocate General Wathelet before the
                CJEU who had himself attracted the attention of the Court on the difference between a
                bilateral and a multilateral context.206 As the CJEU did not further elaborate on this idea,
                it had to be considered that the Court had not dealt with this last scenario and that,
                therefore, “the Achmea Judgment has no bearing upon the present case.” 207


                This argument was approved in the Vattenfall decision. For the tribunal, it was “an open
                                                                                                                    208
                question whether the same considerations necessarily apply to the ECT.”                                   Thus,
                agreeing with the Masdar tribunal, the tribunal found no clear rule relevant to


203   PL Holdings S.A.R.L. v. Republic of Poland, SCC Case No V2014/163, Partial Award, 28 June 2017, ¶¶ 314-317.
204
  Masdar Solar & Wind Cooperatief U.A. v. Kingdom of Spain, ICSID Case No. ARB/14/1, Award, 16 May 2018, Exhibit CL-
175.
205
  Masdar Solar & Wind Cooperatief U.A. v. Kingdom of Spain, ICSID Case No. ARB/14/1, Award, 16 May 2018, ¶ 679, Exhibit
CL-175.
206 Masdar Solar & Wind Cooperatief U.A. v. Kingdom of Spain, ICSID Case No. ARB/14/1, Award, 16 May 2018, ¶¶ 680-681,

Exhibit CL-175 .
207
  Masdar Solar & Wind Cooperatief U.A. v. Kingdom of Spain, ICSID Case No. ARB/14/1, Award, 16 May 2018, ¶ 678, Exhibit
CL-175.
208
  Vattenfall AB and others v. Federal Republic of Germany, ICSID Case No. ARB/12/12, Decision on the Achmea Issue, 31
August 2018, ¶ 161, Exhibit CL-177.


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             interpretation of the ECT in the Achmea ruling. The Greentech tribunal also followed
             the same reasoning. 209

                  (iii) Third line of argumentation: Achmea’s solution has no bearing in another
                        legal order

            A last line of argumentation is based on two basic ideas, grounded in public international
            law: the parallelism of treaties and the distinction between the EU legal order and the
            international legal order. Some decisions followed a dualist argument distinguishing
            clearly between the EU legal order and the international legal order. The two legal orders
            are distinct and should not be seen as working in conflict but in harmony.


            Investment tribunals have thought the relationship between treaties dealing with
            investment issues in terms of parallelism even before the Achmea debate burgeoned.
            The European American Investment Bank tribunal, most notably, stated that “the
            parallel rules under the BIT and the ECT are not incompatible, but should be viewed as
            cumulative.” 210


            Facing more precisely the Achmea debate, different arguments can be traced back to
            this general idea. In both the awards in the Eiser and Antin cases, it was maintained that
            the ordinary meaning of Article 26 of the ECT confers jurisdiction on the tribunal. An
            exclusion for intra-EU disputes would have to be express and clear, especially given
            that the EU is a party to the treaty. 211


            This is also the idea developed in the RREEF Decision. Because of treaty parallelism,
            the two treaties are both applicable. Therefore, they must be interpreted in such a way
            as not to contradict each other. Indeed, there is no conflict between Article 26 ECT and


209Greentech Energy Systems A/S and others v. Kingdom of Spain, SCC Case No. V2015/150, Final Award, 14 November 2018,
¶¶ 220-221.
210European American Investment Bank AG (EURAM) v. Republic of Slovakia, CNUDCI, PCA no 2010-17, Award on Jurisdiction,
22 October 2012, ¶ 231.
211
  Antin Infrastructure Services Luxembourg S.à.r.l. and Antin Energia Termosolar B.V. v. Kingdom of Spain, ICSID Case No.
ARB/13/31, Award, 15 June 2018, ¶ 215, Exhibit CL-176.


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                Article 344 TFUE, as they concern the settlement of two different kinds of disputes. In
                any case, in case of any contradiction between the ECT and EU law, the tribunal would
                have to apply the ECT; if there must be a “hierarchy” between these norms, it must be
                determined from the perspective of public international law. 212


                The Anglia tribunal stated that the BIT tribunal has jurisdiction only to determine the
                matters of interpretation and application of the BIT between the disputing parties and in
                relation to their dispute. Therefore, as the BIT tribunal has no jurisdiction to interpret
                the TFEU, EU law has no bearing on an enforceable treaty existing in the international
                legal order. 213 The UP tribunal similarly considered that as the tribunal’s jurisdiction is
                based on the ICSID Convention, the tribunal is placed in a public international law
                context and not in a national or regional context. The two legal orders evolve in parallel
                and the tribunal finds its jurisdiction in a treaty validly established in the international
                legal order. 214


                The Vattenfall tribunal has used both sorts of arguments. 215 On the one hand, there is no
                conflict between Article 26 ECT and Articles 267 and 344 TFEU, and it is therefore not
                necessary for the tribunal to apply the rules of conflict of law so as to resolve any
                purported conflict between them. 216 Moreover, it is stated that there is “no principle of
                public international law, or even of EU law, which would permit the tribunal to interpret
                the words of the ECT, being its foundational jurisdictional instrument, so as to give
                priority to external treaties (the TFEU and the TEU) and a court judgment interpreting
                those treaties.” 217


212
  RREEF Infrastructure (G.P.) Limited and RREEF Pan-European Infrastructure Two Lux S.à r.l. v. Kingdom of Spain, ICSID
Case No. ARB/13/30, Decision on Jurisdiction, 6 June 2016, ¶¶ 75-77, Exhibit CL-152.
213   Anglia Auto Accessories Ltd. v. Czech Republic, SCC Case No. V2014/181, Final Award, 10 March 2017, ¶ 127.
214
  UP (formerly Le Chèque Déjeuner) and C.D Holding Internationale v. Hungary, ICSID Case No. ARB/13/35, Award, 9 October
2018, ¶¶ 253-259.
215
  Vattenfall AB and others v. Federal Republic of Germany, ICSID Case No. ARB/12/12, Decision on the Achmea Issue, 31
August 2018, Exhibit CL-177.
216
  Vattenfall AB and others v. Federal Republic of Germany, ICSID Case No. ARB/12/12, Decision on the Achmea Issue, 31
August 2018, ¶ 214, Exhibit CL-177.
217
  Vattenfall AB and others v. Federal Republic of Germany, ICSID Case No. ARB/12/12, Decision on the Achmea Issue, 31
August 2018, ¶131, Exhibit CL-177.


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                    The Tribunal’s Decision

              First, having been rendered in the context of a BIT, it is clear that the Achmea judgment
              is silent as far as the ECT is concerned. Nevertheless, the case of the ECT is particular
              as the genesis of the treaty generates a presumption of absence of contradiction between
              EU law and the ECT itself. As the CJEU did not elaborate on this precise legal
              instrument and the Achmea judgment is silent on the case of ECT-based arbitration, the
              Tribunal cannot infer the position of the CJEU dealing with this scenario.


              As the ordinary meaning of Article 26 of the ECT confers jurisdiction on the Tribunal,
              any exclusion of intra-EU disputes would have to be express and clear, especially given
              that the EU is a party to the treaty.


              Second, as already stated, the Tribunal believes that “this ICSID arbitration is a dispute
              resolution mechanism governed exclusively by international law.” 218 Because of the
              principle of treaty parallelism, the Tribunal has to rely on the ECT and to apply its
              jurisdictional provisions.


              The idea of parallelism of treaties is a fundamental principle of public international law.
              The principle was clearly elaborated in the Bluefin Tuna arbitration 219, but can be traced
              back to the case law of the Permanent Court of International Justice elaborating on this
              fundamental principle 220 that has since become well-established. 221 Since treaties



218Electrabel S.A. v The Republic of Hungary, ICSID Case No. ARB/07/19, Decision on Jurisdiction, Applicable Law and Liability,
30 November 2012, ¶ 4.112, Exhibit CL-86.
219 Southern Bluefin Tuna Cases (New Zealand v. Japan; Australia v. Japan), Award on Jurisdiction and Admissibility, Decision
of 4 August 2000,¶ 52: “There is frequently a parallelism of treaties, both in their substantive content and in their provisions for
settlement of disputes arising thereunder. The current range of international legal obligations benefits from a process of accretion
and cumulation; in the practice of States, the conclusion of an implementing convention does not necessarily vacate the obligations
imposed by the framework convention upon the parties to the implementing convention.”
220PCIJ Customs Regime between Germany and Austria (Protocol of March 19, 1931), Advisory Opinion, 5 September 1931,
Series A/B, no 41, p. 48.
221 Among others, ICJ Aegean Sea Continental Shelf (Greece v. Turkey), Judgment 19 December 1978, CIJ Rep. 1978, ¶ 91: “By
these Treaties and by the General Act, therefore, Greece and Turkey appear, prima facie, to have provided for two parallel systems
of pacific settlement, for so long as the 1930 Treaty and the General Act might continue in force, and both Greece and Turkey have
stated that they consider the 1930 Treaty still to be in force.”


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               evolve in parallel, the presumption is the absence of conflict between them, as also
               clarified in WTO case law. 222


               The Tribunal’s jurisdiction is based on the ICSID Convention, the ECT, and general
               international law principles governing State consent. The Tribunal is placed in a public
               international law context and not in a national or regional context. The two legal orders
               (the EU legal order and the ECT normative space) evolve in parallel and the Tribunal
               finds its jurisdiction in a treaty validly established in the international legal order.


               As maintained by the tribunal in Marfin, “The Tribunal recalls in this context that its
               jurisdiction derives not only from the Treaty, but also from the ICSID Convention. It is
               thus the Tribunal’s duty to give effect to this legal instrument” 223.


       B.    The Tax Objection

                     The Respondent’s Position

               The Respondent contends that the Tribunal lacks jurisdiction to hear the dispute over
               the tax measures that Spain had adopted through the introduction of the TVPEE by Law
               15/2012, which, according to the Claimants, resulted in the breach of Spain’s
               obligations under Article 10(1) of the ECT. 224 Spain’s main arguments in support of its
               Tax Objection are described in seriatim below.


                (a) Spain’s consent to arbitration is restricted to disputes pertaining to alleged
                     violations of obligations derived from Part III of the ECT

               According to Spain, under Article 26 of the ECT, it “[has] only consented to submit to
               investment arbitration alleged breaches of obligations derived from Part III of the


222
  Panel Report, Indonesia — Certain Measures Affecting the Automobile Industry, WT/DS54/R-WT/DS55/R-WT/DS59/R-
WT/DS64/R, 23 July 1998,¶ 14.28.
223Marfin Investment Group Holdings S.A. and others v. Republic of Cyprus, ICSID Case No. ARB/13/27, Award, 26 July 2018,
¶ 592.
224   Respondent’s Counter-Memorial, ¶¶ 102-105.


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                ECT.” 225 Yet, pursuant to Article 21 of the ECT, Spain maintains, “section (1) of Article
                10 of the ECT, invoked by the Claimants, despite being located in Part III of the ECT,
                does not give rise to obligations with regard to taxation measures of the Contracting
                Parties.” 226


                 (b) The ECT does not impose obligations regarding tax measures of the
                      Contracting Parties

                Spain supports this objection on, inter alia, Articles 21(1) and 21(7)(a) of the ECT.
                Article 21(1) provides:

                      (1) Except as otherwise provided in this Article, nothing in this Treaty shall
                      create rights or impose obligations with respect to Taxation Measures of the
                      Contracting Parties. In the event of any inconsistency between this Article
                      and any other provision of the Treaty, this Article shall prevail to the extent
                      of the inconsistency. 227


                While Article 21(7) reads as follows:

                (a) The term ‘Taxation Measure’ includes:

                      (i) any provision relating to taxes of the domestic law of the Contracting Party or
                      of a political subdivision thereof or a local authority therein; … 228


                Spain contends that the ECT does not impose obligations or create rights with respect
                to the Contracting Parties’ tax measures so there is a general exclusion of taxation
                measures from the scope of the ECT (taxation carve-out) unless it is included in the
                expressly defined exceptions under Article 21 of the ECT (claw-backs). 229




225   Respondent’s Counter-Memorial, ¶ 104.
226   Respondent’s Counter-Memorial, ¶ 105, see also Respondent’s Counter-Memorial, ¶¶ 122-134; Respondent’s Rejoinder, ¶ 162.
227   Energy Charter Treaty, Art. 21(1), Exhibit RL-0006.
228   Energy Charter Treaty, Art. 21(7)(a), Exhibit RL-0006.
229   Respondent’s Counter-Memorial, ¶ 124.


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                Sections (2) through (5) are as follows:


                      (2) Article 7(3) shall apply to Taxation Measures other than those on income
                      or on capital, except that such provision shall not apply to: […]
                      (3) Article 10(2) and (7) shall apply to Taxation Measures of the
                      Contracting Parties other than those on income or on capital, except that
                      such provisions shall not apply to: […]
                      (4) Article 29(2) to (8)63 shall apply to Taxation Measures other than those
                      on income or on capital.
                      (5)     (a) Article 13 shall apply to taxes.
                              (b) Whenever an issue arises under Article 13, to the extent it
                              pertains to whether a tax constitutes an expropriation or whether a
                              tax alleged to constitute an expropriation is discriminatory, the
                              following provisions shall apply: […] 230


                Referring to these exceptions, Spain observes that “none of the exceptions […] by which
                taxation measures are included in the scope of protection of the ECT comprises section
                (1) of Article 10 of the ECT.” 231 Accordingly, Spain concludes, “section (1) of Article
                10 of the ECT, on which the Claimants try to base their claims, does not impose any
                obligations for the Contracting Parties regarding taxation measures.” 232


                Spain concedes that the only sections of Article 10 of the ECT that do apply to taxation
                measures are sections (2) and (7), however, the Claimants support their claim on Section
                10(1). Consequently, section (1) of Article 10 of the ECT invoked by Claimants, is not
                applicable to taxation measures. 233


                 (c) The TPVEE is a tax measure for the purposes of the ECT

                According to Spain, there are two possible interpretations of the above-mentioned
                provision of the ECT for the purposes of determining whether a challenged measure is
                a “tax measure” and falls under the scope of the ECT’s taxation carve-out: either (i) the


230   Energy Charter Treaty, Art. 21(2) through 21(5), Exhibit RL-0006.
231   Respondent’s Counter-Memorial, ¶ 131.
232   Respondent’s Counter-Memorial, ¶ 131.
233   Respondent’s Counter-Memorial, ¶ 134.


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                measure must be defined in reference to the domestic law of the Contracting Party, or
                (ii) it must be defined from the perspective of international law. 234


                Spain submits that, in accordance, inter alia, with arbitration case law, 235 the wording
                of Section (7)(a)(i) of Article 21 of the ECT itself, or Article 3 of the double taxation
                Convention between Spain and Luxembourg, the Tribunal shall adopt the first
                interpretation. 236 Notwithstanding this recommendation, Spain remarks that “to the
                extent relevant for this arbitration, either of the two stated interpretations of Article
                21(7)(a)(i) of the ECT leads us to conclude that the TVPEE is a tax.” 237


                First, in regards to the TVPEE being a tax under the domestic law, Spain contends that
                Law 15/2012 is domestic law, approved by the Spanish Parliament in accordance with
                the ordinary legislative procedure governed by Spanish law. 238 Spain further alleges that
                Law 15/2012 “is clear about the taxation nature of the TVPEE,” 239 which was also
                ratified by the Spanish Constitutional Court.240 On the latter, Spain refers to the Spanish
                Constitutional Court Judgment of 6 November 2014 which dismissed an appeal against
                the TVPEE and declaring the “TVPEE regulation contained in Law 15/2012 as perfectly
                valid and in accordance with the Spanish Constitution.” 241




234   Respondent’s Counter-Memorial, ¶¶ 136-149.
235Respondent’s Counter-Memorial,¶ 147. Spain cited the Saipem v. Bangladesh case as an example of the ordinary meaning of a
treaty to make reference to domestic law in the definition of a term. Saipem S.p.A. v. The People’s Republic of Bangladesh, ICSID
Case No. ARB/05/7, Decision on Jurisdiction and Recommendation on Provisional Measures, 21 March 2007, ¶ 82, Exhibit RL-
0029 (“in absence of any indication that the contracting states intended to refer to ‘property’ as a notion of Bangladeshi law, the
Tribunal cannot depart from the general rule that treaties are to be interpreted by reference to international law”).
236   Respondent’s Counter-Memorial, ¶¶ 137-145.
237   Respondent’s Counter-Memorial, ¶ 147.
238   Respondent’s Counter-Memorial, ¶ 150, citing Exhibit R-0034; Respondent’s Rejoinder, ¶ 168.
239   Respondent’s Counter-Memorial, ¶ 156, citing Exhibit R-0030, Article 1.
240
      Respondent’s Counter-Memorial, ¶¶ 155, 165-168.
241 Respondent’s Counter-Memorial, ¶167, citing Judgment 183/2014, 6 November 2014, Constitutional Court Plenary on
unconstitutionality appeal number 1780-2013 promoted by the Cabinet of the Andalusian Regional Government with regard to
articles 4, 5 and 8 of Act15/2012, published on 4 December 2014 in the Boletin Oficial Español (“Judgement 183/2014”), Exhibit
R-0043.


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                Second, with respect to international law, Spain affirms that the TVPEE also has the
                characteristics of a tax measure under international law (i) as interpreted by international
                investment tribunals, 242 and (ii) confirmed by the European Commission, which had
                specifically ratified the tax nature of the TVPEE and its compliance with EU law.243
                Thus, Spain concludes, “there is no doubt that the TVPEE is a tax, both from the
                perspective of Spanish law and from the perspective of international law.” 244


                In the light of the foregoing, Spain concludes that “the provisions relating to the TVPEE
                of Law 15/2012 are provisions relating to taxes of the domestic law of the Kingdom of
                Spain,” 245 and, accordingly, the TVPEE is a tax for the purposes of the ECT. 246


                 (d) The TPVEE is a bona fide tax measure for the purposes of the ECT

                In its Rejoinder, Spain asserts that, to determine whether the TPVEE is a taxation
                measure for the purposes of the ECT, the Tribunal only needs to analyse whether the
                TPVEE falls within the ECT definition. It does not, according to Spain, need to examine
                the bona fide nature of the tax, including its economic effect, as urged by the
                Claimants. 247


                In this context, Spain distinguishes the case of Yukos, invoked by the Claimants, noting
                that it involved “extraordinary circumstances,” and, as a result, “the analysis of the good
                faith of the taxation measures undertaken in the Yukos case is not applicable to the
                present case.” 248


242
  Respondent’s Counter-Memorial, ¶¶ 172-194, citing Encana Corporation v. Republic of Ecuador, LCIA Case No. UN 3481,
Award, 3 February 2006, ¶ 142, Exhibit RL-0027; Duke Energy Eletroquil Partners & Eletroquil S.A. v. Republic of Ecuador,
ICSID Case No. ARB/04/19, Award, 18 August 2008, ¶ 174, Exhibit RL-0033, and Burlington Resources Inc. v. Republic of
Ecuador, ICSID Case No. ARB/08/5, Decision on Jurisdiction, 2 June 2010, ¶¶ 164-165, Exhibit RL-0036.
243   Respondent’s Counter-Memorial, ¶¶ 195-206; Respondent’s Rejoinder, ¶ 172.
244   Respondent’s Rejoinder, ¶ 169.
245   Respondent’s Counter-Memorial, ¶ 205.
246   Respondent’s Counter-Memorial, ¶ 206.
247   Respondent’s Rejoinder, ¶¶ 175-183.
248
  Respondent’s Rejoinder, ¶ 178, citing Yukos Universal Limited (Isle of Man) vs. The Russian Federation, UNCITRAL, PCA
Case No. AA 227, Final Award, 18 July 2014, ¶1407, Exhibit RL-0086.


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                Spain further refers to EnCana v. Ecuador to stress that the Tribunal is only to consider
                the “legal operation” of a taxation measure, and not its “economic effect.” 249


                However, should the Tribunal proceed with the additional analysis suggested by the
                Claimants to determine whether the TPVEE falls within the taxation carve-out under
                Article 21 of the ECT, in Spain’s view, it must only conclude that the TPVEE is a bona
                fide tax.250 Spain advances three arguments in support of this assertion.


                First, Spain sustains that the TVPEE, as a tax of general application, applies to all
                energy producers, both renewable and conventional. 251 It applies to all producers
                without distinction.        The general application, according to the Respondent, is a
                legitimate option of the legislator, which has been recognised by the Spanish
                Constitutional Court. 252 Spain further argues that the fact that the TVPEE equally
                applies to conventional as well as to renewable producers, “without including tax
                benefits for renewable producers, cannot be construed in any way as the reason to deny
                the bona fide nature of this taxation measure.” 253


                Second, in response to the Claimants’ contention that RE producers, as opposed to
                conventional producers, are unable to pass the tax to the consumer results in the TPVEE
                being discriminatory, the Respondent alleges that it is not discriminatory from the
                perspective of its legal consequence or economic consequence.                      On the legal
                consequence, Spain explains that the TPVEE is a direct tax that is not passed on by
                taxpayers, whether they are producers of renewable or conventional energy. 254 On the
                economic consequence, Spain argues that there is no discrimination between



249 Respondent’s Rejoinder, ¶ 179, citing Encana Corporation v. Republic of Ecuador, LCIA Case No. UN 3481, Award, 3

February 2006, ¶ 142, Exhibit RL-0027.
250   Respondent’s Rejoinder, ¶ 181.
251   Respondent’s Rejoinder, ¶ 184.
252   Judgment 183/2014, Exhibit R-0043.
253   Respondent’s Rejoinder, ¶ 195.
254   Respondent’s Rejoinder, ¶¶ 199-214.


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                conventional and renewable energy producers because both would recover the amount
                of the TVPEE through the market price. 255


                Third, to counter the Claimants’ assertion that the TPVEE constitutes a disguised tariff
                cut, Spain notes that the TVPEE is a public income included in the General State
                           256
                Budget,           which contributes to the State resources for financing of public
                expenditures. 257 Spain highlights that an amount equivalent to the estimated annual
                collection deriving from the taxes included in Law 15/2012, among them the TVPEE,
                is destined to the promotion of RE. 258 In other words, Spain maintains, “the purpose of
                the TVPEE is to raise revenue for the Spanish State for public purposes.” 259


                Spain also referred the Tribunal to the decisions in Isolux and Eiser, in which, according
                to Spain, the tribunals agreed with Spain’s position when declaring their lack of
                jurisdiction to hear disputes regarding the alleged breach of obligations derived from
                Section (1) of Article 10 of the ECT resulting from the enactment of the TVPEE by Law
                15/2012. 260


                In its Post-Hearing brief, Spain affirms its position that the tribunal lacks jurisdiction to
                hear the claim of an alleged breach of Article 10(1) by the enactment of the TVPEE and
                further notes that “all Awards rendered so far in Spanish cases have upheld this
                Jurisdictional Objection.” 261




255   Respondent’s Rejoinder, ¶¶ 197(b), 212.
256   Respondent’s Rejoinder, ¶ 216, see also Exhibits R-0079, R-0080, R-0081, R-0010, R-0293.
257   Respondent’s Rejoinder, ¶ 217.
258   Respondent’s Rejoinder, ¶¶ 215-220.
259   Respondent’s Rejoinder, ¶ 220.
260   Respondent’s Rejoinder, ¶¶ 221-225.
261   Respondent’s Post-Hearing, ¶ 85.


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                      The Claimants’ Position

                 (a) The “taxation carve-out” under Article 21 of the ECT only applies to bona
                      fide taxes

                According to the Claimants, Spain’s arguments aimed at establishing the TVPEE’s
                character as a “tax” under domestic law are irrelevant. 262 Instead, the question is
                whether the taxation measure is bona fide and therefore entitled to the benefit of the
                taxation carve-out under Article 21 of the ECT.


                In the Claimants’ view, the basis for the requirement under Article 21 is that taxation
                measures must be bona fide derived from the basic principle of good faith in
                international law. The Claimants argue that Spain cannot avail itself of the exemption
                under Article 21 if the measure is disguised as a tax with the ultimate intent to achieve
                another purpose. 263 On this argument, the Claimants call the Tribunal’s attention to the
                text of Article 21 and the Yukos case to conclude that the fact that a measure is labelled
                as a tax does not imply that the taxation carve-out applies. 264


                The Claimants also contend Respondent’s interpretation of the EnCana v. Ecuador case
                asking the tribunal to consider only the “legal operation” of the taxation measure and
                not the “economic effect.” 265 The Claimants point out that the EnCana tribunal noted
                that “arbitrary measures would not qualify for exemption under the taxation carve-out
                contained” in the corresponding BIT. 266


                The Claimants contend that there is a clear distinction between bona fide and abusive
                taxation measures under international law. The Claimants argue that good faith is a
                fundamental principle of treaty interpretation and performance, which “pervades all


262   Claimants’ Reply, ¶¶ 599-611.
263   Claimants’ Reply, ¶ 547.
264   Claimants’ Reply, ¶¶ 548-551.
265   Claimants’ Rejoinder, ¶ 77.
266   Claimants’ Rejoinder, ¶ 77.


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                aspects of Investor-State relations.” 267 According to the Claimants, this is demonstrated,
                inter alia, by Article 31(1) of the VCLT, extensive scholarship and international case-
                law, which is also associated with the concept of estoppel. 268


                The Claimants argue that the Tribunal must look into the State’s pattern of conduct to
                determine, on the balance of probabilities, whether the measure concerned is bona
                fide. 269 The Claimants dispute Spain’s contention that the tribunal in Yukos recognised
                a presumption in favour of the validity of tax measures, claiming instead that the Yukos
                decision demonstrates that the bona fide nature (or lack thereof) of a tax measure must
                be assessed from the conduct of the State on the basis of the balance of probabilities.270
                In this regard, the Claimants allege that there is prima facie evidence that the 7% tax is
                arbitrary and discriminatory. 271


                In this regard, the Claimants also refer to Feldman v. Mexico to assert that “where a
                taxation measure is prima facie arbitrary or discriminatory, the burden of proof
                switches to the respondent State to provide a rational explanation for its conduct.”272
                The Claimants conclude that “Article 21 is not triggered and that there is a breach of
                the ECT if the balance of evidence and surrounding circumstances are more consistent




267   Claimants’ Reply, ¶ 552.
268Claimants’ Reply, ¶¶ 541-551, citing Saluka Investments B.V. v. The Czech Republic, UNCITRAL, Partial Award on Jurisdiction
and Merits, 17 March 2006, ¶ 307 (“A foreign investor protected by the Treaty may in any case properly expect that the Czech
Republic implements its policies bona fide by conduct that is, as far as it affects the investors’ investment, reasonably justifiable
by public policies and that such conduct does not manifestly violate the requirements of consistency, transparency, even-handedness
and non-discrimination.”) Exhibit CL-43; see also Nova Scotia Power Incorporated (Canada) v. The Bolivarian Republic of
Venezuela, UNCITRAL, Decision on Jurisdiction, 22 April 2010, ¶ 141 (“The existence of the doctrine of estoppel, or the
prohibition of venire contra factum proprium, is consolidated in public international law, even though its existence as a general
principle of law or as customary law is subject to debate. There is a consensus around the origin of the doctrine, which in public
international law can be viewed as connected to the principle of good faith. Its applicability has been recognised in investment
arbitration for a long time.”), Exhibit CL-127.
269   Claimants’ Reply, ¶ 558.
270   Claimants‘ Reply, ¶¶ 558-563; Claimants‘ Rejoinder, ¶ 75.
271
      Claimants’ Reply, ¶ 562.
272Claimants‘ Reply, ¶ 562, citing Marvin Roy Feldman Karpa v. The United Mexican States, ICSID Case No. ARB(AF)/99/1,
Award, 16 December 2012, ¶¶ 177-178, Exhibit CL-140. See also, Asian Agricultural Products Limited v. The Democratic
Socialist Republic of Sri Lanka, ICSID Case No. ARB/87/3, Award, 27 June 1990, ¶ 56 (“In a case a party adduces some evidence
which prima facie supports his allegations, the burden of proof shifts to his opponent.”), Exhibit CL-101.


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                with the claim that the 7% Levy was implemented as a disguised cut of the rights granted
                under RD 661/2007.” 273


                In their Post-Hearing Reply brief, the Claimants further this argument on the basis of
                the Antaris v. Czech Republic award. In this award, according to the Claimants, the
                tribunal applied the two-limb test to determine whether the carve-out applied: (i) the
                domestic law of the host State must first characterise the measure as a tax for Article 21
                to apply, and (ii) tribunal must determine whether the measure is also a tax within the
                scope of Article 21 by looking at the requirement of whether it is “directed at raising
                general revenue for the state.” 274 In this case, the Claimants concentrate on the second
                limb and allege that the funds raised by the TVPEE are not used for the general public
                purpose of the State but rather redirected to the electricity system. 275


                 (b) The 7% levy is not a bona fide tax

                According to the Claimants, the TPVEE is not a bona fide tax, but a tariff cut. In their
                Reply, the Claimants summarise their views as follows: “it is readily apparent from
                Spain’s conduct that the 7% Levy is not a real tax measure, but was in fact a measure
                designed to strip away the rights of the Claimants’ installations under the RD 661/2007
                regulatory regime.” 276 The most obvious illustration of this is, according to the
                Claimants, the fact that “the money raised by the 7% Levy goes from the electricity
                producers within the electricity system to the State budget and then back to the
                electricity system in order to cover the costs of the electricity system.” 277


                In particular, the Claimants argue that (i) Spain’s conduct reveals that even though
                denominated as a tax, the TPVEE was intended to be a tariff cut; (ii) the TPVEE, de


273   Claimants’ Reply, ¶ 563.
274
  Claimants’ Post-Hearing Reply, ¶ 107, citing Antaris Solar GmbH and Dr. Michael Gode v. Czech Republic, PCA Case No.
2014-01, Award, 2 May 2018, ¶ 248, Exhibit CL-178.
275   Claimants’ Post-Hearing Reply, ¶ 107.
276   Claimants’ Reply, ¶ 564.
277   Claimants‘ Rejoinder, ¶ 79.


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                facto, accomplishes the opposite of its stated official aim; and (iii) it is part of a
                Government scheme to dismantle the RD 661/2007 economic regime through which the
                Claimants were encouraged to invest.


                First, the Claimants explain that to understand Spain’s intent regarding the TVPEE, it
                is important to understand the context in which Law 15/2012 was approved. 278 The
                Claimants then refer to a statement made by the Ministry of Industry, Energy and
                Tourism after the enactment of the disputed measure, acknowledging that the
                Government could have opted to reduce premiums for RE installations, but instead
                chose to adopt the tax on generation. 279 The Claimants further note that the Minister's
                comments as well as the implementation of the TPVEE occurred at a time when Spain
                “(a) was already defending ECT claims; (b) had retained legal advice to defend those
                claims; and (c) was aware of the Article 21 ECT provision containing the taxation
                carve-out.” 280 Hence, the Claimants conclude, that the TVPEE is not a bona fide tax
                based on that “[t]he inference must be that the 7% Levy was framed as a tax with the
                purpose of avoiding liability for breaching investors’ rights under the ECT.” 281


                Second, the Claimants allege that the measure discriminates against RE plants because,
                unlike their conventional counterparts that can raise prices to pass the tax to consumers,
                the government determines renewable plants’ revenues, preventing them to pass along
                the burden of the tax. 282 Additionally, the Claimants submit that, while the Preamble of
                the TPVEE indicates that the measure’s aim is to protect the environment, Spain has not
                provided a rational link between the TVPEE and its professed aim, but rather the
                opposite that it purports to achieve resulting in an impact on the incentives that RE




278   Claimants’ Reply, ¶ 566.
279   Claimants’ Reply, ¶ 572.
280   Claimants’ Rejoinder, ¶ 81.
281   Claimants’ Rejoinder, ¶ 81; see also Claimants Reply, ¶ 574.
282   Claimants’ Reply, ¶¶ 576-587.


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                installations were supposed to receive. 283 Further to this argument, the Claimants say
                that the TVPEE had a disparate impact on RE plants. 284


                Third, the Claimants indicate that they are not challenging the TVPEE as a discrete
                measure in isolation but rather considering all measures taken by Spain and their impact
                on the Claimants’ investment. 285 The Claimants distinguish the Plama v. Bulgaria case
                relied by the Respondent on the basis that the investors in that case made their
                investments when the Bulgarian taxation laws were already in place. Differently from
                this case, the Claimants say, where the taxation measures were implemented after the
                investment was made. 286


                Finally, the Claimants sustain that Spain’s labelling of the measure as a tax under its
                internal law is irrelevant to determine whether Article 21 is applicable, as it has been
                supported by several authorities. 287 The Respondent gives the TVPEE an appearance
                of a tax by channelling the funds levied through the Law 15/2012 through the State
                Budget and then return to the electricity system. 288 Even if the measure was enacted in
                compliance with its domestic law, the Claimants contend that this is irrelevant if the
                Respondent is evading its international obligations. 289 Furthermore, for Claimants, the
                fact that it complies with the definition of tax under international law as Respondent
                contends, does not demonstrate that the TVPEE is bona fide. 290




283   Claimants’ Reply, ¶ 585.
284   Claimants’ Rejoinder, ¶ 83.
285   Claimants‘ Reply, ¶¶ 593-597.
286   Claimants’ Reply, ¶ 597.
287 Claimants’ Reply, ¶ 599-603, citing Yukos Universal Limited (Isle of Man) v. The Russian Federation, Case PCA No. AA 227,

Final Award, 18 July 2014, ¶ 1433, Exhibit CL-157; see also Renta 4 S.V.S.A. Ahorro Corporacion Emergentes F.I., Wuasar de
Volars SICAV S.A., Orgor de Valores SIVAC S.A., GBI 9000 SICAV S.A., ALOS 34 S.L. v. The Russian Federation, Case SCC No.
24/2007, Award, 20 July 2012, ¶ 179, Exhibit CL-137.
288   Claimants’ Reply, ¶ 603.
289   Claimants’ Reply, ¶ 605.
290   Claimants’ Reply, ¶ 606-611.


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                 (c) Response to Spain’s new submissions

                The Claimants also responded to the following new submissions of Spain contained in
                its Rejoinder in defence to the TVPEE: (i) the tax measure had a valid purpose, (ii) the
                cost of the TVPEE is covered by the remuneration in the New Regime, and (iii) Spain’s
                position regarding the TVPEE has been shared by other tribunals, in particular, the
                Isolux and Eiser tribunals. 291


                The Claimants point out that Spain has not explained why the environmental effects
                caused by transport and distribution networks should be attributed in greater measure to
                the RE installations. Further to this argument, the Claimants call the Tribunal’s attention
                to a decision from the Spanish Supreme Court calling for doubts as to the environmental
                purpose of the TVPEE. 292


                The Claimants also argue that the New Regime does not cover the cost of the TVPEE.
                The Claimants allege that the disputed measures have caused the Claimants to loss value
                of their investment and that the TVPEE allows Spain to reduce the revenues of existing
                RE installations.293


                Finally, the Claimants differentiate this case from the Isolux and Eiser cases alleging
                that they have proven that the TVPEE was not to raise revenues but rather to reduce the
                tariff deficit and to reduce the economic rights for investors. 294


                      The Tribunal’s Analysis

                Relying on the fact that Article 21(1) ECT is a “carve out” clause, the Respondent
                argues that taxation measures are excluded from the treaty protection and that the




291   Claimants’ Rejoinder, ¶ 85.
292   Claimants’ Rejoinder, ¶88.
293   Claimants’ Rejoinder, ¶¶ 86-89.
294   Claimants’ Rejoinder,¶¶ 90-92.


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                Tribunal lacks jurisdiction for the claims concerning the violation of Article 10(1)
                because of the adoption of Law 15/2012, having introduced the TVPEE.


                The Claimants do not put into question the qualification of the TVPEE as “tax” but they
                basically contend that this measure is not a bona fide taxation measure, as it is arbitrary
                and discriminatory. 295 It would be a tariff cut, designed to strip away the rights of the
                Claimants under the RD 661/2007 regulatory regime. 296 Therefore, the measure would
                not be covered by the Article 21 exemption.


                Article 21(1) ECT established that: “Except as otherwise provided in this Article,
                nothing in this Treaty shall create rights or impose obligations with respect to Taxation
                Measures of the Contracting Parties”. The provision entails a lack of jurisdiction
                ratione materiae of the tribunal, whose jurisdiction is limited to the disputes relating to
                the rights and obligations stemming from the ECT. 297


                As for the question concerning the bona fide character of the tax, this Tribunal recalls
                that the Yukos Universal v. Russia award clarified that “the carve out of Article 21(1)
                can apply only to bona fide taxation actions, i.e., actions that are motivated by the
                purpose of raising general revenue for the State. By contrast, actions that are taken only
                under the guise of taxation, but in reality aim to achieve an entirely unrelated purpose
                (such as the destruction of a company or the elimination of a political opponent) cannot
                qualify for exemption from protection standards.” 298 Fundamentally, the Tribunal’s
                standard of review here lies in controlling the existence of an “abuse of tax law.” 299




295   Claimants’ Reply, ¶ 562.
296   Claimants’ Reply, ¶ 564.
297
  Isolux Infrastructure Netherlands, BV v. Kingdom of Spain, SCC Case No. V2013/153, Award, 12 July 2016, ¶ 721, Exhibit
RL-0072.
298
  Yukos Universal Limited (Isle of Man) vs. The Russian Federation, UNCITRAL, PCA Case No. AA 227, Final Award, 18 July
2014, ¶1407, Exhibit RL-0086.
299   RosInvestCo UK Ltd. v. The Russian Federation, SCC Case No. V079/2005, Award, 12 September 2010, ¶ 628.


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                The Claimants bear the duty to prove that the tax measure was not adopted in order to
                raise the revenue of the State but for other purposes. 300 This burden of proof is
                particularly demanding, as “States have a wide latitude in imposing and enforcing
                taxation law, even if resulting in substantial deprivation without compensation.” 301
                Arbitral awards having decided that such was the case were faced with extreme
                situations, where the State was aiming at destructing a political opponent. 302 The
                presumption is the bona fide exercise of the taxation power: “the power to tax is a core
                sovereign power that should not be questioned lightly.” 303


                In relation to that, the Claimants tried to shift the burden of proof claiming that the
                taxation measure was arbitrary and discriminatory, relying on the principle established
                by the Feldman v. Mexico award. 304


                Nevertheless, the Tribunal agrees with previous cases that the standard of review in
                relation to a carve-out clause is limited to the assessment of an egregious abuse of tax
                power. The Claimants have not proved that this is the case.


                In addition, the Claimants contended that the TVPEE was a mere tariff cut while being
                presented as an environmental measure. As clearly established in the Isolux award, even
                if the finality of the tax measure was not purely the protection of the environment but
                the enrichment of the State, this objective would nevertheless coincide with the aim of
                a taxation measure and would not be sufficient to establish the bad faith of the
                Respondent. 305 The present Tribunal shares this view.



300
  Isolux Infrastructure Netherlands, BV v. Kingdom of Spain, SCC Case No. V2013/153, Award, 12 July 2016, ¶ 734, Exhibit
RL-0072.
301   RosInvestCo UK Ltd. v. The Russian Federation, SCC Case No. V079/2005, Award, 12 September 2010, ¶ 580.
302
  Isolux Infrastructure Netherlands, BV v. Kingdom of Spain, SCC Case No. V2013/153, Award, 12 July 2016, ¶ 739, Exhibit
RL-0072.
303
  Eiser Infrastructure Limited and Energía Solar Luxembourg S.à r.l. v The Kingdom of Spain, ICSID Case No. ARB/13/36,
Award, 4 May 2017, ¶ 270, Exhibit CL-154.
304   Claimants’ Reply, ¶ 562.
305
  Isolux Infrastructure Netherlands, BV v. Kingdom of Spain, SCC Case No. V2013/153, Award, 12 July 2016, ¶ 740, Exhibit
RL-0072.


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                The Tribunal considers that the Claimants failed to demonstrate any improper or abusive
                use of the State’s power to tax. Therefore, Article 21(1) of the ECT applies to carve out
                taxation measures from the jurisdiction ratione materiae of the Tribunal.


       VI.      APPLICABLE LAW

             A. Article 42 of the ICSID Convention and 26(6) of the ECT

                The Parties agree that Articles 42(1) of the ICSID Convention and Article 26(6) of the
                ECT define the law applicable to the merits of this dispute.


                The Claimants assert that (i) the ECT serves as the primary source of law, and, (ii) where
                the ECT is silent, “the Tribunal should apply customary international law and general
                principles of international law.” 306


                The Respondent agrees with the Claimants that the Tribunal shall apply the rules
                contained within the ECT and other rules and principles of International Law to the
                merits of this case.


                However, as regards to the “rules and principles of international law,” Spain points out
                that this provision incorporates rules of EU law, the application of which should lead
                the Tribunal to the dismissal of the Claimants’ claims. 307


           B. Relevance of EU Law

                      Respondent’s Position

                The Respondent contends that EU law is applicable international law, 308 and that it must
                be applied by the Tribunal to decide all the issues in dispute, including jurisdictional,



306   Claimants’ Memorial, ¶ 327.
307   Respondent’s Counter-Memorial, ¶ 883-890.
308   Respondent’s Rejoinder, ¶ 132.


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                merits and quantum issues as required by Article 26(6) of the ECT. 309 Spain further
                argues that Article 26(6) of the ECT does not grant ECT prevalence over any other
                applicable rule or principle of international law. 310


                The Respondent argues that the present dispute is an intra-EU dispute that concerns
                investments of investors of Member States of the EU made in another Member State of
                the EU. The Respondent explains that the Claimants made their investment in reliance
                of the fundamental freedoms provided under EU law and not in reliance with the
                ECT. 311 Therefore, Spain argues, EU law has to be applied to this intra-EU relationship.


                In addition to citing the Electrabel, Blusun and Wirtgen cases, the Respondent supports
                this argument on the ruling of the CJEU in the Preliminary Ruling of 6 March 2018 in
                the Achmea decision:


                      (…) According to settled case-law of the Court, the autonomy of EU law
                      with respect both to the law of the Member States and to international law
                      is justified by the essential characteristics of the EU and its law, relating in
                      particular to the constitutional structure of the EU and the very nature of
                      that law. EU law is characterised by the fact that it stems from an
                      independent source of law, the Treaties, by its primacy over the laws of the
                      Member States, and by the direct effect of a whole series of provisions
                      which are applicable to their nationals and to the Member States themselves.
                      Those characteristics have given rise to a structured network of principles,
                      rules and mutually interdependent legal relations binding the EU and its
                      Member States reciprocally and binding its Member States to each other
                      (see, to that effect, Opinion 2/13 (Accession of the EU to the ECHR) of 18
                      December 2014, EU:C:2014:2454, paragraphs 165 to 167 and the case-law
                      cited).

                      EU law is thus based on the fundamental premise that each Member State
                      shares with all the other Member States, and recognises that they share with
                      it, a set of common values on which the EU is founded, as stated in Article
                      2 TEU. That premise implies and justifies the existence of mutual trust
                      between the Member States that those values will be recognised, and
                      therefore that the law of the EU that implements them will be respected. It

309   Respondent’s Post-Hearing, ¶ 7.
310   Respondent’s Post-Hearing, ¶¶ 8-9.
311   Respondent’s Post-Hearing, ¶11.


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                      is precisely in that context that the Member States are obliged, by reason
                      inter alia of the principle of sincere cooperation set out in the first
                      subparagraph of Article 4(3) TEU, to ensure in their respective territories
                      the application of and respect for EU law, and to take for those purposes
                      any appropriate measure, whether general or particular, to ensure fulfilment
                      of the obligations arising out of the Treaties or resulting from the acts of the
                      institutions of the EU (Opinion 2/13 (Accession of the EU to the ECHR) of
                      18 December 2014, EU:C:2014:2454, paragraphs 168 and 173 and the case-
                      law cited). 312

                The Respondent also contends that the Tribunal must apply EU law to resolve this
                dispute, otherwise, any adopted decision by the Tribunal would be contrary to EU
                regulation governing State aid in favour of renewable energy in member States. 313 This
                is regardless of whether the dispute is intra-EU or not. 314 The Respondent notes that the
                EU Commission has established that the subsidies provided under RD 661/2007 (as
                amended by RD 1614/2010) are State aid under EU law. 315 The Respondent further
                argues on this point that EU law is decisive to determine the scope of the Claimants’
                rights, 316 their legitimate expectations, 317 and the proportionality and reasonability of
                the disputed measures. 318




312
  Respondent’s Post-Hearing, ¶ 13, citing Judgment of the EUCJ Case C-284/16, Republic of Slovakia/Achmea BV, March 6,
2018, Preliminary Ruling, Exhibit CL-162.
313   Respondent’s Rejoinder, ¶ 885.
314   Respondent’s Post-Hearing, ¶ 9.
315Respondent’s Post-Hearing, ¶¶ 29-31, citing Response from the EU Commission of 29 February 2016 to the request for
investigation from the National Association of Renewable Energy Producers and Investors, Exhibit R-0185, and EU Commission
Decision on State Aid SA.40348, dated 10 November 2017,on the Spanish regime of support for electricity generation from
renewable energy resources, Exhibit RL-0081.
316   Respondent’s Post-Hearing, ¶ 50.
317Respondent’s Post-Hearing, ¶¶ 51-70, citing Response from the EU Commission of 29 February 2016 to the request for
investigation from the National Association of Renewable Energy Producers and Investors, Exhibit R-0185; EU Commission’s
Decision regarding the support scheme developed by Czech Republic, Exhibit RL-0021; Electrabel S.A. v The Republic of
Hungary, ICSID Case No. ARB/07/19, Decision on Jurisdiction, Applicable Law and Liability, 30 November 2012, Exhibit RL-
0002; Commission Decision on State Aid of 10 November 2017, Exhibit RL-0081; Blusun S.A., Jean-Pierre Lecorcier and
Michael Stein v. Italian Republic, ICSID Case No. ARB/14/3, Award, 27 December 2016, Exhibit RL-0082, and Community
Guidelines for State Aid on environmental protection 2008/C/82/01, Exhibit R-0065.
318
  Respondent’s Post-Hearing, ¶¶ 71-75, citing Community Guidelines for State Aid on environmental protection 2008/C/82/01,
Exhibit R-0065; and Mr. Jürgen Wirtgen, Mr. Stefan Wirtgen, Mrs. Gisela Wirtgen and JSW Solar (swei) GmbH & Co. KG v. The
Czech Republic, Award, 11 October 2017, ¶174, Exhibit RL-0096.


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                The Respondent contends that State aid is only permissible under EU law as long as
                they contribute to the purpose for which they were created. 319


                The Respondent also argues that EU law and principles applied to decide all issues in
                dispute are not limited to Treaties but also comprise acts of EU institutions and notes
                that it has been interpreted as such in other cases such as Electrabel, Blusun, and
                Wirtgen.


                The Respondent therefore argues that the Commission’s Decision on State aid is binding
                and this Tribunal “cannot elude its application... [as it] affects matters of public
                order.” 320


                The Respondent further adds that EU law is part of Spanish law. Therefore, Spanish
                Courts are part of the EU legal system to ensure compliance with EU regulations. 321 EU
                law on State aid is a matter of public order in the EU territory. 322


                      Claimants’ Position

                In response to Spain’s allegation that no investor could have legitimate expectations to
                receive the RD 661/2007 FIT, the Claimants respond that when Bridgepoint invested in
                August 2011, it could not have expected that RD 661/2007 could be declared to be
                unlawful State aid because this was not clarified until the Order of 22 October 2014 of
                the CJEU.323




319   Respondent’s Rejoinder, ¶ 887.
320
  Respondent’s Post-Hearing, ¶ 83, citing Charanne B.V. and Construction Investments S.A.R.L. v The Kingdom of Spain, SCC
Case No. 062/2012, Award, 21 January 2016, ¶ 449, Exhibit RL-0049.
321   Respondent’s Rejoinder, ¶ 890.
322   Respondent’s Reply Post-Hearing, ¶ 29.
323   Claimants’ Reply Post-Hearing, ¶ 76.


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                The Claimants also point out that RD 661/2007 has not been found to constitute State
                aid. 324


                The Claimants respond to Spain’s argument that the Tribunal is bound by the EU
                Commission’s decisions that awarding the Claimants damages in this arbitration would
                not be in breach of EU State aid rules. To support this argument, the Claimants note
                that “the returns the Claimants would obtain at the project level under RD 661/2007
                But-For scenario would be between 8% and 9% post-tax. These figures do not qualify
                as windfall profits and would fall well within the range of returns that the EU
                Commission has considered proportionate.” 325


                The Claimants oppose the Respondent’s argument that the Tribunal should apply
                Spanish law in the present dispute. The Claimants note that “a State cannot, by pleading
                that its conduct conforms to the provisions of its internal law, escape the
                characterisation of that conduct as wrongful by international law.” 326


           C. The Object and Purpose of the ECT

                      Claimants’ Position

                The Claimants state that, as required by Articles 31 and 32 of the VCLT, the “ECT shall
                be interpreted in good faith in accordance with the ordinary meaning given to its terms
                in their context and in the light of the ECT's object and purpose.” 327


                The Claimants understand that the fundamental objective of the ECT is to facilitate
                transactions and investments in the energy sector by reducing political and regulatory
                risks. 328 The ECT seeks to accomplish this objective, in particular, by requiring the


324   Claimants’ Reply Post-Hearing, ¶ 77.
325   Claimants’ Reply Post-Hearing, ¶ 79; see also Claimants’ Post-Hearing, ¶¶ 167, 177, and First Brattle Quantum Report, ¶ 81.
326   Claimants’ Reply, ¶ 605, citing ILC Articles, Exhibit CL-27.
327   Claimants’ Reply, ¶507.
328   Claimants’ Memorial, ¶ 336, see also Exhibit C-153.


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                Contracting States to maintain a stable, predictable and transparent legal and regulatory
                framework for such investments. 329


                By ratifying the ECT, Contracting States agreed: (a) to provide such a framework to
                investors in the energy sector; and (b) to be held to account in the event that they fail to
                do so. 330


                The Claimants argue that energy investments are different from many other types of
                investments due to: (a) their capital-intensive nature, with very high upfront capital
                costs; (b) the lengthy period of time required for the investor to receive a return of and
                on their investment; and (c) their decades-long operating horizons. These particular
                characteristics make a stable, predictable and transparent legal and regulatory
                framework a sine qua non for energy investments. 331


                Contrary to the Respondent’s argument, the Claimants assert that the ECT provides a
                high level of protection for investors in the energy sector, in particular those for their
                long-term and capital-intensive nature. 332


                The Claimants understand that there is a fundamental distinction between the protection
                of national treatment and FET under the ECT. National treatment is a contingent
                standard of investor protection. It is necessary to show that a local investor has received
                better treatment than the foreign investor to establish a breach of the national treatment
                standard. In contrast, FET is a non-contingent investor protection. The contingent and
                non-contingent standards “operate independently” in that “the fact that an investor is
                treated as well as a local one will not necessarily mean that the foreigner has received
                fair and equitable treatment.” 333

329   Claimants’ Memorial, ¶ 336.
330   Claimants’ Reply, ¶ 326
331   Claimants’ Memorial, ¶ 337
332   Claimants’ Reply, ¶ 326.
333Claimants’ Reply, ¶ 332, see also C McLachlan, L Shore, M Weiniger, International Investment Arbitration: Substantive
Principles (2nd ed. Oxford University Press, 2007), ¶ 7.192, Exhibit CL-117.


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                In this context, the Claimants differentiate the cases cited by Spain from this case. The
                Claimants explain that the FET standard is broader than the minimum standard of
                proof. 334 Spain contends that the Total tribunal applied the minimum standard of
                protection required by the FET, which would allow a State to modify its legal
                framework, provided that the investor is still able to recover its operating costs, amortise
                its investment and make a “reasonable return” over said period of time. However,
                according to the Claimants, the Total decision is unhelpful to Spain’s case as: (a) it was
                not rendered pursuant to the ECT but to the 1991 France-Argentina BIT, which, unlike
                the ECT, does not contain any engagement with regard to stable conditions for investors;
                (b) contrary to what Spain contends, the Total tribunal considered that the FET standard
                “cannot be read as ‘treatment required by the minimum standard of treatment of
                aliens/investors under international law’” and (c) the quotations from Total used by
                Spain were remarks made when weighing the investors’ legitimate expectations on the
                one hand and the Respondent’s legitimate regulatory interests on the other in the absence
                of any specific stability commitment, as noted above. In this context, the Total tribunal
                found that the concept of “regulatory fairness” or “regulatory certainty” intervenes to
                ensure that the investors recover their operation costs and make a “reasonable return.”
                In the Claimants’ view, these facts clearly differentiate the Total tribunal’s findings from
                the issue at hand, which is whether Spain may radically change the remuneration regime
                on which the Claimants relied when making their investment when it made the express
                commitment not to.335


                The Claimants also point out that Spain has not analysed the exceptions found in Article
                24 of the ECT but rather read in two exceptions to the FET standard that are not in the
                text. 336 The Claimants counter Spain’s argument that considers Article 10(8) and
                Article 9 of the ECT to provide an exception to FET in relation to “the public aid
                regime.” The Claimants respond that Article 10(8) of the ECT simply does not apply in


334   Claimants’ Reply, ¶¶ 330-338.
335
  Claimants’ Reply, ¶ 337, citing Total S.A. v The Argentine Republic, ICSID Case No. ARB/04/01, Decision on Liability, 27
December 2010, ¶ 116, Exhibit RL-50.
336   Claimants’ Reply, ¶ 345.


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                the context of this case as the present dispute does not concern treatment afforded by
                Spain in relation to “energy technology research and development.” 337


                The Claimants also respond to Spain’s alleged exception contained in Article 9(4) of
                the ECT that it only relates to the obligations on Contracting Parties contained in Article
                9 itself. The Claimants’ plain reading of Article 9 makes clear that the Article 9(4)
                exceptions do not apply to any other provision of the ECT. 338


                As to Spain’s reliance on the “Energy Charter Treaty Readers Guide” to claim that no
                liability under the ECT can arise from “macroeconomic control measures”, the
                Claimants’ response is that it is plainly wrong to rely on such a document, since the
                document does not form part of the ECT. 339


                The Claimants invested approximately €91 million into the Spanish wind generation
                sector. In doing so, upon inducements and promises made by Spain, they reasonably
                relied on the expectations that the Wind Farms, in which they invested, would be entitled
                to the economic regime of RD 661/2007, conferring immutable economic rights
                protected by the ECT, for their entire operational lifetime. This was, according to the
                Claimants, “a sine qua non to the Claimants’ decision to invest in the plant.” 340


                However, contrary to the Claimants’ reasonable expectations and Spain’s assurances,
                Spain has, through the acts and omissions of its organs, allegedly taken several wrongful
                measures, which have fundamentally altered the applicable legal and regulatory
                framework in reliance upon which the Claimants’ investments were made. These
                include, but not limited to, Law 15/2012, RDL 2/2013, RDL 9/2013, Law 24/2013, RD
                413/2014 and the June 2014 Order (“Disputed Measures”). 341 As a result of the


337   Claimants’ Reply, ¶ 346.
338   Claimants’ Reply, ¶ 347.
339   Claimants’ Reply, ¶ 349.
340   Claimants‘ Memorial, ¶ 363, see also Moreno Witness Statement, ¶ 59.
341   Claimants‘ Memorial, ¶ 364.


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                 Disputed Measures, the Claimants allege that they have suffered considerable losses.
                 The Claimants allege that Spain’s measures violated Article 10(1) of the ECT, namely:


                      (a)      the obligation under Article 10(1) to accord, at all times, to the Claimants’
                               investment, “stable, equitable, favourable and transparent conditions,”
                      (b)      the obligation under Article 10(1) to accord, at all times, to the Claimants’
                               investment, fair and equitable treatment (“FET”), and
                      (c)      the obligation under Article 10(1) to observe obligations it had entered into
                               with the Claimants or their investments (the Umbrella Clause). 342


                 According to the Claimants, Spain adopted, inter alia, the following Disputed
                 Measures: 343


                      •        Law 15/2012, introducing the TPVEE which, according to the Claimants,
                               amounts to a tariff cut;
                      •        RDL 2/2013, which, inter alia, deprived the Claimants of “the most
                               attractive support scheme option under RD 661/2007,” the Premium option
                               (which offered the possibility of maximizing revenues by way of selling to
                               the market when demand in the network was the highest);
                      •        RDL 9/2013, which revoked RD 661/2007 and established a New Regime
                               for RE power-generation installations radically different from the
                               framework established by RD 661/2007;
                      •        Law 24/2013, which, inter alia, (i) repealed the distinction between
                               Ordinary Regime and Special Regime established by RDL 9/2013, (ii) put
                               conventional and RE generators on an equal footing and, most importantly,
                               (iii) established the applicability of a “reasonable return” over the entire
                               life of the plant, thereby implementing a “maximum degree” retroactivity.
                               According to the Claimants, both the future and past income streams were



342 Claimants‘   Memorial, ¶ 366.
343
      Claimants’ Memorial, ¶¶ 35-50.


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                              thus affected: “the Project Companies would be penalised for their past
                              returns” and “Spain introduced "maximum degree" retroactivity by directly
                              impacting the past income streams of the plant, effectively altering the rules
                              of the game over the energy already produced and already sold on the
                              market by the Claimants.”
                     •        In June 2014, 11 months after Spain announced the New Regime, the
                              Government passed the necessary implementing regulation to fully define
                              the economic regime that would henceforth apply to RE installations. The
                              first measure was RD 413/2014 of 6 June 2014 as an implementing measure,
                              and the June 2014 Order that fixed the compensation parameters for a
                              standard installation.


               Therefore, Spain’s treatment of the Claimants, its specific breaches of the ECT and the
               interpretation of the standards in the ECT, according to the Claimants, must all be
               viewed in the light of the above context, objectives and purposes of the ECT.


                     Respondent’s Position

               Spain disputes the Claimants’ reading of the purpose of the ECT, as well as of the scope
               of the FET, stating that the primary objective of the ECT is non-discrimination, and that
               the ECT does not bar States from adopting reasonable macroeconomic control
               measures.


               The Respondent agrees with the Claimants that the protection standards of the ECT need
               to be analysed in accordance with the ordinary meaning of the terms of the ECT in their
               context and in light of the object and purpose of the ECT. 344 In this regard, the
               Respondent argues that the protection that the ECT offers to investments is not an
               unfettered one but rather it is to achieve a free energy market throughout Europe, based
               on the principle of non-discrimination. Consequently, the primary or main objective
               with respect to an investor is to “achieve the introduction of a free market in order to

344   Respondent’s Counter-Memorial, ¶ 853.


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                carry out energy-related activities without discrimination on account of the investor’s
                nationality.” 345


                The Respondent argues that the Claimants have failed to address the real objectives and
                principles established by the ECT, and which are applicable to this case pursuant to
                Article 2 of the ECT. These objectives are: “foster the development of an efficient energy
                market throughout Europe and a better functioning of the global market, based in both
                cases in the principle of nondiscrimination and on a determination of prices based on
                the market, taking into account the concerns expressed in relation to the
                environment.” 346


                The Respondent explains that the objective of non-discrimination has not been fully
                achieved in the ECT. The Respondent argues that the reluctance of States to limit their
                regulatory powers even minimally in such a strategic sector as the energy sector, led the
                signatories of the ECT to differentiate two moments: (1) the so-called “making-
                investment process” (paragraphs (2) and (3) of Article 10 of the ECT), in which the
                conditions to ensure the objective of national treatment or non-discrimination were
                postponed until the signing of a “supplementary treaty”, which has not yet been signed
                and (2) the moment after the investment is made, when the guarantee of national
                treatment and the most favoured nation clause are applied to the overseas investor, albeit
                with certain limitations. 347


                The Respondent affirms that once the investment has been made, the best standard of
                protection afforded by the ECT to the investor and to foreign investments is the
                “national treatment” standard. According to the Respondent, the greatest ambition of
                the ECT is non-discrimination. In other words, when Article 10(1) of the ECT
                establishes the obligation to give investments already made “no less favorable treatment
                than that required by international law,” it recognises the minimum standard of


345   Respondent’s Counter-Memorial, ¶ 859; see also Respondent’s Rejoinder, ¶¶ 901-907.
346   Respondent’s Counter-Memorial, ¶ 857.
347   Respondent’s Counter-Memorial, ¶ 860.


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                protection guaranteed by international law. The maximum aspiration of the ECT is,
                according to Respondent, national treatment since this treatment will be applied to
                overseas investments whenever it is more favourable. 348


                The Respondent alleges that Article 10 of the ECT contains a significant exception in
                the area of public subsidies or aid. 349 According to the Respondent, this exception is
                applicable to this case because the Claimants are requesting the payment of subsidies or
                State aid for the production of electricity. 350


                The Respondent further alleges that Article 9 of the ECT provides that a State may adopt
                measures which do not breach the non-discrimination principle if the regulatory
                measure is (i) proportionate, (ii) justified on the grounds of public interest, and (iii)
                applied without discrimination to both national and foreign investors. 351


                Spain asserts that in the absence of a specific stability commitment, an investor cannot
                have an expectation that a regulatory framework will not be modified. 352 It finds a
                support in the reading of the Energy Charter Treaty Guide which makes it very clear
                that the ECT does not prevent States from exercising their macroeconomic control
                power. 353 The Respondent argues that the Claimants were aware or should have been
                aware of this.




348   Respondent’s Counter-Memorial, ¶¶ 863-864.
349   Respondent’s Counter-Memorial, ¶ 866.
350   Respondent’s Counter-Memorial, ¶ 866.
351   Respondent’s Counter-Memorial, ¶¶ 868-870.
352Respondent’s Counter-Memorial, ¶¶ 872-886. Respondent finds support in the following cases: Plama Consortium Limited v.
Republic of Bulgaria, Award of 27 August 2008, ¶ 219, Exhibit RL-0034; AES Summit Generation Limited and AES-Tisza Erömü
Kft v. The Republic of Hungary, ICSID Case No. ARB/07/22, Award, 23 September 2010, para 9.3.25; upheld by the Decision of
the Ad hoc Committee for the Annulment, of 29 June 2012, ¶ 95; Exhibits RL-0039 and RL-0042; Electrabel S.A. v. Hungary
(ICSID Case No. ARB/07/19, Award 25 November 2015, ¶¶ 165, 166, Exhibit RL-0048; Charanne B.V. y Construction
Investments S.A.R.L. v. Kingdom of Spain, SCC V 062/2012, Final Award, 21 January 2016, dissenting vote, ¶¶ 493, 510, Exhibit
RL-0049.
353   Respondent’s Counter-Memorial, ¶ 877; see also Respondent’s Rejoinder, ¶ 910.


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                On this matter, the Respondent concludes that the ECT establishes no more limits on
                the regulatory power of the States than the minimum standards of international law, with
                the objective of non-discrimination, and that even this treatment does not apply on the
                subject of public subsidies or aid. 354 In any case, the ECT allows the adoption of
                macroeconomic control measures by the signatory States, based on reasons of public
                interest.


       VII. MERITS

                The Claimants allege that after the Disputed Measures were implemented, the system
                left in place completely dismantled the prior legal framework applicable to the
                Claimants’ companies. The Claimants say that the new regime was also plagued by
                uncertainty, lack of transparency and long-term instability. The Government retained
                the discretion to define the “return rate” and the right to change the remuneration regime
                every six years with respect to existing installations. 355


                The Respondent sustains that it did not breach any international obligations under the
                ECT and requests the Tribunal to fully dismiss the Claimants’ claims on the merits. 356


          A. Article 10(1) of the ECT: Create Stable, Equitable, Favourable and Transparent
               Conditions

                     Claimants’ Position

                The Claimants note that the first sentence of Article 10(1) of the ECT imposes upon
                Spain the obligation to “encourage and create stable, equitable, favourable and
                transparent conditions” for investors, particularly for sectors that require a substantial
                amount of capital typically committed at the outset. 357


354   Respondent’s Counter-Memorial, ¶ 882.
355   Claimants’ Memorial, ¶ 393.
356   Respondent’s Counter-Memorial, ¶¶ 8-9.
357   Claimants’ Memorial, ¶ 368.


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                The Claimants clarify that it is not their position that the obligation to accord “stable”
                and “transparent” conditions in the ECT means that a host State must completely freeze
                its regulatory regime. It does, however, according to the Claimants, mean that Spain
                “knowingly accepted limitations on its regulatory power, in particular… its ability
                fundamentally to alter the regulatory framework applicable to existing investments.”358


                The Claimants understood that stability was important to renewable energy projects and
                it was recognised in RD 661/2007 by offering investors certainty with respect to: (i) the
                exact cents per kWh that renewable energy installations would receive per unit of
                production; 359 (ii) the sale of renewable energy installations’ entire production; 360 and
                (iii) the stability of the FIT as its protection against its revision for existing
                installations. 361


                According to the Claimants, Article 44(3) of RD 661/2007 was a self-binding
                commitment of the Spanish regulator to protect existing installations against changes to
                the FIT, otherwise permissible under Spanish law. 362 The stability of the regime was
                supported, according to the Claimants, by Spain, including its own regulator, the
                Comision Nacional de Energia, also known as CNE. 363 Moreover, the Ministry of
                Industry, Tourism and Commerce accompany the issuance of RD 661/2007 with a press
                release indicating that “future adjustments to said tariffs will not affect installations


358   Claimants’ Memorial, ¶ 371.
359   Claimants’ Memorial, ¶ 372, citing RD 661/2007 of 25 May 2007, Article 36, Exhibit C-44.
360   RD 661/2007 of 25 May 2007, Article 17, Exhibit C-44.
361   RD 661/2007 of 25 May 2007, Article 44(3), Exhibit C-44.
362   Claimants’ Memorial, ¶ 373.
363 Claimants’ Memorial, ¶ 373, citing CNE Report 3/2007, p. 16, Exhibit C-85 (“The CNE understands that transparency and
predictability in the future of economic incentives reduces regulatory uncertainty, incentivising investments in new capacity and
minimizing the cost of financing projects, thus reducing the final cost to the consumer. The regulation must offer sufficient
guarantees to ensure that the economic incentives are stable and predictable throughout the service life of the facility.”) and p. 25
(“Ultimately, what the CNE proposes is regulatory stability to recover investments, maintaining regulated tariffs during the service
life of existing facilities (with a transparent annual adjustment mechanism).”)
The Claimants cite other CNE presentations: CNE Presentation, “Legal and Regulatory Framework for the Renewable Energy
Sector,” 29 October 2008, p. 25, Exhibit C-95; CNE Presentation, “Las Energías Renovables: El Caso Español" (Cartagena de
Indias), 9-13 February 2009, p. 67, Exhibit C-97; CNE Presentation, “Las Energías Renovables: El Caso Español” (Barcelona),
February 2009, p. 25, Exhibit C-98; CNE Presentation, “Renewable Energy Regulation in Spain,” February 2010, p. 29, Exhibit
C-96.


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                which are already in operation. This guarantees legal certainty for the electricity
                producer and stability for the sector.” 364 The Claimants also refer to joint publications
                from the Ministry, InvestInSpain, 365 and ECOFYS. 366


                The Claimants stress that after RD 661/2007, Spain re-confirmed its commitment to
                provide stable conditions in RD 1614/2010, establishing that any future changes to the
                RD 661/2007 economic regime would not apply to duly registered, existing
                installations. 367


                In the Claimants’ view, (i) the “roller coaster” of constant regulatory changes that the
                Claimants’ investment was subject to over the 18-month period from December 2012
                to June 2014; 368 (ii) the total uncertainty that characterised the eleven-month “limbo”
                period from July 2013 to June 2014; 369 as well as (iii) the system left in place marred
                by “uncertainty, lack of transparency and long-term instability,” provide sufficient
                proof of Spain’s failure to encourage and create stable, equitable, favourable and
                transparent conditions as required, according to the Claimants, by the first sentence of
                Article 10(1) of the ECT. 370


                First, the Claimants allege that in December 2012, Law 15/2012 imposed a 7% levy on
                electricity produced and fed into the national grid during a calendar year, including all
                generators, both conventional and renewable. 371



364 Claimants’ Memorial, ¶ 375, citing Government of Spain, Ministry of Industry, Tourism and Commerce, announcement of RD

661/2007, “The Government prioritises profitability and stability in the new Royal Decree on renewable energy and combined heat
and power,” 25 May 2007, p. 1, Exhibit C-92.
365 Claimants’ Memorial, ¶ 376, citing Government of Spain, Ministry of Industry, Tourism and Commerce, Presentation, “Legal

Framework for Renewable Energies in Spain,” undated, p. 4, Exhibit C-163.
366 Claimants’ Memorial, ¶ 377, citing Ecofys, Task 2 Report, “Design Features of Support Schemes for Renewable Electricity,”

27 January 2014, p. 24, Exhibit C-152.
367   Claimants’ Memorial, ¶379.
368   Claimants’ Memorial, ¶¶ 382, 392.
369   Claimants’ Memorial, ¶¶ 386, 392.
370   Claimants’ Memorial, ¶ 393.
371   Claimants’ Memorial, ¶ 383.


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                Secondly, the Claimants state that just two months after Law 15/2012, in February 2013,
                RDL 2/2013 deprived the Claimants of the most attractive support scheme option under
                RD 661/2007, on which they relied when undertaking their investment: the Premium
                option. The Premium had been a key part of the Claimants’ decision to invest, given the
                possibility of maximizing revenues by way of selling to the market when demand in the
                network was the highest. RDL 2/2013 also replaced the annual adjustment index based
                on the Spanish CPI for updating the FIT to account for inflation. 372


                The Claimants assert that four months later, Spain decided to repeal the RD 661/2007
                FIT regime entirely. RDL 9/2013, of 12 July 2013, brought substantial changes to the
                1997 Electricity Law by: (i) repealing RD 661/2007; and (ii) establishing a New Regime
                for RE power-generation installations radically different from the framework
                established by RD 661/2007 and effective as of the date of RDL 9/2013. 373


                The Claimants note that the New Regime was not fully defined or implemented until
                June 2014. This meant that the entire RE sector had to endure 11 months of uncertainty
                during which, according to the Claimants, it was impossible to discern the details of the
                regulatory framework or the remuneration parameters to which the Project Companies
                were or would be subject.


                The Claimants sustain that in December 2013, Law 24/2013 introduced further harmful
                measures: (i) the distinction between the Ordinary Regime and the Special Regime
                announced by RDL 9/2013 formally disappeared; and (ii) conventional and RE
                generators were put on an equal footing, thereby depriving the RE installations of the
                unconditional right of priority of grid access and priority of dispatch that existed under
                the previous regime. 374 Moreover, Annex III established the applicability of the defined
                “reasonable return” over the entire useful life of the plant, implementing a “maximum
                degree” retroactivity. In this way, both the future and past income streams of the


372   Claimants’ Memorial, ¶ 384.
373   Claimants’ Memorial, ¶ 385.
374   Claimants’ Memorial, ¶ 388.


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                Claimants were affected. This meant that: (i) the Project Companies would be penalised
                for their past returns; and (ii) Spain introduced “maximum degree” retroactivity by
                directly impacting the past income streams of the plant, effectively altering the rules of
                the game over the energy already produced and already sold on the market by the
                Claimants. 375


                Finally, the Claimants point out that in June 2014, 11 months after Spain announced the
                New Regime, the Government passed the necessary implementing regulation to fully
                define the economic regime that would henceforth apply to RE installations. The first
                such implementing measure was RD 413/2014 of 6 June 2014. 376


                By June 2014, according to the Claimants, none of the “key features of the regulatory
                regime” in reliance of which the Claimants invested, remained. 377 In the Claimants’
                view that was a “fundamental change.” 378


                      Respondent’s Position

                The Respondent objects to the Claimants’ characterization that there is an autonomous
                standard of the FET generating an obligation to “create stable, equitable, favorable and
                transparent conditions” for foreign investment. 379


                Relying, inter alia, on the tribunals’ findings in Isolux and Plama (both related to the
                ECT), 380 Spain disputes the Claimants’ assertion that Article 10(1) of the ECT contains
                an autonomous standard to create stable conditions for investment.



375   Claimants’ Memorial, ¶ 389.
376   Claimants’ Memorial, ¶ 390.
377   Claimants’ Post-Hearing, ¶ 9.
378   Claimants’ Post-Hearing, ¶ 10.
379   Respondent’s Rejoinder, ¶ 918.
380 Respondent’s Rejoinder, ¶ 919. The Respondent finds support in the following cases: Isolux Netherlands, BV v. Kingdom of

Spain, SCC Case V2013/153, Award of 12 July 2016), ¶¶ 764-766, Exhibit RL-0077; Blusun S.A., Jean-Pierre Lecorcier and
Michael Stein v. Italian Republic, ICSID Case No. ARB/14/3, Award 27 December 2016, ¶ 315 (c), Exhibit RL-0082.


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                Therefore, the Respondent analysed the obligation to create stable conditions within the
                FET standard of the ECT, and not as an autonomous obligation. 381


          B. Article 10(1) of the ECT: Fair and Equitable Treatment Standard

                      Claimants’ Position

                For the Claimants, the ordinary meaning of Article 10(1), “read in good faith and in the
                light of the object and purpose of the ECT,” demonstrates that the FET standard in the
                ECT is an independent and autonomous standard. 382 Therefore, the Claimants conclude,
                the FET standard is additional to the international minimum standard under customary
                international law.


                In arbitral practice, the Claimants contend, “the preferred method [of application of the
                FET] has been to unfold the standard on the basis of casuistic subgroups which will be
                seen as typical emanations of the standards.” 383 Accordingly, in the present case, the
                Claimants submit that:


                      •        Spain has breached the Claimants’ reasonable and legitimate expectations;
                      •        Spain failed to provide a stable and predictable legal and business
                               framework in relation to the investment; 384
                      •        Spain’s conduct has not been transparent;
                      •        Spain’s measures are unreasonable and arbitrary,
                      •        Spain’s measures are disproportionate and discriminatory. 385


381   Respondent’s Rejoinder, ¶ 923.
382   Claimants’ Memorial, ¶ 397.
383   Claimants’ Memorial, ¶ 405.
384Claimants clarify that “the ECT gives the obligation of the host State to provide stability in the first sentence of Article 10(1).
As such, it is a stand-alone obligation under the ECT and therefore addressed separately in Section 14.2 above. Importantly, the
FET standard contained in the second sentence of the ECT also encompasses an obligation on the host State to provide a stable
legal and business framework. This has been confirmed by numerous tribunals, as explained below. This obligation in the ECT
imposes a burden to provide stability that is more onerous than the FET obligation contained in a typical investment treaty given
the particular object and purpose of the ECT.” Claimants’ Memorial, ¶ 405, fn. 563.
385   Claimants’ Memorial, ¶¶ 405, 407.


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                      Respondent’s Position

                The Respondent alleges that the Claimants have the burden to prove a breach of the FET
                standard through the measures challenged. 386


                The Respondent affirms that the Claimants do not invoke cases where the FET standard
                was applied in ECT cases. Instead, according to the Respondent, the Claimants invoke
                less relevant precedents that were rendered on the basis of breach of contracts or
                administrative concessions in countries such as Mexico, Ecuador, Chile or Argentina. 387


                The Respondent further notes that arbitral tribunals that have applied the FET standard
                under the ECT have held that such standard requires a balance between the investor’s
                rights and the power and duty of the host state to adopt measures for the general
                interest. 388


                The Respondent insists that the “Claimants had not justified: (i) the existence of a
                ‘grandfathering’ institution in Spanish Law, (ii) the existence of a ‘grandfathering’
                commitment in the Spanish Regulatory framework not (iii) the existence of a
                commitment by the Kingdom of Spain to petrify the retribution scheme of the RD
                661/2007.” 389 Therefore, the Respondent argues, the Tribunal cannot conclude that
                Spain has violated the FET standard contained in the ECT. 390


          C. Obligation to provide a stable and predictable regulatory scheme

                      Claimants’ Position

                Relying on investment arbitration scholarship and several landmark decisions, the
                Claimants contend that a “central feature of the State’s obligation to ensure FET for

386   Respondent’s Counter-Memorial, ¶ 888.
387   Respondent’s Counter-Memorial, ¶ 891.
388   Respondent’s Rejoinder, ¶ 924.
389   Respondent’s Rejoinder, ¶ 927.
390   Respondent’s Rejoinder, ¶ 928.


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                 investments is the general principle that the State must not frustrate a foreign investor’s
                 legitimate expectations on which that investor relied at the time it made its
                 investment.” 391 In particular, the Claimants maintain, “the ECT expressly recognizes an
                 obligation on the part of the host state to provide for legal stability,” as part of the host
                 State’s obligation to respect the investor’s legitimate expectations. 392


                 This obligation, the Claimants pursue, is “of particular importance in the energy sector”
                 where, as in this case, a substantial amount of capital is invested at the outset in the hope
                 of generating a long-term return.


                 The Claimants note that it has been well-established that the State’s conduct, which
                 contributes to the creation of a reasonable expectation and upon which an investor relies,
                 may take the form of the legal framework in relation to, or surrounding the
                 investment. 393 The Claimants further explain that the legal framework on which the
                 investor is entitled to rely, comprises “legislation and treaties, and assurances
                 contained in decrees, licences and similar executive assurances or undertakings,” as
                 stated in numerous awards, including Enron v. Argentina and LG&E v. Argentina. 394


                 The Claimants argue that they had two distinct expectations: (i) one pertaining to the
                 nature, amount and duration of the FIT offered under RD 661/2007 and RD 1614/2010;
                 and (b) another pertaining to the stability of the RD 661/2007 economic regime,
                 expecting that any potential modifications to the regime would only apply prospectively,
                 leaving existing installations unaffected. 395




391 Claimants’   Memorial, ¶ 409.
392 Claimants’ Memorial, ¶ 409, citing R Dolzer, “Fair and Equitable Treatment: Today's Contours” (2014) 12 Santa Clara Journal
of International Law 7, p. 23, Exhibit CL-91.
393   Claimants’ Memorial, ¶ 415.
394   Claimants’ Memorial, ¶¶ 409-416.
395   Claimants’ Memorial, ¶¶ 417, 419.


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                First, regarding the nature, level and duration of the FIT, at the time the Claimants
                invested in the Marmellar SL and La Boga SL, the Project Companies, they expected
                that once the installations were finally registered with the RAIPRE:


                      a.         the Project Companies would have a choice between selling electricity at a
                                 Fixed Tariff or at the Premium, with the amounts that were set out in Article
                                 36 of RD 661/2007;
                      b.         the FIT would apply to all of the electricity produced, without any
                                 limitations on production;
                      c.         the FIT would apply for the entire operational life of the installations; and
                      d.         the FIT would be subject to inflation adjustments, as provided in RD
                                 661/2007. 396


                Secondly, in the Claimants’ view, Spain explicitly promised that the economic regime
                for qualifying Special Regime installations would remain stable under RD 661/2007,
                which contains a stabilization commitment in Article 44(3). 397 According to the
                Claimants, Spain subsequently reiterated this commitment in the July 2010
                Agreement 398 and RD 1614/2010, which provided that any revisions to the Fixed Tariff
                and the Premium pursuant to Article 44(3) of RD 661/2007 would not affect duly
                registered, existing installations. According to the Claimants, these “stability
                commitments” were core to the Claimants' expectations.


                The Claimants affirm that their expectations on the continued application of the RD
                661/2007 economic regime for the Project Companies were legitimate and reasonable
                due to the following:




396   Claimants’ Memorial, ¶ 418.
397   Claimants’ Memorial, ¶ 420.
398   Claimants’ Reply, ¶ 101.


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                      a.        The RD 661/2007 FIT provided very specific tariffs that would apply to the
                                Project Companies. Article 36 specified the Fixed Tariff and Premium that
                                the Claimants would receive for 20 years and thereafter.
                      b.        Article 44(3) of RD 661/2007 committed not to change that Fixed Tariff or
                                the upper and lower thresholds of the Premium option for existing
                                installations. According to the Claimants, this commitment was later
                                reinforced in RD 1614/2010 by including the Premium itself within the
                                scope of the protection. According to the Claimants, this was a “self-
                                binding” commitment entered into by Spain in order to protect against
                                “minimum degree” retroactivity.
                      c.        The RD 661/2007 economic regime was part of a wider international and
                                domestic   policy to     develop    renewable    energy power-generation
                                infrastructure. In the Claimants’ position, RD 661/2007 was the necessary
                                instrument for Spain to reach its renewable energy targets.
                      d.        For the Claimants, the regime that Spain put in place was sufficiently
                                attractive to encourage the necessary investments in renewable energy
                                projects, such as the projects in which the Claimants invested. 399


                The Claimants also specify that Spain’s own conduct prior to the Claimants’ investment
                confirms that Spain’s expectations on the application and stability of the RD 661/2007
                economic regime were the same as the Claimants’ expectations. In the Claimants’ view,
                clearly those expectations were reasonable. 400


                The Claimants state that Spain advances a number of arguments, which are clear ex-post
                constructs, regarding the RD 661/2007. 401 The Claimants argue that FIT schemes are
                currently in place in at least 103 countries worldwide, including 25 European member
                states. FITs are designed to provide long-term certainty as to the price at which
                electricity from RE producers will be purchased. As repeatedly recognised by Spain,


399   Claimants’ Memorial, ¶ 421.
400   Claimants’ Memorial, ¶ 423.
401   Claimants’ Reply, ¶ 47.


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                FIT schemes seek to correct a market failure in order to induce investment in RE.
                According to the Claimants, Spain enacted a FIT scheme fully in line with international
                standard practice, offering a long-term guarantee to qualifying investors. 402 In the
                Claimants’ view, Spain’s ex post arguments regarding the interpretation of the RD
                661/2007 FIT disregard the stated object and purpose behind the economic regime. 403
                The Claimants affirm that rather than describing the regime as specifically designed to
                induce investment through the provision of a stable regulatory framework, Spain now
                presents the RD 661/2007 regime as providing merely a discretionary subsidy that the
                Government was free to withdraw at any time for both new and existing installations.


                The Claimants respond to Spain’s contention that Article 44.3 was not a stabilization
                commitment or grandfathering provision because it did not say that an entirely new and
                different norm could not be passed. 404 In the Claimants’ view, this makes no sense
                because it also flatly contradicts Spain’s contemporaneous assurances concerning
                Article 44.3 and the drafting process giving rise to the inclusion of Article 44.3.


                The Claimants supported the argument that Article 44.3 was a “guarantee” against tariff
                changes with documentation, including: (1) Ministry of Industry, Tourism and
                Commerce's (“Ministry”) press release accompanying the issuance of RD 661/2007;405
                (2) CNE Report 3/2007 of 14 February 2007; 406 (3) four separate publications where the
                Ministry and InvestInSpain referred to the RD 661/2007 FIT; 407 (4) 2008 statements




402   Claimants’ Reply, ¶ 59.
403   Claimants’ Reply, ¶ 54.
404   Claimants’ Reply, ¶ 70.
405Government of Spain, Ministry of Industry, Energy and Tourism, announcement of RD 661/2007, “The Government prioritises
profitability and stability in the new Royal Decree on renewable energy,” 25 May 2007, p. 1, Exhibit C-93.
406   CNE Presentation, "Renewable Energy Regulation in Spain", February 2010, p. 29, Exhibit C-96.
407Government of Spain, Ministry of Industry, Tourism and Commerce and InvestInSpain, Presentation, "Legal Framework for
Renewable Energies in Spain", undated, p. 4, Exhibit C-163; InvestInSpain Presentation, "Opportunities in Renewable Energy in
Spain" (Graz), dated 15 November 2007, p. 32, Exhibit C-164; InvestInSpain Presentation, "Opportunities in Renewable Energy
in Spain", (Vienna), dated 16 November 2007, p. 32 Exhibit C-165, and InvestInSpain, Presentation, "Opportunities in Renewable
Energy in Spain", undated, p. 16, Exhibit C-199.


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                made by the CNE; 408 (5) CNE presentation of 29 October 2008; 409 (6) 2009 and 2010
                statements by the CNE; 410 and (7) the Ministry’s public announcement of the July 2010
                Agreement. 411


                The Claimants also note that the evolution of the draft of the regulation that would
                ultimately become RD 661/2007 also confirms that the inclusion of the stability
                commitment at Article 44.3 was deliberate to provide an important guarantee to
                investors. 412


                In the first draft of RD 661/2007 the stabilization clause was not present 413 and,
                according to the Claimants, the CNE urged the Ministry to include a protection against
                tariff changes for existing installations in the new regulation. The Ministry, the
                Claimants argue, evidently accepted the CNE’s position and included this special
                provision in the next draft of RD 661/2007 dated 19 March 2007, which became Article
                44.3. 414


                The Claimants counter Spain’s argument that Article 44.3 only protected installations
                against tariff revisions made “in the periodic reviews every four years” and that Spain
                was therefore free to make wholesale changes to the incentive regime at any other time.




408   CNE Report 30/2008 of 25 May, 29 July 2008, p. 20, Exhibit C-94.
409CNE Presentation, "Legal and Regulatory Framework for the Renewable Energy Sector", 29 October 2008, p. 25. See also pp.
11, 27, Exhibit C-95, and CNE, "2008 Model for the Determination of Prices of Renewable Generation: The International
Experience", 22 April 2008, pp. 25 and 27, Exhibit C-200 ; and First Brattle Regulatory Report, ¶ 12.
410CNE Presentation, "Legal and Regulatory Framework for the Renewable Energy Sector", 29 October 2008, p. 25, Exhibit C-
95; CNE Presentation, "Las Energías Renovables: El Caso Español" (Cartagena de Indias), 9-13 February 2009, pp. 67, 69 and 71,
Exhibit C-97; CNE Presentation, "Las Energías Renovables: El Caso Español" (Barcelona), February 2009, pp. 21, 23 and 25,
Exhibit C-98; and CNE Presentation, "Renewable Energy Regulation in Spain", February 2010, p. 29, Exhibit C-96.
411Government of Spain, Ministry of Industry, Tourism and Commerce, Press Release, "The Ministry of Industry, Tourism and
Trade Reaches an Agreement with the Solar Thermal and Wind Power Sectors to Revise their Remuneration Frameworks", 2 July
2010, Exhibit C-45.
412   Claimants’ Reply, ¶ 81.
413   Claimants’ Reply, ¶ 83.
414   Claimants’ Reply, ¶ 86: see also CNE Report 3/2007 of 14 February 2007, pp. 6, 19, Exhibit C-85.


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                According to the Claimants, that interpretation is absurd and is against the plain
                language of Article 44.3. 415


                Moreover, the Claimants sustain that the fact that RD 661/2007 is a “Royal Decree”
                and, therefore, subject to change by another law or regulation, is irrelevant. According
                to the Claimants, the question for the Tribunal is not whether Spanish law allowed a
                “Royal Decree” to be amended by subsequent legislation, but, rather, whether the
                Claimants had an expectation that Spain would not make retroactive changes to the RD
                661/2007 FIT applicable to the Wind Farms, much less overhaul the remuneration
                regime altogether. 416


                Any law or regulation in Spain (or, indeed, anywhere else) can, as a matter of domestic
                law, be changed or repealed by a subsequent act of equal or higher rank. The 1997
                Electricity Law itself was modified 35 times during the 16 years it was in force. This,
                according to the Claimants, does not change the fact that a regulation can give rise to
                legitimate expectations. 417


                In response to Spain’s argument that the Claimants knew or should have known that
                Spain could introduce retroactive changes to the regulation applicable to their
                investment, changes that would entirely overhaul the parameters for remuneration of the
                Wind Farms, as the Disputed Measures did, the Claimants respond as follows:


                      a.         A guarantee in which one party can unilaterally modify the key terms –
                                 including the return that the other party may earn – is clearly no guarantee
                                 at all. This is not how FITs work generally nor is it consistent with the terms
                                 of RD 436/2004, RD 661/2007, or RD 1614/2010. These regulations
                                 expressly exempted registered installations from future tariff revisions. 418


415   Claimants’ Reply,¶ 89.
416   Claimants’ Reply, ¶ 91.
417   Claimants’ Reply, ¶¶ 92-93.
418   Claimants’ Reply, ¶ 127.


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                      b.         Had Spain implemented a dynamic rate of return, it would not have been
                                 able to attract RE investment. This is because most of the investment in
                                 wind farms is made up front and can only be repaid after many years. 419
                      c.         Regarding Spain’s claim that the reference in the 1997 Electricity Law to
                                 the cost of money on the capital markets (i.e. interest rates) should have put
                                 the Claimants on notice that retroactive changes could be made if there was
                                 a change in interest rates. Claimants respond that the only reference to “cost
                                 of money on the capital markets” in RD 661/2007 is in Article 44.3, i.e. in
                                 relation to tariffs to be set for new plants. That was a clear confirmation by
                                 Spain that interest rates would play a role in the future, but that changes in
                                 interest rates would not affect existing plants. 420
                      d.         The dynamic character allegedly “makes it possible to determine whether
                                 profitability at a given time is reasonable or not.” According to the
                                 Claimants, not a single contemporaneous document supports this.
                                 Moreover, the Claimants state that Spain never made any finding that the
                                 Wind Farms were being unreasonably profitable. 421


                 Spain stated in its Counter-Memorial that the due diligence made by the Claimants, was
                 flawed, leading to their misunderstanding of the regulatory framework, which is denied
                 by the Claimants, pointing out to the documents relied upon to make the investment.422
                 Also, according to the Claimants, Spain states that “the Claimant made an investment
                 without knowing the essential aspects of the Spanish regulatory framework.” 423


                 In response to the Respondent’s statement that the Claimants should have anticipated
                 the Disputed Measures because the Spanish Supreme Court “since 2005, establishes the
                 rights of investors in the event of changes in the remuneration models of the [Special


419   Claimants’ Reply, ¶ 128.
420 Claimants’   Reply, ¶ 129.
421
      Claimants’ Reply, ¶ 131.
422   Claimants’ Reply, ¶¶ 397-415.
423   Claimants’ Reply, ¶ 391.


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                Regime]”, the Claimants respond that Spain refers to a number of judgments that post-
                date the Claimants’ investment, which are irrelevant to this dispute. 424


                The Claimants contend that the judgments that pre-date the Claimants’ decision to
                invest, relate to incentives that were not part of the guaranteed renewable energy regime
                and so cannot have constituted the Claimants’ expectations. 425 In the Claimants’ view,
                there is no judicial interpretation of the meaning of the specific clauses in the legislation
                whereby Spain undertook to respect existing investors’ rights, i.e., Article 40.3 of RD
                436/2004, Article 44.3 of RD 661/2007 or Article 5.3 of RD 1614/2010. Indeed,
                according to the Claimants, Spain has not been able to provide any judicial support for
                its strained interpretation of these provisions. Equally, according to Claimants, no
                Spanish judgment has ever held that the “reasonable return” concept is “dynamic.”426
                That is the reason why the cases invoked by Spain were not flagged by the Claimants’
                legal advisors despite the Claimants’ thorough due diligence in the regulatory regime
                prior to investing. 427


                The Claimants reiterated this point when they addressed Spain’s request to introduce
                the RREEF Decision into the record. In this regard, the Claimants disagreed that there
                was a consolidated trend of ECT cases as portrayed by Spain but rather to the contrary,
                in the Eiser, Masdar, Novenergia, Antin and Greentech awards, Spain was found to have
                “(i) introduced investors to invest in Spanish RE with the implementation of a favourable
                regime; and (ii) significantly changed the fundamentals of that Regime through the New
                Regime, thus breaching the ECT.” 428




424   Claimants’ Reply, ¶ 186.
425   Claimants’ Reply, ¶ 187.
426   Claimants’ Reply, ¶ 188.
427   Claimants’ Reply, ¶ 189.
428   Claimants’ Comments on Respondent’s Request for Leave to Introduce the RREEF Decision, dated April 17, 2019, p. 2.


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                The Claimants also point out that the Supreme Court’s review is limited to consider
                whether a Royal Decree or Ministerial Order complies with higher-ranking norms. 429
                As far as the Supreme Court’s analysis is concerned, once a Royal Decree has been
                replaced, its provisions no longer exist. 430 In other words, according to the Claimants,
                unless the derogated provision is contained in a higher-ranking law, the Supreme Court
                cannot consider whether that provision has been violated. 431


                      Respondent’s Position

                The Respondent contends that in order to determine if there has been a violation of the
                FET standard, the Tribunal must assess the legitimate expectations that the Claimants
                had when making the investment in relation to the treatment that the said investment
                would receive. These expectations must be reasonable and objective with respect to the
                general regulatory framework in place. As part of this assessment, the Respondent asks
                the Tribunal to first analyse the investor’s knowledge of the general regulatory
                framework when making its investment, or rather, what this knowledge should have
                included.


                The Respondent contends that the Claimants’ investment was made in May 2012 and
                not in August 2011. 432


                According to the Respondent, the following events should be relevant for the Tribunal’s
                assessment: (a) the announcement of future regulatory changes made by Mr. Mariano
                Rajoy in his inauguration speech as President; (b) the CNE’s press release dated 28
                December 2011 urging a reform; 433 (c) RDL 1/2012, issued on 27 January, announcing




429   Claimants’ Reply, ¶ 197.
430   Claimants’ Reply, ¶ 198.
431   Claimants’ Reply, ¶ 200.
432   Respondent’s Rejoinder, ¶240.
433CNE Press release, 28-12-2011. “The CNE is analyzing the review of the access charges and certain tariffs and premiums of
the special regime facilities,” Exhibit R-0170.


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                the reform in its preamble; 434 (d) the CNE’s Report issued on 7 March 2012 analysing
                the SES unsustainable situation and proposing measures both for its revenues and costs
                to attempt to reinstate its financial balance; 435 (e) the National Reform Program; 436 the
                Memorandum of Understanding executed with the EU and its Member States in July
                2012, where Spain undertook to solve the tariff deficit issue comprehensively; 437 the
                judgments delivered by the Supreme Court after April 2012, 438 thus consolidating their
                case law. 439


                In Spain’s view, international arbitration case law 440 is clear that when making its
                investment, an investor should know and understand (i) the regulatory framework, (ii)
                how this is applied (iii) how it affects its investment. An investor makes its investment
                based on this knowledge and should be aware of the risks it takes on when making
                such. 441


                According to Spain, every investor must know or should have known the essential
                conditions of the Special Regime remuneration system and the jurisprudence of the
                Supreme Court. 442


                In Spain’s view, it is the Claimants’ obligation to be informed of the general regulatory
                framework that governs investments, and which includes all regulations and
                jurisprudence applicable to the investment. The Respondent alleges that the Claimants
                do not provide evidence of having had the degree of diligence that could be expected

434   RD 1/2012 of 27 January 2012, Exhibit R-0091.
435   CNE Report, 7 March 2012, Exhibit R-0131.
436   National Reform Program of 2012, Exhibit R-0121.
437Memorandum of Understanding on Financial-Sector Policy Conditionality subscribed with EU 20 July 2012: “VI. Public
Finances, Macroeconomic Imbalances And Financial Sector Reform”, Exhibit RL-0067.
438   Judgments of the Supreme Court 2011-2012, Exhibit R-0279.
439   Respondent’s Rejoinder, ¶ 229.
440The Respondent finds support in the following cases: Electrabel S.A. v. Hungary (ICSID No. ARB/07/19), Award of 25
November 2015, ¶ 7.78, Exhibit RL-0048; Charanne B.V. and Construction Investments S.A.R.L v. the Kingdom of Spain, SCC V
062/2012, Award of 21 January 2006, ¶¶ 495, 505, Exhibit RL-0049.
441   Respondent’s Counter-Memorial, ¶ 897.
442   Respondent’s Counter-Memorial, ¶¶ 324, 346.


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                from a foreign investor in a heavily regulated sector like the energy industry, where
                thorough prior analysis of the legal framework applicable thereto is essential to make
                an investment. 443


                The Respondent argues that, even if the Claimants had actually performed an exhaustive
                due diligence, Spain has not violated the Claimants’ legitimate expectations. The
                Respondent sustains that arbitral tribunals have confirmed that the ECT is not a type of
                insurance policy of investors against the risk of changes in a regulatory framework.444
                Therefore, the Respondent further argues, the Claimants neither (a) had a specific
                commitment by the Kingdom of Spain nor (b) the Claimant’s expectations were
                reasonable or justified. 445


                The Respondent asserts that an interpretation that requires immutability of the
                regulatory framework, irrespective of the ensuing economic circumstances, apart from
                not being realistic, would infringe the concept of fair and equitable treatment, as is
                internationally conceived. 446


                Spain affirms that the standard that the Claimants’ claim has to be considered is within
                the FET standard of the ECT, as stated by the Tribunal in the Plama case: “stable and
                equitable conditions are clearly part of the fair and equitable treatment standard under
                the ECT.” 447


                The Respondent notes that according to consolidated arbitral case-law on the ECT, the
                “stable conditions” referred to by the ECT clearly allow the adoption of reasonable and

443   Respondent’s Counter-Memorial, ¶ 905. Respondent supports this argument in the Electrabel and Charanne cases.
444Respondent’s Counter-Memorial, ¶ 907, citing Plama Consortium Limited v. Republic of Bulgaria, ICSID Case No. ARB/03/24,
Award, 27August 2008, ¶ 219, Exhibit RL-0034; as well as AES Summit Generation Limited and AES-Tisza Erömü Kft v The
Republic of Hungary, ICSID Case No. ARB/07/22, Award, 23 September 2010, Exhibit RL-0039, EDF (Services) Limited v.
Rumania, ICSID Case No. ARB/05/13, Award, 8 October 2009, Exhibit RL-0035, and Charanne B.V. and Construction
Investments S.A.R.L. v The Kingdom of Spain, SCC Case No. 062/2012, Award, 21 January 2016, Exhibit RL-0049.
445   Respondent’s Counter-Memorial, ¶ 908.
446   Respondent’s Counter-Memorial, ¶ 928.
447
  Respondent’s Counter-Memorial, ¶ 929, see also Plama Consortium Limited v. Republic of Bulgaria, ICSID Case No.
ARB/03/24, Award dated 27August 2008, ¶ 173, Exhibit RL-0034.


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               proportionate macroeconomic control measures, provided these are as a result of a
               reasonable cause. 448


               The Respondent affirms that the measures challenged by the Claimants are based on the
               need to guarantee the sustainability and balance of the SES and were carried out
               respecting the principle that governed this type of investment according to the 1997
               Electricity Law: the granting of a fair return that the 2005-2010 Spanish Renewable
               Energy Plan (“REP”), in harmony with the 2000-2010 REP, calculated to ensure that
               standard facilities could achieve a return of around 7% during their useful life. 449


               The Respondent affirms that the costs of the electrical system have evolved
               exponentially according to the evolution of investments in the various activities,
               particularly in transportation, distribution and generation. 450


               The trend shows that all the costs of the SES were multiplied by 3.2 between 2006 and
               2013; and that the income, despite the fall in demand, was multiplied by 2, by increasing
               the electricity bills paid by consumers. The Respondent describes the tariff deficit as the
               difference between revenues and costs. 451


               The Respondent affirms that this deficit has generated an accumulated debt which
               reached 40,326 million euros. Although this debt has been amortised gradually, in 2015
               the amount remaining was still over 26,000 million euros. The Respondent establishes




448Respondent’s Counter-Memorial, ¶ 930. The Respondent finds support to its position in the following cases: Plama Consortium
Limited v. Republic of Bulgaria, ICSID Case No. ARB/03/24, Award, 27 August 2008, ¶ 219, Exhibit RL-0034; AES Summit
Generation Limited and AES-Tisza Erömü Kft. v. Republic of Hungary, AES Summit, ICSID Case No. ARB/07/22, Award, 23
September 2010, ¶¶ 9.3.29, 9.3.30, Exhibit RL-0039; Mamidoil Jetoil Greek Petroleum Products Societe Anonyme S.A. v. Republic
of Albania, ICSID Case No. ARB/11/24, Award, 30 March 2015, ¶¶ 617-618, Exhibit RL-0046, and Charanne BV and
Construction Investment S.A.R.L. v. Kingdom of Spain, SCC Arbitration No. 062/2012, Award, 21 January 2016, ¶ 499, Exhibit
RL-0049.
449   Respondent’s Counter-Memorial, ¶ 933.
450   Respondent’s Counter-Memorial, ¶ 256.
451   Respondent’s Counter-Memorial, ¶ 260.


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               that this debt is being paid by Spanish consumers on electricity bills at a rate of about
               2,800 million euros annually. 452


               Spain asserts that the model of remuneration derived from the Spanish regulatory
               framework as a whole was planned with the aim that all investors could recover, taking
               as a reference a “standard installation,” (1) the cost of their investment, (2) the operating
               costs and (3) obtain reasonable profitability. 453 Consequently, the Respondent affirms
               that it has granted the Claimants stable conditions according to the ECT’s standard, as
               with the contested measures it has maintained the essential characteristics of the
               regulatory framework in which the Claimants invested. Following the 2013 reform, the
               Kingdom of Spain establishes that it has maintained the subsidies and the dispatch
               priority, allowing RE investments to recover, in accordance with the “standard
               facilities”: (i) investment costs, (ii) operating costs and additionally, (iii) obtain
               reasonable profitability in accordance with the cost of money in the capital market. In
               summary, the Respondent alleges that the Claimants maintain the financial balance of
               the investment. 454


               Furthermore, the Respondent contends that it is not possible to talk about the violation
               of stable conditions since the profitability renewable energy producers can hope to
               achieve was determined by Law following RDL 9/2013. 455


               Moreover, Spain concluded that the Claimants’ arguments contradict with the results
               obtained with the sale of their assets in 2016. The assets subject of this arbitration were
               sold to a third party by the Claimants. With such sale, the Claimants have obtained a
               return of 11.2%. Such return is above that expected when making the investment. 456




452   Respondent’s Counter-Memorial, ¶ 263.
453 Respondent’s   Counter-Memorial, ¶ 934.
454
      Respondent’s Counter-Memorial, ¶ 935.
455   Respondent’s Counter-Memorial, ¶ 936.
456   Respondent’s Counter-Memorial, ¶ 937.


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                According to the Respondent, the Claimants, by explaining their theory, make a new,
                basic and conceptual error for a regulation to be retroactive, it must affect acquired
                rights. Spain argues that based on the facts in the record, it can be concluded that the
                Claimants have never had an “acquired right” to any future remuneration, sine die, by
                means of a fixed and unchangeable FIT, not subject to possible measures of
                macroeconomic control or SES reforms. Spain affirms that the reform contained in RDL
                9/2013 only affected the future, without affecting acquired rights. 457


                The Respondent further states that the Supreme Court and the State Council ratified the
                legality of the legislative modifications which apply to the future, without affecting the
                acquired rights. According to Spain, that doctrine is the same as the one applied by the
                international arbitration tribunals. 458


                The Respondent alleges that the Disputed Measures “maintained the essential features
                of the regulatory framework in which Claimants took the decision to invest: (i) they
                guarantee the priority of access to the grid, (ii) they guarantee the priority of dispatch
                and (iii) they guarantee a reasonable return on the investment according to the cost of
                money in the capital markets.” 459


                Furthermore, when commenting on the RREEF Decision, Spain called for the case law
                which indicated that the “regulatory framework…does not include stabilisation clauses
                or compromises to the investors to maintain unchanged regulation approved in order
                to promote the renewable energies.” 460 Spain, supported on what it argued to be the
                case law, said that the FET standard would not prevent a State from changing their


457 The Respondent finds support to its position by citing the following cases: Nations Energy Inc. and others v. Republic of

Panama, ICSID Case No. ARB/06/19, Award, ¶¶ 642, 644, 646, Exhibit RL-0040; Charanne B.V. and Construction Investments
S.A.R.L. v. Kingdom of Spain, SCC Arbitration 062/2012, Award, 21 January 2016, ¶¶ 546, 548, Exhibit, RL-0049, and Isolux
Netherlands, BV v. Kingdom of Spain, SCC V2013/153, Award ,12 July 2016, Exhibit RL-0072.
458The Respondent finds support to its position by citing the following cases: Judgment of the Constitutional Court of 17 December
2015, delivered in constitutional challenge 5347/2013, Exhibit R-0154; Judgment of the Constitutional Court of 18 February 2016,
delivered in constitutional challenge 6031/2013, Exhibit R-0157; and Judgment of the Constitutional Court of 18 February 2016,
delivered in constitutional challenge 5852/2013, Exhibit R-0156.
459   Respondent’s Post-Hearing, ¶ 169.
460   Respondent’s Request for Leave to Introduce RREEF Decision, dated April 8, 2019, p. 2.


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                regulations and that if a State did change a regulation, this regulatory change “must be
                analysed in the light of the public legitimate purpose that justifies their approval.” 461


                Accordingly, Respondent concludes, it has not breached its obligation to maintain a
                stable and predictable regulatory framework.

          D. Alleged frustration of legitimate expectations

                      Claimants’ Position

                According to the Claimants, their expectations were both legitimate and reasonable,
                because they relied, inter alia, on Spain’s general policy aiming to develop renewable
                energy power-generation infrastructure, Spain’s active campaign to reach these goals,
                or the enactment by Spain of regulations confirming that installations, such as the Wind
                Farms, would not be affected by any review of the FIT under RD 661/2007. 462


                The Claimants conclude that by adopting the Disputed Measures described supra, and
                in particular, “by wiping out the RD 661/2007 economic regime in its entirety in July
                2013 (under RDL 9/2013), and introducing an entirely differently regime that is
                substantially less favourable to the Claimants,” Spain frustrated the Claimants’
                legitimate expectations, in breach of the FET under the ECT. 463


                The Claimants affirm that the Spanish authorities, having knowingly sought out and
                induced investments on the basis of these specific representations and undertakings,
                hastily withdrew them after the investments had been made. 464


                According to the Claimants, Spain has, since December 2012, through a process
                extending over two years and comprising a succession of harmful measures, frustrated


461   Respondent’s Request for Leave to Introduce RREEF Decision, dated April 8, 2019, p. 2.
462   Claimants’ Memorial, ¶¶ 421-423.
463   Claimants’ Memorial, ¶ 425.
464   Claimants’ Memorial, ¶ 424.


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                the Claimants’ legitimate expectations and entirely dismantled the legal and business
                framework on which the Claimants relied in making their investment. 465


                First, the Claimants allege that in December 2012, Law 15/2012 imposed a 7% levy on
                electricity produced and fed into the national grid during a calendar year, including all
                                                               466
                generators, both conventional and renewable.


                Secondly, the Claimants state that just two months after Law 15/2012, in February 2013,
                RDL 2/2013 deprived the Claimants of the most attractive support scheme option under
                RD 661/2007, on which they relied when undertaking their investment: the Premium
                option. According to the Claimants, the Premium had been a key part of their decision
                to invest, given the possibility of maximizing revenues by way of selling to the market
                when demand in the network was the highest. RDL 2/2013 also replaced the annual
                adjustment index based on the Spanish CPI for updating the FIT to account for
                inflation. 467


                The Claimants assert that four months later, Spain decided to repeal the RD 661/2007
                FIT regime entirely. RDL 9/2013, of 12 July 2013, brought substantial changes to the
                1997 Electricity Law by: (i) repealing RD 661/2007; and (ii) establishing a New Regime
                for RE power-generation installations radically different from the framework
                established by RD 661/2007 and effective as of the date of RDL 9/2013. 468


                The Claimants note that the New Regime was not fully defined or implemented until
                June 2014. This meant that the entire RE sector had to endure 11 months of uncertainty
                during which, according to the Claimants, it was impossible to discern the details of the




465   Claimants’ Memorial, ¶ 425.
466   Claimants’ Memorial, ¶ 383.
467   Claimants’ Memorial, ¶ 384.
468   Claimants’ Memorial, ¶ 385.


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                regulatory framework or the remuneration parameters to which the Project Companies
                were or would be subject. 469


                The Claimants sustain that in December 2013, Law 24/2013 introduced further harmful
                measures: (i) the distinction between the Ordinary Regime and the Special Regime
                announced by RDL 9/2013 formally disappeared; and (ii) conventional and renewable
                energy generators were put on an equal footing, thereby depriving the RE installations
                of the unconditional right of priority of grid access and priority of dispatch that existed
                under the previous regime. Moreover, Annex III established the applicability of the
                defined “reasonable return” over the entire useful life of the plant, implementing a
                “maximum degree” retroactivity. In this way, both the future and past income streams
                of the Claimants were affected. This meant that: (i) the Project Companies would be
                penalised for their past returns; and (ii) Spain introduced “maximum degree”
                retroactivity by directly impacting the past income streams of the plant, effectively
                altering the rules of the game over the energy already produced and already sold on the
                market by the Claimants. 470


                According to the Claimants, the New Regime is retroactive. The Claimants use the term
                retroactive to refer to measures that apply to investments that have already been
                made. 471 The Claimants state that under Spanish law, there are broadly two forms of
                retroactivity. The first is “improper” (or “minimum degree”) retroactivity, which is
                generally permissible under Spanish law. Applying new tariffs to existing installations
                for the remainder of their useful life is a case of improper retroactivity, i.e. a change in
                the law that affects a pre-existing situation. The second is “genuine” (or “maximum
                degree”) retroactivity, which occurs under Spanish law and under most legal systems
                when the regulation not only affects pre-existing situations but also affects activities or
                results that have already occurred in the past (in this case, the electricity already
                produced, sold on the market, and for which the tariffs or premiums have already been


469   Claimants’ Memorial, ¶ 386.
470   Claimants’ Memorial, ¶ 389.
471   Claimants’ Reply, ¶ 379.


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                paid). 472 The Claimants note that Spain stresses that the Disputed Measures are
                permissible under Spanish law because they do not involve a “maximum degree” of
                retroactivity. However, the Claimants assert that Spain introduced genuinely retroactive
                changes since the Disputed Measures “claw-back” past revenues. The Claimants sustain
                that although the Project Companies were not required to pay back any “excess”
                amounts received in the past beyond the newly-imposed cap of the 7.398% “reasonable
                return” over the lifetime of their plants, the New Regime does discount the “excess”
                from future payments, which in practice is precisely the same thing. 473


                Finally, the Claimants point out that in June 2014, 11 months after Spain announced the
                New Regime, the Government passed the necessary implementing regulation to fully
                define the economic regime that would henceforth apply to RE installations. The first
                such implementing measure was RD 413/2014 of 6 June 2014. 474


                By June 2014, according to the Claimants, none of the key features of the regulatory
                regime in reliance of which the Claimants invested, remained. In the Claimants’ view
                that was a fundamental change. 475


                In the Claimants’ position, the complete upheaval of a given regulatory regime may
                result in a violation of the FET standard, such as the Micula tribunal understood. 476


                According to the Claimants, similarly to Micula, in the present case, Article 36 of RD
                661/2007 provided that the FIT would be available for a specified amount for kWh of
                electricity produced “for the first 20 years” of a wind installation’s life and then
                “thereafter” for a different, lower amount for each kWh produced in subsequent years.
                RD 661/2007 went beyond this by providing a “guarantee” at Article 44(3) of RD


472   Claimants’ Reply, ¶ 386.
473   Claimants’ Reply, ¶ 387.
474   Claimants’ Memorial, ¶ 390.
475   Claimants’ Memorial, ¶ 365.
476   Ioan Micula, Viorel Micula and others v Romania, ICSID Case No. ARB/05/20, Award, 11 December 2013, Exhibit CL-88.


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                661/2007 that, once registered and in operation, any reviews of that FIT would only
                affect future wind installations, which was later confirmed by RD 1614/2010. 477
                However, in the Claimants’ view, only a few years after RD 661/2007 was enacted,
                Spain has eviscerated all of its key characteristics. It has reneged on its promises,
                thereby frustrating the Claimants’ legitimate expectations and upsetting the legal
                framework it had previously guaranteed. 478


                The Claimants further supported their argument when commenting on the RREEF
                Decision. The Claimants pointed out that the RREEF tribunal found that the disputed
                measures lowered the rate of return by radically altering the regulatory regime in
                reliance on which the Claimants had invested. 479 The Claimants also note that the
                tribunal in RREEF concluded that the retroactive nature of the new regime breached
                Art. 10(1) of the ECT and that “must result in an appropriate compensation for the
                damage that the breach caused the Claimants.” 480

                     Respondent’s Position

                As regards the legitimate expectations under the FET standard of the ECT, Spain
                highlights that such expectations must be “reasonable” and “objective.” 481


                In Spain’s view, the Claimants’ reliance on the “alleged stabilisation commitments”
                contained in the Spanish regulatory framework, particularly, in Articles 36 and 44.3 of
                RD 661/2007 and Article 5.3 of RD 1614/2010 is neither reasonable nor objective. The
                regulatory framework only guaranteed that renewable energy facilities, during their
                useful life, could achieve a reasonable profitability.




477   Claimants’ Memorial, ¶ 428.
478   Claimants’ Memorial, ¶ 429.
479   Claimants’ Comments on RREEF Decision, dated May 17, 2019, p. 3.
480   Claimants’ Comments on RREEF Decision, dated May 17, 2019, p. 4.
481   Respondent’s Rejoinder, ¶¶ 943-952.


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                For Spain, in sum, the Claimants (i) “could not have the legitimate expectation that the
                Spanish regulatory framework for supporting renewables would remain unchanged if
                the economic sustainability of the SES was at risk,” (ii) nor that “the regime for
                supporting renewables based on set economic parameters would remain unchanged if
                said economic parameters changed radically, as was the case in Spain from 2009 to
                2014,” 482 and (iii) “the agreement of 2 July 2010 does not mean a commitment of
                immovability of RD 661/2007,” rather, the agreement was “the result of a process of
                consultations imposed by article 24 of the Act of Governance, which regulates the
                process of preparing the regulations in Spain.” 483


                In support of this position, Spain relies on the awards in Charanne and Isolux which
                have, according to Spain, both confirmed that “RD 661/2007 did not contain promises
                or guarantees of freezing regulations in favour of investors such as the Claimant[s] or
                their investments.” 484


                Furthermore, Spain expresses that the lack of existence of a specific commitment has
                already been declared by the tribunal in the Charanne case, which examined the existing
                legal framework in the electricity sector during 2007 and 2008 in Spain. 485 This award
                has corroborated what the Kingdom of Spain claims and what RE Associations in the
                sector argued in 2009 and 2010: that RD 661/2007 did not contain any promises or
                guarantees of freezing of its regime. The contention on the part of Spain means that
                neither (i) the remunerative regime nor (ii) the regime of hours or years of subsidised
                production nor (iii) the tariff update regime, were set in stone. 486


                The Respondent stresses that no fully informed investor could expect the freezing in its
                favour of all of these regimes due to the fact of fulfilling a regulatory requirement to

482   Respondent’s Rejoinder, ¶ 952.
483   Respondent’s Rejoinder, ¶¶ 967-968.
484   Respondent’s Rejoinder, ¶ 960.
485
  Charanne B.V. and Construction Investments S.A.R.L v. the Kingdom of Spain, SCC V 062/2012, Award of 21 January 2006,¶¶
504-508, Exhibit RL-0049.
486   Respondent’s Counter-Memorial, ¶ 911.


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               obtain subsidies, such as registration in a mandatory administrative register. Nor could
               they expect these conditions be maintained indefinitely or be improved in the absence
               of any commitment in this regard.


               The Respondent states that the most evident proof that the Claimants knew before
               making their investment about the possibility of regulatory changes is precisely the sale
               and purchase agreement whereby the Claimants acquired their investment, which
               expressly foresees the possibility of regulatory changes and it is agreed that the sellers
               will not be liable for those regulatory changes, whether retroactive or not. 487


               The Respondent argues that the expectations upheld by the Claimant with regard to the
               setting in stone are not consistent either with the basic principles over which the Spanish
               regulatory framework is based or with the evolution of the Spanish regulatory
               framework in the years prior to the Claimants’ investment.


               The Spanish regulatory framework had the following essential principles: (1) The
               regulatory system governed by the principle of regulatory hierarchy and the result of the
               legally stipulated procedures for drafting regulations; (2) The regulatory framework is
               not limited to RD 661/2007 and RD 1614/2010 as claimed by the Claimants, but rather
               configured from the 1997 Electricity Law and the regulations which developed it, as
               interpreted by case-law; (3) The fundamental principle that subsidies to the Special
               Regime, are a cost for the Spanish Electricity System (“SES”), subordinate to the
               principle of its economic sustainability; (4) Right to the priority access and dispatch of
               electricity production; (5) That the remuneration of the RE consists of a subsidy which,
               added to the market price, provides renewable energy plants with reasonable
               profitability, in the framework of its useful life, in accordance with the capital market,
               which is dynamic and balanced within the SES and the profitability was linked
               exclusively to the cost of construction and operation of the plants; (6) That the
               determination of the subsidies is fixed on the basis of changing demand and other basic



487   Respondent’s Counter-Memorial, ¶ 608.


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               economic data, set out in the RE Plans on the costs of investment and operation of
               standard installations with the objective that these installations achieve reasonable
               profitability during their useful life, and (7) That the regulatory changes to the
               remuneration regime of REs since 2004 have been motivated by (i) correcting situations
               of over-payment, or (ii) by the strong alteration of the economic data that served as the
               basis for the estimate of the subsidies. 488


               The Respondent observes that these basic principles constitute the objective legitimate
               expectations of a diligent investor. Therefore, no diligent investor could expect the
               Spanish State, faced with a situation of economic deficit or imbalance that affected the
               sustainability of the SES, not to adopt measures to be able to resolve such. In the same
               way, no investor would expect that in a situation of “over-remuneration” the State
               would not correct this situation. The leit motiv inherent to all of the measures has been,
               precisely, to address that situation of unsustainability of the SES and correct situations
               of over-remuneration, preventing consumers from exclusively bearing the costs.


               The Respondent establishes that the Claimants make an unnecessary argument so that
               all of its expectations revolve around Article 44.3 of RD 661/2007. According to the
               Respondent, paragraph 2 of Article 44.3 RD 661/2007: (a) It says nothing about
               “updates”, “feed-in hours”, “operational life of plants” or “priority dispatch”, nor the
               remaining elements of the legal regime applicable to plants, (b) neither does it refer to
               “any” review of tariffs. Its wording is limited to the periodic reviews of the previous
               paragraph, nothing else. And the previous paragraph does not guarantee that “the tariffs
               shall remain in force, unchangeable except in the periodic reviews every four years”.
               Accordingly, “any” modification that is not obligatory is excluded from the sphere of
               article 44.3. That is, it excludes the modifications that are necessary to (1) ensure the
               economic sustainability of the SES or (2) to correct situations of over-remuneration. In
               Respondent’s view, this has been the clear interpretation of the Supreme Court since
               2005. 489

488   Respondent’s Counter-Memorial, ¶ 916.
489   Respondent’s Counter-Memorial, ¶ 920.


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                Moreover, in Spain’s view, the Claimants refer to four PowerPoint presentations that
                allegedly reinforced its expectations, from 2007 to 2009. According to Spain, the
                Claimants are unable to substantiate these presentations which, in any case, are at least
                two years prior to its investment in Spain. Accordingly, the Respondent states that the
                relevance for its expectations is zero. 490


                The Respondent notes that the award of the case ECE Projektmanagement v. Czech
                Republic 491 declared that legitimate expectations could hardly be generated based on
                statements made by subjects lacking the capacity or the competence to be able to comply
                with that stated.


                Also, the Respondent considers that the Court of the Charanne case has already
                dismissed the possibility of the information contained in advertising brochures being
                capable of generating a real, objective expectation for a diligent investor. 492


                Moreover, to further substantiate its contention that the expectations of the Claimants
                were neither reasonable nor objective, Spain notes that (i) the Claimants have not
                conducted proper legal diligence; 493 (ii) the rest of reports obtained by the Claimants
                prior to their investment did not acknowledge the alleged immutability of the
                remuneration regime; 494 and (iii) the possibility of regulatory changes was expressly
                provided for in the contracts for the acquisition of the investment. 495


                Lastly, the Respondent negates the existence of any stabilization commitment with
                respect to the Claimants. According to the Claimants, the alleged commitments arising



490   Respondent’s Counter-Memorial, ¶ 922.
491
  ECE Projektmanagement International GmbH and Kommanditgesellschaft PANTA Achtundsechzigste Grundstücksgesellschaft
mbH & Co v. Czech Republic, CPA Case No. 2010-5, Award, 19 September 2013, ¶ 477, Exhibit RL-0045.
492Charanne B.V. and Construction Investments S.A.R.L v. the Kingdom of Spain, SCC Arbitration No. 062/2012, Award of 21st
January 2006, ¶¶ 496, 497, Exhibit RL-0049.
493   Respondent’s Rejoinder, ¶¶ 973-991.
494   Respondent’s Rejoinder, ¶ 992.
495   Respondent’s Rejoinder, ¶ 993.


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                out of the regulation itself, the RAIPRE registration, a press release of the Ministry, the
                July 2010 Agreement, as well as presentations by the CNE, IDEA and InvestInSpain.
                The Respondent categorically denies that any of these constitute a commitment with
                respect to the Claimants. 496


                First, the evolution of the Spanish legal framework had occurred before the Claimants
                made their investment, which proved that no such stabilization existed from the
                regulation. 497 Second, the Respondent argues, the Claimants invested in a highly
                regulated sector. Therefore, the rights and obligations come from a regulation and are
                not derived from contracts. 498           Third, this was also reflected by the repeated
                jurisprudence from the Spanish Supreme Court even before the Claimants made their
                investment. 499 Fourth, the Respondent argues that the Claimants had invested in a
                highly liberalised market which purpose and limits to subsidies cannot be
                disregarded. 500


                Spain submitted further comments on legitimate expectations on the basis of the
                introduction into the record of the RREEF Decision. 501 According to the Respondent in
                the RREEF case, “claimants in that proceeding could not legitimately expect that the
                rules applicable to their investments would remain unchanged for the entire duration of
                the plants, but their legitimate expectation was limited to a reasonable return on their
                investments.” 502 The Respondent also refers to the RREEF Decision to explain what the
                investor can expect a “reasonable return” according to the cost of money in the capital
                market. 503


496Respondent’s Opening Presentation (Presentation on Fundamental Facts), Slides 61 to 75; Respondent’s Opening Presentation
on Merits, Slides 47-51. See also Tr. Day 1, 212:14-218:14; Tr. Day 2, 20:19-25:4.
497   Respondent’s Post-Hearing, ¶ 151.
498   Respondent’s Post-Hearing, ¶¶ 153-154.
499
  Respondent’s Post-Hearing, ¶ 157. The Respondent cites the Ruling of the Third Chamber of the Supreme Court on 9 December
2009, appeal 152/2007, reference El Derecho EDJ 2009/307357, Point of Law 6, p. 4, Exhibit R-0002.
500   Respondent’s Post-Hearing, ¶ 160.
501   Respondent’s Comments on the RREEF Decision, 5 May 2019.
502   Respondent’s Comments on the RREEF Decision, 5 May 2019.
503   Respondent’s Comments on the RREEF Decision, 5 May 2019.


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          E. Transparency

                     Claimants’ Position

                Relying, in particular, on Plama, Electrabel and Tecmed, the Claimants contend that the
                FET standard further requires that the State’s conduct towards investors and its legal
                environment be transparent. In the Claimants’ view, Spain’s conduct, in adopting the
                Disputed Measures, was characterised by uncertainty and ambiguity, thus in breach of
                the requirement of transparency under the FET.


                In the Claimants’ position, the reference to transparency in the ECT can be read to
                indicate an obligation to be forthcoming with information about intended changes in
                policy and regulations that may significantly affect investments, so that the investor can
                adequately plan its investment and, if needed, engage the host State in dialogue about
                protecting its legitimate expectations. 504


                In the present case, the Claimants stated that Spain dismantled the RD 661/2007
                economic regime in a manner that was not transparent. 505


                First, the Claimants raised that the Government abused the function of Royal Decree
                Laws to implement the New Regime. The ability to issue Royal Decree Laws applies
                only in cases of “extraordinary and urgent need.” There was, however, no “need” for
                RD 661/2007 to be modified by way of Royal Decree Law. It is therefore reasonable to
                assume that the only reason Spain implemented the New Regime via Royal Decree Law
                was to deprive stakeholders of the possibility to influence or challenge the measure.




504
  The Claimants find support of its position in the following cases: Técnicas Medioambientales Tecmed S. A. v The United
Mexican States, ICSID Case No. ARB (AF)/00/2, Award, 29 May 2003,¶ 154, Exhibit CL-33; Electrabel S.A. v The Republic of
Hungary, ICSID Case No. ARB/07/19, Decision on Jurisdiction, Applicable Law and Liability, 30 November 2012, ¶ 7.79, Exhibit
CL-86, and Plama Consortium Limited v The Republic of Bulgaria, ICSID Case No. ARB/03/24, Award, 27 August 2008, ¶ 178,
Exhibit CL-63.
505   Claimants’ Memorial, ¶ 437.


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Secondly, the Claimants note that RDL 9/2013 not only wiped out the investment
regime for the Claimants’ investment, but was followed by a transitory regime of more
than 11 months during which the Government gave no indication regarding the precise
remuneration that any qualifying plants would be entitled to.


Thirdly, the Claimants recall that with the necessary implementing measures of June
2014 (i.e. 11 months after RDL 9/2013 was introduced), the Government was meant to
define the precise economic regime that would apply to qualifying installations.
However, neither RD 413/2014 nor the June 2014 Order provide any transparent
analysis explaining the underlying criteria or calculations behind the Special Payment
(including how the standard costs of the standard installation were calculated), or those
that will underpin the future updates of the economic regime.


Fourthly, the Claimants consider that under the New Regime, the Government also
retains the right to review the Special Payment in order to make sure that the prevailing
yield on ten-year Spanish bonds plus a spread (i.e. what Spain considers to be a
“reasonable return” or rather will consider to be a “reasonable return” in the future)
continues to apply.


In the Claimants’ view, the New Regime does not provide any clear indication as to the
timeframe during which the remuneration for installed capacity (which is in theory
aimed at compensating for investments made in the installations) will apply. According
to the Claimants’ Memorial, the Government has also not provided any transparent
methodology for determining whether a plant has, in the Government’s view, earned
reasonable profits.


The Claimants state that Spain selectively refers to the annulment committee decision
in the MTD v. Chile case to contend that a host State’s obligations cannot solely stem
from the investor's expectations. However, according to the Claimants, nowhere have
the Claimants in this case stated that their claim arises out of their own expectations
only. The legitimate expectations of the Claimants were not just subjectively held but


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                objectively legitimate. In the Claimants’ view, this is clearly recognised in the
                annulment committee decision in MTD v. Chile. 506 The Claimants sustain that a proper
                reading of the annulment committee decision in MTD v. Chile 507 illustrates that it did
                not “question” the Tecmed v. Mexico award as Spain claims.


                      Respondent’s Position

                Likewise, Spain argues that it had not breached its obligation under the ECT to provide
                transparent conditions. In this context, Spain points out that the need to adopt measures
                with the view of eliminating the tariff deficit (i) had been announced and known to all
                             508
                investors,          and (ii) the Disputed Measures were thus neither obscure nor
                unpredictable. 509


                According to the Respondent, the Claimants once again make the mistake of considering
                that the ECT guarantees the full predictability of the regulatory framework of a State
                while the investment is in effect even when there is no commitment to maintain it.


                The Respondent states that the announcement of a reform to the SES, as part of the
                macroeconomic control measures, was made more than one year prior to its actual
                adoption, i.e. from December 2011. 510 The Respondent further alleges that:


                    i.           it has never committed itself to the Claimants to keep its regulatory
                                 framework immutable or the regime established in RD 661/2007;
                   ii.           it has publicised the need to carry out reforms since 2009 as a result of the
                                 international crisis and the necessary sustainability of the system. The
                                 Respondent states that RDL 6/2009, the Report of RD 1614/2010 and RDL

506   Claimants’ Reply, ¶ 438.
507
  MTD Equity Sdn Bhd. & MTD Chile S.A. v The Republic of Chile, ICSID Case No. ARB/01/7, Decision on Annulment, 21
March 2007, p. 28, Exhibit RL-0030.
508   Respondent’s Rejoinder, ¶¶ 1032-1040.
509   Respondent’s Rejoinder, ¶¶ 1041-1043.
510Respondent’s Rejoinder, ¶ 834: see also Transcription of the Speech of Mariano Rajoy in his inaugural address as President of
the Government, to the Spanish Congress, Monday 19 December 2011, Exhibit R-0192 .


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                               14/2010, in their respective Preambles alluded to the impact of the global
                               crisis on the Spanish economy, falling electricity demand and the need to
                               adapt the SES by means of the necessary reforms. Also, Spain states that
                               the RE Associations themselves proposed the reform of the sector in 2009,
                               2010 and 2012, and even proposed the text of a new Law for RE in 2009.
                               Additionally, announcements for a new Electricity Sector Law were made
                               by the Government constantly since December 2011;
                  iii.         it has followed the legally established procedures in all the measures taken
                               since 2009, without incurring undue delays and ensuring participation in the
                               legislative process of the holders of legitimate rights;
                  iv.          it has approved a predictable, dynamic regulatory system that continues to
                               guarantee reasonable returns for RE projects and the financial balance of
                               the investment; 511
                   v.          for the drafting of the report 2/2012 “On the Spanish Energy Sector” of 7
                               March 2012, the CNE opened a public consultation period in early February
                               2012 in which 477 claims were obtained from the various companies and
                               sectors concerned; 512
                  vi.          there was a public hearing during the drafting of RD 413/2014 of June 6
                               and that numerous other claims were submitted for this draft Royal
                               Decree; 513 and
                 vii.          during the drafting of the Ministerial Order IET 1045/2014 of 16 June more
                               than 600 claims of all interested parties of the SES were presented and the
                               draft was circulated to interested parties of the electricity sector on February
                               3, 2014. 514

                Therefore, Respondent concludes, it has fully complied with its obligation of
                transparency under Article 10(1) of the ECT.


511   Respondent’s Counter-Memorial, ¶ 959.
512Respondent’s Rejoinder, ¶837: see also Information on the public consultation on regulatory adjustment measures in the energy
sector submitted on 2 February 2012 and 9 March 2012, Exhibit R-0194.
513   Respondent’s Rejoinder, ¶¶ 839-841.
514   Respondent’s Rejoinder, ¶843.


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          F.    Obligation of Reasonableness, Proportionality, and Alleged Discriminatory
                Character of the Measures

                      Claimants’ Position

                The Claimants mention that the tribunal in Plama v. Bulgaria 515 defined “unreasonable”
                measures as “those which are not founded in reason or fact but on caprice, prejudice or
                personal preference.” A determination of whether a State's conduct has been reasonable
                requires demonstration that the conduct “bears a reasonable relationship to some
                rational policy”. 516


                Thus, in the Claimants’ view, in order for Spain to justify the measures at issue, it must
                first identify a rational policy goal and then it must show that the measures taken were
                reasonable, i.e. reasonably correlated, or appropriately tailored, to addressing that policy
                goal with due regard for the consequences imposed on foreign investors such as the
                Claimants. 517 In addition, the Claimants request that the Tribunal assess whether the
                Disputed Measures were necessary in the light of alternatives available to the Disputed
                Measures and whether, balancing the aim of the State against the significant financial
                burden on the Claimants, the Disputed Measures are justified. 518


                The Claimants contend that there is a disagreement between the Parties on the burden
                of proof. Spain suggests that the Claimants must show that: (a) the Disputed Measures
                were unreasonable and disproportionate; and (b) the alternatives to addressing the tariff
                deficit have “legal, economic and budgetary validity.” According to the Claimants,
                proportionality is only relevant where a State has interfered with an investor's rights.
                The proportionality enquiry provides the State with an opportunity to explain why,


515
  Plama Consortium Limited v The Republic of Bulgaria, ICSID Case No. ARB/03/24, Award, 27 August 2008, ¶ 184, Exhibit
CL-63 .
516 Saluka Investments B. V. v The Czech Republic, UNCITRAL, Partial Award on Jurisdiction and Merits, 17 March 2006, ¶ 460,

Exhibit CL-43; Ioan Micula, Viorel Micula and others v Romania, ICSID Case No. ARB/05/20, Award, 11 December 2013, ¶
525, Exhibit CL-88.
517 Claimants’ Memorial, ¶¶ 439, 450. See also Saluka Investments B. V. v The Czech Republic, UNCITRAL, Partial Award on

Jurisdiction and Merits, 17 March 2006, ¶ 460, Exhibit CL-43.
518   Claimants’ Reply, ¶ 446.


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                notwithstanding that its measures have interfered with an investor’s rights, the
                interference is nevertheless justified because it is proportionate. The very nature of the
                test means that the burden rests with the State. In the Claimants’ view, Spain fails to
                meet that burden. 519


                According to the Claimants, Spain’s dismantling of the entire legal and business
                framework applicable to the Claimants’ investment is contrary to the expectations of the
                Claimants and, indeed, of any reasonable person. 520


                Spain’s stated justification for the regulatory measures adopted against the Project
                Companies, is that the measures had to be adopted due to the so-called tariff deficit. In
                the Claimants’ view, the tariff deficit is, however, the result of Spain’s own regulatory
                decisions, and the burden of fixing it cannot be attributed to foreign investors protected
                under the ECT, such as the Claimants, in violation of their reasonable and legitimate
                expectations. 521


                The Claimants affirm that the reason why the tariff deficit developed is quite simple:
                Spain has consistently failed to raise regulated tariffs to the level necessary to cover the
                costs of the SES, even though, under its own laws, it was under an obligation to abide
                by the income-sufficiency principle, as confirmed by the Spanish Supreme Court. 522


                The Claimants argue that on any view, tackling the tariff deficit by adopting sudden and
                drastic changes to the regulatory regime for renewables is not a rational policy goal. 523




519   Claimants’ Reply, ¶ 448.
520   BG Group Plc. v The Argentine Republic, UNCITRAL, Award, 24 December 2007, ¶¶ 343, 346, Exhibit CL-58.
521   Claimants’ Memorial, ¶ 441.
522 First Brattle Regulatory Report, ¶¶ 118-126. See also Spanish Supreme Court Decision Contentious-Administrative Chamber),

Appeal No. 321/2010, 31 October 2011, Exhibit C-55; and Spanish Supreme Court Decision (Contentious-Administrative
Chamber), Appeal No. 348/2010, 4 November 2011, Exhibit C-56.
523   Claimants’ Memorial, ¶ 442.


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                Moreover, according to the Claimants, Spain’s measures under the New Regime were
                unreasonable in the light of the limited contribution of wind to the tariff deficit. The
                Claimants state that there were various other measures that could have been taken by
                the Government that would have been far less harmful to the Claimants’ investment.524
                Spain fails to discharge its burden of showing that there was no other less intrusive way
                to address the tariff deficit. 525


                The Claimants contend that the tariff deficit could have been avoided had Spain properly
                set consumer prices as it was required to do as a matter of Spanish law under Article 17
                of the 1997 Electricity Law and RDL 6/2009 526 and that the Spanish Supreme Court has
                issued several judgments and two sets of interim measures finding that Spain's failure
                to comply with the requirements of RDL 6/2009 was a clear violation of Spanish law. 527


                The Claimants state that although Spain appears to accept that the aim of the Disputed
                Measures was to address the tariff deficit, Spain then seeks to expand the scope of the
                purpose of the Disputed Measures beyond the tariff deficit. 528 However, the Claimants
                understand that all the other reasons mentioned by Spain are potential justifications for
                addressing the tariff deficit as the overarching policy goal.


                The Claimants sustain that Spain failed to set Network Access Tolls at sufficient levels
                for plainly political reasons. As such, the tariff deficit continued to worsen and with it
                the potential burden on consumers. Rather than complying with its own laws, Spain,
                who is responsible for balancing the budget, watched the deficit grow over a period of




524   Claimants’ Memorial, ¶ 442.
525   Claimants’ Reply, ¶ 463.
526   Claimants’ Memorial, ¶ 450.
527Spanish Supreme Court Decision (Contentious-Administrative Chamber), Appeal No. 321/2010, 31 October 2011, Exhibit C-
55; and Spanish Supreme Court Decision (Contentious-Administrative Chamber), Appeal No. 348/2010, 4 November 2011,
Exhibit C-56.
528   Claimants’ Reply, ¶ 452.


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                time and ultimately decided that the cost of that deficit should be borne by the Claimants
                and other investors in the RE sector. 529


                According to the Claimants, Spain argued that the Disputed Measures were taken to
                avoid “excessive returns” and relies on the award in AES Summit v. Hungary to support
                its view that addressing “luxury profits” is a rational policy aim. However, in the
                Claimants’ view, there is a significant hurdle that Spain cannot overcome in this regard:
                The Disputed Measures were not designed to address the alleged excessive profits nor
                has Spain sought to show that the Claimants were receiving returns in excess of what
                Spain considered reasonable under RD 661/2007. The Claimants state that no analysis
                on “excessive returns” was undertaken at the time the Disputed Measures were
                implemented; nor is there any analysis before this Tribunal.


                The Claimants assert that the economic crisis (and the corresponding decrease in
                demand) had already affected Spain when it opted to implement RD 1614/2010, which
                reiterated the application of the RD 661/2007 economic regime for existing installations.
                This did not represent a change in Spain's circumstances that could somehow support a
                reasonable correlation between addressing the tariff deficit and the complete withdrawal
                of the RD 661/2007 economic regime.


                Therefore, according to the Claimants, there is no reasonable correlation between
                addressing the tariff deficit and implementing the Disputed Measures. 530


                Finally, in its analysis of the FET standard, Spain contends that Article 10(1) of the ECT
                prohibits Spain from impairing investments by “unreasonable or discriminatory
                measures.” According to the Claimants, demonstrating that Spain's adverse measures
                are either unreasonable or discriminatory suffices to establish a breach of Article 10(1)
                of the ECT. However, the Claimants note that a breach of this obligation results
                simultaneously in a breach of the FET standard.

529   Claimants’ Reply, ¶ 456.
530   Claimants’ Reply, ¶ 462.


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                In this context, the Claimants refer to the Saluka case which describes the standard of
                “reasonableness,” requiring that the “State's conduct bear a reasonable relationship to
                some rational policy.” Accordingly, for the Claimants, Spain must show that its
                measures were (i) taken in pursuance of a rational policy goal, and (ii) were carefully
                tailored to achieve that goal. 531 The Claimants contend that, contrary to Spain’s
                arguments, the tariff deficit is “the product of Spain’s regulatory failures and, therefore,
                is not a policy goal.” As a result, the Claimants conclude that the Disputed Measures,
                in addition to constituting a breach of the FET, have also “impaired” the Claimants’
                investment in breach of Article 10(1) of the ECT. 532


                The Claimants allege that in order to assess whether a State measure is proportionate or
                not, there must be a reasonable relationship between the burden imposed on the foreign
                investor and the aim sought to be realised by the State measure. 533 This test is not
                satisfied in the present case.


                First, the stated objective of Spain’s measures has been to address the issue of the tariff
                deficit. The Claimants refers that the regulatory measures aimed at curtailing the FIT
                for wind cannot be considered “suitable” measures to achieve the intended purpose since
                the remuneration to wind farms was not the source of the tariff deficit. 534


                Secondly, a State measure is not proportionate unless it is necessary to achieve the goals
                pursued. The Claimants affirm that this analysis implies an assessment as to whether
                there are other less intrusive means with regard to the rights affected that are equally
                able to achieve the stated goal. The Claimants sustain that Spain’s own organs
                contemporaneously identified alternative solutions less harmful to investors, such as a
                tax on all CO2 emissions. Therefore, according to the Claimants, on the basis that Spain


531   Claimants’ Memorial, ¶¶ 450-452.
532   Claimants’ Memorial,¶ 452.
533 The Claimants find support of its position in the following cases: Técnicas Medioambientales Tecmed S. A. v The United

Mexican States, ICSID Case No. ARB (AF)/00/2, Award, 29 May 2003, ¶ 122, Exhibit CL-33; and Case Concerning the
Gabcikovo-Nagymaros Project (Hungary/Slovakia), ICJ Rep 1997, Judgment of 25 September 1997, ¶ 85, Exhibit CL-14.
534   Claimants’ Memorial, ¶¶ 444, 445.


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                had alternative solutions to tackle the problem of the tariff deficit, less harmful to
                investors, Spain’s measures cannot be considered to be proportionate. 535


                The Claimants also allege that Spain has violated Article 10(1) of the ECT which
                prohibits Spain from impairing investments by “unreasonable or discriminatory
                measures.” 536


                The Claimants sustain that whether a measure falls foul of the non-impairment clause
                requires considering whether an unreasonable or discriminatory measure has impaired
                the investment in question. According to the Claimants, the test for unreasonableness
                in this context is the same as the test within the confines of the FET standard. 537


                The Claimants state, as explained above, that the measures were not taken by Spain in
                pursuance of a rational goal or tailored to achieve that goal. As a result, the tariff deficit
                cannot constitute a reasonable policy goal for the Disputed Measures. According to the
                Claimants, it cannot be disputed that those measures have “impaired” the Claimants’
                investment. In the Claimants’ view, Spain's actions have caused damages to Claimants’
                investment in the amount of EUR 119.6 million. Therefore, in addition to a violation of
                the FET standard under the ECT, Spain's actions violate the obligation under Article
                10(1) of the ECT to refrain from impairing the Claimants' investment through
                unreasonable measures.


                The Claimants reject Spain’s application of the test set out in EDF v. Romania and its
                suggestions that: (a) the purpose of the Disputed Measures was legitimate; (b) the
                Disputed Measures complied with Spanish law; (c) the Disputed Measures were not
                taken for an ulterior reason (but were to address the tariff deficit); and (d) the Disputed
                                                                                                          538
                Measures were implemented in a manner that respected due process and procedure.


535   Claimants’ Memorial, ¶¶ 446, 447.
536   Claimants’ Memorial, ¶ 449.
537   Claimants’ Reply, ¶ 444.
538   Claimants’ Reply, ¶ 467.


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                     Respondent’s Position

                Spain contends that pursuant to “tests” established under EDF v. Romania, AES v.
                Hungary and Total v. Argentina, Spain’s measures are not discriminatory, abusive or
                disproportionate. 539 Importantly, contrary to the Claimants’ position, Spain underscores
                that “there was a rational policy to adopt macroeconomic control measures.” In Spain’s
                view, the tariff deficit, but also the economic crisis, presented important challenges in
                light of which the measures that Spain undertook shall not be deemed as irrational. In
                this respect, Spain also invokes that the subsidies for the production of RE must comply
                with EU rules on State aids. 540


                Spain also states that the Disputed Measures were proportionate and reasonable since
                they provide the Claimants with reasonable return. 541


                The Respondent observes that the Claimants state that the measures contested are not
                reasonable because the reasons (excess capacity and the tariff deficit) are attributable to
                Spain.


                The Respondent points out to certain facts that, according to its position, are not
                attributable to the Kingdom of Spain, such as (1) the principal of sustainability of the
                SES; (2) the worsening of the international crisis between 2007 and 2012; (3) the
                exceptional fall in electricity demand; and (4) the international commitments assumed
                through the memorandum of understanding with the EU in July 2012 to bail out Spain’s
                financial sector.
                The Respondent affirms that the conclusions of the award in BG v. Argentina are not
                applicable to this case, since in this case there is no commitment to maintain the tariffs
                for a certain amount of time. 542



539   Respondent’s Rejoinder, ¶¶ 1047-1050.
540   Respondent’s Rejoinder, ¶ 1059.
541   Respondent’s Rejoinder, ¶¶ 1067-1074.
542   Respondent’s Counter-Memorial, ¶ 964.


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               The Respondent mentions that the Claimants declare that the measures are
               disproportionate (1) by attacking the tariff deficit through removing the regime of RD
               661/2007, when the wind and hydraulic sector tariffs played a limited role in the tariff
               deficit, and (2) as there are other alternatives such as increasing the bill to consumers or
               establishing taxes to fund the deficit.


               The Respondent stresses that the Claimants omit to say that the measures were applied
               to the entire system, including consumers, to re-balance the SES. The Respondent
               asserts that the measures not only affected the RE Sector, because these are not an island
               within the SES, but rather affected all activities that involve a cost for the SES. In
               addition, Spain clarifies that within the renewable sector, the measures affected all
               technologies. The Respondent stress that it is as a whole that the proportional nature of
               the measures should be understood, not in one specific sector as the Claimants are
               attempting to do. 543


               Furthermore, the Respondent states that the Claimants have not substantiated the legal,
               economic and budgetary validity of the alternatives they propose to re-balance the SES
               and guarantee their future sustainability. Moreover, the Respondent states that, this
               reveals ignorance (1) of the public deficit obligations assumed by Spain through the
               memorandum of understanding signed with the EU and (2) of the Spanish tax and
               budgetary regulations.


               The Respondent points out four facts that led to the changes in the SES: (1) the existence
               of an international economic crisis that led to a reduction in electricity demand; (2) the
               rise in consumer tariffs, (3) the existence of excess remuneration in the RE Sector, and
               (4) the existence of expectations of growth of the tariff deficit. According to the
               Respondent, all of the mentioned circumstances implied the economic unsustainability
               of the SES. 544



543   Respondent’s Counter-Memorial, ¶ 968.
544   Respondent’s Counter-Memorial, ¶ 974.


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               The Respondent further establishes that the RE Association, APPA, with the legal
               support of Cuatrecasas, Gonçalves Pereira, proposed that the remuneration of renewable
               energies should be determined in 2009 in a similar way to that established in 2013 by
               RDL 9/2013. The relevance of this proposal is obvious, because it proves the fact that
               the remuneration system laid down in 2013 does not violate the FET standard of the
               ECT. In other words, these 2013 remuneration measures are reasonable and
               proportionate if the majority APPA Association proposed a similar system as the best
               one (1) for achieving reasonable return rates with reference to the cost of money in the
               capital market, (2) provide “security and stability for investments” and (3) allow “the
               RE to develop their potential in a sustainable and lasting manner.” 545


               In the Respondent’s view, the current regulatory regime attracted over 5 billion euros in
               investment in RE in Spain in 2015. This is due to the stability and security of the current
               system in terms of the receipt of income. However, the Respondent states that the
               Claimants omitted these facts before the Tribunal, giving a partial and incomplete view
               of the reform of the disputed regulatory framework. The Claimants omitted the so-called
               “renewable energy boom” in the year 2015. 546


               The Respondent further alleges that the Claimants also omit any reference to the positive
               assessments that the measures received from the European Commission, the
               International Monetary Fund and the International Energy Agency in the years 2015 and
               2016. The financial reality after the challenged measures and the assessments of
               international bodies show the proportionality and reasonability of the measures adopted
               and undermine the statements of the Claimants regarding the sector following the
               adoption of the measures. The mass entry of new investors would only be logical if the
               new regulation guaranteed reasonable returns. Furthermore, only if the measures are
               reasonable, proportionate and effective will they merit the positive appraisal of
               international bodies. 547


545   Respondent’s Counter-Memorial, ¶ 978.
546   Respondent’s Counter-Memorial, ¶ 980.
547   Respondent’s Counter-Memorial, ¶ 982.


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                According to the Respondent, the main objective of the ECT is non-discrimination in
                relation to foreign investors. Furthermore, article 10(1) ECT establishes a FET standard
                and additionally, in relation to the obligation to give investments already made “no less
                favorable treatment than that required by international law”, it recognises the minimum
                standard of protection guaranteed by International Law. 548


                In the Respondent’s view, there are different tests that are applied by the international
                arbitral Tribunals, which make it possible to assess whether the measures adopted by a
                State are irrational or discriminatory pursuant to the ECT objectives and standards:


                     a. The EDF v. Rumania test 549, which makes it possible to examine whether Spain
                          has respected the main objective of the ECT, adopting non-discriminatory
                          measures in respect of the Claimants; and
                     b. The AES Summit v. Hungary test 550, accepted by the Claimants as relevant,
                          allowing the question of whether or not the Kingdom of Spain respected the
                          FET standard of Article 10(1) of the ECT; and
                     c. The Total v. Argentina 551 case test, to assess the respecting of the financial
                          balance of the investment.


                In the EDF v. Romania case, the tribunal made use of the verification criteria listed by
                Dr. Christoph Schreuer in order to assess whether or not the measures adopted by a State
                are discriminatory. In this respect, Dr. Schreuer considers a measure to be
                discriminatory when: “(a) A measure that inflicts damage on the investor without
                serving any apparent legitimate purpose; (b) A measure that is not based on legal
                standards but on discretion, prejudice or personal preference; (c) A measure taken for




548   Respondent’s Counter-Memorial, ¶ 864.
549   EDF (Services) Limited v. Rumania, ICSID Case No. ARB/05/13, Award, 8 October 2009, ¶ 909, Exhibit RL-0035.
550AES Summit Generation Limited and AES-Tisza Erömü Kft. v. Republic of Hungary, ICSID Case No. ARB/07/22, Award, 23
September 2010, ¶¶ 10.3.7 to 10.3.9, Exhibit RL-0039.
551   Total S.A. v. Argentine Republic, ICSID Case No. ARB/04/01, Decision on Liability, 27 December 2010, Exhibit RL-0050.


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               reasons that are different from those put forward by the decision maker; (d) A measure
               taken in willful disregard of due process and proper procedure.” 552


               According to the Respondent, the purpose of the reform is completely legitimate. The
               measures attempt to address a situation of unsustainable imbalance, in which the
               international and national economic circumstances determined a reduction in demand
               which made it necessary to re-balance the system. 553


               In the Respondent’s view, the reform carried out was implemented in full compliance
               with the existing legal regulations and the case law of the Spanish Supreme Court,
               guaranteeing the reasonable return that was and is required by the Electricity Sector
               Law. In addition, Spain asserts that the reform being challenged has a general scope. In
               other words, for the Respondent, the reform is applicable to all operators and to all
               sectors intervening in the energy market. Therefore, it is not discriminatory with respect
               to any investor, either national or international. 554


               The Respondent says that in the present case, the Preamble of RDL 6/2009 and RDL
               14/2010, as well as the main of RD 1614/2010, warned about the need to reform the
               electricity sector in order to guarantee its sustainability. These reasons are the same as
               those on which the measures being challenged were based. 555


               Finally, Spain alleges that the Spanish government has followed the legally established
               procedures to enact the regulatory standard of remuneration in the electricity sector. 556




552   Respondent’s Counter-Memorial, ¶ 987.
553   Respondent’s Counter-Memorial, ¶ 988.
554   Respondent’s Counter-Memorial, ¶ 988.
555   Respondent’s Counter-Memorial, ¶ 988.
556   Respondent’s Counter-Memorial, ¶ 988.


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               According to the Respondent, the test set out in the AES Summit case is used to
               determine whether or not an unreasonable or disproportionate measure exists that does
               not comply with the FET standard laid down by the ECT. 557


               The Respondent states that according to AES Summit, there are two elements that require
               to be analysed to determine whether a state’s act was unreasonable: the existence of a
               rational policy and the reasonableness of the act of the State in relation to the policy.


               The Respondent reiterates that the system providing support for renewables is based on
               the legal principle of reasonable returns in the context of a sustainable SES. The
               regulator acted with the purpose of restoring the balance required by the applicable
               legislation. This imbalance, as well as involving an excessive burden for Spanish
               consumers, was decisively contributing to the generation of the so-called tariff deficit,
               the correction of which was required by law. In addition, the imbalance in favour of the
               producers that the regulator was trying to stem was taking place in a scenario of acute
               economic crisis, both in the SES in particular and in the Spanish economy as a whole. 558


               The Respondent further affirms that the criterion of AES Summit has been subsequently
               ratified by the Electrabel and Charanne cases. 559


               The Respondent concludes that its actions were in line with the first of the parameters
               considered in the AES Summit v. Hungary case: the policy carried out by the Kingdom
               of Spain was valid and fulfilled the objective of a public economic policy. This is the
               correction and prevention, in order to protect consumers, of the payment to investors of
               a higher remuneration than what is reasonable. According to the Respondent, the
               relevance and rationality of the measure is, in conclusion, beyond all doubt.



557   Respondent’s Counter-Memorial, ¶ 990.
558   Respondent’s Counter-Memorial, ¶¶ 992-993.
559 Electrabel S.A. v. Hungary, ICSID Case No. ARB/07/19, Award of 25 November 2015, ¶ 179, Exhibit RL-0048; and Charanne

B.V. and Construction Investments S.A.R.L v. The Kingdom of Spain, SCC Arbitration No. 062/2012, Award of 21 January 2006,
¶ 510, Exhibit RL-0049.


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               Regarding the second criterion, the Respondent affirms that the reform meets this
               requirement of reasonableness. The reform adopted by the Government affected all
               subjects involved in the SES. The said reform distributed the measures to increase the
               income and reduce the costs of the SES between the consumers and all the operators in
               the system (producers, distributors and transport companies) with the goal of dealing
               with the tariff deficit. 560


               The Respondent further states that as well as reasonable, the measures adopted are also
               proportionate. The system of subsidies that enabled producers to achieve reasonable
               returns of around 7.398%, which could be higher in the case of surpassing the standards
               established on a standard facility, was maintained, at the same time as correcting and
               avoiding situations of imbalance, which prejudiced Spanish consumers and contributed
               to endangering the financial sustainability of the SES. 561


               According to the Respondent, the tribunal in the Total case established as a minimum
               FET standard for these kinds of investments the consideration of whether or not the
               principle of economic balance that would allow long-term investors to recoup the costs
               and obtain a reasonable return on their investment had been respected. 562


               The Respondent states that the reform carried out following the investment made by the
               Claimants, fulfils the said requirements. The remunerative parameters have been
               calculated to permit the reimbursement of both the operational costs as well as the initial
               investment. 563
               The Respondent concludes that through the challenged measures, Spain guarantees the
               remuneration and repayment required by the tribunal in the Total v. Argentina case as a
               minimum standard required to consider the FET minimum standard as not violated by
               modifications occurring in the general regulatory framework for long-term investments


560   Respondent’s Counter-Memorial, ¶ 1001.
561   Respondent’s Counter-Memorial, ¶ 1003.
562   Respondent’s Counter-Memorial, ¶ 1013.
563   Respondent’s Counter-Memorial, ¶ 1017.


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                of large amounts of capital. Therefore, the Respondent is not violating the FET
                minimum standard established in the scope of international law, applicable to this case
                together with the ECT.


          G. Tribunal’s Analysis

                This analysis represents the majority view of the Tribunal and reference to the word
                “Tribunal” in the analysis is the majority view.


                The principal issue is whether Spain has violated Article 10(1) of the ECT, namely, the
                obligation pursuant to Article 10(1) which reads as follows:


                      Each Contracting Party shall, in accordance with the provisions of this
                      Treaty, encourage and create stable, equitable, favourable and transparent
                      condition for Investors of other Contracting Parties to make Investments in
                      its Area. Such conditions shall include a commitment to accord at all times
                      to Investments of Investors of other Contracting Parties fair and equitable
                      treatment. Such investments shall also enjoy the most constant protection
                      and security and no Contracting Party shall in any way impair by
                      unreasonable or discriminatory measures their management, maintenance,
                      use, enjoyment or disposal. In no case shall such Investments be accorded
                      treatment less favourable than that required by international law, including
                      treaty obligations. Each Contracting Party shall observe any obligations it
                      has entered into with an Investor or an Investment of an Investor of any
                      other Contracting Party. 564

                Article 10(1) of the ECT has, in the Tribunal’s view, the following obligations:


                      (1)       to “encourage and create suitable, equitable, favourable and transparent
                                conditions for the investors”;
                      (2)       to accord “at all times, to investments of investors of other contracting
                                parties fair and equitable treatment”;
                      (3)       to provide investments “the most constant protection and security”;
                      (4)       not to impair investments by unreasonable or discriminatory measures;


564   Energy Charter Treaty, Art. 10(1), Exhibit C-1.


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                      (5)      to accord investments, treatment that is not [….less favourable….] than that
                               required by international law including treaty obligations;
                      (6)      that each Contracting Party “shall observe any obligations it has entered
                               into with an investor of an investment of an investor of any other
                               Contracting Party.”


                The primary claim of the Claimants is that the Respondent failed to provide fair and
                equitable treatment by failing to protect the Claimants’ legitimate expectations. The
                protection of legitimate expectations is an essential element in the Tribunal’s view, of
                the provisions of fair and equitable treatment pursuant to the provisions of Article 10(1)
                of the ECT.


                This necessitates the consideration by the Tribunal as to whether Spain, in respect of the
                Claimants’ investments, accorded “fair and equitable treatment” and “stable, equitable,
                favourable and transparent conditions” to the Claimants.


                The secondary issue is whether Spain is in breach of the Umbrella Clause.


                      Applicable Law

                Article 26(6) of the ECT provides that the Tribunal shall “decide the issues in dispute
                in accordance with this Treaty and applicable rules and principles of international
                law”. The Tribunal will apply customary international law and general principles of
                international law to this arbitration where the ECT, which is the primary source of law,
                is silent. Spain does not dispute the applicability of the said Article. 565


                The ECT being an international treaty, has to be interpreted pursuant to the provisions
                of Articles 31 and 32 of the VCLT 566 and the provisions read as follows:



565   Respondent’s Rejoinder, ¶ 880.
566
  Vienna Convention on the Law of Treaties, 1155 United Nations Treaty Series 331, 23 May 1969 (entry into force 27 January
1980), Exhibit CL-4.


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                   Article 31: General rule of interpretation

                   1.        A treaty shall be interpreted in good faith in accordance with the ordinary
                             meaning to be given to the terms of the treaty in their context and in the
                             light of its object and purpose.

                   2.        The context for the purpose of the interpretation of a treaty shall comprise,
                             in addition to the text, including its preamble and annexes: (a) any
                             agreement relating to the treaty which was made between all the parties in
                             connection with the conclusion of the treaty; (b) any instrument which was
                             made by one or more parties in connection with the conclusion of the treaty
                             and accepted by the other parties as an instrument related to the treaty.

                   3.        There shall be taken into account, together with the context:

                         (a) any subsequent agreement between the parties regarding the
                             interpretation of the treaty or the application of its provisions;
                         (b) any subsequent practice in the application of the treaty which
                             establishes the agreement of the parties regarding its interpretation;
                         (c) any relevant rules of international law applicable in the relations
                             between the parties.

                   4.        A special meaning shall be given to a term if it is established that the parties
                             so intended.

                   Article 32: Supplementary means of interpretation

                   Recourse may be had to supplementary means of interpretation, including
                   the preparatory work of the treaty and the circumstances of its conclusion,
                   in order to confirm the meaning resulting from the application of article 31,
                   or to determine the meaning when the interpretation according to article 31:

                   (a)       leaves the meaning ambiguous or obscure; or
                   (b)       leads to a result which is manifestly absurd or unreasonable.

             Article 31 of the VCLT requires the ECT to be interpreted in good faith in accordance
             with the ordinary meaning of its terms in accordance with the object and purpose of the
             ECT as set out in Article 2 of the ECT which reads as follows:
                   … [establish] a legal framework in order to promote long-term co-operation
                   in the energy field, based on complementarities and mutual benefits, in
                   accordance with the objectives and principles of the [European Energy]
                   Charter. 567

567 Energy Charter Treaty, Preamble, Exhibit C-1, which formulates the relevant object and purpose of the ECT as including (i)

placing “the commitments contained in that Charter [i.e. the 1991 European Energy Charter] on a secure and binding international

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                The Tribunal is of the view that the applicable law is the ECT and any rules of
                international law which are relevant with regard to interpretation and application. The
                Tribunal will only refer to the provisions of Spanish law and EU law if, in the Tribunal’s
                view, it is appropriate.


                     Applicability of EU Law

                The RREEF Decision in its jurisdictional decision, rejected Spain’s jurisdictional
                objection and the decision also, when considering the merits, found that if there was
                incompatibility or discrepancy between the ECT and the EU law, then ECT must
                prevail.


                     Fair and Equitable Treatment

                The Tribunal will deal initially with the issue of whether Spain accorded to the
                Claimants’ investment, fair and equitable treatment.


                The Tribunal has to consider whether the measures taken by Spain to its electricity
                regime which include, but are not limited to, Law 15/2012, RDL 2/2013, RDL 9/2013,
                Law 24/2013, RD 413/2014 and the June 2014 Order, constitute a breach and violation
                of Article 10(1) of the ECT, taking into account that the Claimants have invested
                approximately EUR 91 million into the Spanish RE electricity sector 568. The Tribunal
                has to consider whether these measures adopted by Spain have fundamentally and
                radically altered the applicable legal and regulatory framework which the Claimants
                relied upon when they made their investment.


                Article 10(1) of the ECT places an obligation on the part of Spain to provide “a
                commitment to accord at all times to investments of investors of other contracting
                parties fair and equitable treatment.” The issue is whether the disputed measures


legal basis; (ii) [catalyzing] economic growth by means of measures to liberalise investment and trade in energy; and (iii) attaching
“the utmost importance to the effective implementation of full national treatment and most favoured nation treatment”.
568   Claimants’ Memorial, ¶ 363.


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                 enacted by Spain are in breach of the fair and equitable treatment that should be
                 accorded to the Claimants, especially when they argue that they relied on the legislation
                 and the various representations in order to make their investments and hence their
                 legitimate expectations were breached.


                 Spain relies on the decision in AES v. Hungary, 569 Electrabel v. Hungary, 570 Total v.
                 Argentina, 571 Charanne 572 and Blusun v. Italy 573 to argue that the FET standard is
                 limited to providing the minimum standard of treatment. 574


                 Spain cites the award in AES v. Hungary to contend that legitimate expectations may be
                 found only in presence of “specific commitments made to an investor that the
                 regulations in force will remain unchanged”. 575 The Tribunal is of the view Spain failed
                 to clarify what is “specific commitment” and how it could give rise to legitimate
                 expectations protected by the FET standard contained in the ECT. 576 The Tribunal is of
                 the view that Spain apparently is trying to contend that in order to constitute a specific
                 commitment, there has to be a contractual obligation between the investor and the
                 State. 577 The Tribunal is of the view that specific commitments were in fact made to
                 the Claimants, namely by the relevant legislation and the representations.


                 Spain also relies on the decision in Electrabel, namely that the FET standard under
                 Article 10(1) “may legitimately involve a balancing exercise or weighing exercise by

569 AES Summit Generation Limited and AES-Tisza Erromu Kft v The Republic of Hungary (AES v Hungary), ICSID Case No.

ARB/07/22, Award, 23 September 2010, ¶ 13.3.2 , Exhibit RL-0039.
570,
   Electrabel S.A. v The Republic of Hungary (Electrabel v Hungary), ICSID Case No. ARB/07/19, Award, 25 November 2015,
Exhibit RL-0002.
571Counter-Memorial, ¶¶ 1010-1019, citing Total S.A. v. Argentine Republic, ICSID Case No. ARB/04/1, Decision on Liability,
27 December 2010, ¶ 122, Exhibit RL-0050.
572Charanne B.V. and Construction Investments S.A.R.L v. The Kingdom of Spain, SCC Arbitration No. 062/2012, Award of 21
January 2006, ¶ 500, Exhibit RL-0049.
573
  Blusun S.A., Jean-Pierre Lecorcier and Michael Stein v. Italian Republic, ICSID Case No. ARB/14/3, Award, 27 December
2016, ¶¶ 319, 372, Exhibit RL-0082. See also Respondent’s Rejoinder, ¶ 925.
574    Respondent’s Counter-Memorial, ¶¶ 888-892.
575    Respondent’s Counter-Memorial, ¶ 907(a).
576    Respondent’s Counter-Memorial, ¶¶ 909-912.
577    Respondent’s Counter-Memorial, ¶ 916.


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               the host State”. 578         The balancing exercise in Electrabel was agreed between the
               parties. 579 The Tribunal holds that Spain despite relying on the decision in Electrabel,
               does not contend that its right to regulate, stems from the FET standard and the
               “balancing exercise” to which the Electrabel tribunal refers. It is the finding of the
               Tribunal that Spain does not explain the basis for its so-called rights to regulate in the
               context of Article 10(1) of the ECT and it also does not demonstrate in what way that is
               consistent with the exceptions which are set out in Article 24 of the ECT. The Tribunal
               therefore finds that Spain’s reliance on the decision in Electrabel, is of no assistance.


               Spain refers to the decision in Total v. Argentina 580 to contend that the tribunal in the
               Total decision, applied the minimum standard of protection required by the FET, which
               would allow a State to modify its legal framework, provided that the investor is still able
               to recover its operating costs, amortise its investment and make a “reasonable return”
               over a said period of time. The Tribunal is of the view that the decision in Total does
               not assist Spain’s arguments as it was not a decision pursuant to the ECT but pursuant
               to the 1991 France-Argentina BIT, which does not contain stability provisions for
               investors. 581 The Tribunal notes that the tribunal in the Total decision, considered the
               FET standard in the following terms “cannot be read as ‘treatment required by the
               minimum standard of treatment of aliens/investors under international law’”. 582 The
               Tribunal also notes that the quotations that it relies upon in Total were made when that
               tribunal was weighing the investors’ legitimate expectations on the one hand and the


578 Respondent’s Counter-Memorial, ¶889, citing Electrabel S.A. v The Republic of Hungary (Electrabel v Hungary), ICSID Case

No. ARB/07/19, Award, 25 November 2015,¶ 154, Exhibit RL-0002.
579
  Electrabel S.A. v The Republic of Hungary (Electrabel v Hungary), ICSID Case No. ARB/07/19, Award, 25 November 2015,¶¶
125, 165, Exhibit RL-0002.
580   Respondent’s Counter-Memorial, ¶¶ 1010-1017.
581Total S.A. v The Argentine Republic, ICSID Case No. ARB/04/01, Decision on Liability, 27 December 2010, ¶ 116, Exhibit
RL-0050. The Total tribunal itself made it clear at the outset: “[i]n various disputes between U.S. investors and Argentina under
that BIT, tribunals have relied on the explicit mention in its preamble of the desirability of maintaining a stable framework for
investments in order to attract foreign investment as a basis for finding that the lack of such stability and related predictability, on
which the investor had relied, had resulted in a breach of the fair and equitable treatment standard. … However, the BIT between
France and Argentina does not contain any such reference, following the French BIT model. This absence indicates, at a minimum,
that stability of the legal domestic framework was not envisaged as a specific element of the domestic legal regime that the
Contracting Parties undertook to grant to their respective investors”.
582
  Total S.A. v The Argentine Republic, ICSID Case No. ARB/04/01, Decision on Liability, 27 December 2010, ¶ 125, Exhibit
RL-0050.


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             respondent State’s legitimate regulatory interests on the other hand, in the absence of
             any specific stability commitment. The tribunal in Total also found that the concept of
             “regulatory fairness” or “regulatory certainty” intervenes to ensure that the investors
             recover their operation costs and make a “reasonable return”. 583 The Tribunal is of the
             view that, having considered the decision in Total, the facts are clearly different, the
             principles are different and hence it does not support Spain’s contention that it may
             radically change the remuneration regime which the Claimants had relied upon, when
             making their investment in reliance of the express commitments made by Spain.


             The Tribunal has to consider in the light of the rival contentions of the Claimants and
             the Respondent and the terms of the ECT, whether the changes to the Spanish legislation
             provides a “reasonable return” and how is “reasonable return” determined.


             Spain’s principal contention in respect of the decision is that there was a commitment
             by Spain to investors that there was a guarantee to provide reasonable return. This
             finding of the RREEF Decision is not supported by a number of awards which have
             found that Spain did promise investors that it would not alter retroactively the specific
             tariffs of RD 661/2007 and RD 1614/2010. 584


             The RREEF Decision took the view that Spain’s regulatory regime was sufficient to
             create legitimate expectations but contrary to the decisions in Eiser, Novenergia, Antin
             and Masdar, the RREEF Decision found that neither Article 44.3 of RD 661/2007 or
             Articles 4 and 5 of RD 1614/2010 protected investors against tariff changes. The
             decision went on to hold that the guarantee of reasonable return was the specific




583
  Total S.A. v The Argentine Republic, ICSID Case No. ARB/04/01, Decision on Liability, 27 December 2010, ¶ 122, Exhibit
RL-0050.
584See e.g. Eiser Infrastructure Limited and Energia Solar Luxembourg S.a.R.L. v Kingdom of Spain, ICSID Case No. ARB/13/36,
Award, 4 May 2017, Exhibit CL-154; Novenergia II - Energy & Environment (SCA) (Grand Duchy of Luxembourg), SICAR v.
The Kingdom of Spain, SCC Case No. 2015/063, Award, 15 February 2018, Exhibit CL-160; Masdar Solar & Wind Cooperatief
U.A. v. Kingdom of Spain, ICSID Case No. ARB/14/1, Award, 16 May 2018, Exhibit CL-175; and Antin Energia Termosolar B.V.
v. Kingdom of Spain, ICSID Case No. ARB/13/31, Award, 15 June 2018, Exhibit CL-176.


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             commitment of Spain’s regulatory regime. 585 The Tribunal prefers the persuasive views
             set out in the decisions of Eiser, Novenergia, Antin and Masdar.


             In any event, the RREEF tribunal found that the disputed measures lowered the return
             on the Claimants’ CSP investments below the threshold of a reasonable return and it
             further concluded that it had radically altered the regulatory regime in respect of which
             the Claimants made their investment. 586


             The RREEF Decision found that reasonable return is dynamic in that it was not fixed
             and could evolve depending on the cost of money in the capital market. The Tribunal
             is of the view that this conclusion is inconsistent with the evidence that was before the
             RREEF tribunal especially as the cost of money in the capital markets was substantially
             the same in 2007 when the RD 661/2007 regime was implemented and in 2013 when
             the new regime was implemented. In any event, the dissent of Prof. Volterra is relevant
             in that he criticised this aspect of the RREEF Decision. 587


             The Claimants in this case have put forward extensive evidence of contemporaneous
             documents showing that Spain offered investors a fixed guaranteed return and not just
             a reasonable return. The Tribunal has considered the contemporaneous evidence and it
             is not persuaded that the evidence adduced by the Respondent is sufficient for
             determining a “reasonable return” and neither is it in fulfilment of the representations
             made by the Respondent with regard to the stability of the legal and economic regime
             that would be applicable to RE projects in order to entice investments into the wind
             sector. The Tribunal concludes that the Respondent’s methodology for determining
             reasonable rate of return in the light of the amendments to the legislation is, in the
             Tribunal’s view, not based on any identifiable criteria. The Tribunal is therefore of the


585
  RREEF Infrastructure (G.P.) Limited and RREEF Pan-European Infrastructure Two Lux S.à r.l. v. Kingdom of Spain, ICSID
Case No. ARB/13/30. Decision on Responsibility and on the Principles of Quantum, 30 November 2018, ¶ 384, Exhibit RL-0098.
586
  RREEF Infrastructure (G.P.) Limited and RREEF Pan-European Infrastructure Two Lux S.à r.l. v. Kingdom of Spain, ICSID
Case No. ARB/13/30. Decision on Responsibility and on the Principles of Quantum, 30 November 2018, ¶ 328, Exhibit RL-0098.
587RREEF Infrastructure (G.P.) Limited and RREEF Pan-European Infrastructure Two Lux S.à r.l. v. Kingdom of Spain, ICSID
Case No. ARB/13/30, Partially Dissenting Opinion of Professor Robert Volterra to Decision on Responsibility and on the Principles
of Quantum, 30 November 2018, ¶¶ 31-35 and 44, Exhibit RL-0099.


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                view that the RREEF Decision does not in any way, assist the Respondent in its primary
                contention that the Claimants were only entitled to a reasonable return on their
                investments and that in the Tribunal’s view, is a very narrow and erroneous
                interpretation of the RREEF Decision.


                The Tribunal has considered the arguments of the Claimants and the Respondent in
                respect of the RREEF Decision with regard to reasonable return and is of the view that
                the RREEF Decision does not, in any way, assist the Respondent in its contention that
                the Claimants were only entitled to a reasonable return on their investments and the
                Tribunal is of the view that the argument advanced by Spain is a very narrow and
                erroneous interpretation of the RREEF Decision, especially with regard to the issue of
                reasonable return.


                Spain makes numerous references to Spanish law in order to suggest that the Tribunal
                should assess the existence and scope of Spain’s commitments and obligations towards
                the Claimants or their investment through the lens of Spanish law. 588 Spanish law
                should not be used as a tool to override Spain’s international obligations.


                In Spain’s view, the Claimants’ interpretation of the RD 661/2007 economic regime
                amounts to a claim that the regime would be frozen, thereby precluding Spain’s ability
                to regulate.


                The Eiser tribunal held as follows:

                      [a]bsent explicit undertakings directly extended to investors and
                      guaranteeing that States will not change their laws or regulations,
                      investment treaties do not eliminate States’ right to modify their regulatory
                      regimes to meet evolving circumstances and public needs. 589

                The Eiser tribunal also held that:

588   See e.g. Respondent’s Counter-Memorial, ¶¶ 36, 782 and 833.
589Eiser Infrastructure Limited and Energia Solar Luxembourg S.a.R.L. v Kingdom of Spain, ICSID Case No. ARB/13/36, Award,
4 May 2017, ¶ 362, Exhibit CL-154.


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                  the evidence shows that Respondent eliminated a favourable regulatory
                  regime previously extended to Claimants and other investors to encourage
                  their investment in CSP. It was then replaced with an unprecedented and
                  wholly different regulatory approach, based on wholly different premises.
                  This new system was profoundly unfair and inequitable as applied to
                  Claimants’ existing investment. 590

             The Tribunal finds that Spain is not entitled, pursuant to the provisions of Article 10(1)
             ECT, to deprive the Claimants of the economic rights associated with the RD 661/2007
             regime when it freely undertook to grant those rights and guarantee their continuity over
             the entire operational life of the installations.


             Spain contends, relying on the decision in AES v. Hungary and also on Mamidoil v.
             Albania, that “the stable conditions referred to by the ECT clearly allow the adoption
             of reasonable and proportionate macroeconomic control measures” and that the
             reference in the ECT to those stable conditions, does not mean that the ECT contains a
             stabilisation clause. 591


             The Tribunal refers to the decision of the ICSID tribunal in Liman Caspian Oil v.
             Kazakhstan which reads as follows:

                  …[T]he purpose of ECT Article 10(1), second sentence, is to provide a
                  protection which goes beyond the minimum standard to treatment under
                  international law. The ECT was intended to go further than simply
                  reiterating the protection offered by the latter. In this respect, ECT Article
                  10(1), second sentence, differs from NAFTA Article 1105 (in its
                  interpretation given by the Free Trade Commission on 31 July 2001) which
                  contains an express reference to international law. Therefore, when
                  assessing Respondent’s actions, a specific standard of fairness and
                  equitableness above the minimum standard must be identified and applied
                  for the application of the ECT. 592

590Eiser Infrastructure Limited and Energia Solar Luxembourg S.a.R.L. v Kingdom of Spain, ICSID Case No. ARB/13/36, Award,
4 May 2017, ¶ 365, Exhibit CL-154.
591Respondent’s Counter-Memorial, ¶¶ 930-932, citing AES Summit Generation Limited and AES-Tisza Eromu Kft v The Republic
of Hungary, ICSID Case No. ARB/07/22, Award, 23 September 2010, ¶¶ 9.3.29 and 9.3.30, Exhibit CL-133; and, Mamidoil Jetoil
Greek Petroleum Products Societe Anonyme S.A. v Republic of Albania, ICSID Case No. ARB/11/24, Award, 30 March 2015, ¶¶
617-618, Exhibit RL-0046.
592Liman Caspian Oil B.V. & NCL Dutch Investment B.V. v The Republic of Kazakhstan, ICSID Case No. ARB/07/14, Award
(excerpts only), 22 June 2010, ¶ 263, Exhibit CL-75.


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              The FET standard in the ECT has a specific legal meaning for the reasons set out in
              Articles 31 and 32 of the VCLT and it includes reference to the ordinary meaning of the
              words “fair”, which is defined by the Oxford Dictionary as “just, unbiased, equitable,
              impartial, legitimate” 593 and the word “equitable” means “characterised by equity or
              fairness”, with “equity” being defined as “fairness; impartiality; even-handed
              dealing”. 594


              The Tribunal has to interpret the concept of FET autonomously taking into account its
              text according to its ordinary meaning, international law and good faith. 595


              The Tribunal will address the following considerations to determine if Spain is in breach
              of the FET standard, namely, whether Spain[’s]:


                    •         breached the Claimants’ reasonable and legitimate expectations when they
                              made their investments;
                    •         failed to provide a stable and predictable legal and business framework in
                              relation to the Claimants’ investment;
                    •         conduct was transparent;
                    •         acted in an arbitrary or unreasonable manner; and
                    •         actions were disproportionate. 596


593Oxford Dictionaries, Oxford English Dictionary (6th Ed., 2007), p. 920, Exhibit CL-90. See also Black’s Law Dictionary (10th
ed. Thomson West), p. 715, which defines “fair” as “impartial; just; equitable; disinterested” or “free of bias or prejudice”, Exhibit
CL-47.
594Oxford Dictionaries, Oxford English Dictionary (6th Ed., 2007), p. 856, Exhibit CL-90. See also: Black’s Law Dictionary (10th
ed. Thomson West), p. 654, which defines “equitable” as “just; consistent with principles of just and right” or “existing in equity”,
with “equity” being defined as “fairness; impartiality; even-handed dealing”, Exhibit CL-47.
595Técnicas Medioambientales Tecmed S.A. v The United Mexican States, ICSID Case No. ARB (AF)/00/2, Award, 29 May 2003,
¶ 156 (“…by including this [FET] provision in the Agreement, the parties intended to strengthen and increase the security and
trust of foreign investors that invest in the member States, thus maximizing the use of the economic resources of each Contracting
Party by facilitating the economic contributions of their economic operators. This is the goal of such undertaking in light of the
Agreement’s preambular paragraphs which express the will and intention of the member States to ‘…intensify economic co-
operation for the benefit of both countries…’ and the resolve of the member States within such framework ‘…to create favourable
conditions for investments made by each of the Contracting Parties in the territory of the other’ … ”), Exhibit CL-33.
596Técnicas Medioambientales Tecmed S.A. v The United Mexican States, ICSID Case No. ARB (AF)/00/2, Award, 29 May 2003,
¶ 156, Exhibit CL-33.


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                     Legitimate Expectation

               The Tribunal will now consider whether Spain breached the Claimants’ legitimate
               expectations, when they made their investment and thereby was in breach of the FET
               standard.


               The Tribunal finds that there is no burden on the part of the Claimants to prove bad faith
               or any ulterior motive on the part of Spain in enacting the various measures in order to
               determine whether the measures taken by Spain constitute a violation of FET standards.
               However, the Tribunal is of the view that the burden of proving breach of the FET
               standard in the ECT is on the Claimants. The Tribunal relies on the decision in
               Electrabel, which stated as follows:

                     The Tribunal starts with the premise that it is Electrabel which bears the
                     burden of proving its case under the ECT’s FET standard. 597

               The expectations of the Claimants have to be based on the facts in this arbitration and it
               must be viewed objectively. 598 The Claimants’ expectation must be assessed at the time
               the investment was made and the Claimants’ investment must originate from some
               affirmative action of Spain in the form of specific commitments made by Spain to the
               investor, or by representations made by Spain, which encouraged the investment.


               The principles of international investment law indicate that the host State should not
               “affect the basic expectations that were taken into account by the foreign investor to
               make the investment.” 599 The FET standard requires the host State to protect the
               investors’ legitimate expectation based on “any undertakings and representations made
               explicitly or implicitly by the host State” 600.

597   Electrabel S.A. against Hungary (ICSID Case No. ARB/07/19), Award 25 November 2015, ¶ 154, Exhibit RL-0048.
598 Charanne Award, mentioned in Novenergia II - Energy & Environment (SCA) (Grand Duchy of Luxembourg), SICAR v. The

Kingdom of Spain, SCC Case No. 2015/063, Award, 15 February 2018, ¶ 495, 505, Exhibit CL-160.
599Técnicas Medioambientales Tecmed S.A. v The United Mexican States, ICSID Case No. ARB (AF)/00/2, Award, 29 May 2003,
¶ 154, Exhibit CL-33.
600
  R Dolzer & Co Schreuer, “Principles of International Investment Law” (2n d ed. Oxford University Press, 2012), p. 145, Exhibit
CL-85; see also, International Thunderbird Gaming Corporation v The United Mexican States, UNCITRAL, Award, 26 January
2006, ¶ 147 (“[T]he concept of ‘legitimate expectations’ relates … to a situation where a Contracting Party’s conduct creates

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              The Tribunal having considered the Claimants and the Respondent’s comments on the
              RREEF Decision, notes that the decision found that Spain had implemented a favourable
              legal framework to attract investment, 601 that Spain had created legitimate expectations
              that the Claimants could rely upon, that Spain would not significantly modify the legal
              framework. 602 The decision also found that Spain breached Article 10.1 of the ECT by
              implementing disputed measures.


              The RREEF Decision in the Tribunal’s view, also agreed with the decision in Eiser in
              two aspects, namely that there was an obligation under the ECT to accord fair and
              equitable treatment and that embraces an obligation to provide stability so that it is relied
              upon by the investor in making long term investments and secondly, the RREEF tribunal
              agreed that the ECT prevented Spain from radically altering the regulatory regime to
              existing investments, whereby investors in reliance of the legislative regime, are
              deprived of their investment value. 603


              The Tribunal notes that Spain is entitled to make amendments to its regulatory regime
              but after having entered into the ECT, there are limitation on its powers to alter the
              regulatory framework and it should not do so if such fundamental and radical changes
              would be unfair, unreasonable and inequitable, which would undermine an investor’s
              legitimate expectation 604.




reasonable and justifiable expectations on the part of an investor (or an investment) to act in reliance on such conduct, such that
a failure by the Party to honour those expectations could cause the investor (or the investment) to suffer damages”), Exhibit CL-
41.
601
  RREEF Infrastructure (G.P.) Limited and RREEF Pan-European Infrastructure Two Lux S.à r.l. v. Kingdom of Spain, ICSID
Case No. ARB/13/30, Decision on Responsibility and on the Principles of Quantum, 30 November 2018, ¶¶ 386,587, Exhibit RL-
0098.
602
  RREEF Infrastructure (G.P.) Limited and RREEF Pan-European Infrastructure Two Lux S.à r.l. v. Kingdom of Spain, ICSID
Case No. ARB/13/30, Decision on Responsibility and on the Principles of Quantum, 30 November 2018, ¶ 390, Exhibit RL-0098.
603
  RREEF Infrastructure (G.P.) Limited and RREEF Pan-European Infrastructure Two Lux S.à r.l. v. Kingdom of Spain, ICSID
Case No. ARB/13/30, Decision on Responsibility and on the Principles of Quantum, 30 November 2018, ¶¶ 314, 316, Exhibit RL-
0098.
604ADC Affiliate Limited and ADC & ADMC Management Limited v Republic of Hungary, ICSID Case No. ARB/03/16, Award,
2 October 2006, ¶¶ 423-424, Exhibit CL-45.


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              An important element of legitimate expectation is the protection from State action that
              threatens the stability of the legal and business framework upon which an investor
              reasonably relied on, in making its investment and this concept has been endorsed by a
              number of tribunals 605.


              The Tribunal has to ascertain what were the Claimants’ expectations, which gave rise
              to their claim of legitimate expectation. The Claimants contend it is two-fold:


                    (a)       the nature, amount and duration of the FIT offered under RD 661/2007 and
                              RD 1614/2010; and
                    (b)       with regard to the stability of the RD 661/2007 economic regime.


              The Claimants in support of the nature, amount and duration of the FIT offered under
              RD 661/2007 and RD 1614/2010, contend that once the installations were registered
              with RAIPRE, that the following would be applicable:

                    (a)       the Project companies would have a choice between selling electricity at a
                              Fixed Tariff or at the Premium, as set out in Article 36 of RD 661/2007;


605 CMS Gas Transmission Company v The Argentine Republic, Award, ICSID Case No. ARB/01/8, 12 May 2005, ¶ 275, Exhibit
CL-38. In this case, the State had provided certain guarantees for tariffs of natural gas, including in legislation, regulations and
under the terms of a licence. These tariff guarantees were first suspended by emergency legislation and later terminated by a series
of further enactments. The tribunal found that “[t]he measures that are complained of did in fact entirely transform and alter the
legal and business environment under which the investment was made” and thus resulted in an “objective breach” of the FET
standard (see ¶¶ 266-275 and 281); Occidental Exploration and Production Co. v Republic of Ecuador, Award, UNCITRAL Case
No. UN3467, 1 July 2004, ¶ 183, Exhibit CL-37. In this case, the measure at issue was a change in practice on the part of the tax
authorities as to the reimbursement of VAT with substantial impact on the claimant’s business. The tribunal found that the
framework under which the investor operated had been significantly altered, and without the provision of any satisfactory
clarification by the authorities, in breach of the FET standard; Enron Creditors, Recovery Corporation (formerly Enron
Corporation) and Ponderosa Assets, L.P. v The Argentine Republic, ICSID Case No. ARB/01/3, Award, 22 May 2007, ¶ 260,
Exhibit CL-53 (“[T]he Tribunal concludes that a key element of fair and equitable treatment is the requirement of a ‘stable
framework for the investment’, which has been prescribed by a number of decisions. Indeed, this interpretation has been considered
‘an emerging standard of fair and equitable treatment in international law’”); LG&E Energy Corp., LG&E Capital Corp. and
LG&E International Inc. v The Argentine Republic, ICSID Case No. ARB/02/1, Decision on Liability, 3 October 2006, ¶¶ 124,
125 and 131-133, Exhibit CL-46, Eastern Sugar B.V. v The Czech Republic, SCC No. 088/2004, Partial Dissenting Opinion of
Robert Volterra, 27 March 2007, ¶ 29, Exhibit CL-52 (“An investor is entitled reasonably to expect a legal framework that is
stable, transparent and predictable”); Sempra Energy International v Argentine Republic, ICSID Case No. ARB/02/16, Award,
28 September 2007, ¶ 300, Exhibit CL-57, noting that the FET standard serves to ensure the stability of the law and observance
of legal obligations; and BG Group Plc v Republic of Argentina, UNCITRAL, Award, 24 December 2007, noting at ¶¶ 307-310,
Exhibit CL-58, how Argentina’s radical alteration of the legal and business environment “violated the principles of stability and
predictability inherent to the standard of fair and equitable treatment”; LG&E Energy Corp., LG&E Capital Corp. and LG&E
International Inc. v The Argentine Republic, ICSID Case No. ARB/02/1, Decision on Liability, 3 October 2006, ¶ 131, Exhibit
CL-46.


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                     (b)       the FIT would apply to all of the electricity produced, without any
                               limitations on production;
                     (c)       the FIT would apply for the entire operational life of the installations; and
                     (d)       the FIT would be subject to inflation adjustments, as provided in RD
                               661/2007. 606

                The Claimants’ expectation was that any future changes to RD 661/2007 would be
                prospective.


                The Tribunal is of the view that Spain had promised explicitly that the economic regime
                for the qualifying Special Regime installation would remain stable under RD 661/2007
                which contained the stabilisation commitment in Article 44(3) 607 and reiterated in RD
                1614/2010 that any revisions to the fixed tariff and premium pursuant to Article 44(3)
                of RD 661/2007, would not affect duly registered existing installations. 608


                The Tribunal finds that the Claimants’ expectations on the continued application of the
                economic regime to the Project Companies were legitimate and reasonable, for the
                following reasons:


                     (a)       RD 661/2007 FIT which the Claimants relied on, provided very specific
                               tariffs that would apply to the Project Companies; Article 36 specified the
                               fixed tariff and premium that the Claimants would receive for 20 years and
                               more;




606   Claimants’ Memorial, ¶ 418.
607RD 661/2007 of 25 May 2007, Article 44(3), Exhibit C-44. Article 44(3) provided for the possibility to review the Fixed Tariff
and Premiums (and the floor and cap in the latter case) in consideration of the evolution of the cost of the technology and its
coverage in the renewable sector. However, Article 44(3) expressly stated that those revisions would not affect the Fixed Tariff,
nor the floor and cap of the Premium option, for existing installations commissioned prior to 1 January of the second year following
the year in which the revision was implemented (for instance, if a review was conducted in 2010, it would not affect installations
that had obtained a commissioning certificate prior to 1 January 2012). Thus, RD 661/2007 guaranteed that any review of the
Fixed Tariff would not apply to existing installations and that in the case of the Premium option, although the amount of the
Premium could change, the minimum revenue would not change as any modification of the cap and floor would not apply to
existing installations.
608   RD 661/2007 of 25 May 2007, Exhibit C-44; RD 1614/2010 of 7 December 2010, Article 5(3), Exhibit C-46.


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                      (b)      there was a commitment in Article 44(3) that the fixed tariff for the upper
                               and lower thresholds of the premium option for existing installation would
                               not be changed, as reiterated in RD 1614/2010, which included the premium
                               within the scope of protection;


                      (c)      the CNE represented as follows:

                               offer[ed] security and predictability for economic incentives during
                               the lifespan of the facilities, establishing transparent mechanisms for
                               the annual updates of said incentives and [pursuant to Article 44(3)]
                               exempt[ed] existing facilities from revision every four years because
                               the new incentives that are being put into place only affect new
                               facilities. 609


                      (d)      the economic regime of RD 661/2007 was part of a wider
                               international and domestic policy to develop RE power generation
                               infrastructure and to specifically encourage and attract the necessary
                               investments; and


                      (e)      the purpose of RD 661/2007 was to attract the necessary investment in RE
                               projects such as wind farms and without these incentives and support
                               schemes, the Claimants would have to compete with conventional
                               generators and in view of the capital investment, such investments would
                               not have been attractive.


                The Tribunal is of the view that Spain made this commitment to attract investments by
                offering stability when Spain had no obligation to do so. The Claimants through their
                witness Felipe Moreno, have indicated that without the above representation, the
                Claimants would not have invested in the Spanish RE sector. 610




609   CNE Report 30/2008 of 25 May, 29 July 2008, p. 20, Exhibit C-94.
610   Claimants’ Memorial, ¶ 420, citing Moreno Witness Statement, ¶¶ 59-60.


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                The Tribunal finds that Spain by enacting RD 1614/2010 which applied to qualifying
                wind installations confirm that they would not be affected by any review of the FIT
                under RD 661/2007. This was consistent with the commitments of Spain pursuant to
                Article 44(3) of RD 661/2007 and furthermore, RD 1614/2010 also broadened the scope
                of protection under Article 44(3) to include premiums.


                The Tribunal has to consider whether the July 2010 Agreement and RD 1614/2010
                amounts to a commitment by Spain. Spain is of the view that the 2010 Agreement has
                no bearing on the interpretation of RD 1614/2010 and that the AEE 611 did not consider
                RD 1614/2010 as providing a stable regime for the existing installations. 612                       The
                Tribunal having considered the rival arguments on this issue, is of the view that the 2010
                Agreement according to the Government Press Release, “assume[d] the reinforcement
                of the visibility and stability of the regulation of [CSD] technologies in the future,
                guaranteeing the current subsidies and rates of RD 661/2007 for the facilities in
                                                                                                                    613
                operation (and for those included in the pre-registration) starting in 2013”                              .
                Furthermore, Spain has relied on the comment of AEE, entitled “safeguard against
                future revisions of the remuneration regime” and proposed modified wording for RD
                1614/2010 as the AEE considered it “unacceptable” that the draft sought to restrict that
                article 44.3 “safeguard” to installations with commissioning certificates of a particular
                date. Furthermore, the AEE expressed its understanding of RD 1614/2010 in its
                presentation dated 13 December 2010 as follows:
                      For … installations registered under RD 661/2007, the revisions of the
                      tariffs, premiums and upper and lower limits to which article 44.3 of RD
                      661/2007 WILL NOT AFFECT said installations. 614




611   AEE is the abbreviation for the Spanish “Associación Empresarial Eólica”.
612   Respondent’s Counter Memorial, ¶ 1279.
613Government of Spain, Ministry of Industry, Tourism and Commerce, Press Release, “The Ministry of Industry, Tourism and
Trade Reaches an Agreement with the Solar Thermal and Wind Power Sectors to Revise their Remuneration Frameworks”, 2 July
2010, Exhibit C-45.
614   Asociación Empresarial Eólica, Work group meeting on prices, 13 December 2010, p. 67, Exhibit C-212.


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            The Tribunal therefore holds that the July 2010 Agreement which is a contemporaneous
            document of Spain, amounts to a representation to the Claimants especially in view of
            the fact that Spain referred to the July 2010 Agreement in the following terms:

                  This agreement furthermore assumes the reinforcement of the visibility and
                  stability of the regulation of these technologies in the future, guaranteeing
                  the current incentives and rates of RD 661/2007 for the facilities in
                  operation (and for those included in the pre-registration) starting in
                  2013… 615

            Spain made various representations which included the promotion of advertising
            materials such as the English Language documents, presentation in foreign countries
            designed to attract foreign investment for the RE projects. The Tribunal finds that the
            Claimants are entitled to rely on these expectations which were reasonable.


                  Did Spain’s measures frustrate the Claimants’ reasonable and legitimate
                  expectations?

            Spain sought investments on the basis of specific representations and undertakings to
            induce the Claimants to make significant investments in wind farms and the issue that
            arises is whether after the Claimants having made these investments, Spain took
            measures to frustrate the Claimants’ reasonable and legitimate expectations.


            Fair and equitable treatment requires that the treatment of Spain in respect of the
            Claimants’ investment should be over a long period and not be an isolated one. The
            Tribunal is of the view that the facts will indicate that Spain has since December 2012,
            taken a number of measures which have frustrated the Claimants’ legitimate
            expectations and these measures by Spain are set out below:




615Government of Spain, Ministry of Industry, Tourism and Commerce, Press Release, “The Ministry of Industry, Tourism and
Trade Reaches an Agreement with the Solar Thermal and Wind Power Sectors to Revise their Remuneration Frameworks”, 2 July
2010, Exhibit C-45.


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            (a)     Introduction of the 7% levy pursuant to Law 15/2012, would appear to be contrary
                    to the Claimants’ expectations of the level of FIT they would be entitled to under
                    RD 661/2007;


            (b)     Elimination of the Premium pursuant to RDL 2/2013, frustrates the expectations
                    the Claimants had under RD 661/2007 to choose between selling at a FIT or at
                    the market prices plus Premium. RDL 2/2013 also replaced the CPI-linked
                    updating mechanism for the RD 661/2007 FIT on which the Claimants relied with
                    an entirely different mechanism; and


            (c)     Wiping out the RD 661/2007 economic regime in its entirety in July 2013
                    pursuant to RDL 9/2013 and introducing an entirely differently regime that is less
                    favourable to the Claimants.


            Law 15/2012 was enacted after the Claimants had made their investment and hence it
            cannot be considered that it is irrelevant in order to assess whether the Claimants had a
            reasonable expectation at the time of their investment that the Law 15/2012 would be
            enacted. However, as the Tribunal has found that it does not have jurisdiction over Law
            15/2012, the Tribunal will accordingly, not consider it when making its assessment as
            to whether the Claimants had a legitimate expectation.


            The Tribunal relies on the decision in Micula v. Romania 616 where the majority of the
            Tribunal held that Romania had breached the FET standard in the applicable Sweden-
            Romania BIT through premature revocation of economic support schemes created by
            legislation regarding investments made in some of the countries’ deprived regions. The
            decision states that Romania made specific promises to the investor in respect of the
            support schemes and there was also an element of inducement on the part of Romania.
            The relevant passage of the Micula tribunal is relevant, and is set out below:



616
  Ioan Micula, Viorel Micula and others v The Republic of Romania, ICSID Case No. ARB/05/20, Award, 11 December 2013,
Exhibit CL-88.


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                  [I]t cannot be fair and equitable for a state to offer advantages to investors
                  with the purpose of attracting investment in an otherwise unattractive
                  region, require these investors to maintain their investments in that region
                  for twice the period they receive the incentives, and then maintain the
                  formal shell of the regime but eviscerate it of all (or substantially all)
                  content. 617

            The Tribunal holds that in the present instance, Article 36 of RD 661/2007 provided that
            the FIT would be available for a specified period for kWh electricity produced for the
            first 20 years, of a wind installation life and thereafter for a different lower amount for
            each kWh produced in subsequent years. RD 661/2007, pursuant to Article 44(3),
            provided a guarantee namely that once the installations were registered and in operation,
            any reviews of FIT would only affect future wind installations. This was confirmed by
            RD 1614/2010.


            The conduct of Spain indicates that after it enacted RD 661/2007, it reneged on these
            undertakings and this amounts to a frustration of the Claimants’ legitimate expectations.
            The Tribunal is therefore of the view that Spain has failed to accord fair and equitable
            treatment to the Claimants pursuant to Article 10(1) of the ECT.

                  (a) Did Spain provide a suitable and predictable regime?

            The next question that arises is whether Spain provided a stable and predictable
            regulatory regime. The first sentence of Article 10(1) of the ECT reads as follows:

                  Each Contracting Party shall, in accordance with the provisions of this
                  Treaty, encourage and create stable, equitable, favourable and transparent
                  conditions for Investors of other Contracting Parties to make Investments
                  in its Area. (emphasis added)

            The 1991 Charter which forms part of the ECT states that one of its fundamental
            objectives is the establishment of a “stable, transparent legal framework for foreign




617
  Ioan Micula, Viorel Micula and others v The Republic of Romania, ICSID Case No. ARB/05/20, Award, 11 December 2013, ¶
687, Exhibit CL-88.


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                investment” 618 and this is narrated in the provisions of the ECT. Spain was therefore
                under an obligation to provide long term stability.


                Article 10(1) of the ECT obligates Spain “to encourage and create stable, equitable,
                favourable and transparent conditions” for investors. This is important in the RE
                electricity sector as the Claimants have committed a substantial amount of capital when
                investing in Wind Farms so that a long-term return is generated and realised. The ECT
                is distinct from BITs because the ECT is specific to the energy sector and also because
                the BITs do not contain the express obligations that are enshrined in Article 10(1).


                Spain contends that the ECT is primarily concerned with non-discrimination and
                national treatment and the ECT’s objective was not to guarantee “petrification” 619 of
                the regulatory regime and hence, there can be no breach of the ECT if Spain adopts
                “macroeconomic control measures on the grounds of general interest.” 620 Spain also
                contends, relying on the decision in Isolux and Plama, that Article 10(1) of the ECT
                does not contain an autonomous standard to create stable conditions for investment.621
                The Tribunal is of the view that that cannot be a basis for the enactment of the Disputed
                Measures.


                The Tribunal recognises that the obligation to accord “stable” and “transparent”
                conditions does not mean that Spain must freeze or alternatively not amend its electricity
                laws. The Tribunal is of the view that Spain having entered voluntarily into the ECT,
                must accept that there are limitations with regard to the amendment of its regulatory
                regime. The Tribunal is of the view that Spain should not substantially alter the
                regulatory framework that was applicable to the Claimants’ investment or alternatively,
                subject it to periods of legal uncertainty, thereby violating the stability provision.



618   Claimants’ Memorial, ¶ 334.
619   Respondent’s Counter-Memorial, ¶ 591.
620   Respondent’s Counter-Memorial, ¶ 879.
621
  Isolux Infrastructure Netherlands, BV v. Kingdom of Spain, SCC Case No. V2013/153, Award, 12 July 2016, ¶¶ 764-766,
Exhibit RL-0072.


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            Spain relies on the decision in Charanne 622 to contend that an investor like the
            Claimants, cannot have an expectation that the regulatory framework will not be
            modified and also for the proposition that an investor like the Claimants, should
            investigate the regulatory framework and how it is applied and in what manner it would
            affect its investment. The Tribunal is of the view that this decision is distinguishable
            for a number of reasons:


                  (a)      the disputed measures in Charanne are different from the disputed measures
                           in the present dispute; and

                  (b)      the evidence that was led in the present dispute is different from the
                           evidence in Charanne.

            The Tribunal notes that the claim in Charanne dealt with PV installations and was only
            concerned with RDL 14/2010 caps on a number of hours to which the PV installations
            were entitled to under RD 661/2007 and RD 1578/2008 and these changes were
            implemented in December 2010 and did not affect wind farms. Spain by implementing
            RD 1614/2010 in December, reconfirmed the guarantee that RD 661/2007 tariff on wind
            farms would not be modified. The tribunal in Charanne also did not consider the
            disputed measures which are the subject matter of the present dispute. RDL 14/2010
            imposed an hour’s cap for PV installation, which did not alter the tariff.


            The majority award in Charanne expressly limited its decision to the 2010 changes to
            the PV sector as evidenced by the following passage from the award:

                  In this context, limited to the 2010 rules only, the Arbitr[al] Tribunal cannot
                  draw the conclusion that Spain has violated its obligation to [provide]
                  regulatory stability. 623




622 Charanne B.V. and Construction Investments S.A.R.L. v The Kingdom of Spain, SCC Case No. 062/2012, Award, 21 January

2016, ¶¶ 493, 510, Exhibit CL-151.
623
  Charanne B.V. and Construction Investments S.A.R.L. v The Kingdom of Spain, SCC Case No. 062/2012, Award, 21 January
2016, ¶ 484, Exhibit CL-151.


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                The majority took care to note that it did not “intend to prejudge in any way the
                conclusions that could be reached by another arbitr[al] tribunal could reach based on
                the analysis of all the regulations adopted to date, including the 2013 regulations…”624


                The Charanne award indicates that it addressed two documents 625 and hence the key
                contemporaneous documents which have been considered in this present dispute, were
                not considered. There were also no fact witnesses in Charanne. The Tribunal, for the
                reasons set out above, would decline to follow the majority award in Charanne.


                The Tribunal has to consider what were the stable conditions for investors prior to the
                Claimants’ investment because stability is an important consideration. This was
                recognised in RD 661/2007 whereby investors were offered certainty with regard to:


                     (a)       the exact cents per kWh that RE installations would receive per unit of
                               production; 626
                     (b)       the sale of RE installations’ entire production; 627 and
                     (c)       the stability of FIT and its protection against its revision for existing
                               installations. 628


                Article 44(3) is important as it protects existing installations against changes in the FIT,
                which change is otherwise permissible under Spanish law. Article 44(3) reads as
                follows:

                     In 2010, in view of the results of the follow-up reports on the extent to which
                     the Renewable Energy Plan for 2005-2010 and the Energy Savings and
                     Efficiency Plan for Spain (E4) have been achieved, as well as the new
                     objectives included in the next Renewable Energy Plan for 2011-2020,

624
  Charanne B.V. and Construction Investments S.A.R.L. v The Kingdom of Spain, SCC Case No. 062/2012, Award, 21 January
2016, ¶ 542, Exhibit CL-151.
625
  Charanne B.V. and Construction Investments S.A.R.L. v The Kingdom of Spain, SCC Case No. 062/2012, Award, 21 January
2016, ¶¶ 95, 102, 299, Exhibit CL-151.
626   RD 661/2007 of 25 May 2007, Article 36, Exhibit C-44.
627   RD 661/2007 of 25 May 2007, Article 17, Exhibit C-44.
628   RD 661/2007 of 25 May 2007, Article 44(3), Exhibit C-44.


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                     tariffs, premiums, additional payments, and lower and upper thresholds set
                     out in this royal decree will be reviewed, taking into account the costs
                     associated with each of these technologies, the degree of participation of the
                     special regime in meeting demand and its impact on the technical and
                     economic management of the system, guaranteeing reasonable returns with
                     reference to the cost of money on capital markets. Every four years
                     thereafter a new adjustment will be carried out using the above criteria.

                     The adjustment to the regulated tariff and the lower and upper threshold
                     referred to in this section will not affect the facilities for which the start-up
                     document was issued before January 1 of the second year in which the
                     adjustment was implemented. 629


                The Tribunal will now consider the conduct of Spain to determine whether it provided
                a stable regime.


                     (a)       The CNE, in February 2007, stated as follows:

                     The CNE understands that transparency and predictability in the future of
                     economic incentives reduces regulatory uncertainty, which incentivises
                     investments in new capacity and minimises the cost of financing projects,
                     thus reducing the final cost to the consumer. The regulation must offer
                     sufficient guarantees to ensure that the economic incentives are stable and
                     predictable throughout the service life of the facility. 630
                     […]
                     Ultimately, what the CNE proposes is regulatory stability to recover
                     investments, maintaining regulated tariffs during the service life of existing
                     facilities (with a transparent annual adjustment mechanism). 631

            The CNE also confirmed that Article 44(3) was an important provision which provided
            stability and legal certainty. 632


                     (b)       Spain issued a press release which accompanied the issuance of RD
                     661/2007 in the following terms:


629   RD 661/2007 of 25 May 2007, Article 44(3), Exhibit C-44, pp. 117-118.
630   CNE Report 3/2007, p. 16, Exhibit C-85.
631   CNE Report 3/2007, p. 25, Exhibit C-85.
632   CNE Report 83/2010, p. 24, Exhibit C-162.


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                   [f]uture adjustments to said tariffs will not affect installations which are
                   already in operation. This guarantees legal certainty for the electricity
                   producer and stability for the sector. 633

                   (c)       InvestInSpain and the relevant Ministry reiterated that under RD 661/2007
                   FIT regime “[t]he subsequent revisions of the tariffs will not affect the installations
                   which have already been commissioned. This guaranty provides legal certainty to
                   the producer, ensuring the stability and development of the sector.” 634


                   (d)       In a CNE presentation dated 29 October 2008, RD 661/2007 was referred
                   in the following terms:

                   Regulatory stability: Predictability and certainty of economic incentives
                   for the duration of the facility’s life span (encourages investors and lower
                   financial costs): no retroactive effect. 635

             The CNE in 3 separate documents in 2009 and 2010, 636 reiterated its position. A joint
             Ministry and InvestInSpain publication from November 2009 637 reiterated the stability
             provisions and this was confirmed by ECOFYS. 638


             The Tribunal is of the view that this conduct on the part of Spain and the documentary
             evidence referred to above, demonstrate that Spain had created stable conditions for



633Government of Spain, Ministry of Industry, Energy and Tourism, announcement of RD 661/2007, “The Government prioritises
profitability and stability in the new Royal Decree on renewable energy and combined heat and power”, 25 May 2007, p. 1, Exhibit
C-93.
634Government of Spain, Ministry of Industry, Energy and Tourism, Presentation, “Legal Framework for Renewable Energies in
Spain”, undated, p. 4, Exhibit C-163. See also InvestInSpain Presentation, “Opportunities in Renewable Energy in Spain” (Graz),
15 November 2007, p. 32, Exhibit C-164; InvestInSpain Presentation, “Opportunities in Renewable Energy in Spain” (Vienna),
16 November 2007, p. 32, Exhibit C-165.
635 CNE Presentation, “Legal and Regulatory Framework for the Renewable Energy Sector”, 29 October 2008, p. 25, Exhibit C-

95.
636CNE Presentation, “Las Energias Removables: El Caso Español” (Cartagena de Indias), 9-13 February 2009, p. 67, Exhibit C-
97, CNE Presentation, “Las Energias Renovables: El Caso Español” (Barcelona), February 2009, p. 25, Exhibit C-98; CNE
Presentation, “Renewable Energy Regulation in Spain”, February 2010, p. 29, Exhibit C-96.
637 Government of Spain, Ministry of Industry, Energy, Tourism and Commerce, Presentation. “Legal Framework for Renewable

Energies in Spain”, undated, p. 4, Exhibit C-163.
638
  Ecofys, Task 2 Report, “Design Features of Support Schemes for Renewable Electricity”, 27 January 2014, p. 24, Exhibit C-
152.


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                Project Companies prior to the Claimants’ investment and the intention of Spain was
                designed to provide long term stability to investors.


                Spain by enacting RD 1614/2010 639 which provided that any future changes to RD
                661/2007 would not apply to duly registered existing installations, further confirmed to
                provide investors, such as the Claimants, stability.


                Spain, between 2012 and 2013, enacted a number of legislative measures which, in the
                Tribunal’s view, took away the stability provisions that it had undertaken to provide
                under RD 661/2007 and RD 1614/2010.


                     Disputed Measures

                The Tribunal will now address whether Spain reneged on its investment and adopted
                measures, which curtailed and repealed the legal and economic regime under which the
                Claimants had made their investment and also, if the measures were retroactive.
                Spain enacted the following measures:


                     (i)      in December 2012, Spain enacted Law 15/2012 which imposed a 7% levy
                              on electricity produced and fed into the National Grid during the calendar
                              year which included all generators;
                     (ii)     in February 2013, Spain enacted RDL 2/2013 which took away the
                              Claimants’ premium option.             This legislation also replaced the annual
                              adjustment index based on the Spanish CPI for updating the FIT capital to
                              account for inflation;
                     (iii)    on 12 July 2013, Spain, pursuant to RDL 9/2013, amended the 1997
                              Electricity Law and repealed RD 661/2007 and established a new regime
                              for RE power generations which was radically different from the framework
                              established by RD 661/2007. This new regime was not fully implemented
                              until June 2014 and hence there was an 11-month period of uncertainty;


639   RD 1614/2010 of 7 December 2010, Articles 4-5, Exhibit C-46.


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                  (iv)      in December 2013, Law 24/2013 was introduced whereby the distinction
                            between the ordinary regime and the special regime announced by RDL
                            9/2013 disappeared. Conventional and RE generators were put on an equal
                            footing thereby depriving RE installations of the unconditional right of
                            priority of grid access and priority of despatch that have existed under the
                            previous regime. The Law of 24/2013 also established the concept of
                            “reasonable return” over the entire useful life of the plant;
                  (v)       in June 2014, Spain enacted RD 413/2014 which would apply to RE
                            installations; and
                  (vi)      on 16 June 2014, the Ministerial Order was approved and it was published
                            on 20 June 2014.


             The Tribunal has to consider whether Spain in the exercise of its sovereign rights, can
             enact the Disputed Measures.


             The Tribunal refers to the Eiser decision as it is relevant and especially as it concerns
             an investment into Spain’s CSP sector pursuant to the specific commitments offered by
             RD 661/2007 and confirmed by RD 1614/2010. The Tribunal in Eiser recognised the
             sector specific nature of the ECT, which was designed to address specific characteristics
             of investment in the energy sector especially the long term and capital intensive nature.
             The Eiser decision recognised that the ECT obligates Spain to provide investors with a
             stable framework in the following manner:


                  [I]n interpreting ECT’s obligation to accord fair and equitable treatment,
                  interpreters must be mindful of the agreed objectives of legal stability and
                  transparency. 640

             The Eiser tribunal also recognised that the ECT’s obligation to provide stability does
             not prevent the State from exercising its sovereign rights to regulate, but, if the State
             regulates in a manner that there is a breach of Article 10(1) of the ECT, then there is a


640Eiser Infrastructure Limited and Energia Solar Luxembourg S.a.R.L. v Kingdom of Spain, ICSID Case No. ARB/13/36, Award,
4 May 2017, ¶ 379, Exhibit CL-154.


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               frustration of the legitimate expectations. By undermining the legal framework, Spain
               has to pay compensation.


               The Tribunal also relies on the decision in Eiser where the tribunal held that the purpose
               of the ECT is to ensure that legal frameworks are “stable, transparent and compliant
               with international standards.” 641


               The Tribunal adopts the following passage from the Eiser decision:

                     Article 10(1)’s obligation to accord fair and equitable treatment necessarily
                     embraces an obligation to provide fundamental stability in the essential
                     characteristics of the legal regime relied upon by investors in making long-
                     term investments. This does not mean that regulatory regimes cannot
                     evolve. Surely they can. … However, the Article 10(1)’s obligation to
                     accord fair and equitable treatment means that regulatory regimes cannot be
                     radically altered as applied to existing investments in ways that deprive
                     investors who invested in reliance to those regimes of their investment’s
                     value. 642

               The Eiser decision confirms that the Claimants were entitled to an expectation that the
               Spanish regime in which they invested, would not be radically altered in respect of
               existing investments. The Tribunal adopts the persuasive reasons of the Eiser Tribunal.


                     Retroactivity

               Spain claims that the Disputed Measures are not “retroactive” under domestic or
               international law 643 and it relies on the decisions in Nations Energy v. Panama 644 and
               Charanne 645 to support its view on the non-retroactivity of the measures. These


641Eiser Infrastructure Limited and Energia Solar Luxembourg S.a.R.L. v Kingdom of Spain, ICSID Case No. ARB/13/36, Award,
4 May 2017, ¶ 379, Exhibit CL-154.
642Eiser Infrastructure Limited and Energia Solar Luxembourg S.a.R.L. v Kingdom of Spain, ICSID Case No. ARB/13/36, Award,
4 May 2017, ¶ 382, Exhibit CL-154.
643   Respondent’s Counter-Memorial, ¶¶ 939-954.
644 Respondent’s Counter-Memorial, ¶¶ 944-945, citing Nations Energy Inc. v. Republic of Panama, ICSID Case No. ARB/06/19,

Award, 24 November 2010, ¶¶ 642, 644, Exhibit RL-0040.
645
  Respondent’s Counter-Memorial, ¶¶ 948-949 citing Charanne B.V. and Construction Investments S.A.R.L v. the Kingdom of
Spain, SCC Arbitration No. 062/2012, Award of 21st January 2006, ¶¶ 546, 548, Exhibit RL-0049.


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                decisions do not assist Spain’s case. 646 The Nations Energy decision is irrelevant in the
                Tribunal’s view, as the issue of retroactivity was considered under Panamanian law and
                not in circumstances which are relevant to the facts in the present dispute.


                In Charanne, the claimants had argued that there is a principle of international law
                prohibiting a State from taking regulatory measures with immediate effect per se.647
                The Claimants’ position in the present case is different. The Claimants’ case is that
                Spain implemented the Disputed Measures in circumstances where it promised investors
                in return for their investment, that it would not do so. The Claimants contend that this
                constitutes a breach by Spain of its international obligations. 648


                The Eiser tribunal also held that the Disputed Measures were retroactive in the following
                terms:
                     Respondent then retroactively applied these ‘one size fits all’ standards to
                     existing facilities, like Claimants’, that were previously designed, financed
                     and constructed based on the very different regulatory regime of RD
                     661/2007. No account was taken of existing plants’ specific financial and
                     operating characteristics in establishing their remuneration. 649

                The RREEF Decision recognised the retroactive nature of the New Regime in that it
                “subtracts past remuneration (remuneration that was due under the previous regime)
                from the future remunerations.” 650 This finding of the RREEF Decision is not supported




646In Nations Energy v Panama, the tribunal was comprised of Alexis Mourre (President), Claus von Wobeser (Respondent
appointed) and Jose Maria Chillon Medina (Claimant appointed). The majority decision was reached by Alexis Mourre and Clause
von Wobeser, with Jose Maria Chillon Medina dissenting. In Charanne, the tribunal was comprised of Alexis Mourre (President),
Clause von Wobeser (Respondent appointed) and Guido Santiago Tawil (Claimant appointed). The majority decision was reached
by Alexis Mourre and Claus von Wobeser, with Guido Santiago Tawil dissenting. Both dissenting opinions differed with the
majority on the retroactivity analysis.
647
  Charanne B.V. and Construction Investments S.A.R.L. v The Kingdom of Spain, SCC Case No. 062/2012, Award, 21 January
2016, ¶ 548, Exhibit CL-151.
648   Claimants’ Memorial, ¶¶ 408-423.
649Eiser Infrastructure Limited and Energia Solar Luxembourg S.a.R.L. v Kingdom of Spain, ICSID Case No. ARB/13/36, Award,
4 May 2017, ¶ 400, Exhibit CL-154.
650
  RREEF Infrastructure (G.P.) Limited and RREEF Pan- European Infrastructure Two Lux S.á r.l. v. Kingdom of Spain, ICSID
Case No. ARB/13/30, Decision on Responsibility and on the Principles of Quantum, 30 November 2018, ¶ 328, Exhibit CL-152.


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             by a number of awards which have found that Spain did promise investors that it would
             not alter retroactively the specific tariffs of RD 661/2007 and RD 1614/2010. 651


             The Tribunal has to consider the effect of these regulations which Spain has enacted to
             the regulatory framework which existed prior to the Claimants’ investment.


             The Tribunal is of the view that stability cannot exist when Spain continuously changes
             its legislation and that Spain’s conduct from December 2012 breaches the concept of a
             stable and predictable environment for the Claimants’ investment. The Tribunal is
             therefore of the view that Spain’s conduct demonstrates quite categorically that it failed
             to provide a stable and predictable regulatory regime. The Tribunal is of the view that
             Spain is entitled to enact legislation which would breach its stability commitment.
             However, Spain, in the Tribunal’s view, is not entitled to enact Disputed Measures
             which would result in Spain breaching its international obligations under the ECT and
             thereby whittling away measures which the Claimants relied upon to make their
             investment. The Disputed Measures are, in the Tribunal’s view, a retroactive overhaul
             of the RD 661/2007 economic regime.


             The Tribunal is of the view that the Respondent’s course of conduct in enacting the
             Disputed Measures in particular RDL 9/2013, Law 24/2013, RD 413/2014, Ministerial
             Order 1045/2014, taken as a whole, violated FET standard as set out in Article 10(1) of
             the ECT and this breach crystallised on 20 June 2014, which is relevant to determine
             what would be an appropriate valuation date in so far as damages is concerned.




651See e.g. Eiser Infrastructure Limited and Energia Solar Luxembourg S.a.R.L. v Kingdom of Spain, ICSID Case No. ARB/13/36,
Award, 4 May 2017, Exhibit CL-154; Novenergia II - Energy & Environment (SCA) (Grand Duchy of Luxembourg), SICAR v.
The Kingdom of Spain, SCC Case No. 2015/063, Award, 15 February 2018, Exhibit CL-160; Masdar Solar & Wind Cooperatief
U.A. v. Kingdom of Spain, ICSID Case No. ARB/14/1, Award, 16 May 2018, Exhibit CL-175; and Antin Energia Termosolar B.V.
v. Kingdom of Spain, ICSID Case No. ARB/13/31, Award, 15 June 2018, Exhibit CL-176.



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                      Due Diligence

                The Tribunal will now consider whether the Claimants, prior to investing in the RE
                sector, had conducted their due diligence.
                The argument of Spain is that the due diligence conducted by the Claimants was flawed,
                as a consequence, they misunderstood the regulatory framework. Spain also contends
                that all the due diligence reports were obtained prior to the Claimants making the
                investment, thereby the Claimants ought to have known that there would be no
                guarantee or commitment, that the RE remuneration regime would not change. 652


                The Claimants took legal advice from Allen & Overy and a Memorandum was produced
                so that they could ascertain the understanding of RD 661/2007 in respect of their
                potential investment in T-Solar. The witness statement of Mr. Moreno 653 is relevant
                and the relevant paragraph of Mr. Moreno’s First Witness Statement reads as follows:


                      This advice gave us comfort that tariff reviews could not affect the revenues
                      of existing installations. Allen & Overy advised that if the Fixed Tariff was
                      reduced, then investors would be entitled to adequate compensation. 654

                Spain further contends that the A&O Memorandum of February could not have
                informed the Claimants of the applicable regulatory framework since the retroactive
                changes were only approved at the end of 2010. 655


                The Claimants disagree with this on the grounds that the measures RD 1565/2010 and
                RDL 14/2010 concerned the PV sector and did not affect the remuneration regime of
                wind installations. The Claimants also contend that these measures were highlighted in
                the A&O Memorandum in the following terms:




652   Respondent’s Counter-Memorial, ¶¶ 591-592; see also Respondent’s Rejoinder, ¶ 964.
653   First Moreno Witness Statement ¶¶ 32-34, see also Second Moreno Witness Statement ¶ 22.
654   First Moreno Witness Statement, ¶ 34.
655   Respondent’s Counter-Memorial, ¶ 591.


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                     the Government has the right to legislate and implement regulations. In use
                     of such right, in theory, the Government may pass a new regulation, which
                     amends the 661/2007 Tariff in which case the Government would have to
                     adequately compensate the producers, according to the applicable
                     regulations on expropriation 656

                The Tribunal also notes that the only measure which affected the wind sector, namely
                RD 1614/2010, was not only previously agreed with the sector but reassured the
                Claimants that the RD 661/2007 regime would remain stable with regard to the wind
                farms. RD 1614/2010 confirmed that RD 661/2007 FIT would not be modified for
                existing plants and confirmed that such protection included the premium.                             The
                Claimants contend that this was their understanding and they relied on the investment
                advisory paper dated 20 June 2011 which reads as follows:

                     The newly agreed tariff won’t be [s]ubject to additional changes and will
                     remain in place for the rest of the life of the operating plants. In 2010, the
                     Spanish government undertook a review of the remuneration scheme
                     applicable to renewable energies. This wind remuneration scheme review
                     had a meaningless impact and its scope was agreed with industry players
                     given the role to be played by the energy source going forward. 657

                Spain also argues that the opinion expressed in the A&O Memorandum was “not even
                shared by the recipient of the said memorandum T-Solar.” 658


                The Tribunal having considered the arguments of the Claimants and the Respondent in
                this issue, finds that the A&O Memorandum that was commissioned by Bridgepoint
                together with other documents, was relied upon in the Claimants’ legitimate
                expectations that the economic regime would not be altered by retroactive measures.


                Spain also argues that the information memorandum 659 in May 2011, makes reference
                to the retroactive regulatory changes in the renewable energies sector that had already


656 Allen & Overy Memorandum on RD 661/2007 tariff risk with regards to retroactive effect of future regulations dated 24

February 2010, p. 2, Exhibit C-102.
657   Investment Advisory Committee Paper on T-Solar dated 20 June 2011, slide 14 (PDF 11), Exhibit C-113.
658   Respondent’s Counter Memorial, ¶ 591.
659   Société Générale and Mediobanca “Information Memorandum: Wind assets” on Project Greco, Lot L Boga, Exhibit C-103.


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               occurred at the end of 2010, thereby implying that the Claimants should have been put
               on notice that RD 661/2007 could be changed retroactively. 660


               The Claimants, on the other hand, contend that the information memorandum is to the
               contrary and that the regulatory regime governing wind farms’ remuneration, would
               remain stable.


               The information memorandum in the Claimants’ view, also provides that the RD
               661/2007 economic regime would provide secure cash flows for the entire useful life of
               the wind farms and that RD 1614/2010 would provide reassurance with regard to the
               long-term stability of the RD 661/2007 regime for wind farms and the Spanish RE
               framework was designed to induce investment in RE. 661


               The Tribunal is of the view that the Claimants are entitled to rely on the information
               memorandum, namely, that the 2010 measures would have no impact on the guaranteed
               remuneration schemes for wind installations.


               Spain also contends that the BCG Report dated 6 July 2011 is not a due diligence report
               for the following reasons:


                     (a)      is not a legal due diligence report;
                     (b)      recognises that future retroactive measures were possible;
                     (c)      refers to retroactive measures that were implemented in the RE sector in
                              2010;
                     (d)      warns of the effect of the tariff deficit on RE producers; and
                     (e)      acknowledges that both the RD 661/2007 regime and the New Regime aim
                              to grant the same return.




660   Respondent’s Counter Memorial, ¶ 595.
661
  Société Générale and Mediobanca “Information Memorandum: Wind assets” on Project Greco, Lot L Boga, pp. 5, 8, Exhibit
C-103.


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                The Claimants contend that they did not rely on the BCG Report as a legal due diligence.
                BCG being experts on RE, have advised Spain on certain aspects of its RE policies and
                regulations. 662


                Spain contends that the BCG Report characterisation of changes to the RD 661/2007
                remuneration, is unlikely. The Claimants disagree and argue that the BCG Report did
                state numerous times that RD 661/2007 FIT was guaranteed by the State and displayed
                no regulatory risks. Furthermore, Spain also argues that the retroactive measures taken
                at the end of 2010 and mentioned in the BCG Report, should have put investors on
                notice that RD 661/2007 economic regime could be changed retroactively.                                 The
                Claimants however argue there are several references in the Report to the 2010 measures
                but there is no indication that it would be subject to retroactive changes.


                Spain also claims that the BCG Report warned of several challenges to the RE sector in
                Spain such as tariff deficit and risks of future regulatory measures. The Claimants
                however, contend that the Report merely emphasised that the outlook of challenges on
                renewable changes have improved since 2010 and that wind contribution to system costs
                would be the lowest among renewables and that the Spanish Government has accepted
                a deficit in the system to maintain lower end electrical prices. 663


                Spain also suggests that the BGC Report confirms that the RD 661/2007 regime and the
                New Regime, would have the same target return. The Claimants contend that the report
                merely asserts that the target return used in RD 661/2007 is the same as that of a Royal
                Decree expected to be passed in 2011 to govern remuneration of new RE installations.




662 BCG, “Technological and prospective evolution of costs of RE. Technical Study PER 2011-2020” (year 2011) (own translation

of title), Exhibit W-01026_SP; BCG, Study of the evolution of technology and of the prospective costs of RE technologies from
2020-2030. Wind generation (May 2011) (own translation of title), Exhibit W-01027_SP. See also Investment Advisory
Committee Paper on Project Greco dated 11 July 2011, p. 2, Exhibit C-120 (“Sustainability of the Spanish regulatory framework:
We have conducted a full analysis of this together with BCG, who are the retained advisers to IDEA, the government energy
institute with responsibility for achieving the national renewable energy plan. BCG view the existing regulatory framework as
being stable and sustainable with regard to wind energy”).
663   BCG Report on Project Greco dated 6 July 2011, pp. 33, 34 and 38, Exhibit C-115.


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             The Tribunal having considered the due diligence conducted by the Claimants in respect
             of (a) the A&O Memorandum, (b) the information memorandum, and (c) the BCG
             Report, is of the view that the due diligence exercised by the Claimants, is on the basis
             that the Claimants believed they had a legitimate expectation that the laws would not be
             modified especially as the above documents included a stabilisation clause.
             Furthermore, the Tribunal is of the view that the Claimants did undertake an appropriate
             fact-finding mission in Spain with a view to their investments in RE.


             The Tribunal believes that there is no basis for Spain to contend that the Claimants have
             not exercised proper due diligence with regards to their proposed investment in the RE
             sector in Spain.


                   Transparency

             The next issue that the Tribunal has to address is whether Spain’s conduct was
             transparent. The FET standard requires that Spain’s conduct towards the Claimants and
             the legal environment must be transparent.


             The Tribunal refers to the ECT decision in Electrabel v. Hungary where the tribunal
             held as follows:

                   Article 10(1) ECT not only speaks of fair and equitable treatment and
                   equitable and stable conditions, it also refers to ‘favourable and transparent
                   conditions.’ The reference to transparency can be read to indicate an
                   obligation to be forthcoming with information about intended changes in
                   policy and regulations that may significantly affect investments, so that the
                   investor can adequately plan its investment and, if needed, engage the host
                   State in dialogue about protecting its legitimate expectations. Finally, the
                   term “favourable” suggests the creation of an investor-friendly
                   environment. 664

             The Tribunal also refers to the decision in Plama v. Bulgaria where the tribunal held as
             follows:

664Electrabel S.A. v The Republic of Hungary, ICSID Case No. ARB/07/19, Decision on Jurisdiction, Applicable Law and Liability,
30 November 2012, ¶ 7.79, Exhibit CL-86.


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                      [T]he condition of transparency, stated in the first sentence of Article 10(1)
                      of the ECT, can be related to the standard of fair and equitable treatment.
                      Transparency appears to be a significant element for the protection of both
                      the legitimate expectations of the Investor and the stability of the legal
                      framework. 665

                The Tribunal having considered the conduct of Spain, holds that Spain did dismantle
                the RD 661/2007 economic regime which was not transparent for the following reasons:


                      (i)       There was in the Tribunal’s view, no urgent need for RD 661/2007 to be
                                modified. Royal Decree Laws are issued by Spain to implement a new
                                regime and they are only issued in cases of extraordinary and urgent
                                need; 666


                      (ii)      RDL 9/2013 was responsible for the Claimants’ investment being
                                destroyed. There was then an 11-month period during which Spain did not
                                give any indication with regard to the remuneration that the qualifying
                                plants would be entitled to;


                      (iii)     RD 413/2014 and the June 2014 Order did not provide any analysis
                                explaining the underlying reasons behind the Special Payment or in what
                                manner the future updates of the economic regime would be
                                underpinned; 667


                      (iv)      There was also a lack of visibility and predictability under the new regime,
                                especially as Spain retained the right to review the Special Payment in order

665 Plama Consortium Limited v The Republic of Bulgaria, ICSID Case No. ARB/03/24, Award, 27 August 2008, ¶ 178, Exhibit

CL-63. See also LG&E Energy Corp., LG&E Capital Corp. and LG&E International Inc. v The Argentine Republic, ICSID Case
No. ARB/02/1, Decision on Liability, 3 October 2006, ¶ 128, Exhibit CL-46 (“violations of the fair and equitable treatment
standard may arise from a State’s failure to act with transparency – that is, all relevant legal requirements for the purpose of
initiating, completing and successfully operating investments made, or intended to be made under an investment treaty should be
capable of being readily known to all affected investors”) and Joseph Charles Lemire v Ukraine, ICSID Case No. ARB/06/18,
Decision on Jurisdiction and Liability, 21 January 2010, ¶ 284, Exhibit CL-72 noting that a breach of the FET standard can be
evaluated against a number of factors, including “whether there is an absence of transparency in the legal procedure or in the
actions of the State”.
666   Constitution of Spain of 27 December 1978, Article 86(1), Exhibit C-50.
667   Claimants’ Memorial, ¶ 437(c), see also First Brattle Regulatory Report, ¶ 226.


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                                to ensure that the prevailing yield on the 10-year Spanish bonds will be
                                considered to be a reasonable return; 668


                      (v)       The Special Payment which consisted of two distinct elements, namely a
                                remuneration per MW of installed capacity and a remuneration per MWh
                                of electricity produced seeking to cover operating costs cannot be met by
                                market prices but Spain did not provide a clear indication with regard to the
                                time frame during which remuneration for the installed capacity would
                                apply; and


                      (vi)      The abolishment of the CNE and the replacement with the CMMC after the
                                CNE criticised the new regime during the drafting process of RD 413/2014.


                The above-mentioned acts on the part of Spain demonstrates that Spain’s conduct was
                not transparent.


                        Were Spain’s measures unreasonable?

                The word “unreasonable” is defined in the Oxford English Dictionary as “beyond the
                limits of acceptability or fairness.” 669 The tribunal in Plama v Bulgaria defined
                “unreasonable” in the following terms “those which are founded in reason or fact but
                on caprice, prejudice or personal preference.” 670 The Tribunal is of the view in order
                to determine whether Spain’s conduct has been reasonable, it requires a demonstration
                that the conduct “bears a reasonable relationship to some rational policy.” 671




668   First Brattle Regulatory Report, ¶¶ 227-232.
669   Oxford Dictionaries, Oxford English Dictionary (6th ed, Oxford University Press, 2007) p. 3455, Exhibit CL-47.
670
  Plama Consortium Limited v The Republic of Bulgaria, ICSID Case No. ARB/03/24, Award, 27 August 2008, ¶ 184, Exhibit
CL-63.
671
  Saluka Investments B.V. v The Czech Republic, UNCITRAL, Partial Award on Jurisdiction and Merits, 17 March 2006, ¶ 460,
Exhibit CL-43.


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               The Tribunal in Micula v. Romania held as follows:

                     … [F]or a state’s conduct to be reasonable it is not sufficient that it be
                     related to a rational policy; it is also necessary that, in the implementation
                     of that policy, the state’s acts have been appropriately tailored to the pursuit
                     of that rational policy with due regard for the consequences imposed on
                     investors. 672

               The Tribunal in order to determine if Spain’s measures are unreasonable, must identify
               a rational policy goal and it must then demonstrate that these measures were reasonable.
               The Tribunal is of the view that Spain cannot satisfy this test because having induced
               the Claimants to invest, there was a sudden and drastic change in Spain’s policy with
               regard to the RE industry and the legal and regulatory framework was amended over a
               period of time.


               The Tribunal refers by way of analogy to the decision in BG v. Argentina where the said
               tribunal stated that “withdrawal of undertakings and assurances given in good faith to
               investors as an inducement to their making an investment is by definition unreasonable
               and a breach of the treaty.” 673


               The wind farms were duly registered with RAIPRE by 9 December 2010 and the
               Claimants were entitled to the RD 661/2007 economic regime. Spain attempts to justify
               its regulatory measures due to a tariff deficit but a tariff deficit is a result of Spain’s own
               regulatory conduct and hence cannot be attributed to the Claimants. This conduct is, in
               the Tribunal’s view, a violation of the Claimants’ reasonable and legitimate
               expectations. The tariff deficit had existed long before the development of wind farms
               in Spain and hence the drastic changes to the regulatory regime for renewables cannot
               be a rational policy goal.




672
  Ioan Micula, Viorel Micula and others v Romania, ICSID Case No. ARB/05/20, Award, 11 December 2013, ¶ 525, Exhibit
CL-88.
673   BG Group Plc. V The Argentine Republic, UNCITRAL, Award, 24 December 2007, ¶ 343, Exhibit CL-58.


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             The Tribunal finds that Spain by dismantling the legal and business framework which
             was applicable to the Claimants’ investment, is in the circumstances, a measure which
             was unreasonable.


                   Are Spain’s measures disproportionate?

             It is a well-established principle in domestic laws as well as the Investment Treaty
             Arbitration that there must be a requirement of proportionality. 674 The Tribunal is of
             the view that the test of proportionality was not satisfied by Spain because Spain’s
             objective as stated, was to address the issue of tariff deficit yet it imposed retroactive
             changes to the FIT, thereby destroying the RD 661/2007 economic regime and that, in
             the Tribunal’s view, is not an appropriate solution to the problem. Furthermore, FIT for
             wind plants only played a rather limited role in the accumulation of tariff deficit. The
             Tribunal finds that the regulatory measures by Spain which curtailed the FIT for wind,
             frustrated the legitimate expectations of the Claimants. These measures cannot in the
             Tribunal’s view be considered as suitable measures.


             The other consideration is whether Spain’s measures were necessary to achieve the
             goals that it wished to pursue especially when there were less intrusive means available
             to achieve Spain’s goal. Spain’s State organs did identify alternative solutions such as
             tax on all CO2 emissions. 675


             The Tribunal is therefore of the view that Spain’s actions were disproportionate.


                   Were the Claimants’ investment impaired as a result of Spain’s measures?

             Article 10(1) of the ECT prohibits Spain by “unreasonable or discriminatory measures”
             from impairing the Claimants’ investment. The Tribunal therefore has to ascertain if


674
   Técnicas Medioambientales Tecmed S.A. v The United Mexican States, ICSID Case No. ARB(AF)/00/2, Award, 29 May 2003,
¶ 122, Exhibit CL-33. See also Occidental Petroleum Corporation and Occidental Exploration and Production Company v The
Republic of Ecuador, ICSID Case No. ARB/06/11, Award, 5 October 2012, ¶ 404, Exhibit CL-84.
675Claimants’ Memorial, ¶ 446. See also First Brattle Regulatory Report, ¶ 140 citing CNE Report on Spanish Electricity Sector,
7 March 2012, pp. 16-64, Exhibit C-166.


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                the measures are either unreasonable or discriminatory. The Tribunal refers to the
                decision in Saluka which states that the standard of reasonableness requires “State’s
                conduct bear a reasonable relationship to some rational policy” 676. The measures that
                Spain took were unreasonable and breached the FET standard because Spain’s primary
                justification was because of the growing tariff deficit and the tariff deficit was the result
                of disparity between the regulated costs and the income of the electricity system which
                is dependent on the regulated price of the electricity. The tariff deficit could have been
                avoided if Spain had set consumer prices as it was required to do under Article 17 of the
                1997 Electricity Law and RDL 6/2009. The Tribunal is of the view that the tariff deficit
                is a result of Spain’s regulatory failures and therefore it is conduct which does not bear
                a reasonable relationship to Spain’s policy. These measures were therefore harmful to
                the Claimants’ plants.


                The Tribunal also notes that the Spanish Supreme Court did issue judgments finding
                that Spain had failed to comply with the requirements of RDL 6/2009 and hence there
                was a violation of Spanish law.


                The Tribunal concludes that Spain is not only in violation of the FET standard under the
                ECT, but that Spain also violated its obligations under Article 10(1).


          H. Umbrella Clause

                     Claimants’ position

                The Claimants argue that the purpose of an umbrella clause (such as Article 10(1) of the
                ECT) is to bring the host State’s compliance with commitments assumed vis-à-vis
                investors under the protective “umbrella” of the ECT. 677




676
  Saluka Investments B.V. v The Czech Republic, UNCITRAL, Partial Award on Jurisdiction and Merits, 17 March 2006, ¶ 460,
Exhibit CL-43.
677   Claimants’ Memorial, ¶ 453.


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                The Claimants explained that as a matter of international law, States may undertake
                binding legal obligations towards investors through the adoption of general legislation.
                The power of States to assume binding legal obligations through their unilateral acts has
                been affirmed by the International Court of Justice on several occasions. The Claimants
                affirm that the umbrella clause is so broad that it could be interpreted to cover all kinds
                of obligations, explicit or implied, contractual or non-contractual, undertaken with
                respect to investment generally. 678 In particular, the expression “[a]ny obligations” in
                this umbrella clause “means not only obligations of a certain type, but 'any' – that is to
                say, all – obligations”679, including obligations that the host State assumed unilaterally
                through legislation or executive acts. 680


                The Claimants sustain that pursuant to RD 661/2007 (and, in particular, Articles 36 and
                44(3)) and RD 1614/2010 (in particular, Article 5(3)), Spain expressly recognised the
                application of the RD 661/2007 regulatory regime to the Project Companies, for the
                entire operational lifetime of the installations. Those commitments are binding
                obligations on Spain towards the Claimants' investment, which Spain must honour.


                As seen above, according to the Claimants, RD 661/2007 contained strong stabilization
                commitments and in RD 1614/2010 Spain reiterated its guarantee that any revisions to
                the FIT pursuant to Article 44(3) of RD 661/2007 would not affect duly registered,
                existing installations.681


                Therefore, in Claimants’ view, it cannot be disputed that under RD 661/2007 and RD
                1614/2010, the Government entered into obligations with the Claimants within the

678Claimants’ Memorial, ¶ 454. See also United Nations Conference on Trade and Development, Bilateral Investment Treaties in
the Mid-1990s (United Nations Publications, 1998), p. 56, Exhibit CL-15.
679The Claimants find support in the following cases: Eureko B. V. v The Republic of Poland, Partial Award on Jurisdiction and
Merits, 19 August 2005, ¶ 246, Exhibit CL-39; Plama Consortium Limited v The Republic of Bulgaria, ICSID Case No.
ARB/03/24, Award, 27 August 2008, ¶ 186, Exhibit CL-63; LG&E Energy Corp., LG&E Capital Corp. and LG&E International
Inc. v The Argentine Republic, ICSID Case No. ARB/02/1, Decision on Liability, 3 October 2006, Exhibit CL-46;, Enron Creditors
Recovery Corporation (formerly Enron Corporation) and Ponderosa Assets, L.P. v The Argentine Republic, ICSID Case No.
ARB/01/3, Award, 22 May 2007, Exhibit CL-53.
680
  R Dolzer & C Schreuer, Principles of International Investment Law (2nd edn, Oxford University Press, 2012), p. 177, Exhibit
CL-85.
681   Claimants’ Memorial, ¶ 463.


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                meaning of Article 10(1) of the ECT. These obligations consisted of the payment of the
                FIT (as amended by RD 1614/2014) for all the electricity produced by the installations
                and for their entire operational lifetime. 682


                The Claimants sustain that the plain language of the Umbrella Clause in Article 10(1)
                of the ECT does not differentiate between contractual obligations and legislative or
                regulatory undertakings. 683 The Claimants affirm that this broad scope can be limited at
                the election of the Contracting Party. For example, Spain could have limited scope of
                the Umbrella Clause and carved it out from investor-State disputes in the same way that
                Australia, Hungary and Norway have done (see Article 26(3)(c) and Annex IA of the
                ECT). Spain chose not to. Consequently, the Umbrella Clause applies to all
                commitments made by Spain, and “even representations made by ministers to investors
                during investment promotion ‘road shows.’” 684


                According to the Claimants, the cases cited by the Respondent to support its position as
                to the extension of the umbrella clause of the ECT do not assist Spain’s position. In the
                Claimants’ view:

                     (a)       SGS v. Philippines recognised that umbrella clauses may cover
                               obligations other than those derived from contractual agreements and thus
                               supports the Claimants' proposition; 685

                     (b)       AES Summit Generation Limit v. Hungary 686 concerned, inter alia, the
                               contractual rights of the investor. The Claimants state that the tribunal
                               held that it could not rule on the scope of the contractual obligations


682   Claimants’ Memorial, ¶ 464.
683   Claimants’ Memorial, ¶ 454.
684
  Claimants’ Reply, ¶471. The Claimants support its position by citing Khan Resources Inc., Khan Resources B.V., and Cauc
Holding Company Ltd. v The Government of Mongolia, UNCITRAL, Decision on Jurisdiction, 25 July 2012, ¶ 438, Exhibit CL-
138.
685 SGS Société Générale de Surveillance S.A. v. The Republic of the Philippines, ICSID Case No. ARB/02/6, Decision on

Jurisdiction, 29 January 2004, ¶ 121, Exhibit CL-112.
686AES Summit Generation Limited and AES-Tisza Erömü Kft v The Republic of Hungary, ICSID Case No. ARB/07/22, Award,
23 September 2010, Exhibit CL-133.


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                               because under Annex IA of the ECT, Hungary had not allowed investors
                               to submit a dispute concerning the Umbrella Clause to an international
                               tribunal;

                      (c)      Plama v. Bulgaria, 687 Eureko v. Poland, 688 Enron v. Argentina 689 and
                               LG&E v. Argentina 690 contain clear findings that the Umbrella Clause is
                               not limited to contracts between the State and the investor but covers
                               “[a]ny obligation”;

                      (d)      El Paso v. Argentina was not concerned with legislative acts falling
                               within the scope of an umbrella clause. Rather, it was focused on the
                               existence of any contracts or licenses that could potentially found a treaty
                               claim. That tribunal made no findings on the issue of whether state
                               promises found in legislation can form the basis of an umbrella-claim.691

                According to the Claimants, starting in December 2012, Spain passed a series of laws
                and regulations, which first modified the RD 661/2007 legal and economic regime
                significantly and to the Claimants' detriment and, ultimately, stripped away that regime
                entirely. In Claimants’ view, that was a clear violation of the Umbrella Clause in Article
                10(1) of the ECT.


                      Respondent’s position

                The Respondent states that the Claimants’ arguments regarding the “umbrella clause”
                cannot be admitted by the Arbitral Tribunal as:




687
  Plama Consortium Limited v The Republic of Bulgaria, ICSID Case No. ARB/03/24, Award, 27 August 2008, ¶ 186, Exhibit
CL-63.
688   Eureko B.V. v The Republic of Poland, Partial Award on Jurisdiction and Merits, 19 August 2005, ¶ 246, Exhibit CL-39.
689
  Enron Creditors Recovery Corporation (formerly Enron Corporation) and Ponderosa Assets, L.P. v The Argentine Republic,
ICSID Case No. ARB/01/3, Award, 22 May 2007, ¶ 274, Exhibit CL-53.
690
  LG&E Energy Corp., LG&E Capital Corp. and LG&E International Inc. v The Argentine Republic, ICSID Case No. ARB/02/1,
Decision on Liability, 3 October 2006, ¶ 175, Exhibit CL-46.
691
  Claimants’ Reply ¶ 478, citing El Paso Energy International Company v The Argentine Republic, ICSID No. ARB/03/15,
Award, 31 October 2011, ¶ 533, Exhibit CL-79.


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                     (a)      The interpretation the Claimants make is contrary to the literal sense of
                              Article 10(1) of the ECT and the interpretation thereof by doctrine and
                              arbitration precedents.

                     (b)      The Kingdom of Spain has not made any direct undertakings in relation to
                              the Claimant or its investment through unilateral acts, as declared by one
                              case of arbitration precedent. 692

               The Respondent notes that the Claimants incorrectly interpret the content and purpose
               of the final subsection of Article 10(1) of the ECT, taking the application of the
               “umbrella clause” beyond a reasonable interpretation. By using the expression “any”,
               due to its broad nature, the Claimants would be aiming to include any type of act under
               the concept of guaranteed obligation. It therefore considers that an applicable erga
               omnes rule, such as RD 661/2007, are specifically agreed commitments with an investor
               or their investment. 693


               According to the Respondent, this approach implies a lack of awareness of the true scope
               of the umbrella clause, as it obviates that the final subsection of Article 10(1) of the
               ECT clearly uses the term “entered into” which implies that the State assumes specific
               obligations with regard to a specific investor or a specific investment. 694


               The Respondent considers that the obligations of the State have to be, therefore, specific,
               and have to have been assumed by the State with respect to a particular investor, in a
               vis-à-vis relationship.


               The Respondent affirms that the “ECT Reader’s Guide” produced by the ECT
               Secretariat, is relevant as an ECT interpretive element. This Reader’s guide defines the
               provision of the final subsection of Article 10(1) of the ECT under the significant label


692   Respondent’s Counter-Memorial, ¶ 1021.
693   Respondent’s Counter-Memorial, ¶ 1022.
694 Respondent’s Counter-Memorial, ¶ 1023, citing Noble Ventures, Inc v Rumania, ICSID Case No. ARB/01/11, Award of 12

October 2005, ¶ 51, Exhibit RL-0026; Société Générale de Surveillance S.A. v. The Philippines, ICSID Case No. ARB/02/6,
Decision on Objections to the Jurisdiction, of 29 January 2004, ¶ 166, Exhibit RL-0024.


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               “Individual investment contracts” and defines its scope by placing emphasis on its
               grounding, which is none other than the international principle of pacta sunt
               servanda. 695


               The Respondent points out that the Claimants have invoked as a sole precedent that
               applies the ECT, the award in the Plama case. However, the Respondent notes that in
               that award the tribunal considers the existing positions in the precedents and given that
               the dispute arising between the parties derived from a contract, it does not consider it
               necessary to decide whether Article 10(1) last subsection covers commitments arising
               from the legal rules. Accordingly, the Respondent concludes that the Claimants have
               not provided a single precedent that applies the ECT and accepts its theory, according
               to which, specific commitments arise from general rules “entered into” with investors.


               In this case, the Respondent stresses that the Spanish regulatory framework, including
               RD 661/2007, is erga omnes by nature and it is not aimed at any group. Tens of
               thousands of Spanish and foreign people were the subjects covered by this regulation.
               The claimed Regulation is not, therefore, the object of this final subsection of Article
               10(1) of the ECT.


               The Respondent alleges that the Eureko v. Poland award does not interpret “any
               obligation” as obligations other than those arising from a contract. Conversely, it rules
               out the interpretation of the SGS v. Pakistan award with the interpretation of the SGS v.
               the Philippines award: the umbrella clause only protects obligations arising from
               specific State-investor bilateral relations. 696


               The Respondent further states that in the cases cited by the Claimants, LG&E v.
               Argentina and Enron v. Argentina, the awards refer to the BIT between the United States
               and Argentina and that the criterion contained in the decisions mentioned by the
               Claimants has been rectified in other subsequent arbitral precedents that apply the same

695   Respondent’s Counter-Memorial, ¶ 1026.
696   Respondent’s Counter-Memorial, ¶ 1036.


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               United States-Argentina BIT, such as the El Paso v. Argentina case and CMS v.
               Argentina case. 697 Furthermore, unlike Argentine laws, RD 661/2007 does not contain
               any specific obligation in relation to the investor or foreign investment. 698


               The Respondent reiterates that RD 661/2007 is a piece of legislation passed by the
               Spanish Government as part of its regulatory powers. This legislation applies to Plant
               owner companies and to any electrical energy producers included in its scope of
               application. Furthermore, the scope of application of this regulation was not limited to
               a few subjects who met subjective requirements, rather it applied to those who met the
               objective requirements established in the legislation. 699


               The specificity requirement of the umbrella clause demands that an obligation “with an
               Investor or an Investment of an Investor” must exist. RD 661/2007 was directed at any
               owner of an electrical plant, regardless of both its nationality and the origin of funds
               with which it is financed. 700


               The Respondent argues that the Agreement of June 2010 between the Ministry and the
               Wind Sector is not a specific compromise with the investor, as the last subsection of
               Article 10(1) ECT requires. 701


               Moreover, the Respondent states that in that Agreement there was no specific
               undertaking to set in stone, neither in favour of the Associations of the renewable energy
               Sector nor in favour of the Claimants nor in favour of its investment, and states that this
               alleged commitment has also already been denied in the Charanne award. 702



697   Respondent’s Counter-Memorial, ¶ 1036.
698   Respondent’s Counter-Memorial, ¶ 1038.
699   Respondent’s Counter-Memorial, ¶ 1039.
700   Respondent’s Counter-Memorial, ¶ 1040.
701   Respondent’s Counter-Memorial, ¶ 1041.
702
  Charanne B.V. and Construction Investments S.A.R.L v. the Kingdom of Spain, Award, 21 January 2006, ¶¶ 510 and 511,
Exhibit RL-0049.


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               The Respondent concludes that RD 661/2007 and 1614/2010 do not contain any of the
               requirements established case law used by the Claimants to allow them to unilaterally
               create obligations or specific commitments covered by the umbrella clause of the final
               subsection of Article 10(1) of the ECT.


                     Tribunal’s analysis

               The Tribunal has determined that Spain has not accorded fair and equitable treatment to
               the Claimants pursuant to Article 10(1) of the ECT. The Tribunal is of the view that in
               the interest of judicial economy, it is not necessary for the Tribunal to address the issue
               of whether Spain violated the Umbrella Clause. The Tribunal relies on the decision in
               Micula v. Romania in taking this approach, where the tribunal held as follows:

                     In light of the Tribunal’s conclusion that, by prematurely revoking the EGO 24
                     incentives in the manner that it did, the Respondent breached its obligations to treat
                     the Claimants’ investments fairly and equitably, the Tribunal does not need to
                     address the Claimants’ remaining claims. Indeed, each of those claims arises from
                     the same facts as the fair and equitable treatment claim, and the Claimants claim
                     the same compensation in each instance […] Thus, even if the Tribunal were to
                     find in favour of the Claimants with respect to these claims, this would not impact
                     the Tribunal’s calculation of damages. As a result, any legal findings on these
                     matters are unnecessary. 703

               The Tribunal will therefore not deal with the issue of the Umbrella Clause.


       VIII. REPARATION

               In light of the Tribunal’s findings in paragraphs 480 to 628 above, the Claimants have
               been successful in their claim for breach of FET. The Tribunal now turns to the issue of
               reparation.




703   Ioan Micula et al. v Republic of Romania, ICSID Case No. ARB/05/20, Award, 11 December 2013, ¶ 874, Exhibit CL-88.


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          A. Claimants’ position

                      Reparation

                The Claimants submit that, pursuant to customary international law, they are entitled to
                full reparation that would wipe out all of the consequences of Spain’s unlawful acts. 704
                Based on customary international law as codified in Articles 1, 28, 34-36 of the ILC
                Articles, Spain is obliged to make restitution to, or alternatively compensate, the
                Claimants for Spain’s wrongful acts. 705


                The Claimants say that, under international law, the primary remedy for a State’s
                wrongful act is restitution. 706 Restitution would be effected by Spain: (i) withdrawing
                all the harmful laws and regulations complained of in Claimants’ Memorial (namely the
                relevant articles of Law 15/2012, RDL 2/2013, RDL 9/2013, Law 24/2013, RD
                413/2014 and the June 2014 Order) and placing the Claimants under the same legal and
                regulatory framework that existed at the time they made the investment; (ii)
                compensating the Claimants for all losses suffered before the reinstatement of the
                original regulatory regime. 707


                Alternatively, if restitution is materially impossible or wholly disproportionate, full
                reparation requires the Claimants be compensated for any financially assessable
                damages, including loss of profits, caused by the Disputed Measures. 708




704Claimants’ Memorial, ¶¶ 469-471 citing inter alia, Chorzów Factory Case (Germany v. Poland), Judgment on the merits, PCIJ
Series A, No. 17, 13 September 1928, p. 47, Exhibit CL-1.
705   Claimants’ Memorial, ¶¶ 472-473 citing ILC Articles, Art. 1, 28, 34, 35 and 36, Exhibit CL-27.
706Claimants’ Memorial, ¶ 474 citing Chorzów Factory Case (Germany v. Poland), Judgment on the merits, PCIJ Series A, No.
17, 13 September 1928, p. 47, Exhibit CL-1.
707   Claimants’ Memorial, ¶ 474; see also Claimants’ Reply, ¶ 612.
708   Claimants’ Memorial, ¶ 475.


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                      Standard of compensation

                The ECT provides no compensation standard for breach of Article 10 of the ECT. 709
                Therefore, the Claimants ask the Tribunal to turn to customary international law for the
                applicable standard of relief. The Claimants claim that the standard of compensation for
                the Respondent’s breach of FET is the difference between the fair market value of their
                investment with and without the Disputed Measures. 710 The Claimants rely on the
                Discounted Cash Flow (“DCF”) method to establish the fair market value in the
                different scenarios (discussed further below).


                      Valuation date

                The Claimants value their investment at 20 June 2014. 711 The Claimants acknowledge
                that, generally, damages flowing from a breach are valued at the date of harm. 712
                However, where a State has implemented multiple measures that cause harm, investor-
                State tribunals have had regard to the valuation date for indirect expropriation i.e. the
                date the investor was irreversibly deprived of the property. 713 Further, this irreversible
                deprivation test is also apposite for cases involving a breach of FET, however the test is
                slightly different, being the date the most serious damage was suffered. 714


                On 20 June 2014 was when Spain published Ministerial Order IET/1045/2014
                (approved on 16 June 2014), which sets out the precise economic parameters for
                calculating the Special Payment under the New Regime i.e. defining the tariffs applying
                to the Claimants’ wind installation. It is the Claimants’ position that 20 June 2014 is the
                most appropriate date to measure harm because it “represents the ultimate act of a two-
                year legislative backlash” which wiped out the value of the Claimants’ investments.715

709   Claimants’ Memorial, ¶ 476.
710   Claimants’ Memorial, ¶¶ 476-481.
711   Claimants’ Memorial, ¶¶ 490-491; see also Claimants’ Reply, ¶ 623(a).
712   Claimants’ Memorial, ¶ 495.
713   Claimants’ Memorial, ¶¶ 496-498.
714   Claimants’ Memorial, ¶¶ 499-503.
715   Claimants’ Memorial, ¶¶ 504-507; see also Claimants’ Reply, ¶ 623(a).


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                This date also allows Brattle to accurately forecast cash flows and the likely financial
                performance of the Claimants’ investments. 716


                      Proof

                The Claimants do not appear to dispute that they bear the burden of proving their loss.
                However, they assert that the standard of proof for the quantification of loss is lower
                than that for the existence of the loss. 717 The Claimants cite Lemire v. Ukraine for the
                proposition that the existence of loss must be “proved with reasonable certainty”
                however for quantification all that is required is that they provide “a basis upon which
                the Tribunal can, with reasonable confidence, estimate the extent of the loss”. 718


                      Valuation method

                The Claimants consider that the DCF method is the most appropriate method to assess
                the fair market value of their investments. 719 This is because it accurately captures the
                lost future cash flows by: projecting the likely revenues and expenses, year by year, and
                then applying a discount rate to the future cash flows to calculate the net present value
                taking into account both market risk and the time value of money. 720 The DCF method
                is particularly appropriate because: (i) it is pliable and can account for regulatory risk in
                different scenarios; (ii) it is the most prevalent method of valuing power stations; and
                (iii) wind farms have very simple business models. 721 The Claimants further say that the
                Respondent’s criticisms of the DCF method are misplaced because: (i) investment-
                treaty jurisprudence favours the application of the DCF method; 722 and (ii) the future




716   First Brattle Quantum Report, ¶ 13.
717   Claimants’ Reply, ¶ 653.
718
  Claimants’ Reply, ¶ 656 citing Joseph Charles Lemire v The Republic of Ukraine, ICSID Case No. ARB/06/18, Award, 28
March 2011, ¶¶ 246-249, Exhibit CL-77.
719   Claimants’ Memorial ¶ 487.
720   Claimants’ Memorial, ¶ 491.
721   Claimants’ Memorial, ¶¶ 492-493.
722   Claimants’ Reply, ¶¶ 636-647.


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                cash flows of their investment are sufficiently certain because it is mostly based on
                objective data. 723


                The Claimants reject the Respondent’s preferred valuation method, asset-based
                valuation (“ABV”) primarily because the ABV analysis fails to assume the
                Respondent’s liability for a breach of the ECT by implementing the new regime. 724
                Further, the Claimants say that the fact they made a profit on the sale of their investments
                does not suggest that there was no value deterioration as a result of the Disputed
                Measures, rather the question is whether they could have obtained more without the
                Disputed Measures. 725


                     DCF analysis

                The Claimants’ expert put forward a DCF valuation for a primary claim and an
                alternative claim: (i) the primary claim flows from a finding on the merits that the
                Claimants had a legitimate expectation to obtain the tariffs under RD 661/2007; and (ii)
                the alternative claim flows from a finding that the only legitimate expectation the
                Claimants had was to receive the return that was implicit in those tariffs. 726 Given the
                Tribunal’s findings at paragraph 527 above that the Claimants had a reasonable and
                legitimate expectation to tariffs under RD 661/2007, only the primary claim DCF
                valuation is summarised.


                Brattle conducts a three-step damage valuation.

                      a.       First, Brattle measures the lost historical cash flows of the Claimants’
                               investments resulting from the Disputed Measures by comparing the cash
                               flows from 27 December 2012 (the commencement of the Disputed
                               Measures) to June 2014 (the Valuation Date) under two scenarios: “Actual”


723   Claimants’ Reply, ¶¶ 648-671.
724   Claimants’ Reply, ¶¶ 719-729; see also Claimants’ Post-Hearing, ¶ 29; and Claimants’ Post-Hearing Reply, ¶¶ 111-112.
725   Claimants’ Post-Hearing Reply, ¶¶ 118-119.
726   Tr. Day 1, 158:2-17.


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                                based on the actual historical financial data for the Claimants’ investments;
                                and “But-for” calculated on the assumption that the Disputed Measures
                                were never implemented. 727

                      b.        Secondly, Brattle estimates the loss in the fair market value of the
                                Claimants’ investments as at June 2014 under the But-for and Actual
                                scenarios using a DCF method. 728 Brattle develops two versions of DCF
                                model. 729 The Actual model which calculates the projected future cash
                                flows in the Actual scenario. The But-for model, which is identical to the
                                Actual model save for two differences: (i) it assumes the continued
                                application of FITs as specified under RD 661/2007 starting in January
                                2013; and (ii) it assumes less regulatory risk than exists under the Actual
                                scenario. For each DCF model, Brattle projects future cash flows and then
                                discounts those cash flows to reflect risk.

                      c.        Thirdly, Brattle calculates the pre-award interest owing from June 2014 to
                                the notional award date of November 2018 and the tax gross-up. 730

                Brattle’s updated DCF valuation values the Claimants’ damages at EUR 123.9
                million,731 prior to third step. 732

                      Interest rate

                The Claimants have claimed both pre-award and post-award interest on the amounts due
                and rely on Article 13 of the ECT, which provides that interest will be calculated “at a
                commercial rate established on a market basis from the date of expropriation until the
                date of payment”



727   First Brattle Quantum Report, ¶ 15.
728   First Brattle Quantum Report, ¶ 16.
729   First Brattle Quantum Report, ¶ 17.
730   First Brattle Quantum Report, ¶¶ 23-24.
731   Second Brattle Quantum Report, ¶¶ 32-36.
732   First Brattle Quantum Report, ¶¶ 13-28.


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                The Claimants also rely on Article 38 of the ILC which reads as follows:


                      interest on any principal sum due under this chapter shall be payable when
                      necessary in order to ensure full reparation. The interest rate and mode of
                      calculation shall be set so as to achieve that result.

                The Claimants also rely on the 10 year Spanish Government Bonds in force as a basis
                for calculating pre-award interest as set out in the Brattle Report. 733


                The Claimants rely on a number of decisions of tribunals which have held that an award
                of damages should bear interest. 734


                The Claimants contend that there should be different rates for pre-award and post-award
                interest as they serve different purposes. Pre-award interest is awarded to achieve full
                reparation whilst post-award interest is to ensure that the award is paid promptly.


                The Claimants claim the sum of 1.16% compounded monthly as pre-award interest,
                being the commercial rate established on a market basis and rely on the Quantum
                Report 735.


                The Claimants are of the view that the Tribunal should award post-award interest at a
                higher rate than 1.16% and also should be compounded on a monthly basis.


                      Gross-up for tax

                The Claimants claim that full reparation requires a “gross-up over the amount awarded
                for damages” to ensure the Claimants are placed in the same position they would have



733   First Brattle Quantum Report, ¶ 171.
734
   Middle East Cement Shipping and Handling Co. S.A. v The Arab Republic of Egypt, ICSID Case No. ARB/99/6, Award, 12
April 2002, ¶¶ 174-175, Exhibit CL-29; LG&E Energy Corp., LG&E Capital Corp. and LG&E International Inc. v The Argentine
Republic, ICSID Case No. ARB/02/1, Award, 25 July 2007, ¶ 55, Exhibit CL-55; and Continental Casualty Company v The
Argentine Republic, ICSID Case No. ARB/03/9, Award, 5 September 2008, ¶ 308, Exhibit CL-64.
735   First Brattle Quantum Report, Table 14, ¶173.


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                been in, net of tax. 736 Profit distributions to the Claimants in the Netherlands normally
                benefit from a tax exemption. 737 However, a damages award to the Claimants in the
                Netherlands will be treated as a taxable profit and subject to tax rate of 20% up to and
                including EUR 200,000 and 25% on further amounts. 738


                The Claimants primarily rely on a decision of the Court of Gelderland, where the Court
                held that a compensation payment received from a breach of a BIT was subject to Dutch
                corporate income tax. 739 The Claimants have requested a tax ruling from authorities in
                the Netherlands but have not received it to date. 740 Brattle did not analyse the potential
                tax consequences but noted the need to add a tax gross-up if an award did attract
                corporate taxes. 741


          B. Respondent’s position

                      Reparation

                The Respondent submits that no reparation is required because “the legal and regulatory
                regime, from 1997 to present day, has always granted the same thing, a reasonable
                ret[]u[r]n. As such, there is no claim to be made if the Claimant has not been deprived
                of anything nor is there any damage to speak of.” 742 The Respondent did not dispute the
                reparation principles quoted by the Claimants, nor provide any response as to the
                appropriateness or otherwise of reparation by restitution or compensation.




736   Claimants’ Memorial, ¶ 539; see also Claimants’ Reply, ¶ 785.
737   Claimants’ Post-Hearing, ¶ 261.
738   Claimants’ Reply, ¶¶ 786-791.
739   Judgment of the Court of Gelderland in case 14/4272 dated 17 March 2016, Exhibit C-221.
740   Claimants’ Post-Hearing, ¶ 262.
741   First Brattle Quantum Report, ¶¶ 174-175; see also Second Brattle Quantum Report, ¶ 7, fn 5.
742   Respondent’s Counter-Memorial, ¶ 1051.


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                      Alternatively, compensation

                The Respondent reiterates that “the disputed measures have not generated any damage
                to the Claimants. On the contrary, the disputed measures have provided greater stability
                in the Spanish electrical sector and have thus increased the value of the Claimants’
                investment”. 743 The Respondent cites the fact that the Claimants acquired the assets for
                €91 million in 2012 and sold them for €133 million in 2016 to suggest that no damage
                was suffered, rather the value increased. 744


                The Respondent did not dispute the compensation standard.


                      Valuation date

                The Respondent, without citing an alternative date or any reasons, says that the valuation
                date of 20 June 2014 is a date randomly chosen by the Claimants. 745 However, the
                Respondent’s expert has adopted the June 2014 date when calculating quantum. 746


                      Proof

                The Respondent, citing Gemplus v. Mexico, points out that it is the Claimants who bear
                the overall burden of proving the loss founding their claims for compensation. 747 The
                Tribunal should reject the Claimants’ claims, even if liability is established, where the
                loss claimed is too uncertain or speculative.




743   Respondent’s Post-Hearing, ¶ 189.
744   Respondent’s Post-Hearing, ¶ 190 citing Tr. Day 4, 27:9-12, 28:24-5, 29:1.
745   Respondent’s Counter-Memorial, ¶ 1058.
746   First Accuracy Report, ¶ 120; see also Tr. Day 4, 162:22-163:4.
747 Respondent’s Counter-Memorial, ¶ 1074; see also Respondent’s Rejoinder, ¶ 1132 citing Gemplus, S.A., SLP, S.A. and Gemplus

Industrial, S.A. de C.V. v. United Mexican States, ICSID Case No. ARB(AF)/04/3 & ARB(AF)/04/4, Award, 16 June 2010, ¶¶ 12-
56, Exhibit RL-0032.


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                      Valuation method

                The Respondent contends that the DCF method is inappropriate to use in this case
                because it is overly speculative. The following factors indicate the DCF method might
                lead to unnecessary levels of speculation: (i) the investments were capital-intensive with
                no relevant intangible assets; (ii) there is high dependency on volatile cash flows; (iii)
                the long-term nature of the forecasts increases uncertainty; and (iv) there is a
                disproportion between the alleged investments and the amount claimed; (v) there is an
                insufficient history of operations; and (vi) the economic conditions were constantly
                fluctuating. 748


                The Respondent instead argues for the application of the ABV method, which is less
                speculative and simpler to apply. 749 In the Respondent’s view, the ABV “is relevant to
                verify if the Disputed Measures have undermined the investors’ legitimate entitlement
                to earn at least the opportunity cost of the capital.” 750 The Respondent’s quantum
                expert, Accuracy, finds that there is no damage to the Claimants after undertaking an
                ABV of their investments. 751 This involves: (i) calculating the investment amount and
                the project return in a But-For and Actual scenario; and (ii) comparing the NPV obtained
                from each scenario to determine whether the Disputed Measures have had a financial
                impact on the plants. 752


                The Respondent also relies on the RREEF Decision where the tribunal considered the
                DCF method was not useful to calculate the reasonable rate of return enshrined in the
                Spanish Energy Regulators Framework which was to have a general scope and to apply
                to projects of all kinds. 753



748   Respondent’s Counter-Memorial, ¶¶ 1066-1078; see also Respondent’s Rejoinder, ¶¶ 1125-1140.
749   Respondent’s Counter-Memorial, ¶¶ 1079-1080; see also Respondent’s Rejoinder, ¶¶ 1140-1144.
750   Respondent’s Post-Hearing Reply, ¶ 93.
751   Respondent’s Counter- Memorial, ¶ 1054.
752   First Accuracy Report, ¶¶ 117-121.
753   Respondent’s Comments on the RREEF Decision, ¶¶ 11-13


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                      Alternatively, “corrected” DCF analysis

                Accuracy, alternatively to the ABV, undertakes a subsidiary calculation using Brattle’s
                financial model at June 2015, correcting for a series of incorrect assumptions and
                parameters. 754 These are discussed further below in the Tribunal’s analysis, but include:
                (i) the reference point for the Actual scenario value; (ii) the operational life of the Plants;
                (iii) the discount rate and (iv) the regulatory risk premium. Accuracy advocates for other
                adjustments which have an admittedly “lower impact on Brattle’s But-For”. 755


                      Interest rate

                The Respondent relies on the Accuracy Report 756 dated 10 February 2017 which reads
                as follows:

                      In our opinion, in the case of determining damages as at the valuation date,
                      to update it for the date of the award, a risk-free asset appropriately covering
                      the timeframe ought to be used as a benchmark. For this purpose, the
                      equivalent rate of the Spanish government bonds at 4-5 years, which is the
                      period between this date and the one estimated by Brattle for the potential
                      payment of the compensation (November 2018). The rates applicable are
                      1.16% and 1.38% 757 (4 and 5 years respectively).

                There is also another Accuracy Report 758 dated 8 January 2018, which reads as follows:

                      In our opinion, the case of determining damages as at a certain valuation
                      date, the value should be carried forward to award date using a risk-free rate
                      that appropriately covers the timeframe until the award date. 759

                Considering a valuation date in 2016, the valid reference for pre-award interests should
                be the yield of the short-term Spanish Government bonds (2 year – 3 year bonds) which

754   First Accuracy Report, ¶ 137.
755   First Accuracy Report, ¶ 21(b).
756   First Accuracy Report, ¶ 174.
757   Spanish Government OATs (Bloomberg), Exhibit ACQ-0022 .
758   Second Accuracy Report, ¶ 181.
759Second Accuracy Report, ¶ 181. The above is in line with the guideline set in the “Litigation Services Handbook – The role of
the financial expert, R.L. Weil, D.G. Lentz and D.P. Hoffman, Fifth Edition. Refer to Exhibit ACQ-0071.


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                are close to zero. 760 This ensures the consistency with the period between the valuation
                date and the estimated date of the award. 761


                The Respondent also relies on a passage from the author Mark Kantor who advocates a
                risk free rate 762.


                With regard to post-award interest, the Respondent is of the view that post-award
                interest rate should not exceed the pre-award interest rate. The Respondent also
                contends that post-award interest should not be awarded as the Tribunal should not
                assume that Spain as a sovereign nation would breach a treaty obligation and neither
                should it be used as a tool to punish the State and it relies on the decision in Vestey v.
                Venezuela 763 and also on the ILC Articles in particular Comment (4) of Article 36 which
                states as follows:

                     Compensation corresponds to the financially assessable damage suffered by
                     the injured State or its nationals. It is not concerned to punish the
                     responsible State, nor does compensation have an expressive or exemplary
                     character … 764

                Furthermore, the Respondent relies on the decision in Micula which equates the
                treatment of pre and post-award interest in the following terms:

                     As a preliminary matter, the Tribunal does not see why the cost of the
                     deprivation of money (which interest compensates) should be different
                     before and after the Award, and neither Party has convinced it otherwise.
                     Both are awarded to compensate a party for the deprivation of the use of its




760 Indeed the Spanish Government short-term yields (2 years and 3 years) as of June 2016 are negative. See Spanish Government

OATs (Bloomberg), Exhibit ACQ-0022.
761In our subsidiary DCF, we have used the applicable short-term reference when bringing forward past damages to the valuation
date.
762   Respondent’s Rejoinder, ¶ 1154.
763
  Vestey Group Ltd. v Bolivarian Republic of Venezuela, ICSID Case No. ARB/06/4, Award, 15 April 2016, ¶ 445, Exhibit RL-
0068.
764J Crawford, The International Law Commission's Articles on State Responsibility: Introduction, Text and Commentaries
(Cambridge University Press), 2002, Exhibit CL-25; see also ILC Articles, Art. 36, Exhibit RL-0069.


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                     funds. The Tribunal will thus award pre- and post-award interest at the
                     same rate. 765

                     Gross-up for tax

                The Respondent considers that the Claimants have failed to establish a legal or
                evidential basis to support their tax gross-up claim. 766 In any event, the Respondent
                contends that the claim is without basis for three reasons.


                First, the tax gross-up claim is excluded by Article 21 of the ECT. 767 Article 21(1) of
                the ECT provides that “nothing in this Treaty shall create rights or impose obligations
                with respect to Taxation Measures of the Contracting Parties”. Spain points out that the
                Netherlands is a Contracting Party of the ECT. Therefore, no tax measure of the
                Netherlands can create an obligation for Spain based on the ECT. Further, under
                international law, a State cannot be held liable for taxes imposed by another State. 768


                Secondly, a damages award to the Claimants would be tax-exempt income in the
                Netherlands. 769 The Respondent relies on a memo from R.C.A.R. Wanningen of Tax at
                Work BV, a Dutch tax lawyer. 770


                Thirdly, the tax gross-up claim is speculative and contingent upon the Claimants’ private
                tax planning decisions and the Netherlands’ authorities’ decisions. 771 The Respondent




765
  Ioan Micula, Viorel Micula and others v. Romania, ICSID Case No. ARB/05/20, Award, 11 December 2013, ¶ 1269, Exhibit
RL-0071.
766   Respondent’s Counter-Memorial, ¶¶ 1108-1111; see also Respondent’s Rejoinder, ¶ 1162.
767   Respondent’s Rejoinder, ¶¶ 1166-1172.
768   Respondent’s Rejoinder, ¶¶ 1173-1179.
769   Respondent’s Rejoinder, ¶¶ 1180-1182.
770   Memo on applicability of participation exemption on damage payments, Exhibit ACQ-0082.
771   Respondent’s Rejoinder, ¶¶ 1183-1190.


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             relies on decisions of other investment tribunals to support the position that a tax claim
             should be rejected where there is insufficient evidence of possible future taxation. 772


       C. Tribunal’s Analysis

             This analysis represents the majority view of the Tribunal and reference to the word
             “Tribunal” in the analysis is the majority view, save for the issue of gross-up for tax,
             which is dealt with in paragraphs 751 to 759 of the Award.


                   Appropriate reparation

             Article 10 of the ECT is silent on the remedies for breach of the FET standard.


             In these circumstances, it is appropriate for the Tribunal to apply the standard of
             reparation found in customary international law. The Claimants correctly cite, and the
             Respondent does not dispute, the full reparation standard articulated in Chorzów:


                   The essential principle contained in the actual notion of an illegal act – a
                   principle which seems to be established by international practice and in
                   particular by the decisions of arbitral tribunals – is that reparation must, as
                   far as possible, wipe out all the consequences of the illegal act and
                   reestablish the situation which would, in all probability, have existed if that
                   act had not been committed. Restitution in kind, or, if this is not possible,
                   payment of a sum corresponding to the value which a restitution in kind
                   would bear; the award, if need be, of damages for loss sustained which
                   would not be covered by the restitution in kind or payment in place of it –
                   such are the principles which should serve to determine the amount of
                   compensation due for an act contrary to international law.

             While the Claimants have made a summary request for restitution, the Tribunal
             considers that restitution is an inappropriate remedy because the Respondent has a
             sovereign right to take appropriate legislative and regulatory measures to meet public




772 Venezuela Holdings, B.V., et al v. Bolivarian Republic of Venezuela, ICSID Case No. ARB/07/27, Award, 9 October 2014, ¶¶

386-388, Exhibit RL-0087; Abengoa, S.A. y COFIDES, S.A. v. Mexico, ICSID Case No. ARB(AF)/09/2, Award, 18 April 2013,
¶¶ 775-777, Exhibit RL-0075.


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            interests. The Tribunal notes that similar conclusions were made in Eiser v. Spain,773
            Masdar v. Spain 774 and Antin v. Spain. 775


            Consequently, the Tribunal will award reparation in the form of monetary
            compensation.


                    Compensation standard

            It follows from above that, as the ECT is silent on the remedies for breach of the FET
            standard, the ECT also does not detail any standard of compensation that the Tribunal
            must apply when awarding monetary compensation for breaches of the FET.


            Consequently, the appropriate standard for compensation should be based on
            international law and in particular that articulated in Chorzów, namely compensation
            that will, as far as possible, wipe out all the consequences of the Respondent’s illegal
            acts.


                    Valuation date

            Again, the ECT is silent on the valuation date which the Tribunal should apply when
            awarding monetary compensation for breaches of FET.


            The Tribunal follows the findings of the Azurix and Enron tribunals and considers that,
            as it has found a series of actions by the Respondent that as an aggregate constitutes a




773
  Eiser Infrastructure Limited and Energía Solar Luxembourg S.à r.l. v The Kingdom of Spain, ICSID Case No. ARB/13/36,
Award, 4 May 2017, ¶ 425, Exhibit CL-154.
774
  Masdar Solar & Wind Cooperatief U.A. v Kingdom of Spain, ICSID Case No. ARB/14/1, Award, 16 May 2018, ¶¶ 558-563,
Exhibit CL-175.
775
  Antin Infrastructure Services Luxembourg S.à.r.l. and Antin Energia Termosolar B.V. v Kingdom of Spain, ICSID Case No.
ARB/13/31, Award, 15 June 2018, ¶¶ 634-637, Exhibit CL-176.


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                breach of FET, it should calculate the fair market value at the “watershed” moment or
                when “the most serious damage arose in connection with” the Disputed Measures. 776


                The Tribunal considers that the measure concluding Spain’s course of conduct that
                constituted the breach of the ECT and effecting the most serious damage to the
                Claimants’ investment was Ministerial Order IET/1045/2014 of 20 June 2014 as set out
                in paragraph 570 above. While it is true that the Claimants were aware much earlier that
                the regime in Spain was changing, it was only on 20 June 2014 that they could ascertain
                the extent of the impact of the New Regime on the value of their investment. 777
                Consequently, the Tribunal finds that 20 June 2014 is the appropriate valuation date.


                The Tribunal notes that this valuation date is consistent with the valuation date adopted
                in Eiser, Masdar 778 and Antin. 779


                      Proof

                The Claimants accept that they bear the burden of proof as to their claimed damages.
                However, the standard of proof required for the Claimants to discharge their burden of
                proof is in contention.


                The Respondent, by citing Gemplus, appears to contend that the standard should be
                sufficient certainty. 780 In Gemplus the tribunal held that when quantifying damages it
                was an exercise of “sufficient certainty”. 781 However, the Claimants contend that the


776
  Azurix Corp. v The Argentine Republic, ICSID Case No. ARB/01/12, Award, 14 July 2006, ¶¶ 417-418, Exhibit CL-44, Enron
Creditors Recovery Corporation (formerly Enron Corporation) and Ponderosa Assets, L.P. v The Argentine Republic, ICSID Case
No. ARB/01/3, Award, 22 May 2007, ¶ 405, Exhibit CL-53
777   Tr. Day 3, 23:19-34:2.
778 Masdar Solar & Wind Cooperatief U.A. v Kingdom of Spain, ICSID Case No. ARB/14/1, Award, 16 May 2018, ¶¶ 605-608,

Exhibit CL-175.
779
  Antin Infrastructure Services Luxembourg S.à.r.l. and Antin Energia Termosolar B.V. v Kingdom of Spain, ICSID CASE No.
ARB/13/31, Award, 15 June 2018, ¶ 715, Exhibit CL-176.
780   Respondent’s Counter-Memorial, ¶ 1074.
781Gemplus S.A., SLP S.A., Gemplus Industrial S.A. de C.V. v. United States of Mexico, ICSID Case No. ARB(AF)/04/3, Award,
16 June 2010, ¶¶ 13-91, Exhibit RL-0032.


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            standard is to show the existence of damage with reasonable certainty and then only
            offer a basis on which the Tribunal can, with reasonable confidence, estimate the amount
            of their loss. 782


            The Tribunal agrees with the Claimants and adopts the approach of the Lemire tribunal.
            Proving the amount of damages is a notoriously difficult task and it cannot be right that,
            once liability has been established, the Claimants should be deprived of compensation
            caused by a State’s wrongful acts. Other tribunals have come to similar conclusions. 783


            In light of the above, the Tribunal’s considers that the Claimants must prove the
            existence of the fact of damage with sufficient certainty and then provide a reasonable
            basis for the Tribunal to determine the amount of loss. The Tribunal considers this a fair
            outcome considering that any difficulty that the Claimants may face in proving the
            amount of loss will have flowed from the Respondent’s wrongdoing.


            In the Tribunal’s view, the Disputed Measures reduced the amount payable to the
            Claimants, which is most easily demonstrated by the fact that the Project Companies
            had to pay claw-back payments to Spain under the New Regime as set out in paragraphs
            564 to 567 above. This demonstrates that the long-term fixed feed in tariff under the Old
            Regime was more valuable to the Claimants. It follows that the Tribunal is sufficiently
            certain that the Claimants have, as a matter of fact, suffered damage as a result of the
            Respondent’s breaches. The Tribunal now proceeds to determine whether the Claimants
            have provided a reasonable basis to determine the amount of that loss.


                  Lost historical cash flows

            As discussed above at paragraph 642a, the Claimants claim the lost historical cash flows
            of the Claimants’ investments resulting from the Disputed Measures from December


782 Claimants’ Reply, ¶ 656 citing Joseph Charles Lemire v The Republic of Ukraine, ICSID Case No. ARB/06/18, Award, 28

March 2011, ¶ 246, Exhibit CL-77.
783
  Khan Resources v Mongolia (UNCITRAL), Award on Merits, 2 March 2015, ¶ 375, Exhibit CL-138; Ioan Micula, Viorel Micula
and others v Romania, ICSID Case No. ARB/05/20, Award, 11 December 2013, ¶¶ 1008-1010, Exhibit CL-88.


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                2012 to June 2015 by comparing the Actual cash flows with the But-For scenario cash
                flows assuming the Disputed Measures were never implemented.


                Similar to the tribunal in Antin, 784 this Tribunal has found that Spain violated the ECT
                by its wholesale dismantlement of the Original Regime but not from modifying certain
                of the elements of the regime. As the course of conduct constituting the breach of the
                ECT reached “watershed” on 20 June 2014 as set out in paragraph 570 above, the
                Tribunal rejects the Claimants’ claim for losses prior to the breach.


                     Valuation method

                The Tribunal considers that it is appropriate to value the Claimants’ investments using
                the DCF method. The Respondent’s primary objection to the DCF method’s application,
                uncertainty of future cash flows, is unwarranted. The assets have been operating for a
                sufficient amount of time to generate sufficiently reliable information on which to
                calculate future cash flows. Further, the DCF method is widely favoured in the
                renewable energy sector given that they have a simple business model with predictable
                income and costs. The DCF method has been applied in a number Energy Charter
                claims namely, Eiser, 785 Masdar, 786 Antin, 787 Novenergia, 788 Foresight. 789


                In any event, the Tribunal cannot accept the Respondent’s ABV which concludes that
                there was no reduction in the value of the Claimants’ investments. Further, the
                Respondent’s primary reason for using an ABV is because the investments “are


784
  Antin Infrastructure Services Luxembourg S.à.r.l. and Antin Energia Termosolar B.V. v Kingdom of Spain, ICSID Case No.
ARB/13/31, Award, 15 June 2018, ¶¶ 666-667, Exhibit CL-176.
785
  Eiser Infrastructure Limited and Energia Solar Luxembourg S.a.R.L. v Kingdom of Spain, ICSID Case No. ARB/13/36, ¶ 465,
Exhibit CL-154.
786
  Masdar Solar & Wind Cooperatief U.A. v Kingdom of Spain, ICSID Case No. ARB/14/1, Award, 16 May 2018, ¶ 575, Exhibit
CL-175.
787
  Antin Infrastructure Services Luxembourg S.à.r.l. and Antin Energia Termosolar B.V. v Kingdom of Spain, ICSID Case No.
ARB/13/31, Award, 15 June 2018, ¶ 691, Exhibit CL-176.
788
  Novenergia II – Energy & Environment (SCA) (Grand Duchy of Luxembourg), SICAR v The Kingdom of Spain (SCC Arbitration
2015/063), Final Award, 15 February 2018, ¶ 818, Exhibit CL-160.
789   See also Foresight Luxembourg Solar 1 S. Á.R1., et al. v. Kingdom of Spain, SCC Case No. 2015/150, ¶ 480.


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                                                                                                                 790
                capital—intensive investments” and largely comprise “physical assets”                                  is
                unpersuasive given that the claims comprise of lost profits and no further explanation
                has been proffered.


                The Tribunal has also considered the Respondent’s contention based on the RREEF
                Decision namely that the DCF method is not useful and rather valuation should be
                analysed by reference to the internal rate of return (IRR) and that the more appropriate
                method of valuation was the WACC valuation method. 791


                In the Tribunal’s view, the RREEF Decision rejected the use of the DCF method because
                that tribunal found that “the only legitimate expectations the Claimants had […] was to
                obtain the reasonable rate of return that the Respondent committed to” 792 and the
                reasonable return by Spanish law was the project IRR. The RREEF tribunal found that
                comparing income valuations in the But-For and Actual scenario, pursuant to the DCF
                method, was not a useful assessment of the reasonableness of the Claimants’ return
                under both the old and the new regime. 793


                Whereas, in this case, the Tribunal has found that the Claimants legitimately expected
                that the qualifying special regime installation would remain stable under RD 661/2007.
                Therefore, the finding of the RREEF tribunal is inapplicable because of the Tribunal’s
                findings on the merits. The DCF method is more appropriate than an IRR analysis
                because it looks to the difference in the value of the Claimants’ assets before and after
                changes to the regime applicable to the Claimants’ installation by a comparison of the
                But-For and Actual scenarios.




790   Tr. Day 2, 7:7-14.
791
  RREEF Infrastructure (G.P.) Limited and RREEF Pan-European Infrastructure Two Lux S.à r.l. v. Kingdom of Spain, ICSID
Case No. ARB/13/30. Decision on Responsibility and on the Principles of Quantum, 30 November 2018, ¶¶ 573-576, Exhibit RL-
0098.
792
  RREEF Infrastructure (G.P.) Limited and RREEF Pan-European Infrastructure Two Lux S.à r.l. v. Kingdom of Spain, ICSID
Case No. ARB/13/30. Decision on Responsibility and on the Principles of Quantum, 30 November 2018, ¶ 545, Exhibit RL-0098.
793
  RREEF Infrastructure (G.P.) Limited and RREEF Pan-European Infrastructure Two Lux S.à r.l. v. Kingdom of Spain, ICSID
Case No. ARB/13/30. Decision on Responsibility and on the Principles of Quantum, 30 November 2018, ¶ 521, Exhibit RL-0098.


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                      (a) Discounted cash flow analysis

                            i.    DCF analysis

                The Tribunal largely accepts the DCF valuation conducted by Brattle to determine the
                reduction in the fair market value of the Claimants’ investments as a result of the breach
                of the ECT. Indeed, Accuracy did not challenge its methodology or many of its
                assumptions. Rather, Accuracy adopted Brattle’s DCF model and “corrected” the inputs
                they believed to be the proper assumptions. 794 The Tribunal will look at each of the
                main disputed assumptions below.


                             1.    Reference point for actual scenario

                Brattle estimates the June 2014 market value in both the But-For and Actual scenarios
                using the DCF, which ensures consistency in the underlying expectations and valuation
                environment. 795


                Brattle rejects the reference point preferred by Accuracy, the 2016 sale price, on the
                basis that the transaction reflects 2016 (and not 2014) expectations about pool prices
                and interest rate levels after the valuation date. 796 However, if the 2016 sale price is to
                be adopted, then the valuation date must be shifted to February 2016 to ensure
                consistency. 797


                Accuracy considers that the appropriate reference point for the Actual scenario is the
                2016 sale price of €133 million, which was negotiated between a willing buyer and
                seller thus constituting a fair market value. 798 First, Accuracy discounts the sale price
                using the average value of Spain’s 1-year and 2-year bond rate to account for the time



794   Tr. Day 4, 162:18-163:4.
795   Second Brattle Quantum Report, ¶ 190.
796   Second Brattle Quantum Report, ¶¶ 190-194.
797   Second Brattle Quantum Report, ¶¶ 199-201.
798   First Accuracy Report, ¶ 144; Second Accuracy Report, ¶¶ 136-140.


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                between the valuation date (June 2014) and the transaction date (February 2016). 799
                Second, Accuracy adds two additional cash flows to equity (“FCFE”): (i) the capitalised
                value of the historical FCFE prior to the valuation date using Spain’s 1-year bond rate;
                and (ii) the discounted value of the historical FCFE between the valuation date and the
                transaction date using the average value of Spain’s 1-year and 2-year bond rate. 800
                Accuracy concludes that the Actual value of the Claimants’ investments at the valuation
                date was €124.1 million.


                Given that the Tribunal has found that the appropriate valuation date is June 2014, the
                Tribunal considers it inappropriate to have regard to the 2016 sale price in the Actual
                scenario as it occurs after the valuation date and in different economic conditions.
                Consequently, the Tribunal adopts the Actual scenario preponed by Brattle i.e.
                projecting cash flows from the valuation date.


                             2.       Operational life

                Brattle assumes a 30-year operational life. 801 This assumption is based on a technical
                due diligence report prepared for the sale of the Claimants’ wind projects, which
                concluded that it was possible to extend the 20-year operating life to 25 or 30 years with
                increased maintenance. 802 The Claimants consider this a reasonable assumption as the
                Special Regime envisaged that plants would operate for at least 20 years since they
                expressly provided for a FIT that would apply for the first 20 years of operation and
                then for the remaining operational life of the plant from year 21 onwards. 803


                Brattle rejects Accuracy’s proposed 25-year operational life on the basis that: (i) it
                “ignores that between purchase and sale there was an increase in the expected useful


799   First Accuracy Report, ¶ 145.
800   First Accuracy Report, ¶¶ 142, 147-151.
801   First Brattle Quantum Report, ¶ 70; Second Brattle Quantum Report, ¶ 206.
802
  Tr. Day 3, 127:20-128:2; Technical Due Diligence Report prepared by GL Garrad Hassan Ibérica, 26 May 2015, pp. 38-40,
Exhibit C-47; Claimants’ Reply, ¶ 756.
803   Claimants’ Memorial, ¶ 515(d) citing Moreno Witness Statement, ¶ 26.


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                life of the wind assets from 25 to 30 years”; 804 and (ii) additional costs were included in
                Brattle’s DCF model to achieve a 30-year operational life. 805 In any event, Brattle
                conducted a sensitivity analysis on damages in relation to a 25-year operating life. 806


                Whereas, Accuracy assumes a 25-year operational life for the But-for scenario and a 20-
                year operational life for the Actual scenario. 807 While acknowledging that the technical
                due diligence report relied on by the Claimants indicates that the operating life will
                exceed 20 years, it does not strictly conclude that the operating life will be 30 years.808
                Accuracy considers that a conservative estimate is instead 25 years. 809


                Accuracy also relies on the due diligence report prepared by the Claimants when they
                bought the wind projects, which states the wind projects are designed for an operational
                life of at least 20 years. 810 Accuracy sees no need to account for an operational life in
                excess of what the Claimants’ explicit expectation was at the time of the acquisition.811


                As a starting point, the Tribunal consider the evidence establishes that the designed life
                time of the wind projects are 20 years pursuant to IEC 61400-1 standard. 812


                The evidence on the record, prior to the 2016 sale, shows that the operational life was
                expected range from 20 to 25 years. The Claimants’ initial financial models for the wind
                projects entitled ‘Borawind Operating & Valuation Model’ consider a range between 20
                to 25 years for the operational life. 813 The technical due diligence report prepared by


804   Tr. Day 3, 35:21-25.
805   Second Brattle Quantum Report, ¶¶ 204-205; Tr. Day 3, 42:9-12.
806   Second Brattle Quantum Report, ¶ 206 and Appendix B.
807Respondent’s    Counter-Memorial, ¶ 1016; First Accuracy Expert Report, ¶ 267; Second Accuracy Report, ¶¶ 22, 141(a).
808   First Accuracy Economic Report, Appendix 8, ¶ 262.
809   First Accuracy Report, ¶ 157(a).
810   Second Accuracy Report, ¶ 141(a) citing Alatec technical due diligence report, Exhibit ACQ-0069.
811   Tr. Day 4, 40:6-14.
812   DNV GL Report, p. 38, Exhibit BQR-45; First Accuracy Economic Report, Appendix 8, ¶ 260.
813   Tr. Day 3, 128:14-129:4; Financial Models for Claimants’ Assets, “Inputs” tab, Exhibit BQR 40.3.


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                Alatec in 2011 states that the wind projects were “designed for a useful life of at least
                20 years”. 814 The Claimants have adduced no evidence prior to the sale that they
                expected the operational life to range to 30 years.


                Further to this, Accuracy pointed to technical publications that indicated an operational
                lifetime between 20 to 25 years. The PER 2011-2020 technical study sets an operational
                lifetime of 20 years. 815 The European Wind Energy Association considers that the
                operational lifetime of wind projects is between 20 to 25 years. 816 Renewables First
                considers that a wind turbine could operate for between 20 to 25 years. 817


                In the technical due diligence report prepared for the sale of the projects in 2016, DNV
                GL opined that “it is possible to extend the service life of a wind project to 25 or 30
                years" provided that the wind projects comply with a series of technical requirements,
                such as passing a load and fatigue test and additional investment in maintenance is made.
                However, DNV GL went to pains to state that their review “refers only to a general
                understanding of the probability of extending the wind farm life beyond the 20 year IEC
                design to 25 or 30 years.” 818 Further, Mr Moreno testifies that “Wind farms are expected
                to have a useful life of up to 30 years without significant reinvestment.” 819


                Neither party produced an expert on the operating life of wind projects. The quantum
                experts confirmed at the hearing that they did not have expertise in this quarter. 820


                In light of the above, the Tribunal considers that, on balance, the operating life of the
                wind projects would exceed 20 years. However, the Tribunal is not satisfied that the

814   Alatec Technical Due Diligence Report, 8 June 2011, Exhibit ACQ-0069.
815   Tr. Day 3, 129:5-22; First Accuracy Economic Report, Appendix 8, ¶ 264(a) citing PER 2011-2020, Exhibit ACQ-0052.
816
  Tr. Day 3, 130:7-18; First Accuracy Economic Report, Appendix 8, ¶ 264(b) citing Wind Energy FAQ EWEA, Exhibit ACQ-
0053.
817 First Accuracy Economic Report, Appendix 8, ¶ 264(c) citing Renewables First “How long does a wind turbine last?”, Exhibit

ACQ-0054.
818   DNV GL Report, p. 39, Exhibit BQR-45.
819   First Moreno Witness Statement, ¶ 26 (emphasis added).
820   Tr. Day 3, 127:17-19; Tr. Day 4, 40:6-12.


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                operating life would reach 30 years given the caveats proffered by DNV GL and the
                evidence indicating a 20-year or 25-year operating life. In these circumstances,
                particularly where Spain’s own quantum expert adopts a 25-year useful life in their
                quantum analysis and only dispute adopting a useful life exceeding 25 years, the
                Tribunal finds that a presumed operating life of 25 years is a reasonable assumption.


                              3.     Discount rate

                Brattle applies a discount rate to the projected cash flows. Brattle adopts the capital asset
                pricing model (“CAPM”) equation that typically relies on the statistical analysis to of
                publicly traded companies deemed comparable to determine the discount rate for
                systematic risk. The CAPM equation is as follows:


                      Discount rate = Risk free rate + (Beta x Market Risk Premium) 821

                Brattle uses this discount rate to come to the adjusted present value (“APV”) of the
                Claimants’ Project Companies. The APV approach is best practice in corporate finance
                for businesses that rely on project finance, which is the case for the Claimants’ Project
                Companies in Spain.


                First, Brattle opines that the risk-free rate should be twenty-year Euribor swap rate at
                June 2014 being 2.09% given the long lives of wind assets. 822 While the risk free rate is
                typically the Spanish government bond rate, which represent a relatively low yield for
                safe investments, this should not be adopted because there is large concern over possible
                Spanish default following the Global and Eurozone crises. Therefore, the Euribor rate
                should be used as it does not pose a default risk.


                Brattle rejects Accuracy’s risk-free rate which is “a combination of Accuracy’s 1.5%
                inflation expectation and what Accuracy calls an (sic) “standardised interest rate” of



821   First Brattle Quantum Report, ¶ 93.
822   First Brattle Quantum Report, ¶¶ 96-97 citing Bloomberg Data, Exhibit BQR-1.


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                2%” on the basis that this relies on Accuracy’s own assumptions and second-guesses
                the prevailing long-term interest rates at June 2014. 823


                Secondly, Brattle considers the beta should be 0.5. The beta in the CAPM equation
                serves as the risk adjustment factor. 824 The beta is 1.0 where the relevant investment has
                exactly the same risk as the average investment, lower than 1.0 where the investment
                has a lower than average risk compared to the stock market as a whole but equally an
                expected lower rate of return, and higher than 1.0 where there is higher than average
                risk and expected rate of return. Bloomberg, a prominent financial research firm,
                publishes beta estimates for individual companies in the alternative electricity
                producers’ category, based on the past performance of their stock prices compared to
                the market as a whole. Brattle relies on the Bloomberg data to calculate an average
                “asset beta” for similar renewable firms of 0.5. 825 This is realistic given that wind assets
                have highly predictable production and costs, and selling prices depend on the relevant
                regulatory framework. Further, Brattle has adopted 0.5, which is at the top end of the
                observed range for the average renewables sample, to be conservative as it translates to
                a higher discount rate thus reducing the present value of the Claimants’ investments and
                the total damages estimate.


                In response to Accuracy’s beta estimate of 0.4, Brattle maintains that 0.5 is appropriately
                conservative because it translates to a higher base-case discount rate that tends to reduce
                damages. 826


                Thirdly, Brattle contends that the market risk premium ought to be 5.5%. The market
                risk premium is the amount by which an investor would expect the average investment
                in the stock market to out-perform the risk-free rate. 827 The CAPM assumes that


823   Second Brattle Quantum Report, ¶ 211.
824   First Brattle Quantum Report, ¶¶ 98-99.
825   First Brattle Quantum Report, ¶¶ 100-105.
826   Second Brattle Quantum Report, ¶ 213.
827   First Brattle Quantum Report, ¶ 106.


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                investments in the stock market should on average outperform risk-free investments as
                compensation for the higher risks involved. Brattle adopts the market risk premium of
                5.5% based on the range recommended by Professor Damodaran of the New York
                University’s Stern School of Business, which was estimated by measuring the actual
                historical performance of stocks relative to short-term government bonds over the long
                run.


                In response to Accuracy’s use of a 4.5% market risk premium, Brattle notes that
                “reasonable people can disagree about whether the market risk premium is 4.5% or
                5.5%”, however, Brattle maintains that 5.5% is preferable as it tends to reduce
                damages. 828


                Using the above inputs, Brattle concludes that there is a discount rate for June 2014 of
                4.84% based on a risk-free rate of 2.09%, a market risk premium of 5.5% and an asset
                Beta of 0.5. 829 Following the CAPM equation: 4.84% = 2.09% + (0.5 x 5.5%).


                Accuracy adopts the CAPM equation used by Brattle while “correcting” certain
                parameters. 830


                First, Accuracy considers that a standardised risk-free rate of 3.5% should be adopted
                “consistent with a long-term inflation perspective of 1.5% and a real interest rate of
                2%.” 831


                Secondly, Accuracy proposes a deleveraged beta coefficient of 0.4 for a June 2014
                valuation. 832 This is based on a sample of 24 companies and calculating the average
                leveraging of the companies, the beta coefficient of debt and then following that, the


828   Second Brattle Quantum Report, ¶ 212.
829   First Brattle Quantum Report, ¶ 107.
830   First Accuracy Report, ¶ 160.
831   First Accuracy Report, ¶ 160(a); see also Second Accuracy Report, ¶ 141(b).
832   First Accuracy Report, ¶ 160(b).


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                deleveraged beta. 833 Accuracy then undertakes a similar exercise for calculating a June
                2016 deleveraged beta of 0.6. 834


                Thirdly, Accuracy adopts the market risk premium of 4.5% recommended by the Equity
                Premia Around the World by Dimson, Marsh and Staunton (2011). 835


                Using the above inputs, Accuracy concludes that there is a discount rate for June 2014
                of 5.3% based on a risk-free rate of 3.5%, a market risk premium of 4.5% and an asset
                beta of 0.4. 836 Following the CAPM equation: 5.3% = 3.5% + (0.4 x 4.5%). However,
                in Accuracy’s second report, Accuracy concludes that there is a discount rate for June
                2016 of 6.2% based on a risk-free rate of 3.5%, a market risk premium of 4.5% and an
                asset beta of 0.6. 837 Following the CAPM equation: 6.2% = 3.5% + (0.6 x 4.5%).


                The parties’ experts both agree that the discount rate should be calculated using the
                CAPM model, however they dispute the three components. The Tribunal will examine
                each of these disputed components below.

                              a. Risk-free rate

                The Tribunal rejects Accuracy’s risk-free rate on the basis that both the “inflation
                expectation” and “real interest rate” components were not supported by any evidence
                nor any explanation as to how Accuracy arrived at these figures.


                The Tribunal prefers the risk-free rate adopted by Brattle and considers it appropriate,
                in the circumstances to adopt the twenty-year Euribor swap rate at June 2014 given the
                long lives of wind assets and the need to sanitise the rate from the default risk attributed
                to Spain.


833   First Accuracy Report, Appendix 9.
834   Second Accuracy Report, ¶ 141(b).
835   First Accuracy Report, ¶ 160(c); Second Accuracy Report, ¶ 141(b).
836   First Accuracy Report, ¶ 160, Table 14.
837   Second Accuracy Report, ¶ 141(b), fn. 128.


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                             b.    Beta

                As the Tribunal has previously adopted the valuation date of June 2014, Accuracy’s
                2016 unleveraged beta coefficient is rejected.

                The Tribunal adopts Brattle’s beta coefficient of 0.5 on the basis that it considers the
                sampled pool is more analogous to the Claimants’ Project Companies and, in any event,
                this beta coefficient is more conservative and tends to reduce damages than Accuracy’s
                2014 unleveraged beta coefficient. As a sanity check, the Tribunal has regard to the fact
                that Brattle’s beta coefficient of 0.5 is also very close to the average and median
                unleveraged beta supplied by Accuracy once the standard deviation of 0.12 is applied,
                being 0.52 and 0.49 respectively. 838


                             c.    Market risk premium

                To support the market risk premium rate of 5.5%, Brattle relies on the following. First,
                Professor Damodaran, considers that, since the financial crisis in 2008, the mature
                market equity risk premium should be between 5-6%. 839 Secondly, the average market
                risk premium used by professors and analysts in 2010 ranged between 5.1% and 6%.840


                To support the market risk premium rate of 4.5%, Accuracy relies on a study showing,
                which considers the world risk premium was 4.5%. 841


                Professor Damodaran is one of the leaders in his field, and in light of the above evidence,
                the Tribunal is persuaded that it would be more appropriate to apply a market risk
                premium rate of 5.5%.




838   First Accuracy Report, Appendix 9.
839
  Aswath Damodaran, “Equity Risk Premiums (ERP): Determinants, Estimation and Implications – A Post-Crisis update,” Stern
School of Business Working Paper (October 2009): 67, Exhibit BQR-6.
840
  See Shannon P. Pratt and Roger J. Grabowski, Cost of Capital: Applications and Examples, 4th Edition (Wiley: London, 2010),
158, Exhibit BQR-7.
841   Equity Premia Around the World de Dimson, Marsh and Staunton, Exhibit ACQ-0023.


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                             d.     Conclusion

                In light of the above findings, the Tribunal adopts Brattle’s discount rate in its entirety,
                namely a discount rate for June 2014 of 4.84% based on a risk-free rate of 2.09%, a
                market risk premium of 5.5% and an asset beta of 0.5. 842

                             4.      Regulatory risk

                Brattle states that the CAPM discount rates only measure systematic risk and therefore
                a regulatory risk factor needs to be taken into account. 843 This regulatory risk should be
                calculated using a probabilistic analysis of the type that investors use when determining
                the market price of a bond, in particular using the credit quality of tariff deficit securities,
                which enjoy long-term tariff collections rights analogous to those of renewable
                generators. 844


                Before 2012, the private tariff deficit securities were rated AAA by ratings agencies. By
                June 2014, the private tariff deficit securities had deteriorated to BBB or A3 by ratings
                agencies. This deterioration in credit quality reflects the introduction of regulatory risk
                insofar as there were concerns that the regulator would not set electricity tariffs high
                enough to permit recovery of long-term collection rights, which would lead to collection
                shortfalls and reliance on the Spanish government to make up for those shortfalls in the
                required repayments to lenders who funded the establishment costs of renewable
                operators. 845


                Brattle measures the regulatory risk for both scenarios, assigning to: (i) the Actual a
                rating of BBB+, consistent with the June 2014 ratings of both the tariff deficit securities
                and Spanish government bonds; and (ii) the But-for a rating of A+, which is a three-




842   First Brattle Quantum Report, ¶ 107.
843   First Brattle Quantum Report, ¶ 108
844   First Brattle Quantum Report, ¶¶ 109, 111.
845   First Brattle Quantum Report, ¶ 110


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                notch uplift, consistent with published ratings for tariff deficit securities in the absence
                of such regulatory risks, such as has occurred in Portugal. 846


                The regulatory risk is then translated into a revenue “haircut” by having regard to the
                likelihood that Spain might not honour its tariff promises, and then uses the recovery
                rate to estimate the remaining level of financial support that investors could anticipate
                if Spain interfered. 847 This revenue haircut is equivalent to adding a 0.5% regulatory
                risk premium to the discount rate of 4.8% derived from the CAPM in both the But-for
                and Actual scenarios. 848


                Brattle rejects Accuracy’s increased regulatory risk premium in the But-for scenario on
                a number of bases. 849 First, Accuracy wrongfully attributes to the Disputed Measures
                the entire decline and subsequent improvement of Spanish ratings from 2010 to the
                present and into the future, the decline and improvement occurred for numerous
                reasons. 850 Secondly, Accuracy assumes that Spain’s tariff deficit problem could only
                have been solved with the Disputed Measures yet provides no basis or analysis for this
                assumption, this is because there are alternatives. 851 Thirdly, Accuracy’s claim that the
                Disputed Measures reduced regulatory risk is inconsistent with market commentary. 852
                Fourthly, reducing damages for an inverted regulatory risk theory is just a denial of
                liability. 853


                Accuracy considers it more appropriate to reflect non-systemic risk as a premium in the
                discount rate rather than as a revenue haircut. 854


846   First Brattle Quantum Report, ¶ 112.
847   First Brattle Quantum Report, ¶ 113-114
848   First Brattle Quantum Report, ¶ 123; Second Brattle Quantum Report, ¶ 214.
849   Tr. Day 3, 45:7-16.
850   Second Brattle Quantum Report, ¶ 218.
851   Second Brattle Quantum Report, ¶ 219.
852   Second Brattle Quantum Report, ¶¶ 220-221.
853   Second Brattle Quantum Report, ¶ 222.
854   First Accuracy Report, ¶ 161.


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                For the Actual scenario, Accuracy adds a 0.5% regulatory risk premium to the discount
                rate, which is, like Brattle, based on the credit rating of the tariff deficit securities. 855


                However, Accuracy considers that the But-for scenario should take into account the
                continuous degradation in the sustainability of the Spanish electricity regime. 856 This
                degradation increases the probability of default. In the absence of the Disputed
                Measures, the credit rating of the tariff deficit securities would have continued to worsen
                until it reached the level of the Spanish bond i.e. BBB-, which translates to 2.2%
                discount rate. 857 Accuracy updates the regulatory risk premium to 2.5% if valued in
                2016. 858


                For the Actual scenario, the parties’ experts agree that a 0.5% regulatory risk premium
                on the discount rate, or Brattle’s equivalent regulatory haircut approach, should be
                applied to be DCF valuation. The Tribunal considers it appropriate in the circumstances
                to adopt the 0.5% regulatory haircut approach on the discount rate for the Actual
                scenario.


                For the But-for scenario, Accuracy’s estimation of an increased regulatory risk is
                unpersuasive simply because it is largely predicated on the basis that introducing the
                Disputed Measures was the only way to address the allegedly degrading Spanish
                electricity regime. In the Tribunal’s view, the Disputed Measures raised regulatory risk
                as the fixed tariff regime provided certainty for investors whereas the “reasonable rate
                of return” regime is inherently uncertain being hinged to a third party’s, here Spain’s,
                opinion.




855   First Accuracy Report, ¶¶ 161-163.
856   First Accuracy Report, Appendix 6, ¶¶ 226-234.
857   First Accuracy Report, ¶ 164.
858   Second Accuracy Report, ¶ 141(c).


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                Consequently, the Tribunal prefers Brattle’s calculation of the discount rate for the But-
                For scenario on the basis that it is unlikely the risk was higher in the But-For than in the
                Actual.


                               5.       Conclusion

                The Tribunal has considered Accuracy’s other contended adjustments to Brattle’s DCF
                valuation, namely: to adopt the Spanish 1-year, rather than the 10-year, bond rate to
                bring forward historical cash flows; 859 to exclude the financial income of the Plants from
                operating cash flows; 860 to measure the book value of debt rather than market value of
                debt; 861 and to use only one financing side-effect, the debt tax shield, rather than all.862
                Accuracy admitted that it “basically corrected […] two parameters of the Brattle [But-
                For] model: (i) useful life […]; and (ii) regulatory risk premium […] other adjustments
                […] have a lower impact.” 863 Similarly, at the hearing, Mr Barsalou of Accuracy stated
                “the number of matters in contention was limited, although I should say the number of
                material matters in contention is limited” and referred to the three main areas of
                contention being the actual scenario value, the regulatory risk and the operational life.864
                The Tribunal rejects Accuracy’s other adjustments to Brattle’s DCF calculation on the
                basis that they are of little impact to the measure of damages and, in any event, Brattle’s
                measures appear reasonable.


                Applying the adjustment of operational life to Brattle’s DCF valuation, the Tribunal
                finds that the diminution in the fair market value of the Claimants’ investments resulting
                from the breach of the ECT was EUR 77 million at 20 June 2014. 865




859   First Accuracy Report, ¶¶ 148.
860   First Accuracy Report, ¶ 157(b).
861   First Accuracy Report, ¶¶ 166-167.
862   First Accuracy Report, ¶ 168.
863   First Accuracy Report, ¶ 21(b).
864   Tr. Day 4, 38:4-38:13.
865   Second Brattle Report, Appendix B, Table 13.


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                  Interest rate

            The guiding principle when determining the applicable interest rate is to ensure full
            reparation by compensating the Claimants for the loss of their ability to use the principal
            compensation when it fell due. The parties correctly agree that this should be a
            commercial interest rate.


            The parties’ experts both agreed that Spanish government bond rates were an
            appropriate commercial rate to apply. The Tribunal finds that the appropriate
            commercial rate for pre-award interest is 1.16% being the average 10-year Spanish
            government bond-rate over the relevant period on the basis that this rate is used by Spain
            under the New Regulatory Regime to determine the allowed return, which indicates it
            is a reasonable reference point for long-term financial interests such as those for
            renewable energy plants.


            The Tribunal considers, along with the Pezold tribunal, 866 that awarding post-award
            interest serves the purpose of incentivising compliance with the terms of the Award as
            expediently as possible. Consequently, it is appropriate that the post-award interest rate
            is 2.16% (1.16% plus an additional 1%) to incentivise Spain’s compliance with this
            Award. The Tribunal agrees with the approach of previous tribunals namely in Eiser
            and Masdar which have awarded both pre and post award interest compounded monthly.


            The Tribunal further finds that interest should be compounded on a monthly basis.
            Awarding compound interest accords with modern financial activity and was not
            disputed by the Respondent.


            The Tribunal having considered the submissions of the Claimants and the Respondent
            on interest, is of the view that the Claimants are entitled to compound interest,
            compounded on a monthly basis.

866Bernhard von Pezold and others v Republic of Zimbabwe, ICSID Case No. ARB/10/15, Award, 28 July 2015, ¶ 943, Exhibit
CL-159 referring to I Marboe, Calculation of Compensation and Damages in International Investment Law, (Oxford University
Press, 2009), ¶ 6.246, Exhibit CL-68.


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                The Tribunal awards interest from 20 June 2014 to the date of the Award at 1.16% per
                annum, compounded monthly, and also awards post-award at the rate of 2.16% per
                annum, compounded monthly from the date of the Award to the date of payment.


                        Gross-up for tax

                The parties disagree on whether money payable under the Award will be subject to tax
                in the Netherlands and therefore whether the Award should be increased to account for
                this.


                Pursuant to Article 13(1) of the Dutch Corporate Income Tax Act 1969 “benefits under
                participation as well as the costs regarding the recruitment or disposal of that
                participation (participation exemption) will not be included.” 867 A taxable entity
                “participates” when, among other things, it is a shareholder of more than 5% of a
                company’s shareholding. 868


                In the judgment of the Court of Gelderland, cited by the Claimants, it was held that
                “Having regard to the term ‘benefits from the participation’ stated in Article 13(1) of
                the CTA, it relates to benefits that are directly connected to the possession of shares.”869
                On that basis, the Court found that a payment under an award relating to a breach of an
                agreement to transfer further shares in a company to a 30% shareholder of that company
                was not subject to the participation exemption. This was because the payment did not
                have a sufficient connection with the existing shareholding.


                The Tribunal agrees with the Respondent that the Gelderland decision can be
                distinguished from the case at hand because the damages under the award related to a




867   Dutch Corporate Income Tax Act, Exhibit C-218.
868   Dutch Corporate Income Tax Act, Article 13(2), Exhibit C-218.
869   Court of Gelderland, 17 March 2015, case no. 14/4274, ¶ 30, Exhibit C-221.


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                breach of contract to acquire shares rather than damages in relation to the possession of
                shares. 870


                In the judgment of the Dutch Supreme Court, cited by the Claimants, it was ruled that a
                compensation payment received by a party, who was a shareholder, was not covered by
                the participation exemption because the compensation was for non-payment of the
                purchase price under a contract to sell those shares. 871


                In the Tribunal’s view, the Supreme Court decision can also be distinguished from the
                case at hand because the compensation related to a breach of contract to transfer shares
                rather than compensation in relation to the possession of shares. This is supported by
                the Supreme Court stating “If necessary, the interested party could have lowered the
                value of the participation. The loss resulting therefrom is covered by the participation
                exemption.” 872 Consequently, it appears possible that a loss in profits resulting from a
                breach of treaty, would be covered by the participation exemption.


                The Claimants’ counsel, at the hearing, noted that the “ultimate evidence will be a tax
                ruling from the Dutch tax authorities […] We don’t yet have the tax ruling; we have
                applied to obtain it.” 873 Unfortunately, the Claimants have not adduced this evidence.


                In light of the above, the Tribunal finds that the Claimants have failed to discharge the
                evidentiary burden of a future obligation to pay tax in the Netherlands on compensation
                received under this Award and consequently rejects this part of their claim.


                As the Tribunal has found that the Claimants have failed to provide sufficient evidence
                that they will have to pay tax on the amount awarded, the Tribunal need not, and does
                not, consider the Respondent’s other defences.


870   Memo on applicability of participation exemption on damage payments, p. 3, Exhibit ACQ-0082.
871   Dutch Supreme Court, 6 March 1985, Case No. 22 572, , ¶ 4.3, Exhibit C-240.
872   Dutch Supreme Court, 6 March 1985, Case No. 22 572, , ¶ 4.2, Exhibit C-240.
873   Tr. Day 1, 7:20-9:2.


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IX.   COSTS AND EXPENSES

  A. Costs

          Claimants’ Position

      The Claimants submitted their Submissions on Costs dated 30 November 2018 and
      particulars of their claim for costs are as follows:


       Legal Costs and Disbursements:
      (a) Legal Fees: € 2.4 million
      (b) Disbursement: € 102,789.46
      (c) Translations: € 66,082.75

      Experts’ Fees and Disbursements:
      (a) Experts fees: € 466,272.19 which includes disbursements

      Costs of Disbursement paid directly by Bridgepoint:
      (a) € 5,670.10

      The Claimants rely on Article 61 of the ICSID Convention in particular, Article 61(2)
      which reads as follows:

          In the case of arbitration proceedings the Tribunal shall, except as the parties
          otherwise agree, assess the expenses incurred by the parties in connection
          with the proceedings, and shall decide how and by whom those expenses,
          the fees and expenses of the members of the Tribunal and charges for the
          use of the facilities of the Centre shall be paid. Such decision shall form
          part of the award.

      The Claimants also contend that the ECT is silent on how the Tribunal should allocate
      costs but contend that the Tribunal has a broad discretion with regard to the allocation
      of costs.


      The Claimants contend that if they should succeed in this arbitration, that they are
      entitled to costs on a full indemnity basis and therefore request the Tribunal to award
      them costs in the total sum of €3,353,722.25.



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    Respondent’s Position

The Respondent informed the Tribunal on 30 October 2018 that it was unable to file its
Submissions on Costs pursuant to the Tribunal’s directions due to technology issues.
The Tribunal on 2 November 2018, extended the deadline to 30 November 2018. The
Respondent on 30 November 2018 requested a further extension because it was not able
to resolve its technology issues. The Tribunal on 3 December 2018, granted the
Respondent a further extension to file its Submissions on Costs until 2 January 2019.
The Respondent on 28 December 2018, requested a further extension to file its
Submissions on Costs and the Tribunal granted a further extension. The Respondent
submitted its Submission on Costs on 16 January 2019.


The Respondent’s claim for costs is as follows:


Costs paid to ICSID:
€ 462,023

Expert Report:
€ 462,687.41

Translations:
€ 32,704.35

Editing Services:
€ 70,832.15 (in Madrid-Spain)
€ 52,294.88 (in Paris-France)

Courier:
€ 3,120.34

Travelling Expenses:
€ 15,550.48

Legal Costs:
€ 622,763.49



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             The total costs claimed by the Respondent is € 1,555,976.10.


             The Respondent takes the position that in the event the Kingdom of Spain succeeds, the
             Claimants should pay the Respondent’s costs of € 1,555,976.10.


       B. Tribunal’s Analysis on Costs

             Article 61(2) of the ICSID Convention provides the Tribunal with a discretion to
             allocate all costs of the arbitration including legal costs and other costs that have been
             incurred by the parties as the Tribunal deems appropriate. The Tribunal refers to the
             decision in LG&E 874 where the tribunal held as follows:


                   The Tribunal notes that Article 61(2) of the ICSID Convention and Rule 28
                   of the ICSID Arbitration Rules grant discretion to ICSID tribunal with
                   regard to the award of costs.

             The Respondent submitted two jurisdictional objections, one of which was rejected by
             the Tribunal. The Claimants have prevailed on the principal issue with regard to
             jurisdiction. The Claimants have also established a breach of Article 10(1) of the ECT.
             The Claimants with regard to the issue of damages, have had their claim in damages
             reduced for the reasons set out in the Tribunal’s analysis on damages. The Tribunal
             does not accept all the items of the Claimants’ claim for costs.


             The Tribunal is also of the view that the costs incurred by the parties in connection with
             the arbitration, is reasonable bearing in mind the length of the arbitration, the
             voluminous documentation and the comprehensive submissions in this matter.


             The costs of the arbitration, including the fees and expenses of the Tribunal, ICSID’s
             administrative fees and direct expenses, amount to (in USD): 875


874
  LG&E Energy Corp., LG&E Capital Corp. and LG&E International Inc. v The Argentine Republic, ICSID Case No. ARB/02/1,
Award, 25 July 2007, Para. 112.
875The ICSID Secretariat will provide the parties with a detailed Financial Statement of the case account once all invoices are
received and the account is final.


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                            Arbitrators’ fees and expenses

                        Tan Sri Dato’ Cecil Abraham, President                                US$ 139,402.27

                        Dr. Michael Pryles, Co-arbitrator                                     US $149,774.44

                        Prof. Dr. Hélène Ruiz Fabri, Co-arbitrator                            US$ 111,146.44
                            ICSID’s administrative fees                                       US$ 148,000.00
                            Direct expenses (estimated) 876                                   US$ 131,932.47
                            Total                                                             US$ 680,255.62


                The above costs have been paid out of the advances made by the Parties in equal parts. 877


                The Tribunal is of the view that as the Claimants have not succeeded in respect of all
                their claims on damages and as the Respondent has partial success with regard to the
                claim on jurisdiction and damages, the Tribunal is of the view that the Claimants are to
                be paid 75% of:


                (a) the Claimants’ legal costs and disbursements;


                (b) the administrative expenses incurred by ICSID and the fees of the arbitrators which
                      have been determined by ICSID.


                The Respondent shall bear its own legal representation costs and expenses.


       X.       AWARD

                For the reasons stated in the Award, the Tribunal decides as follows:


                      (a)       Unanimously, the Tribunal has jurisdiction under the ECT and the ICSID
                                Convention over the Claimants’ claim;

876   This amount includes estimated charges relating to the dispatch of this Award (courier, printing and copying).
877   The remaining balance will be reimbursed to the parties in proportion to the payments that they advanced to ICSID.


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    (b)     Unanimously, the Tribunal has no jurisdiction under the ECT and the ICSID
            Convention with regard to the claim that the Respondent’s tax measures
            namely the 7% tax on the value of electrical energy production created by
            Law 15/2012 violates the ECT;
    (c)     By Majority, the Respondent has breached Article 10(1) of the ECT by
            failing to accord fair and equitable treatment to the Claimants;
    (d)     By Majority, in the light of the Tribunal’s decision in (c), the Tribunal for
            purposes of judicial economy, does not need to determine the Claimants’
            claim with regard to the violation of the Umbrella Clause;
    (e)     By Majority, the Claimants are awarded damages in the sum of € 77 million
            for violation of the ECT;
    (f)     By Majority, the Respondent shall pay interest on the sum awarded in (e)
            from 20 June 2014 to the date of this Award at 1.16% per annum
            compounded monthly;
    (g)     By Majority, the Respondent shall pay post-award interest at the rate of
            2.16% per annum compounded monthly from the date of the Award to the
            date of payment;
    (h)     Unanimously, the Claimants’ claim for gross-up tax is dismissed;
    (i)     By Majority, the Respondent shall pay the Claimants 75% of the Claimants’
            cost of the proceedings;
    (j)     Any claim, request or defence of the parties that has not been expressly
            accepted in this section X is hereby dismissed.


Prof. Dr. Hélène Ruiz Fabri has written a Dissenting Opinion which is attached to this
Award.




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Arbitrat
Date:                                  Subject to the attached dissenting opinion
                                       Date:    g JAN 2020




                           o he Tribunal
                   Date:   8 JAN 2020
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